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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                 )
 UNITED STATES SECURITIES                        )
 AND EXCHANGE COMMISSION,                        )
                                                 )
                       Plaintiff,                )       Civil Action No. 18-cv-5587
                                                 )
        v.                                       )       Hon. John Z. Lee
                                                 )
 EQUITYBUILD, INC., EQUITYBUILD                  )       Magistrate Judge Young B. Kim
 FINANCE, LLC, JEROME H. COHEN,                  )
 and SHAUN D. COHEN,                             )
                                                 )
                       Defendants.               )
                                                 )

        RECEIVER’S THIRTEENTH INTERIM APPLICATION AND MOTION
         FOR COURT APPROVAL OF PAYMENT OF FEES AND EXPENSES
          OF RECEIVER AND RECEIVER’S RETAINED PROFESSIONALS

       Kevin B. Duff, as the receiver (“Receiver”) for the Estate of Defendants EquityBuild, Inc.,

EquityBuild Finance, LLC, their affiliates, and the affiliate entities of Defendants Jerome Cohen

and Shaun Cohen, as defined in the Order Appointing Receiver entered August 17, 2018 (Dkt. No.

16), as supplemented by Order entered March 14, 2019 (Dkt. No. 290) and Order entered February

21, 2020 (Dkt. No. 634) (collectively, the “Receivership Defendants”), and pursuant to the powers

vested in him by Order of this Court, respectfully submits this Thirteenth Interim Application

(“Application”) for the Third Quarter 2021, and moves this Court for an order approving payment

of the fees and expenses of the Receiver, the Receiver’s counsel, Rachlis Duff & Peel, LLC

(“RDP”), the Receiver’s accountants BrookWeiner, LLC (“BrookWeiner”), and the Receiver’s

forensic IT consultant, Prometheum, from the Receivership Estate operating account. In support

of his Application and Motion, the Receiver states as follows:




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I.     BACKGROUND

       On August 15, 2018, the United States Securities and Exchange Commission (“SEC”) filed

a civil Complaint against Jerome Cohen, Shaun Cohen, EquityBuild Inc., and EquityBuild Finance

LLC (collectively the “Defendants”) alleging violations of federal securities laws, along with a

motion for entry of an asset freeze, permanent injunction, and other ancillary relief. (Dkt. Nos. 1

& 3, respectively)

       In their Complaint against the Defendants, the SEC alleged violations of Section 10(b) of

the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. § 78j(b), and Rule 10b-5

promulgated thereunder, 17 C.F.R. § 240.10b-5, Section 20(a) of the Exchange Act, 15 U.S.C.

§78t(a), Sections 5(a) and 5(c) of the Securities Act of 1933 (the “Securities Act”), 15 U.S.C.

§77e(a) and (c), and Section 17(a) of the Securities Act, 15 U.S.C. §§77q(a)q. (Dkt. No. 1)

       The Complaint further alleged that the Defendants operated a Ponzi-scheme that raised at

least $135 million from more than 900 investors by, among other things, making untrue statements

of material fact in connection with the sale of promissory notes allegedly secured by residential

real estate primarily located on the south side of Chicago. (Id. ¶¶ 1-7, 17, 20-51)

       On August 28, 2018, the Court entered a judgment against defendants Jerome Cohen and

Shaun Cohen which, among other things, enjoined future violations of federal securities laws.

(Dkt. No. 40)

       In connection with its civil action, the SEC sought and obtained Court approval for the

appointment of a Receiver, and on August 17, 2018, this Court entered an Order Appointing

Receiver. (Dkt. No. 16)




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         Under the Order Appointing Receiver, the Receiver was authorized to engage and employ

persons and entities in his discretion to assist him in carrying out the duties and responsibilities set

forth in the Order. (Id., Order Appointing Receiver, ¶ 54)

         Accordingly, the Receiver retained Rachlis Duff Adler Peel & Kaplan, LLC (“RDAPK”) 1

as special counsel, and, on August 20, 2018, the Court entered an Order approving RDAPK’s rates.

(Dkt. No. 19) On August 23, 2018, the Receiver retained BrookWeiner to provide accounting

services and to perform tax and related work regarding the assets of the Receivership Defendants.

(Dkt. No. 32) On August 28, 2018, the Court entered an Order approving BrookWeiner’s rates.

(Dkt. Nos. 39 & 45) On August 31, 2018, the Receiver retained Prometheum to access and

preserve data within EquityBuild’s cloud-based storage systems and provide related IT services,

and, on September 6, 2018, the Court entered an order approving Prometheum’s rates. (Dkt. No.

56)

         Pursuant to the Order Appointing Receiver, the Receiver and his retained personnel are

entitled to “reasonable compensation and expense reimbursement” from the Receivership Estate,

as described in the “Billing Instructions for Receivers in Civil Actions Commenced by the U.S.

Securities and Exchange Commission” (the “Billing Instructions”) agreed to by the Receiver.

(Dkt. No. 16, ¶ 69)

II.      THIRTEENTH INTERIM APPLICATION

         Pursuant to the Billing Instructions, the Receiver provides the following information

regarding this Application:

         a.     The Application covers the period from July 1, 2021 through September 30, 2021.




1
    As of October 1, 2019, the firm changed its name to Rachlis Duff & Peel, LLC (“RDP”).
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       b. The names and hourly rates of all professionals for RDP and BrookWeiner, as well as

          Prometheum’s hourly rates, are attached as Exhibit A.

       c. This is the Receiver’s Thirteenth Interim Application. The dates and amounts of the

          Receiver’s prior interim fee applications, the orders and amounts allowed, and the amounts

          paid and unpaid, are attached hereto as Exhibit B.

III.      CASE STATUS

          Pursuant to the Billing Instructions, the Receiver provides the following information

regarding the status of the case, and activities performed specifically for the period covered by this

Application. See also Receiver’s Thirteenth Status Report (Third Quarter 2021) for additional

information. (Dkt. No. 1077)

          a.     Cash on Hand and Funds Received and Disbursed During the Quarter

          The Receiver’s Standardized Fund Accounting Report (“SFAR”) for the Third Quarter

2021 is attached as Exhibit C. The SFAR sets forth the funds received and disbursed from the

Receivership estate during this reporting period. As reported in the SFAR, the amount of cash on

hand as of September 30, 2021 was $1,047,593.76. The information reflected in the SFAR was

based on records and information currently available to the Receiver. The Receiver and his

advisors are continuing with their evaluation and analysis.

          b.     Receiver’s Administration of the Case

          Upon his appointment, the Receiver began making efforts to determine the nature, location,

and value of all property interests of the Receivership Defendants, including monies, funds,

securities, credits, effects, goods, chattels, lands, premises, leases, claims, choses in action, rights

and other assets, together with all profits, interest, or other income attributable thereto, which the

Receivership Defendants owned, possessed, retained a beneficial interest in, or controlled directly



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or indirectly, and to preserve and maintain those assets. In furtherance of such, the Receiver took,

inter alia, the following actions:

              i.       Identification and Preservation of Assets

       During the Third Quarter 2021, one of the Receiver’s primary focuses continued to be the

preservation, operation, maintenance, and sale of the real estate properties remaining in the

Receivership Estate at the beginning of the quarter. The Receiver, in connection with his counsel,

asset manager/real estate broker, and property managers, continued working to improve

understanding and planning for cash flow needs for underperforming properties, and controlling

expenditures where possible. To that end, the Receiver and his counsel communicated regularly

with property managers relating to necessary expenditures for properties requiring approval by the

Receiver (and in some cases, requiring funds from the Receiver), and other operational questions.

The Receiver and his retained professionals also reviewed monthly financial reporting, analyzed

the cash position of the Estate, and communicated regularly with the real estate broker regarding

prioritization of expenses and repairs on the properties.

       During the Third Quarter 2021, the Receiver worked closely with the two existing property

management companies to ensure that all health, life, and safety issues at the properties were

addressed expeditiously, and to monitor repairs, inspections, expenses, and property finances

designed to preserve the properties and protect their financial position.

       Additionally, the Receiver, with the assistance of counsel and the property managers,

worked to address open building code violations. The Receiver’s counsel favorably resolved three

administrative matters during the quarter pursuant to the City’s ownership dispute procedures and

two pursuant to negotiations with counsel for the City. During the quarter, three default judgments

were entered (against 7024 S Paxton, 1422-24 E 68th Street, and 1414 E 62nd Place) on violations



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for which the City did not issue notices until after the Receiver had sold the properties. 2 During

the quarter, the Receiver’s counsel received four new notices of violations

       As of September 30, 2021, there remained 3 known open City of Chicago matters involving

code violations, including 1 pending City of Chicago municipal housing court matters, 1 pending

City of Chicago administrative proceeding filed by the Buildings Department and 1 pending

administrative proceeding filed by the Department of Sanitation. 3

             ii.      Property Sales

       The Receiver and his retained professionals closed the sale of one property during the Third

Quarter 2021, 6217-27 S Dorchester Avenue, leaving just three properties in the estate at the end

of the quarter: 638-40 North Avers Avenue, 7109-19 South Calumet Avenue, and 1102 Bingham

(in Houston, TX). 4

       During the quarter, the Receiver filed the Fourteenth Motion to confirm the sale of the

property located at 1102 Bingham in Houston, and as of the date of this Report, the Court has

granted the motion and the property has been sold.

            iii.       Financial Reporting and Funds Restoration

       During the quarter, the Receiver’s counsel has been working with third parties to obtain

the complete information needed to allocate insurance expenses and refunds to sold properties and

provide final accounting reports to the Court and the claimants. Once this process is completed,




2
  The Receiver has referred the City to the claims process established by the Court for these claims.
3
  As of the date of this Report, the Receiver has obtained the dismissal of one of these pending
matters leaving a total of two known matters pending.
4
  Since September 30, 2021, the sales of 638 N Avers and 1102 Bingham closed, leaving a single
real estate property remaining in the Estate at the time of this report, 7109-19 South Calumet in
Chicago.
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the Receiver will seek the Court’s approval to reimburse the Receiver’s Account for any funds that

the Receiver expended on the sold properties.

            iv.        Open Litigation

       During the Third Quarter 2021, a trial in the matter captioned Byrd v. EquityBuild, Inc., et

al., Case No. 18 L 1993, Circuit Court of Cook County, was scheduled for March 21, 2022.

             v.        Notice of Appointment of Receiver

       During the Third Quarter 2021, the Receiver continued his efforts to notify all necessary

and relevant individuals and entities of the appointment and to protect and preserve the assets of

the Receivership Estate. To that end, as they are identified, the Receiver continues to deliver

notices to individuals or entities which have been identified as potentially having possession of the

property, business, books, records, or accounts of the Receivership Defendants, or who may have

retained, managed, held, insured, or encumbered, or had otherwise been involved with any of the

assets of the Receivership Defendants.

            vi.        Control of Receivership Property and Records

       During the Third Quarter 2021, the Receiver continued efforts to locate and preserve all

EquityBuild property and records. The Receiver maintained two platforms of records and data

during the Third Quarter 2021, and pursuant to the Court’s order approving the institutional

lenders’ plan to process the EquityBuild internal documents, (Dkt. No. 915), a database containing

the EquityBuild documents has been made available to other claimants and parties until December

31, 2021 for a nominal fee as well as agreement regarding keeping the documents confidential.

(Dkt. No. 940).




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            vii.       Factual Investigation

       During the Third Quarter 2021, the Receiver and his retained professionals continued to

review and analyze the following: (i) documents and correspondence sent to or received from the

EquityBuild principals, to whose email accounts the Receiver has access; (ii) bank records from

EquityBuild and its affiliate entities; (iii) EquityBuild documents (largely stored in cloud-based

and other electronic media, plus a limited number of hard copy records); (iv) available underlying

transaction documents received to date from former Chicago-based EquityBuild counsel; and (v)

files produced by former EquityBuild counsel, accountants, and employees.

       During the Third Quarter 2021, the Receiver and his retained counsel devoted efforts to

prosecuting claims asserted in state court against former EquityBuild professionals: (1) the law

firm Rock Fusco & Connelly LLC (“Rock Fusco”), (2) Ioana Salajanu, a lawyer formerly at Rock

Fusco, and (3) the law firm Bregman, Berbert, Schwartz & Gilday, LLC. These claims are for

professional malpractice and aiding and abetting the Cohen’s breaches of their fiduciary duties.

During the quarter, the Receiver responded to written discovery, produced documents, and served

multiple third-party subpoenas for records related to his claims and potential claims, and the court

entered a Case Management Order that extended the deadline for the completion of written fact

discovery to December 20, 2021 and set a number of interim deadlines for the parties to complete

all fact and expert discovery by October 20, 2022.

       At the end of September, 2021, the Receiver brought an action in Illinois state court against

Mark L. Rosenberg, another attorney who represented the Cohens and EquityBuild-related entities.

Currently, the Receiver is waiting to hear if defendant will sign a waiver of service.

       During the quarter, the Receiver reached a settlement agreement with third parties

Coventry First LLC and LST III LLC regarding the insurance proceeds from a policy on the life



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of Defendant Jerome H Cohen, who passed away in November 2020. On July 19, 2021, the

Receiver filed a motion to approve the settlement (Dkt. No. 1011), which was granted by the Court

on August 13, 2021 (Dkt. No. 1022).

            viii.      Tax Issues

       BrookWeiner was retained to perform accounting, tax, and related work in connection with

winding down the business operations of the Receivership Defendants. BrookWeiner also has

compiled monthly property statements and property spreadsheets and assisted with cash flow

analysis matters.

             ix.       Accounts Established by Receiver for the Benefit of the Receivership Estate

       The Receiver established custodial accounts at a federally insured financial institution to

hold all cash equivalent Receivership property. The interest-bearing checking accounts are used

by the Receiver to collect liquid assets of the estate and to pay the portfolio-related and

administrative expenses. For each property encumbered by secured debt that has sold, the Receiver

also has established a separate interest-bearing account for the purpose of depositing and holding

funds until such time as the Court orders otherwise and for ultimate distribution, following a claims

process and upon Court approval, to the creditors of the Estate, including the defrauded investors.

(Dkt. Nos. 230, 311, 344 & 346)

       c.       Creditors and Claims Against the Receivership Estate

       During the Third Quarter 2021, the Receiver and his retained professionals continued to

improve the accuracy and completeness of the “Master Claims Exhibit,” preliminarily identifying

on a property-by-property basis for each of the nearly 2400 claims the following: (i) claimant

name, (ii) total amount claimed, (iii) claimant category, and (iv) the amount loaned or invested in

the particular property (where it could be determined from the face of the claim form). The



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Receiver has encouraged claimants to review this exhibit and bring any discrepancies to the

attention of the Receiver, and the Receiver and his retained professionals have updated the exhibit

where appropriate. The most recent version of the Master Claims Exhibit was submitted with the

Third Quarter 2021 Status Report filed on November 1, 2021. (Dkt. No. 1077 at Ex. 7) This work

was reasonable, necessary, and beneficial to the Receivership estate, and has allowed the

Receiver’s claims vendors (1) to organize, on a property-by-property basis, the claim forms and

supporting documentation that claimants have submitted to the Receiver, and (2) to provide each

claimant who did not opt out of the Confidentiality Order with digital links for the transfer of the

claim forms and supporting documentation of other claimants asserting claims against the same

property or properties in the receivership estate, consistent with Court orders. The Receiver also

worked to update and confirm the accuracy of claimants’ email, address, and counsel records, both

for the preparation of framing reports, and for use in the creation of email distribution lists for

claimants to use in discovery and the claims process.

       The Third Quarter 2021 was devoted primarily to the disputed claims process for the five

properties in Group 1 (3074 Cheltenham Place; 7625-33 S East End Avenue; 7635-43 S East End

Avenue; 7750-58 S Muskegon Avenue; and 7201 S Constance Avenue), which began on July 6,

2021 (Dkt. Nos. 1004-1006). During the quarter, the Receiver and his counsel and staff: prepared

the framing report for Group 1; drafted communications with Group 1 claimants about the claims

process; revised the approved Standard Discovery Requests to comport with the Court’s

intervening orders; setup and managed a distribution list for Group 1; served discovery on Group

1 claimants with a deadline for completion of August 9, 2021; responded to nearly 300 claimant

inquiries during the Third Quarter 2021, including numerous oral and other written

communications with claimants and certain claimants’ counsel regarding the discovery process;



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provided technical assistance relating to claimants’ standard and additional discovery responses;

collected and distributed the Group 1 claimants’ discovery responses; shared claims files with

claimants who did not download the records from Avalon; reviewed and analyzed the claim

submissions and discovery responses of the claimants, including both for the institutional lender

and the investor lenders, involved in Group 1; conducted searches of EquityBuild’s records

relating to these claimants and their claims; prepared for depositions scheduled in October; and

engaged in various other activities relating to the claims process as reflected in the submitted

invoices.

         During the Third Quarter 2021, the Receiver continued to work with counsel for U.S. Bank

and Midland regarding the establishment of an abbreviated process for the resolution of claims

against properties with only institutional debt. To that end, the Receiver participated in a number

of conferences with counsel for these institutional lenders, and prepared and exchanged several

drafts of a proposed process 5.

         The Receiver is continuously updating all claimants on the developments in this matter,

and responding in a timely manner to the hundreds of emails and voicemails from investors and

others, many if not most of which related to the claims submitted against the Estate and the status

of the Court’s process for resolving those claims and distributing the Estate’s assets. To ease the

burden      and   provide   basic   information,        the   Receiver   established   a   web   page

(http://rdaplaw.net/receivership-for-equitybuild) for claimants and other interested parties to

obtain information and certain court filings related to the Receivership estate, which remains in




5
 A joint motion to determine the process, which sets forth the remaining areas of disagreement,
was filed on October 29, 2021 (Dkt. No. 1073).
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place today and continues to be best and most cost-effective mean of providing information

regarding the status of this action.

       d.       Assets in Receivership Estate

       All known Receivership Property is identified and described in the Master Asset List

attached hereto as Exhibit D. The Master Asset List identifies 56 checking accounts in the names

of the affiliates and affiliate entities included as Receivership Defendants, reflecting a total amount

transferred to the Receiver’s account of $213,249.56 and a balance as of September 30, 2021 of

$1,047,593.76. (See also Dkt. No. 258 at 21, and Dkt. No. 348 at 23-24, for additional information

relating to these funds) Additionally, 103 separate interest-bearing accounts established by the

Receiver to hold the proceeds from sold real estate are identified on Exhibit E, which collectively

contained $66,688,281.88 as of September 30, 2021.

       The Master Asset List does not include funds received or recovered after September 30,

2021. Nor does it include potentially recoverable assets for which the Receiver is still evaluating

the value, potential value, and/or ownership interests. The Receiver is in the process of evaluating

certain other types of assets that may be recoverable by the Receivership Estate, including, but not

limited to, charitable donations, loans, gifts, settlements for which payment has not yet been

received, and other property transferred to family members, former employees, and others.

IV.    BILLING ADDRESSED IN THIS APPLICATION

       Pursuant to the Billing Instructions, the Receiver provides the following information

regarding current billing:

       a.       Total Compensation and Expenses Requested.

              i.       In connection with his duties, the Receiver respectfully requests

                       compensation for services rendered, totaling $34,554.00 for the period of



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                   this Application. Copies of the Receiver’s invoices for July, August and

                   September, 2021 are attached as Exhibit F.

           ii.     In connection with the legal services provided to the Receiver by RDP, the

                   Receiver respectfully requests compensation for services rendered, along

                   with reimbursement of expenses, totaling $123,120.44 for the period of this

                   Application. Copies of RDP’s invoices for July, August and September,

                   2021 are attached as Exhibit G. Additionally, Receiver’s counsel Andrew

                   Porter received $4,163.20 as agency fees for the title examination work

                   performed in connection with the closing of properties during the Third

                   Quarter 2021. The Receiver will reduce the amount due to RDP for the

                   Third Quarter 2021 by this amount.

          iii.     In connection with the accounting provided to the Receiver by

                   BrookWeiner, the Receiver respectfully requests compensation for services

                   rendered, along with reimbursement of expenses, totaling $1,868.50 for the

                   period of this Application. Copies of BrookWeiner’s invoices for August

                   and September, 2021, are attached as Exhibit H. BrookWeiner did not bill

                   time to the Receiver in July.

          iv.      In connection with the IT services provided to the Receiver by Prometheum,

                   the Receiver respectfully requests compensation for services rendered,

                   along with reimbursement of expenses, totaling $330.00 for the period of

                   this Application. A copy of Prometheum’s invoice is attached as Exhibit I.




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       b.      Source of Funds for Requested Compensation and Expenses.

       The Receiver requests that the above compensation and expenses be paid from the

Receiver’s operating account to the extent there are sufficient funds now or in the future. To the

extent funds are insufficient, Receiver requests that the above compensation and expenses be paid

pursuant to the receiver’s lien that the Court established in order that receivership property may be

used to compensate the Receiver and his counsel for their work. (See Court’s 10/26/20 Order

granting Receiver’s lien (Dkt. No. 824) and Court’s Order Approving Receiver’s Lien for Certain

Categories of Expenses (Dkt. No. 1030). See also discussion in Section V, infra.

       c.      Thirteenth Application for Payment of Professional Fees and Expenses.

       This is the Receiver’s Thirteenth Interim Application.

       d.      Summary of Activity.

       A “Summary of Activity,” providing the total hours billed and the amount of billing for

each person who billed time during the Application period (July 1, 2021 through September 30,

2021) can be found at the end of the Receiver’s invoices (Exhibit F) and RDP’s invoices (Exhibit

G) and on the first page of the BrookWeiner invoices (Exhibit H).

V.     REQUEST FOR RECEIVER’S LIEN

       On August 17, 2021, the Court entered an Order Approving First-Priority Receiver’s Lien

for Certain Categories of Expenses, granting in part the Receiver’s pending motion. (Dkt. Nos.

947, 1030) The Court approved a first-priority lien and the interim payment of fees for two

categories of activity: (1) the preservation, management, and liquidation of certain real estate

belonging to the Receivership Estate; and (2) the implementation and management of an orderly

summary claim-priority adjudication process, subject to a 20% holdback on fees paid pursuant to

the Receiver’s lien. (Dkt. No. 1030)



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        In its Order, the Court noted that “it is certainly a good idea for the Receiver to attach the

proposed allocation of fees to his fee petitions so as to give stakeholders an opportunity to review

and object to them in a timely manner” and directed that “the Receiver should incorporate requests

for interim fees relating to the claims process into his quarterly fee applications, and the Court will

set objection deadlines as it has in the past.” (Id. at 17)

        Accordingly, the Receiver submits as Exhibit J to this fee application his proposed

allocations of certain of the fees incurred during the Third Quarter of 2021 to properties in the

Estate, which have been made in accordance with the methodology approved by the Court, and

requests a lien in the amount allocated against the proceeds from the sale of the property to be paid

on a first priority basis, as well as approval of an interim payment of the approved amount subject

to any holdback ordered by the Court. The Receiver intends to submit schedules on a property-

by-property basis with his motion for approval of fee allocations to be filed by December 2, 2021.

(Dkt. No. 1082)

VI.     CONCLUSION

        WHEREFORE, the Receiver respectfully requests that the Court approve the Receiver’s

Thirteenth Interim Fee Application and enter an Order as follows:

        a.      Finding the fees and expenses of the Receiver and Receiver’s retained

professionals, Rachlis Duff & Peel, LLC, BrookWeiner, LLC, and Prometheum, as described in

Exhibits F-I, respectively, to be reasonable and necessary to the Receivership;

        b.      granting the Receiver and his retained professional a first priority administrative

lien against each of the real estate properties in the Receivership Estate and their sales proceeds

for payment of fees and costs;




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        c.      approve the proposed allocation and payment methodology with respect to a

Receiver’s lien for all fees and expenses of the Receivership Estate as described and recommended

in this fee application;

        d.      approving the Receiver’s payment of such fees and expenses to the Receiver and to

Receiver’s retained professionals from sales proceeds for each of the properties in the Receivership

Estate as described and recommended in this fee application; and

        e.      granting the Receiver all other relief which this Court deems just and proper.

Dated: November 15, 2021                              Kevin B. Duff, Receiver

                                              By:     /s/    Michael Rachlis

                                                      Michael Rachlis
                                                      Jodi Rosen Wine
                                                      Rachlis Duff & Peel, LLC
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                               RECEIVER’S CERTIFICATION
         1.     Pursuant to the Billing Instructions, the Receiver certifies as follows regarding the

Receiver’s Thirteenth Interim Application and Motion for Court Approval of Payment of Fees and

Expenses of Receiver and Receiver’s Retained Professionals:

         a.     The Receiver has read the foregoing Application and Motion;

         b.      To the best of the Receiver’s knowledge, information and belief formed after
 reasonable inquiry, the Application and Motion and all fees and expenses therein are true and
 accurate and comply with the Billing Instructions (with any exceptions specifically noted in this
 Certification, Application, and Motion);

       c.     All fees contained in the Application and Motion are based on the rates listed in the
 Fee Schedule attached hereto as Exhibit A, and such fees are reasonable, necessary, and
 commensurate with the skill and experience required for the activity performed;

        d.     The Application and Motion does not include in the amount for which
 reimbursement is sought, the amortization of the cost of any investment, equipment, or capital
 outlay (except to the extent any such amortization is included within the permitted allowable
 amounts set forth herein); and

         e.     In seeking reimbursement for a service which the Receiver or the Receiver’s
 Retained Professionals justifiably purchased or contracted for from a third party (such as copying,
 imaging, bulk mail, messenger service, overnight courier, computerized research, or title and lien
 searches), reimbursement is requested only for the amount billed to the Receiver or Receiver’s
 Retained Professionals by the third-party vendor and paid by the Receiver or Receiver’s Retained
 Professionals to such vendor. If such services were performed by the Receiver or Receiver’s
 Retained Professionals, the Receiver certifies that no profit has been made on such reimbursable
 service.

         2.     On November 9, 2021, the Receiver provided to Mr. Benjamin Hanauer, of the

 SEC, a complete draft copy of this Application and Motion, together with all exhibits and relevant

 billing statements in a format specified by the SEC.

 Dated: November 15, 2021                            /s/ Kevin B. Duff
                                              Kevin B. Duff, Receiver
                                              EquityBuild, Inc., et al.
                                              c/o Rachlis Duff & Peel, LLC
                                              542 S. Dearborn Street, Suite 900
                                              Chicago, IL 60605
                                              (312) 733-3390 - kduff@rdaplaw.net


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                              CERTIFICATE OF SERVICE

       I hereby certify that I provided service of the foregoing Receiver’s Thirteenth Interim

Application and Motion for Court Approval of Payment of Fees and Expenses of Receiver and

Receiver’s Retained Professionals, via the Court’s CM/ECF system, to all counsel of record on

November 15, 2021.


                                                  /s/ Michael Rachlis

                                                  Michael Rachlis
                                                  Rachlis Duff & Peel, LLC
                                                  542 South Dearborn Street, Suite 900
                                                  Chicago, IL 60605
                                                  Phone (312) 733-3950
                                                  Fax (312) 733-3952
                                                  mrachlis@rdaplaw.net




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                Exhibit A
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Rachlis Duff & Peel, LLC Rates

      Professional/        Position              2021           2021
      Paraprofessional                           Standard       Discounted
                                                 Hourly Rates   Hourly Rates
      Michael Rachlis      Member                $625           $390
      Drew G.A. Peel       Member                $625           $390
      Ellen Duff           Of Counsel            $585           $390
      Andrew E. Porter     Of Counsel            $585           $390
      Jodi Rosen Wine      Of Counsel            $585           $260
      Kathleen Pritchard   Paralegal             $205           $140
      Ania Watychowicz     Paralegal             $205           $140
      Justyna Rak          Paralegal             $205           $140
      Stoja Zjalic         Legal Assistant       $170           $110
      Julia Porter         Legal Assistant       $170           $95
      Natalie Gastevich    Legal Assistant       $170           $95
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 BrookWeiner Billing Rates
                               20% discount from
                               current standard rates

 Staff Accountant                            $110/hour
 Manager                                     $210/hour
 Partner                                    $275/hour
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Prometheum’s Hourly Rate

     Position                        Hourly Rate
     Senior Technical Consultant     $110
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                Exhibit B
                              Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 24 of 200 PageID #:33960


                                                                               Docket                                                             Approved
                          Docket No.                     Amount of                                         Amount Approved
Interim Fee Application               Date Filed                               No.      Date of Order                       Amount Paid          Amount Unpaid
                          Application                    Application                                        (less holdback)
                                                                               Order                                                             (as of 9/30/21)
First (3d Q 2018)         411        June 12, 2019       $        413,298.44   546      October 15, 2019   $     413,298.44   $    413,298.44    $             -
Second (4th Q 2018)       487        August 21, 2019     $        553,968.43   547      October 15, 2019   $     553,968.43   $    553,968.43    $             -
Third (1st Q 2019)        569        November 1, 2019    $        547,711.44   614      January 7, 2020    $     547,711.04   $    547,711.04    $             -
Fourth (2d Q 2019)        576        November 15, 2019   $        510,056.64   614      January 7, 2020    $     510,056.64   $     23,006.88    $    487,049.76
Fifth (3d Q 2019)         608        December 20, 2019   $        485,094.92   710      June 9, 2020       $     485,094.92   $      5,290.00    $    479,804.92
Sixth (4th Q 2019)        626        February 14, 2020   $        297,791.41   710      June 9, 2020       $     297,791.41   $      3,965.00    $    293,826.41
Seventh (1st Q 2020)      755        July 28, 2020       $        362,102.16   824      October 26, 2020   $     362,102.16   $      4,658.75    $    357,443.41
Eighth (2d Q 2020)        778        August 28, 2020     $        451,944.97   824      October 25, 2020   $     451,944.97   $      5,085.00    $    446,859.97
Ninth (3d Q 2020)         885        November 30, 2020   $        403,064.48   1031     August 17, 2021    $     334,077.68                n/a   $    334,077.68
Tenth (4Q2020)            945        February 23, 2021   $        379,388.01   1031     August 17, 2021    $     307,767.31                n/a   $    307,767.31
Eleventh (1Q2021)         993        May 17, 2021        $        261,601.20   1031     August 17, 2021    $     213,038.40                n/a   $    213,038.40
Twelfth (2Q2021           1026       August 16, 2021     $        185,528.04   n/a
                                                                                                                                                 $ 2,919,867.86
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                Exhibit C
         Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 26 of 200 PageID #:33962

                    STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. - Cash Basis
                                   Receivership; Civil Court Docket No. 18-cv-05587
                                      Reporting Period 7/1/2021 to 9/30/2021

Fund Accounting (See Instructions):
                                                                           Detail        Subtotal       Grand Total
Line 1        Beginning Balance (As of 7/1/2021):                         $988,227.84                     $988,227.84
              Increases in Fund Balance:
Line 2        Business Income
Line 3        Cash and unliquidated assets
Line 4        Interest/Dividend Income                                       $646.51
Line 5        Business Asset Liquidation
Line 6        Personal Asset Liquidation
Line 7        Net Income from Properties
Line 8        Miscellaneous - Other¹                                      $120,000.00
                Total Funds Available (Line 1-8):                                                       $1,108,874.35
              Decrease in Fund Balance:
Line 9      Disbursements to Investors
Line 10     Disbursements for receivership operations
   Line 10a Disbursements to receiver or Other Profesionals
   Line 10b Business Asset Expenses²                                      ($61,280.59)
   Line 10c Personal Asset Expenses
   Line 10d Investment Expenses
   Line 10e Third-Party Litigation Expenses
                1. Attorney Fees
                2. Litigation Expenses
              Total Third-Party Litigation Expenses                                           $0.00
   Line 10f Tax Administrator Fees and Bonds
  Line 10g Federal and State Tax Payments
              Total Disbursements for Receivership Operations                            ($61,280.59)
Line 11     Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a    Distribution Plan Development Expenses:
                 1. Fees:
                       Fund Administrator……………………………………………………….….
                       Independent Distribution Consultant (IDC)…………………
                       Distribution Agent……………………….……………………………………
                       Consultants………………………………………………….…………………….
                       Legal Advisers…………………………………………………………….……..
                       Tax Advisers……………………………………………………………………….
                  2. Administrative Expenses
                  3. Miscellaneous
               Total Plan Development Expenses                                                $0.00
  Line 11b       Distribution Plan Implementation Expenses:
                   1. Fees:
                       Fund Administrator…………..…………….…………………………
                       IDC……………………………………………………………………………..
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                 STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. - Cash Basis
                                Receivership; Civil Court Docket No. 18-cv-05587
                                   Reporting Period 7/1/2021 to 9/30/2021

                    Distribution Agent……………………….………………..…..………
                    Consultants………………………………………………….…………….
                    Legal Advisers………………………………………….………………………..
                    Tax Advisers……………………………………………………..………………..
                 2. Administrative Expenses
                 3. Investor identification
                    Notice/Publishing Approved Plan………………………………….
                    Claimant Identification……………………………………………………
                    Claims Processing……………………………………………………………..
                    Web Site Maintenance/Call Center……………………………….
                 4. Fund Adminstrator Bond
                 5. Miscellaneous
                 6. Federal Account for Investor Restitution
                   (FAIR) reporting Expenses
                 Total Plan Implementation Expenses
                 Total Disbursement for Distribution Expenses Paid by the Fund                      $0.00
Line 12     Disbursement to Court/Other:
   Line 12a     Investment Expenses/Court Registry Investment
                System (CRIS) Fees
   Line 12b     Federal Tax Payments
              Total Disbursement to Court/Others:
              Total Funds Disbursed (Lines 1-12):                                                                 ($61,280.59)
Line 13         Ending Balance (As of 9/30/2021):                                                              $1,047,593.76
Line 14     Ending Balance of Fund - Net Assets:
   Line 14a    Cash & Cash Equivalents                                                                         $1,047,593.76
   Line 14b    Investments (unliquidated Huber/Hubadex investments)
   Line 14c    Other Assets or uncleared Funds
               Total Ending Balance of Fund - Net Assets                                                       $1,047,593.76



           ¹ Settlement with Lincoln Financial Group relating to
           defendant's life insurance policy
           ² Installment payments on past due taxes ($11,510.31);
           payments to vendors for services related to claims document
           repository ($12,787.42); payment on property citation
           ($1,655.46); payment for property maintenance ($800.00);
           payment of fees to retained professionals ($34,527.40).
           TOTAL $61,280.59.


                                                               Receiver:
                                                                                           /s/ Kevin B. Duff
                                                                             (Signature)
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       STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. - Cash Basis
                      Receivership; Civil Court Docket No. 18-cv-05587
                         Reporting Period 7/1/2021 to 9/30/2021

                                                       Kevin B. Duff, Receiver EquityBuild, Inc., et al.
                                                           (Printed Name)

                                               Date:                     October __, 2021
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                Exhibit D
     Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 30 of 200 PageID #:33966



                                                    Master Asset List
                                        Receiver’s Account (as of 9/30/2021)
Institution                                Account Information               Amount
AXOS Fiduciary Services                    Checking #0181                                                         $835,920.40
AXOS Fiduciary Services                      Checking #0348                                                       $211,673.36
                                                                                                                        Total:
                                                                                                                $1,047,593.76

                                 Receivership Defendants’ Accounts
Institution      Account Information                         Current Value                           Amount Transferred
                                                                                                     to Receiver’s
                                                                                                     Account
Wells Fargo      Checking (53 accounts in the names of the                                                    $190,184.13¹
                 affiliates and affiliate entities included as
                 Receivership Defendants)
Wells Fargo      Checking (account in the names of Shaun                                                           $23,065.43²
                 Cohen and spouse)
Byline Bank      Checking (2 accounts in names of Receivership                      $21,850.39³
                 Defendants)
                                                                                                                        Total:
                                                                                                                  $213,249.56

                                   EquityBuild Real Estate Portfolio
For a list of the properties within the EquityBuild portfolio identified by property address, alternative
address (where appropriate), number of units, and owner, see Exhibit 1 to the Receiver’s First Status
Report, Docket No. 107.

                                            Other, Non-Illinois Real Estate
Description                                                     Appraised Market Value
Single family home in Plano, Texas                                                                              ±$450,000.00

                                                                          Approximate mortgage amount: $400,000.00
                                                                         Approximate value less mortgage: $50,000.00


     ¹ This amount reflects the total value of all of the frozen bank accounts held by Wells Fargo that were transferred to
     the Receiver’s account; the final transfer was made on 1/22/20, and included as part of the Receiver’s Account as of
     3/31/20.
     ² This amount was transferred to the Receiver’s Account as of 8/27/18, and is included as part of the total balance of
     the Receiver’s Account as of 3/31/19.
     ³ The Receiver is investigating whether these accounts are properly included within the Receivership Estate.
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                Exhibit E
       Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 32 of 200 PageID #:33968
                                                           SEC v. EquityBuild, Inc., et al.
                                                                   No. 18-cv-5587
                                     Balances of Funds in Property Specific Accounts as of September 30, 2021




                                                  Account Balance
                                                                                                                Reason for Change (if any)
 Account Number          Account Name           (as of September 30,       Date of Settlement
                                                                                                                    7/1/21 - 9/30/21
                                                        2021)
0025              7301 S Stewart Ave                       $303,241.30                11/4/2019   Interest earned, $191.03
0033              5001-05 S Drexel                       $2,724,412.96                5/22/2019   Interest earned, $1,716.21
0041              7927-49 S Essex                          $644,071.97                 5/1/2019   Interest earned, $405.72
0058              8100-14 S Essex                          $928,333.83                4/30/2019   Interest earned, $584.79
0066              6160-6212 S King                         $429,659.25                4/30/2019   Interest earned, $270.65
0108              8047 S. Manistee                         $805,454.88                 2/5/2020   Interest earned, $507.39
0116              5955 S. Sacramento                       $449,827.29                11/5/2019   Interest earned, $283.37
0124              6001-05 S. Sacramento                    $328,949.85                11/5/2019   Interest earned, $207.21
0132              7026-42 S. Cornell                       $867,609.33                11/6/2019   Interest earned, $546.54
0157              7834-44 S. Ellis                       $1,635,587.65                11/4/2019   Interest earned, $1,030.32
0165              701-13 S. 5th Avenue                     $616,060.79                3/31/2020   Interest earned, $388.08
0199              7625 S. East End                       $1,240,980.63               12/20/2019   Interest earned, $781.73
0207              7635 S. East End                       $1,048,228.59               12/20/2019   Interest earned, $660.32
0215              7748 S. Essex                          $1,185,821.93               12/18/2019   Interest earned, $746.99
0223              7750 S. Muskegon                         $409,303.14               12/18/2019   Interest earned, $257.83
0231              7749-59 S. Yates                         $638,692.97                4/22/2020   Interest earned, $402.34
0249              7450 S. Luella                           $198,256.54                 5/7/2020   Interest earned, $124.89
0256              4520-26 S. Drexel                      $6,200,644.60                5/21/2020   Interest earned, $3,906.01
0264              6749-59 S. Merrill                     $1,409,139.98                4/28/2020   Interest earned, $887.67
0272              7110 S. Cornell                        $1,169,385.91                8/13/2020   Interest earned, $736.64
0280              7109 S. Calumet                             $224.01                       n/a   Interest earned, $0.14
0298              7600 S. Kingston                       $1,380,058.39                12/3/2020   Interest earned, $869.35
0306              7656 S. Kingston                         $231,269.41                12/2/2020   Interest earned, $145.68
0314              8201 S. Kingston                         $274,889.75                5/21/2020   Interest earned, $173.17
0322              8326-58 S. Ellis                       $1,332,867.37                6/11/2020   Interest earned, $839.62
0330              6949-59 S. Merrill                     $1,541,802.06                12/1/2020   Interest earned, $971.24
0355              7546 S. Saginaw                          $522,902.73                5/13/2020   Interest earned, $329.39
0363              638 N. Avers                             $302,999.85                      n/a   Payment of property taxes, ($7,213.40); payment of
                                                                                                  property management expenses, ($1,826.00);
                                                                                                  payment for security installation, ($2,874.72);
                                                                                                  interest earned, $196.43
0371              5450 S. Indiana                        $1,792,236.16                6/25/2020   Interest earned, $1,128.99
0389              6437 S. Kenwood                        $1,342,265.06                6/25/2020   Interest earned, $845.54
0397              7300 S. St. Lawrence                    $310,178.59                 7/27/2020   Interest earned, $195.39
0405              7760 S. Coles                           $123,072.14                 6/26/2020   Interest earned, $77.53
0413              8000 S. Justine                         $193,298.99                 6/26/2020   Interest earned, $121.76
0421              8107-09 S. Ellis                        $111,079.29                 6/30/2020   Interest earned, $69.97
0439              8209 S. Ellis                           $263,799.70                  7/1/2020   Interest earned, $166.17
0447              8214-16 S. Ingleside                    $209,249.87                 6/30/2020   Collection of past-due rent by property manager,
                                                                                                  $600.00; interest earned, $131.58
0454              11117 S. Longwood                      $1,692,781.55                 7/8/2020   Interest earned, $1,066.34
0462              1700 Juneway                           $2,773,538.95               10/20/2020   Interest earned, $1,747.15
0470              1131-41 E. 79th                        $1,179,495.30               12/22/2020   Interest earned, $743.01
0488              2736 W. 64th                            $380,212.34                 9/29/2020   Interest earned, $239.51
0496              3074 Cheltenham                        $1,014,726.88                9/24/2020   Interest earned, $639.21
0504              5618 S. Martin Luther King              $627,012.58                 9/29/2020   Interest earned, $394.98
0512              6250 S. Mozart                          $864,715.78                12/22/2020   Interest earned, $544.71
0520              6355 S. Talman                          $479,178.29                 9/29/2020   Interest earned, $301.85
0538              6356 S. California                      $315,609.23                 9/29/2020   Interest earned, $198.81
0546              6554-58 S. Vernon                       $529,937.37                10/15/2020   Interest earned, $333.83
0553              7051 S. Bennett                         $476,833.82                 9/23/2020   Interest earned, $300.38
0561              7201 S. Constance                       $962,501.94                 9/30/2020   Past due rent collected by property manager,
                                                                                                  $702.65; interest earned, $606.04
0579              7201-07 S. Dorchester                   $421,402.63                10/20/2020   Interest earned, $264.55
0587              7508 S. Essex                           $748,352.94                10/28/2020   Interest earned, $471.41
0595              7957 S. Marquette                       $284,839.97                 9/21/2020   Interest earned, $179.43
0603              4533 S. Calumet                        $2,197,947.05                12/1/2020   Interest earned, $1,384.56
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                                                             SEC v. EquityBuild, Inc., et al.
                                                                     No. 18-cv-5587
                                       Balances of Funds in Property Specific Accounts as of September 30, 2021




                                                    Account Balance
                                                                                                                  Reason for Change (if any)
 Account Number          Account Name             (as of September 30,       Date of Settlement
                                                                                                                      7/1/21 - 9/30/21
                                                          2021)
0611              1017 W. 102nd                              $105,731.39                5/26/2021 Post-sale distribution from property manager,
                                                                                                  $14,558.24; interest earned, $60.92
0629              1516 E. 85th                               $109,908.54                5/26/2021 Post-sale distribution from property manager,
                                                                                                  $20,927.47; interest earned, $61.07
0637              417 Oglesby                                $101,597.20                5/26/2021 Post-sale distribution from property manager,
                                                                                                  $15,468.13; interest earned, $57.97
0645              7922 S. Luella                             $142,825.34                5/26/2021 Post-sale distribution from property manager,
                                                                                                  $21,837.36; interest earned, $81.45
0652              7925 S. Kingston                            $88,042.99                5/26/2021 Post-sale distribution from property manager,
                                                                                                  $14,558.24; interest earned, $49.78
0660              8030 S. Marquette                           $80,873.72                5/26/2021 Post-sale distribution from property manager,
                                                                                                  $16,378.02; interest earned, $44.55
0678              8104 S. Kingston                           $150,136.25                5/26/2021 Post-sale distribution from property manager,
                                                                                                  $18,197.80; interest earned, $87.47
0686              8403 S. Aberdeen                           $115,492.09                5/26/2021 Post-sale distribution from property manager,
                                                                                                  $14,558.24; interest earned, $67.07
0694              8405 S. Marquette                          $113,137.53                5/26/2021 Post-sale distribution from property manager,
                                                                                                  $12,738.46; interest earned, $65.78
0702              8529 S. Rhodes                             $134,344.24                5/26/2021 Post-sale distribution from property manager,
                                                                                                  $10,918.68; interest earned, $80.36
0710              9212 S. Parnell                             $98,394.47                5/26/2021 Post-sale distribution from property manager,
                                                                                                  $10,918.68; interest earned, $57.72
0728              10012 S. LaSalle                            $87,451.05                5/26/2021 Post-sale distribution from property manager,
                                                                                                  $6,250.83; interest earned, $52.65
0736              11318 S. Church                            $126,399.69                5/26/2021 Post-sale distribution from property manager,
                                                                                                  $10,157.60; interest earned, $75.66
0744              6554 S. Rhodes                              $87,167.32                5/26/2021 Post-sale distribution from property manager,
                                                                                                  $10,157.60; interest earned, $50.95
0751              6825 S. Indiana                            $127,341.70                5/26/2021 Post-sale distribution from property manager,
                                                                                                  $6,250.83; interest earned, $77.78
0769              7210 S. Vernon                              $61,458.10                5/26/2021 Post-sale distribution from property manager,
                                                                                                  $3,516.09; interest earned, $37.34
0777              7712 S. Euclid                             $130,842.08                5/26/2021 Post-sale distribution from property manager,
                                                                                                  $10,157.60; interest earned, $78.46
0785              8107 S. Kingston                            $98,085.80                5/26/2021 Post-sale distribution from property manager,
                                                                                                  $7,813.54; interest earned, $58.74
0793              8346 S. Constance                          $136,046.18                5/26/2021 Post-sale distribution from property manager,
                                                                                                  $6,875.91; interest earned, $83.02
0801              8432 S. Essex                              $134,236.30                5/26/2021 Post-sale distribution from property manager,
                                                                                                  $4,688.12; interest earned, $82.73
0819              8517 S. Vernon                             $133,058.69                5/26/2021 Post-sale distribution from property manager,
                                                                                                  $10,938.95; interest earned, $79.55
0827              2129 W. 71st                                $64,032.03                5/26/2021 Post-sale distribution from property manager,
                                                                                                  $5,658.05; interest earned, $36.81
0835              9610 S. Woodlawn                            $77,249.79                5/26/2021 Interest earned, $48.66
0843              1401 W. 109th                               $56,399.15                5/26/2021 Interest earned, $35.52
0850              1139 E. 79th                                 $3,712.98                      n/a Interest earned, $2.34
0868              4611 S. Drexel                           $4,930,004.20                5/14/2021 Post-sale distribution from property manager,
                                                                                                  $216,177.60; interest earned, $2,973.85
0876              6217 S. Dorchester                       $1,985,849.04                 7/6/2021 Proceeds from sale of property, $1,964,885.94;
                                                                                                  escrow refund, $6,937.53; interest earned,
                                                                                                  $1,183.01
0884              7255 S. Euclid                             $928,475.60                6/29/2021 Escrow refund, $13,924.04; interest earned, $582.87

0892              7024 S. Paxton                           $1,831,999.52                4/22/2021 Post-sale distribution from property manager,
                                                                                                  $127,504.62; interest earned, $1,076.34
0900              4317 S. Michigan                           $793,293.18                12/2/2020 Interest earned, $499.72
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                                                              SEC v. EquityBuild, Inc., et al.
                                                                      No. 18-cv-5587
                                        Balances of Funds in Property Specific Accounts as of September 30, 2021




                                                     Account Balance
                                                                                                                   Reason for Change (if any)
 Account Number          Account Name              (as of September 30,       Date of Settlement
                                                                                                                       7/1/21 - 9/30/21
                                                           2021)
0918              7701 S. Essex                               $732,377.04               11/16/2020 Interest earned, $461.35
0926              816 E. Marquette                            $822,491.64               11/18/2020 Interest earned, $518.12
0934              1422 E. 68th                                $449,411.72                6/23/2021 Post-sale distribution from property manager,
                                                                                                   $41,534.67; utility refund, $390.06; interest earned,
                                                                                                   $266.64
0942              2800 E. 81st                                $444,776.72                4/30/2021 Post-sale distribution from property manager,
                                                                                                   $44,649.78; interest earned, $262.75
0959              4750 S. Indiana                             $739,013.76                4/21/2021 Post-sale distribution from property manager,
                                                                                                   $72,374.16; interest earned, $427.28
0967              7840 S. Yates                               $364,173.07                4/23/2021 Post-sale distribution from property manager,
                                                                                                   $36,342.84; interest earned, $215.22
0975              7442-48 S. Calumet                          $541,191.70               11/16/2020 Interest earned, $340.92
0983              431 E. 42nd Place                            $64,906.92                11/5/2020 Interest earned, $40.89
0991              1414 E. 62nd Place                           $35,112.57                5/26/2021 Interest earned, $22.12
1007              2136 W. 83rd Street                         $101,717.57                5/26/2021 Post-sale distribution from property manager,
                                                                                                   $15,468.13; interest earned, $58.04
1015              7933 S. Kingston                             $95,601.43                5/26/2021 Post-sale distribution from property manager,
                                                                                                   $14,558.24; interest earned, $54.54
1023              8800 S. Ada                                 $126,989.07                5/26/2021 Post-sale distribution from property manager,
                                                                                                   $7,279.12; interest earned, $77.15
1031              3213 S. Throop                              $137,474.07                5/26/2021 Post-sale distribution from property manager,
                                                                                                   $19,533.84; interest earned, $78.98
1049              3723 W. 68th Place                          $124,130.40                5/26/2021 Post-sale distribution from property manager,
                                                                                                   $7,813.54; interest earned, $75.15
1056              406 E. 87th Place                            $99,668.52                5/26/2021 Post-sale distribution from property manager,
                                                                                                   $7,032.18; interest earned, $60.04
1064              61 E. 92nd Street                           $103,321.83                5/26/2021 Post-sale distribution from property manager,
                                                                                                   $7,032.18; interest earned, $62.34
1072              7953 S. Woodlawn                            $128,532.39                5/26/2021 Post-sale distribution from property manager,
                                                                                                   $11,720.31; interest earned, $76.39
1080              5437 S. Laflin                               $45,750.41                5/26/2021 Post-sale distribution from property manager,
                                                                                                   $10,058.74; interest earned, $22.55
1098              6759 S Indiana                               $90,196.01                5/26/2021 Post-sale distribution from property manager,
                                                                                                   $2,514.69; interest earned, $55.25
1106              310 E 50th Street                           $182,367.63                5/26/2021 Interest earned, $114.88
1114              6807 S. Indiana                             $110,547.87                5/26/2021 Interest earned, $69.64

                  TOTAL FUNDS HELD:                        $66,688,281.88
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                Exhibit F
Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 36 of 200 PageID #:33972
                                 Rachlis Duff & Peel, LLC
                                      542 South Dearborn Street
                                                                                             tel (312) 733-3950
                                              Suite 900                                      fax (312) 733-3952
                                       Chicago, Illinois 60605




October 29, 2021

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




 Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                         Fed. I.D. No. XX-XXXXXXX
     Cohen, and Shaun D. Cohen                                                            Invoice No.6621136
     No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.


Legal Fees for the period July 2021                                           $9,711.00

Expenses Disbursed                                                               $0.00


Due this Invoice                                                              $9,711.00
   Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 37 of 200 PageID #:33973
    Kevin B. Duff, Receiver                                                                              Page 2




         Date       Indiv Hours Description

Asset Analysis & Recovery

         7/6/2021   KBD       0.30 Study settlement agreement relating to asset and exchange
                                   correspondence and telephone conference with J. Wine relating to draft
                                   agreement and provisions.

                                   Asset Analysis & Recovery

         7/13/2021 KBD        0.30 Exchange correspondence with counsel for third party regarding settlement
                                   agreement (.2); exchange correspondence with J. Wine regarding draft
                                   motion to approve settlement (.1).

                                   Asset Analysis & Recovery

         7/16/2021 KBD        0.30 Study changes to draft motion to approve settlement and exchange
                                   related correspondence.

                                   Asset Analysis & Recovery

         7/19/2021 KBD        0.50 Exchange correspondence regarding motion to approve settlement and
                                   revise motion.

                                   Asset Analysis & Recovery

         7/21/2021 KBD        0.20 Exchange correspondence with A. Watychowicz regarding potential recovery
                                   of assets.

                                   Asset Analysis & Recovery

         7/28/2021 KBD        0.10 Exchange correspondence regarding subpoenas to third parties.

                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                 [ 1.70            663.00]

Asset Disposition

         7/6/2021   KBD       0.20 Study and revise motion to approve property sale (1102 Bingham).

                                   Asset Disposition

         7/14/2021 KBD        0.30 Study draft motion to confirm sale of property and related correspondence
                                   (1102 Bingham) (.2); confirmation of funds transfer amounts (single family)
                                   (.1).

                                   Asset Disposition

         7/16/2021 KBD        0.50 Exchange correspondence regarding motion to approve sale of property and
                                   revise motion (.4) (1102 Bingham); exchange correspondence with property
                                   manager regarding water meter issue (638-40 N Avers Avenue) (.1).

                                   Asset Disposition
   Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 38 of 200 PageID #:33974
    Kevin B. Duff, Receiver                                                                               Page 3



        Date          Indiv Hours Description

        7/19/2021 KBD         0.40 Revise motion to approve sale of property and exchange related
                                   correspondence (1102 Bingham) (.3); attention to post-sale funds from title
                                   company and exchange related correspondence (7255-57 S Euclid Avenue)
                                   (.1).

                                   Asset Disposition

        7/23/2021 KBD         1.10 Telephone conference with A. Porter and asset manager regarding potential
                                   property improvements, disposition issues, and communications with property
                                   manager and lender (7109-19 S Calumet Avenue) (.8); study letter of credit
                                   issue (7109-19 S Calumet Avenue) (.3).

                                   Asset Disposition

        7/28/2021 KBD         0.30 Confer with A. Porter and real estate broker regarding disposition of property
                                   to maximize funds (7109-19 S Calumet Avenue).

                                   Asset Disposition

        7/30/2021 KBD         0.80 Confer with K. Pritchard and J. Rak regarding allocation of post-sale
                                   reconciliation funds from property manager (417 S Oglesby Avenue; 7925 S
                                   Kingston Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8403
                                   S Aberdeen Avenue; 8405 S Marquette Avenue; 8529 S Rhodes Avenue;
                                   8800 S Ada Street; 9212 S Parnell Avenue; 2136 W 83rd Street; 1516 E
                                   85th Place; 7922 S Luella Avenue; 1017 W 102nd Street; 7933 S Kingston
                                   Avenue;11318 S Church Street; 3213 S Throop Street; 3723W 68th Place;
                                   406 E 87th Place; 61 E 92nd Street; 6554 S Rhodes Avenue; 6825 S Indiana
                                   Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7953S Woodlawn
                                   Avenue; 8107 S Kingston Avenue; 8346 S Constance Avenue; 8517 S
                                   Vernon Avenue; 10012 S LaSalle Avenue; 8432 S Essex Avenue; 4750-52 S
                                   Indiana Avenue; 7840-42 S Yates Avenue; 2800-06 E 81st Street;1422-24 E
                                   68th Street) (.3); confer with A. Porter and real estate broker regarding
                                   potential property improvements and disposition issues (7109-19 S Calumet
                                   Avenue) (.1); telephone conference with real estate broker regarding motion
                                   to approve, closing planning, and communications with buyer (1102
                                   Bingham) (.2); confer with A. Porter and J. Rak regarding closing planning,
                                   potential utility issue, and related communication with property manager
                                   (638-40 N Avers Avenue) (.2).

                                   Asset Disposition


SUBTOTAL:                                                                                   [ 3.60         1404.00]

Business Operations

        7/6/2021      KBD     0.20 Study information and communication from property manager regarding
                                   property expenses and exchange related correspondence with K.Pritchard
                                   (638-40 N Avers Avenue).

                                   Business Operations

        7/7/2021      KBD     0.30 Attention to property management agreement and exchange correspondence
                                   regarding agreement and insurance issue (7109-19 S Calumet Avenue).

                                   Business Operations
Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 39 of 200 PageID #:33975
Kevin B. Duff, Receiver                                                                                Page 4



    Date       Indiv Hours Description




    7/8/2021    KBD       0.20 Exchange correspondence with property manager regarding property
                               management agreement (7109-19 S Calumet Avenue).

                               Business Operations

    7/9/2021    KBD       0.70 Attention to expense for property security, exchange related correspondence
                               with K. Pritchard and J. Wine, and telephone conference with bank
                               representative for funds transfer (638-40 N Avers Avenue) (.2); exchange
                               correspondence with property manager regarding property management
                               agreement (7109-19 S Calumet Avenue) (.2); attention to property manager
                               property fund request (1401 W 109th Place) (.1); attention to insurance
                               representative request for property access and exchange related
                               correspondence with J. Rak (7237-43 S Bennett Avenue) (.1); exchange
                               correspondence with K. Pritchard regarding deposits for property accounts
                               (4750-52 S Indiana Avenue; 6001-05 S Sacramento Avenue) (.1).


                               Business Operations

    7/12/2021 KBD         0.30 Attention to fund transfer for property expenses (638-40 N Avers Avenue)
                               (.2); exchange correspondence regarding planning for real estate taxes
                               (7109-19 S Calumet Avenue; 638-40 N Avers Avenue) (.1).

                               Business Operations

    7/13/2021 KBD         0.70 Study property manager financial reporting (4611-17 S Drexel
                               Boulevard; 6217-27 S Dorchester Avenue; 1414-18 East 62nd Place;
                               7024-32 S Paxton Avenue; 1422-24 East 68th Street; 2800-06 E 81st Street;
                               4750-52 S Indiana Avenue; 7840-42 S Yates Avenue; single family) (.3);
                               attention to property expense (638-40 N Avers Avenue) (.1); study
                               correspondence from J. Rak regarding real estate taxes (638-40 N Avers
                               Avenue; 7109-19 S Calumet Avenue) (.1); exchange correspondence with J.
                               Rak regarding funds from title company (6217-27 S Dorchester Avenue) (.1);
                               attention to refuse and recycling disposal bills and review related
                               correspondence from property manager (7237-43 S Bennett Avenue;7255-
                               57 S Euclid Avenue) (.1).

                               Business Operations

    7/14/2021 KBD         0.20 Attention to request from insurance representative regarding property
                               appraisal and draft related correspondence to J. Rak (638-40 N Avers
                               Avenue).

                               Business Operations

    7/21/2021 KBD         0.10 Review correspondence from J. Rak regarding real estate tax payment
                               planning (638-40 N Avers Avenue; 7109-19 S Calumet Avenue).

                               Business Operations

    7/23/2021 KBD         0.30 Exchange correspondence with property manager regarding occupancy and
                               improvement issues (7109-19 S Calumet Avenue) (.2); exchange
                               correspondence with J. Rak regarding communication with property inspector
   Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 40 of 200 PageID #:33976
    Kevin B. Duff, Receiver                                                                              Page 5



         Date       Indiv Hours Description

                                   regarding sale (7237-43 S Bennett Avenue) (.1).

                                   Business Operations

         7/26/2021 KBD        0.20 Attention to property inspection (1102 Bingham) (.1); exchange
                                   correspondence with J. Wine regarding administrative order (6250 S Mozart
                                   Street) (.1).

                                   Business Operations

         7/27/2021 KBD        0.40 Study information regarding administrative orders and exchange related
                                   correspondence with J. Wine (1414-18 East 62nd Place; 1422-24 East 68th
                                   Street; 2736-44 W 64th Street; 4750-52 S Indiana Avenue; 6250 S Mozart
                                   Street; 6554-58 S Vernon Avenue; 6949-59 S Merrill Avenue; 7024-32 S
                                   Paxton Avenue; 7957-59 S Marquette Road) (.2); exchange correspondence
                                   with J. Wine regarding communication with corporate service provider
                                   (defer) (.2).

                                   Business Operations

         7/28/2021 KBD        0.20 Exchange correspondence regarding property inspection (638-40 N Avers
                                   Avenue) (.1); study correspondence from J. Wine regarding corporate service
                                   vendor issues (defer) (.1).

                                   Business Operations

         7/29/2021 KBD        0.10 Draft correspondence to property manager regarding potential improvements
                                   (7109-19 S Calumet Avenue).

                                   Business Operations

         7/30/2021 KBD        0.20 Exchange correspondence with property manager regarding potential
                                   improvements (7109-19 S Calumet Avenue) (.1); attention to utility invoices
                                   and draft correspondence to K. Pritchard regarding same (1401 W109th
                                   Place) (.1).

                                   Business Operations


SUBTOTAL:                                                                                  [ 4.10          1599.00]

Claims Administration & Objections

         7/1/2021   KBD       0.50 Telephone conference with SEC (Group 1) (.1); telephone conference and
                                   exchange correspondence with J. Wine regarding framing report and
                                   proposed revisions (Group 1) (.2); attention to communication with claimant
                                   regarding claim (Group 1) (.1); attention to records platform invoice (Group
                                   1) (.1).

                                   Claims Administration & Objections

         7/4/2021   KBD       0.10 Exchange correspondence with J. Wine regarding single claim process (sole
                                   lien).

                                   Claims Administration & Objections
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Kevin B. Duff, Receiver                                                                                  Page 6



    Date       Indiv Hours Description


    7/5/2021    KBD       0.20 Telephone conference with A. Porter regarding analysis of claims against
                               property (1102 Bingham).

                               Claims Administration & Objections

    7/6/2021    KBD       1.00 Telephone conference and exchange correspondence with J. Wine regarding
                               framing report and review and revise draft framing report (all) (.5); study
                               standard discovery and related exchange of correspondence with J. Wine. M.
                               Rachlis, and A. Watychowicz (all) (.3); study correspondence from J. Wine
                               regarding single claim process (sole lien) (.2).

                               Claims Administration & Objections

    7/7/2021    KBD       0.50 Exchange correspondence with A. Watychowicz regarding steps to address
                               bounced service emails and communications with claimants (Group 1) (.1);
                               exchange correspondence with counsel regarding claimant's claim and
                               request for information, and exchange related correspondence with
                               J. Wine (all) (.2); study revised standard discovery requests (all) (.2).

                               Claims Administration & Objections

    7/8/2021    KBD       0.20 Study and revise correspondence to claimants regarding deadlines and
                               standard discovery, and review additional related correspondence (Group 1).

                               Claims Administration & Objections

    7/9/2021    KBD       0.50 Study draft communication to claimants regarding claims process and
                               discovery and exchange correspondence with J. Wine regarding potential
                               discovery issues (all) (.3); attention to communication with potential claimant
                               (7836 S Shore Drive) (.2).

                               Claims Administration & Objections

    7/12/2021 KBD         0.80 Exchange correspondence with A. Watychowicz regarding communication
                               with claimants regarding claims process, email communications, and
                               production of records (Group 1) (.5); exchange correspondence with J. Wine
                               regarding vendor invoice and Court approved payment (all) (.2); study
                               correspondence from J. Wine regarding single claim process (sole lien) (.1).

                               Claims Administration & Objections

    7/13/2021 KBD         0.70 Study revisions to sole lien process and exchange correspondence with M.
                               Rachlis and J. Wine and M. Rachlis (sole lien) (.6); exchange
                               correspondence regarding production of files from claims vendor (all) (.1).

                               Claims Administration & Objections

    7/14/2021 KBD         0.70 Exchange correspondence regarding inquiry regarding claimant's claim
                               (all) (.2); exchange correspondence with J. Wine and M. Rachlis regarding
                               sole lien process (sole lien) (.4); attention to inquiry from claimant regarding
                               standard discovery requests (Group 1) (.1).

                               Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 42 of 200 PageID #:33978
Kevin B. Duff, Receiver                                                                               Page 7



    Date      Indiv Hours Description




    7/15/2021 KBD         0.40 Exchange correspondence regarding claimant and standard discovery
                               requests (Group 1) (.1); work on claims analysis approach (all) (.1); work on
                               sole lien process and exchange related correspondence (sole lien) (.2).

                               Claims Administration & Objections

    7/16/2021 KBD         0.20 Exchange correspondence regarding evaluation of secured status for claims
                               (all).

                               Claims Administration & Objections

    7/18/2021 KBD         0.20 Telephone conference with A. Porter regarding claims analysis and discovery
                               planning (Group 1).

                               Claims Administration & Objections

    7/19/2021 KBD         0.20 Work on response to claimant inquiry (all).

                               Claims Administration & Objections

    7/20/2021 KBD         0.20 Attention to communication from claimant and exchange related
                               correspondence with A. Watychowicz (all).

                               Claims Administration & Objections

    7/21/2021 KBD         0.20 Exchange correspondence with A. Watychowicz and J. Wine regarding
                               claimant communication and funds issue (Group 1).

                               Claims Administration & Objections

    7/23/2021 KBD         0.60 Review claims documentation and exchange various related
                               correspondence with J. Wine and A. Watychowicz (Group 1) (.5); exchange
                               correspondence with claimant regarding claims information (Group 1)(.1).


                               Claims Administration & Objections

    7/26/2021 KBD         0.30 Attention to claimant communication regarding Group 1 discovery (Group 1)
                               (.1); exchange correspondence with A. Porter regarding third party failure to
                               submit claim (all) (.1); attention to claimant production records issue (all)
                               (.1).

                               Claims Administration & Objections

    7/27/2021 KBD         0.40 Study correspondence from claimant regarding production of documents
                               and exchange related correspondence addressing same (Group1) (.2);
                               attention to claims documentation vendor invoice (all) (.2).

                               Claims Administration & Objections

    7/28/2021 KBD         0.70 Attention to communication with claimant regarding claim form issues (all)
                               (.1); exchange correspondence regarding claims review and analysis (all)
                               (.1); study draft correspondence to claimants regarding discovery
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    Kevin B. Duff, Receiver                                                                               Page 8



        Date       Indiv Hours Description

                                   procedures (Group 1) (.2); work on response to claimant regarding various
                                   issues for claims process (Group 1) (.2); attention to claimant production
                                   format issue (Group 1) (.1).

                                   Claims Administration & Objections

        7/29/2021 KBD         0.80 Exchange correspondence with J. Wine and A. Porter regarding claims
                                   process and review planning (all) (.2); attention to correspondence with third
                                   party vendor regarding notice and collection issue (all) (.2); study and revise
                                   correspondence to claimant regarding collection and claim issue (all) (.2);
                                   work on communication to claimants regarding claims process issues (Group
                                   1) (.2).

                                   Claims Administration & Objections

        7/30/2021 KBD         3.10 Confer with J. Wine, A. Porter, and J. Rak regarding claims process analysis
                                   and various related issues (Group 1) (2.7); study correspondence from
                                   claimants' counsel regarding request for EB records and potential subpoena
                                   (all) (.2); study correspondence from counsel for claimant regarding single
                                   claim process and related analysis (sole lien) (.2).

                                   Claims Administration & Objections


SUBTOTAL:                                                                                  [ 12.50         4875.00]

Status Reports

        7/9/2021    KBD       0.20 Review correspondence from J. Wine and K. Pritchard regarding draft status
                                   report.

                                   Status Reports

        7/15/2021 KBD         0.10 Exchange correspondence with J. Wine regarding insurance premiums.

                                   Status Reports

        7/20/2021 KBD         0.50 Study draft status report.

                                   Status Reports

        7/21/2021 KBD         0.40 Study and revise draft status report.

                                   Status Reports

        7/22/2021 KBD         0.40 Study and revise draft status report.

                                   Status Reports

        7/23/2021 KBD         0.30 Review revised status report and exchange related correspondence.

                                   Status Reports

        7/27/2021 KBD         0.40 Exchange correspondence regarding status report and revisions, and further
                                   revise report.
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    Kevin B. Duff, Receiver                                                                                 Page 9



         Date     Indiv Hours Description


                                   Status Reports

         7/28/2021 KBD        0.30 Study revised status report.

                                   Status Reports

         7/30/2021 KBD        0.40 Study, revise, and finalize status report and exchange various related
                                   correspondence.

                                   Status Reports


SUBTOTAL:                                                                                   [ 3.00           1170.00]




                                                                                            24.90           $9,711.00



                                                Summary of Activity
                                                                                    Hours       Rate
Kevin B. Duff                                                                       24.90     390.00        $9,711.00
Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 45 of 200 PageID #:33981
Kevin B. Duff, Receiver                                                      Page 10




                                   SUMMARY


              Legal Services                                   $9,711.00
              Other Charges                                        $0.00

                 TOTAL DUE                                     $9,711.00
Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 46 of 200 PageID #:33982
                                Rachlis Duff & Peel, LLC
                                      542 South Dearborn Street
                                                                                          tel (312) 733-3950
                                              Suite 900                                   fax (312) 733-3952
                                       Chicago, Illinois 60605




October 29, 2021

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




 Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                      Fed. I.D. No. XX-XXXXXXX
     Cohen, and Shaun D. Cohen                                                         Invoice No. 6621137
     No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.


Legal Fees for the period August 2021                                    $11,349.00

Expenses Disbursed                                                            $0.00


Due this Invoice                                                          $11,349.00
   Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 47 of 200 PageID #:33983
    Kevin B. Duff, Receiver                                                                              Page 2




         Date       Indiv Hours Description

Asset Analysis & Recovery

         8/4/2021   KBD       0.30 Exchange correspondence with J. Wine regarding order approving settlement
                                   agreement (.2); work on potential asset recovery (.1).
                                   Asset Analysis & Recovery

         8/16/2021 KBD        0.20 Attention to recovery of settlement payment.

                                   Asset Analysis & Recovery

         8/30/2021 KBD        0.10 Exchange correspondence with J. Rak regarding potential asset.

                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                  [ 0.60             234.00]

Asset Disposition

         8/3/2021   KBD       0.40 Exchange correspondence and telephone conference with A. Porter
                                   regarding property closing and water certification issue (638-40 N Avers
                                   Avenue) (.3); attention to motion to approve sale of property and order
                                   granting the same (1102 Bingham) (.1).

                                   Asset Disposition

         8/4/2021   KBD       0.20 Attention to order for motion to approve sale of property (1102 Bingham) (.1);
                                   work on water certification issue (638-40 N Avers Avenue) (.1).

                                   Asset Disposition

         8/6/2021   KBD       0.30 Prepare spreadsheet confirming allocation of post-sale funds from property
                                   manager and exchange various related correspondence for information (417
                                   S Oglesby Avenue; 7925 S Kingston Avenue; 8030 S Marquette Avenue;
                                   8104 S Kingston Avenue; 8403 S Aberdeen Avenue; 8405S Marquette
                                   Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell
                                   Avenue; 2136 W 83rd Street; 1516 E 85th Place; 7922 S Luella Avenue;
                                   1017 W 102nd Street; 7933 S Kingston Avenue; 11318 S Church Street;
                                   3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place; 61 E 92nd
                                   Street; 6554 S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon
                                   Avenue; 7712 S Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S Kingston
                                   Avenue; 8346 S Constance Avenue; 8517 S Vernon Avenue; 10012 S
                                   LaSalle Avenue; 8432 S Essex Avenue; 4750-52 S Indiana Avenue; 7840-42
                                   S Yates Avenue; 2800-06 E 81st Street; 1422-24 E 68th Street).

                                   Asset Disposition

         8/9/2021   KBD       0.70 Continue to prepare and finalize spreadsheet confirming allocation of
                                   post-sale funds from property manager (417 S Oglesby Avenue; 7925S
                                   Kingston Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue;
                                   8403 S Aberdeen Avenue; 8405 S Marquette Avenue; 8529 S Rhodes
                                   Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 2136 W 83rd Street;
                                   1516 E 85th Place; 7922 S Luella Avenue; 1017 W 102nd Street; 7933 S
Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 48 of 200 PageID #:33984
Kevin B. Duff, Receiver                                                                               Page 3



    Date        Indiv Hours Description

                               Kingston Avenue; 11318 S Church Street; 3213 S Throop Street; 3723 W
                               68th Place; 406 E 87th Place; 61 E 92nd Street; 6554 S Rhodes Avenue;
                               6825 S Indiana Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7953
                               S Woodlawn Avenue; 8107 S Kingston Avenue; 8346 S Constance Avenue;
                               8517 S Vernon Avenue; 10012 S LaSalle Avenue; 8432 S Essex Avenue;
                               4750-52 S Indiana Avenue; 7840-42 S Yates Avenue; 2800-06 E 81st Street;
                               1422-24 E 68th Street).

                               Asset Disposition

    8/10/2021 KBD         0.40 Exchange correspondence with property manager, asset manager, A. Porter,
                               and J. Rak regarding water meter pipe repair needed to facilitate closing
                               (638-40 N Avers Avenue) (.2); exchange correspondence with A. Porter
                               regarding procedure relating to approval of sale of property and
                               communication with purchaser regarding earnest money deposit and closing
                               date (1102 Bingham) (.2).

                               Asset Disposition

    8/11/2021 KBD         0.20 Exchange correspondence with A. Porter and J. Wine regarding property
                               repair for water certification and closing timing (638-40 N Avers Avenue).

                               Asset Disposition

    8/12/2021 KBD         0.10 Exchange correspondence with J. Wine regarding efforts to close sale (1102
                               Bingham).

                               Asset Disposition

    8/13/2021 KBD         0.60 Work on post-sale reconciliation of property manager funds (417 S Oglesby
                               Avenue; 7925 S Kingston Avenue; 8030 S Marquette Avenue; 8104 S
                               Kingston Avenue; 8403 S Aberdeen Avenue; 8405 S Marquette Avenue; 8529
                               S Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 2136 W 83rd
                               Street; 1516 E 85th Place; 7922 S Luella Avenue; 1017 W 102nd Street;
                               7933 S Kingston Avenue; 11318 S Church Street; 3213 S Throop Street;
                               3723 W 68th Place; 406 E 87th Place; 61 E 92nd Street; 6554 S Rhodes
                               Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7712 S Euclid
                               Avenue; 7953 S Woodlawn Avenue; 8107 S Kingston Avenue; 8346 S
                               Constance Avenue; 8517 S Vernon Avenue; 10012 S LaSalle Avenue; 8432
                               S Essex Avenue; 4750-52 S Indiana Avenue; 7840-42 S Yates Avenue;
                               2800-06 E 81st Street; 1422-24 E 68th Street) (.4); study order denying
                               former purchaser motion for return of earnest money (6949-59 S Merrill
                               Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue) (.2).

                               Asset Disposition

    8/18/2021 KBD         0.20 Attention to efforts to resolve issues with City and move closing forward and
                               exchange related correspondence with claimant's counsel (638-40 N Avers
                               Avenue).

                               Asset Disposition

    8/20/2021 KBD         0.20 Study correspondence regarding order approving sale and earnest money
                               (1102 Bingham) (.1); exchange correspondence regarding court ruling and
                               request to release escrowed funds (6949-59 S Merrill Avenue; 7600-10 S
                               Kingston Avenue; 7656-58 S Kingston Avenue) (.1).


                               Asset Disposition
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    Kevin B. Duff, Receiver                                                                            Page 4



        Date       Indiv Hours Description




        8/23/2021 KBD         0.10 Study notice from intervenor regarding appeal and from title company
                                   regarding earnest money (6949-59 S Merrill Avenue; 7600-10 SKingston
                                   Avenue; 7656-58 S Kingston Avenue).

                                   Asset Disposition

        8/24/2021 KBD         0.10 Draft correspondence to property manager regarding efforts to resolve water
                                   meter issue with City (638-40 N Avers Avenue).

                                   Asset Disposition

        8/27/2021 KBD         0.10 Attention to earnest money deposit and related correspondence (1102
                                   Bingham).

                                   Asset Disposition


SUBTOTAL:                                                                                [ 3.60          1404.00]

Business Operations

        8/2/2021      KBD     0.20 Work on gathering information for claimant's counsel and appraiser and
                                   exchange various related correspondence (7109-19 S Calumet Avenue).

                                   Business Operations

        8/3/2021      KBD     0.10 Work on communication with former service provider and confirmation of
                                   termination of services (defer).

                                   Business Operations

        8/6/2021      KBD     0.20 Study financial reporting from property manager (6250 S Mozart Street;
                                   9610 S Woodlawn Avenue; 638-40 N Avers Avenue; 7237-43 S Bennett
                                   Avenue; 1401 W 109th Place; 310 E 50th Street; 6807 S Indiana Avenue;
                                   7255-57 S Euclid Avenue; 4315-19 S Michigan Avenue; 7600-10 SKingston
                                   Avenue; 7656-58 S Kingston Avenue; 416-24 E 66th Street).

                                   Business Operations

        8/10/2021 KBD         0.20 Review expense projections for property improvements and exchange related
                                   correspondence (7109-19 S Calumet Avenue).

                                   Business Operations

        8/11/2021 KBD         0.10 Study information regarding potential improvements (7109-19 S Calumet
                                   Avenue).

                                   Business Operations

        8/12/2021 KBD         0.20 Exchange correspondence with property manager regarding financial
                                   reporting and final expenses (6250 S Mozart Street; 9610 S Woodlawn
                                   Avenue; 638-40 N Avers Avenue; 7237-43 S Bennett Avenue; 1401 W 109th
                                   Place; 310 E 50th Street; 6807 S Indiana Avenue; 7255-57 S Euclid Avenue;
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Kevin B. Duff, Receiver                                                                                 Page 5



    Date        Indiv Hours Description

                               4315-19 S Michigan Avenue; 7600-10 S Kingston Avenue; 7656-58 S
                               Kingston Avenue; 416-24 E 66th Street) (.1); review information regarding
                               resolution of administrative action (6250 S Mozart Street) (.1).

                               Business Operations

    8/13/2021 KBD         0.20 Study correspondence from property manager and J. Wine regarding
                               asserted claim and exchange related correspondence (3074 E Cheltenham
                               Place).

                               Business Operations

    8/17/2021 KBD         0.20 Work on communication to counsel regarding state court complaint filed in
                               violation of stay order (3074 E Cheltenham Place).

                               Business Operations

    8/23/2021 KBD         0.50 Study, revise, and exchange correspondence with A. Watychowicz regarding
                               correspondence to City relating to orders of default, lack of notice, stay of
                               enforcement, and claims submission procedure and exchange related
                               correspondence with City representatives (7024-32 S Paxton; 1414-18 E
                               62nd Place; 1422-24 E 68th Street) (.3); draft correspondence to K. Pritchard
                               and J. Rak regarding real estate tax bills (638-40 N Avers Avenue; 7109-19 S
                               Calumet Avenue) (.2).

                               Business Operations

    8/25/2021 KBD         0.20 Attention to administrative notice and draft related correspondence to
                               property manager and J. Rak (1102 Bingham).

                               Business Operations

    8/26/2021 KBD         0.10 Exchange correspondence regarding property expenses (8214-16 S Ingleside
                               Avenue; 7201 S Constance Avenue).

                               Business Operations

    8/27/2021 KBD         0.30 Study correspondence from counsel for bank regarding requested access to
                               records and exchange related correspondence (defer).

                               Business Operations

    8/30/2021 KBD         0.20 Exchange correspondence with J. Rak regarding payment of real estate taxes
                               (7109-19 S Calumet Avenue; 638-40 N Avers Avenue) (.1); exchange
                               correspondence with J. Rak regarding property maintenance and City notice
                               (1102 Bingham) (.1).

                               Business Operations

    8/31/2021 KBD         0.20 Study and exchange correspondence regarding water meter installation issue
                               (638-40 N Avers Avenue).

                               Business Operations
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         Date       Indiv Hours Description


SUBTOTAL:                                                                                  [ 2.90          1131.00]

Claims Administration & Objections

         8/2/2021    KBD      1.80 Confer with J. Wine and A. Watychowicz regarding claimant discovery,
                                   production of records, communications, protective order issues, and logistics
                                   to facilitate process (Group 1) (.6); work on communication to claimants
                                   (Group 1) (.2); study communication from claimant's counsel regarding
                                   nature of claim and discovery and exchange related correspondence with J.
                                   Wine (all) (.7); study correspondence from A. Porter regarding analysis of
                                   refinance of properties (Group 1) (.2); attention to communication with
                                   claimant (all) (.1).

                                   Claims Administration & Objections

         8/3/2021    KBD      0.60 Exchange correspondence with J. Wine and A. Watychowicz regarding
                                   communications with claimants regarding discovery and claimant production
                                   format issue (Group 1) (.2); exchange correspondence with J. Wine regarding
                                   communication with claimants' counsel relating to discovery and claims
                                   against funds (all) (.1); attention to communications regarding analysis of
                                   claims (Group 1) (.1); exchange correspondence with A. Watychowicz
                                   regarding functionality of document database (all) (.2).

                                   Claims Administration & Objections

         8/4/2021    KBD      0.80 Exchange correspondence with J. Wine and A. Watychowicz regarding
                                   claimants' discovery verification issue (Group 1) (.2); exchange
                                   correspondence with J. Wine regarding communication with claimants'
                                   counsel regarding request for records (all) (.1); exchange correspondence
                                   with J. Wine regarding sole lien process and follow up with counsel for
                                   claimants (sole lien) (.1); draft correspondence regarding potential claim and
                                   distribution issue (1516 E 85th Place) (.2); exchange correspondence with J.
                                   Wine and A. Watychowicz regarding functionality of document database (all)
                                   (.2).

                                   Claims Administration & Objections

         8/5/2021    KBD      0.30 Work on response to claimant regarding standard discovery (all) (.1);
                                   exchange correspondence with M. Rachlis and J. Wine regarding sole lien
                                   process (sole lien) (.2).

                                   Claims Administration & Objections

         8/6/2021    KBD      1.00 Exchange correspondence and telephone conference with J. Wine regarding
                                   single claim process and communication with claimants' counsel regarding
                                   same (sole lien) (.2); confer with J. Wine, A. Porter, and J. Rak regarding
                                   analysis of claims (Group 1) (.5); exchange correspondence with J. Wine
                                   regarding communication with claimants' counsel regarding motion for EB
                                   documents, subpoena, and proposed order (all) (.3).

                                   Claims Administration & Objections

         8/7/2021    KBD      0.20 Exchange correspondence regarding claims discovery (Group 1).

                                   Claims Administration & Objections
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    Date       Indiv Hours Description


    8/9/2021    KBD       1.20 Telephone conference with J. Wine regarding claimant productions and
                               related communications (Group 1) (.3); study claimants' discovery responses
                               (Group 1) (.4); exchange correspondence regarding claimant request for
                               claims information (all) (.1); study correspondence from J. Rak regarding
                               analysis of claim (Group 1) (.2); exchange correspondencewith J. Wine
                               regarding claims totals and payments to claimants (all) (.2).

                               Claims Administration & Objections

    8/10/2021 KBD         0.40 Study, revise, and exchange correspondence relating to communication to
                               claimants regarding claims discovery issues (Group 1) (.3); study claimants'
                               discovery responses (Group 1) (.1).

                               Claims Administration & Objections

    8/11/2021 KBD         2.20 Work on procedure for sharing late and supplemental production documents
                               with claimants (Group 1) (.2); work on claims analysis with A. Porter, J. Wine,
                               J. Rak, and A. Watychowicz (all) (1.8); exchange correspondence with A.
                               Watychowicz regarding document database functionality issue (all) (.1);
                               study correspondence from J. Wine regarding claimants’ request for records
                               and related confidentiality issues (all) (.1).

                               Claims Administration & Objections

    8/12/2021 KBD         0.40 Exchange correspondence regarding claimant submission and related
                               communications (Group 1) (.1); exchange correspondence with J. Wine
                               regarding development of factual narrative and study related documents
                               (Group 1) (.3).

                               Claims Administration & Objections

    8/13/2021 KBD         0.30 Exchange correspondence with J. Wine regarding issues relating to
                               claimants' request for claims documentation (all) (.2); study privilege
                               log (Group 1) (.1).

                               Claims Administration & Objections

    8/16/2021 KBD         0.10 Attention to claimant communication regarding claim and procedures (all).

                               Claims Administration & Objections

    8/17/2021 KBD         3.10 Investigation of claims and financing history (Group 1) (.3); confer with A.
                               Porter, J. Wine, J. Rak, and A. Watychowicz regarding claims analysis
                               (Group 1) (2.0); legal research regarding mortgage validity and
                               enforceability issues (all) (.5); exchange correspondence regarding
                               claimant compensation (Group 1) (.1); review draft motion to approve
                               process for sole lien properties (sole lien) (.2).

                               Claims Administration & Objections
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    Date      Indiv Hours Description

    8/18/2021 KBD         0.40 Exchange correspondence with J. Wine regarding document database
                               vendor invoice (all) (.1); study records relating to claimant and various
                               related correspondence (Group 1) (.3).

                               Claims Administration & Objections

    8/19/2021 KBD         1.90 Review claims analysis from J. Wine (Group 1) (.3); confer with SEC (Group
                               1) (.5); confer with A. Porter and J. Wine regarding claims analysis and
                               approach to discovery (Group 1) (.7); work on discovery issues and
                               exchange related correspondence (Group 1) (.4).

                               Claims Administration & Objections

    8/20/2021 KBD         1.20 Work on claimants' request for records and exchange related
                               correspondence (all) (.7); review draft motion for sole lien process (sole lien)
                               (.2); work on communications with claimants regarding discovery (Group 1)
                               (.3).

                               Claims Administration & Objections

    8/22/2021 KBD         0.20 Work on response to claimants' request for records and exchange related
                               correspondence (all).

                               Claims Administration & Objections

    8/23/2021 KBD         0.50 Exchange correspondence regarding claimants' request for records (all) (.3);
                               attention to communication with claimant (all) (.2).

                               Claims Administration & Objections

    8/24/2021 KBD         0.70 Exchange correspondence and telephone conference with A. Watychowicz
                               regarding searches for records relating to investors communications with
                               claimant (Group 1) (.3); work with A. Watychowicz on responses to
                               claimants (Group 1) (.4).

                               Claims Administration & Objections

    8/25/2021 KBD         0.40 Exchange correspondence regarding communication with claimants relating
                               to discovery issues and communications (Group 1) (.2); study
                               correspondence from and telephone conference with claimant's counsel
                               regarding request for records and exchange related correspondence (all)
                               (.1); attention to claimant inquiry regarding claims process (all) (.1).

                               Claims Administration & Objections

    8/26/2021 KBD         0.30 Confer with J. Wine regarding sole lien process and draft motions from
                               claimants' counsel (sole lien) (.1); exchange correspondence with A.
                               Watychowicz regarding communication with claimant regarding document
                               production (Group 1) (.1); study correspondence from claimants’ counsel
                               regarding motion for access to claimant records and EB databaseand
                               exchange related correspondence J. Wine (all) (.1).

                               Claims Administration & Objections
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        Date       Indiv Hours Description




        8/27/2021 KBD         0.30 Study draft single claim process and related correspondence (sole lien).

                                   Claims Administration & Objections

        8/30/2021 KBD         1.40 Confer with legal team regarding analysis of EB transactions (all) (.6);
                                   telephone conference with J. Wine and M. Rachlis regarding hearing before
                                   Judge Lee on claimants' request to use EB records in third party litigation
                                   (all) (.5); study correspondence and analysis from J. Wine regarding claim
                                   (Group 1) (.2); attention to issue relating to sequence of claims groups (all)
                                   (.1).


                                   Claims Administration & Objections

        8/31/2021 KBD         0.90 Prepare for hearing before Judge Lee and exchange correspondence with M.
                                   Rachlis regarding claimants' request to use documents in third party litigation
                                   (all) (.4); appear before Judge Lee for hearing (all) (.5).

                                   Claims Administration & Objections


SUBTOTAL:                                                                                   [ 20.60        8034.00]

Tax Issues

        8/3/2021    KBD       1.00 Telephone conferences and exchange correspondence with accounting firm
                                   representative and K. Pritchard regarding IRS notice (1516 E 85th Place) (.9);
                                   exchange correspondence with A. Watychowicz regarding tax notice
                                   information (.1).

                                   Tax Issues

        8/14/2021 KBD         0.20 Study IRS notices and draft related correspondence to accounting firm
                                   representative.

                                   Tax Issues

        8/27/2021 KBD         0.20 Attention to tax form relating to recovered asset.


                                   Tax Issues


SUBTOTAL:                                                                                   [ 1.40            546.00]




                                                                                            29.10       $11,349.00
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                                    Summary of Activity
                                                               Hours     Rate
Kevin B. Duff                                                  29.10   390.00   $11,349.00
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                                   SUMMARY


              Legal Services                                  $11,349.00
              Other Charges                                        $0.00

                 TOTAL DUE                                    $11,349.00
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                                Rachlis Duff & Peel, LLC
                                      542 South Dearborn Street
                                                                                          tel (312) 733-3950
                                              Suite 900                                   fax (312) 733-3952
                                       Chicago, Illinois 60605




November 3, 2021

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




 Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                      Fed. I.D. No. XX-XXXXXXX
     Cohen, and Shaun D. Cohen                                                         Invoice No. 6621138
     No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.


 Legal Fees for the period September 2021                                $13,494.00

Expenses Disbursed                                                            $0.00


Due this Invoice                                                          $13,494.00
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    Kevin B. Duff, Receiver                                                                                Page 2




         Date       Indiv Hours Description

Asset Analysis & Recovery

         9/2/2021   KBD       0.40 Exchange correspondence regarding potential asset recovery and
                                   subpoena (.3); exchange correspondence regarding records review (.1).

                                   Asset Analysis & Recovery

         9/3/2021   KBD       0.40 Telephone conference with SEC (.2); exchange correspondence regarding
                                   potential asset recovery and subpoena (.1); telephone conference with
                                   government representative (.1).

                                   Asset Analysis & Recovery

         9/14/2021 KBD        0.20 Telephone conference with SEC.

                                   Asset Analysis & Recovery

         9/20/2021 KBD        0.20 Study notice letter to third party and exchange related correspondence with J.
                                   Wine.

                                   Asset Analysis & Recovery

         9/21/2021 KBD        0.60 Study documents and correspondence from third party and exchange
                                   related correspondence with A. Watychowicz and J. Wine (.5);attention
                                   to communication from third party regarding subpoena (.1).

                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                  [ 1.80           702.00]

Asset Disposition

         9/2/2021   KBD       0.20 Attention to planning for closing on sale of property (1102 Bingham).

                                   Asset Disposition

         9/15/2021 KBD        0.20 Exchange correspondence with A. Porter regarding closing costs and
                                   attention to efforts to resolve water meter issue (638-40 N Avers Avenue).

                                   Asset Disposition

         9/16/2021 KBD        0.20 Exchange correspondence regarding water invoice for property and efforts to
                                   resolve same with City (638-40 N Avers Avenue).

                                   Asset Disposition

         9/17/2021 KBD        0.40 Work on water meter issue and related communication efforts with City
                                   (638-40 N Avers Avenue).

                                   Asset Disposition
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        Date       Indiv Hours Description


        9/20/2021 KBD         0.20 Exchange correspondence with A. Porter and M. Rachlis regarding third party
                                   appeal (6949-59 S Merrill Avenue; 7600-10 S Kingston Avenue; 7656-58 S
                                   Kingston Avenue).

                                   Asset Disposition

        9/22/2021 KBD         0.60 Exchange correspondence with J. Rak and K. Pritchard regarding post-sale
                                   reconciliations (single family; 1422-24 East 68th Street; 7255-57 S Euclid
                                   Avenue; 7237-43 S Bennett Avenue; 6217-27 S Dorchester Avenue) (.1);
                                   exchange correspondence regarding response to appeal and potential
                                   strategy (6949-59 S Merrill Avenue; 7600-10 S Kingston Avenue; 7656-58 S
                                   Kingston Avenue) (.4); work on efforts to resolve water meter issue (638-40 N
                                   Avers Avenue) (.1).

                                   Asset Disposition

        9/24/2021 KBD         0.50 Exchange correspondence with A. Porter regarding communication with City
                                   officials regarding water meter issue and efforts to close sale of property
                                   (638-40 N Avers Avenue) (.2); exchange correspondence with property
                                   manager regarding post-sale reconciliation of funds (1422-24 East
                                   68th Street; 7255-57 S Euclid Avenue; 7237-43 S Bennett Avenue; 6217-27 S
                                   Dorchester Avenue) (.3).

                                   Asset Disposition

        9/28/2021 KBD         0.50 Review communications with City officials and exchange correspondence
                                   with A. Porter regarding efforts to move City forward on water meter issue
                                   (638-40 N Avers Avenue) (.3); attention to post-sale reconciliation of funds
                                   (1401 W 109th Place; 310 E 50th Street; 6807 S Indiana Avenue; 9610 S
                                   Woodlawn Avenue; 7255-57 S Euclid Avenue; 7237-43 S Bennett Avenue;
                                   1414-18 East 62nd Place; 2129 W 71st Street; 5437 S Laflin Street; 6759 S
                                   Indiana Avenue; 6217-27 S Dorchester Avenue) (.2).

                                   Asset Disposition


SUBTOTAL:                                                                                  [ 2.80         1092.00]

Business Operations

        9/1/2021      KBD     0.50 Telephone conference with J. Rak regarding lender's counsel's request for
                                   various information relating to property (7109-19 S Calumet Avenue) (.2);
                                   study and resolve correspondence regarding action filed in violation of stay
                                   order (3074 Cheltenham Place) (.2); attention to payment ofmunicipal fine
                                   (1102 Bingham) (.1).

                                   Business Operations

        9/2/2021      KBD     0.40 Exchange correspondence with J. Wine regarding asserted claim (3074 E
                                   Cheltenham Place) (.1); exchange correspondence regarding third party
                                   request for access to EB documents database (defer) (.2); attention to claim
                                   related to property (7110 S Cornell Avenue) (.1).

                                   Business Operations
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    Date       Indiv Hours Description


    9/8/2021    KBD       0.40 Exchange correspondence with E. Duff and J. Rak regarding information for
                               insurance broker relating to coverage issues and communications with
                               property manager (7109-19 S Calumet Avenue) (.2); exchange
                               correspondence regarding third party request for access to EB documents
                               database (defer) (.1); exchange correspondence with property manager
                               regarding final disposal invoice (2736-44 W 64th Street) (.1).

                               Business Operations

    9/9/2021    KBD       0.20 Confer with M. Rachlis and J. Wine regarding third party request for
                               documents in connection with third party litigation (defer).

                               Business Operations

    9/10/2021 KBD         0.60 Confer with government representative (defer) (.2); exchange
                               correspondence regarding real estate taxes and potential unit improvements
                               and costs (7109-19 S Calumet Avenue) (.2); attention to potential resolution
                               of personal injury claim and exchange related correspondence with J. Wine
                               (7110 S Cornell Avenue) (.1); exchange correspondence with counsel for
                               lender claimant regarding request for information regarding property (638-40
                               N Avers Avenue) (.1).


                               Business Operations

    9/15/2021 KBD         0.30 Exchange correspondence with counsel for claimant regardingpayment of
                               real estate taxes (638-40 N Avers Avenue; 7109-19 S CalumetAvenue)
                               (.1); exchange correspondence with property manager and K. Pritchard
                               regarding post-sale reconciliation and return of funds (6217-27 S
                               Dorchester Avenue) (.1); study correspondence from property manager
                               regarding financial reporting (7109-19 S Calumet Avenue) (.1).

                               Business Operations

    9/17/2021 KBD         0.20 Exchange correspondence with insurance adjuster and J. Wine regarding
                               resolution of personal injury claim (7110 S Cornell Avenue).

                               Business Operations

    9/21/2021 KBD         0.40 Attention to security renewal, exchange related correspondence, and
                               telephone conference with bank representative regarding transfer of funds
                               (638-40 N Avers Avenue) (.2); exchange correspondence with property
                               manager regarding distribution for properties (6217-27 S Dorchester
                               Avenue; 2129 W 71st Street; 5437 S Laflin Street; 6759 S Indiana Avenue)
                               (.2).

                               Business Operations

    9/22/2021 KBD         0.20 Exchange correspondence regarding waste management invoice and
                               communication with property manager (4750-52 S Indiana Avenue) (.1);
                               exchange correspondence with K. Pritchard regarding property expense for
                               security (683-40 N Avers Avenue) (.1).

                               Business Operations
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    Date      Indiv Hours Description


    9/23/2021 KBD         1.50 Confer with E. Duff regarding insurance, property allocation, and expense
                               restoration issues and exchange related correspondence (7450 S Luella
                               Avenue; 7546-48 S Saginaw Avenue; 8201 S Kingston Avenue; 4520-26 S
                               Drexel Boulevard; 8326-32 S Ellis Avenue; 5450-52 S Indiana Avenue;
                               6437-41 S Kenwood Avenue; 7760 S Coles Avenue; 8000-02 S Justine
                               Street; 8107-09 S Ellis Avenue; 8214-16 S Ingleside Avenue; 8209 S Ellis
                               Avenue; 11117-11119 S Longwood Drive; 7300-04 S St Lawrence Avenue;
                               7110 S Cornell Avenue; 7957-59 S Marquette Road; 7051 S Bennett Avenue;
                               3074 E Cheltenham Place; 2736-44 W 64th Street; 6356 S California Avenue;
                               6355-59 S Talman Avenue; 5618-20 S Martin Luther King Drive; 7201 S
                               Constance Avenue; 6554-58 S Vernon Avenue; 1700-08 W Juneway
                               Terrace; 7201-07 S Dorchester Avenue; 7508 S Essex Avenue; 7442-54 S
                               Calumet Avenue; 816-22 E Marquette Road; 6949-59 S Merrill Avenue;
                               4533-47 S Calumet Avenue; 4315-19 S Michigan Avenue; 7600-10 S
                               Kingston Avenue; 7656-58 S Kingston Avenue; 1131-41 E 79th Place; 6250 S
                               Mozart Street) (1.3); attention to property maintenance issue (1102 Bingham)
                               (.2).

                               Business Operations

    9/24/2021 KBD         1.80 Exchange correspondence with vendor regarding property maintenance and
                               attention to expense payment (1102 Bingham) (.2); confer with accounting
                               firm representatives and E. Duff regarding expense accounting, property
                               spreadsheets, and expense reimbursement issues (7450 S Luella Avenue;
                               7546-48 S Saginaw Avenue; 8201 S KingstonAvenue; 4520-26 S Drexel
                               Boulevard; 8326-58 S Ellis Avenue; 5450-52 S Indiana Avenue; 6437-41 S
                               Kenwood Avenue; 7760 S Coles Avenue; 8000-02 S Justine Street; 8107-09
                               S Ellis Avenue; 82116 S Ingleside Avenue;8209 S Ellis Avenue; 11117-
                               11119 S Longwood Drive; 7300-04 S St Lawrence Avenue; 7110 S Cornell
                               Avenue; 7957-59 S Marquette Road; 7051S Bennett Avenue; 3074 E
                               Cheltenham Place; 2736-44 W 64th Street; 6356 S California Avenue;
                               6355-59 S Talman Avenue; 5618-20 S Martin Luther King Drive; 7201 S
                               Constance Avenue; 6554-58 S Vernon Avenue; 1700-08 W Juneway
                               Terrace; 7201-07 S Dorchester Avenue; 7508 S Essex Avenue; 431 E 42nd
                               Place; 7701-03 S Essex Avenue; 7442-54 S Calumet Avenue; 816-22 E
                               Marquette Road; 6949-59 S Merrill Avenue; 4533-47 S Calumet Avenue;
                               4315-19 S Michigan Avenue; 7600-10 S Kingston Avenue; 7656-58 S
                               Kingston Avenue; 1131-41 E 79th Place; 6250 S Mozart Street) (1.3); study
                               correspondence from property manager regarding post-sale fund
                               distributions (single family; 1422-24 East 68th Street; 7255-57 S Euclid
                               Avenue; 7237-43 S Bennett Avenue; 6217-27 S Dorchester Avenue) (.2);
                               attention to gas bill and exchange related correspondence (1401 W 109th
                               Place) (.1).

                               Business Operations

    9/27/2021 KBD         0.30 Attention to payment for property maintenance services (1102 Bingham) (.2);
                               work on resolution of personal injury claim (7110 S Cornell Avenue) (.1).

                               Business Operations
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         Date       Indiv Hours Description

         9/29/2021 KBD        0.20 Attention to third party request for access to EB documents database
                                   (defer).

                                   Business Operations

         9/30/2021 KBD        0.20 Attention to third party request for access to EB documents database
                                   and exchange related correspondence (defer).

                                   Business Operations


SUBTOTAL:                                                                                    [ 7.20          2808.00]

Claims Administration & Objections

         9/1/2021    KBD      0.20 Exchange correspondence regarding claimant's production of records (Group
                                   1) (.1); exchange correspondence regarding claimant communication
                                   relating to claims process (Group 1) (.1).

                                   Claims Administration & Objections

         9/2/2021    KBD      0.20 Exchange correspondence regarding communication with claimant regarding
                                   potential claims issue (Group 1) (.1); study correspondence from J. Wine
                                   regarding documentation relating to investor claimants (Group 1) (.1).

                                   Claims Administration & Objections

         9/6/2021    KBD      1.50 Work on sole lien process (sole lien).

                                   Claims Administration & Objections

         9/7/2021    KBD      0.80 Work on sole lien process (sole lien) (.5); telephone conference with J. Wine
                                   regarding sole lien process (sole lien) (.2); attention to voice message from
                                   claimant regarding claims process (Group 1) (.1).

                                   Claims Administration & Objections

         9/8/2021    KBD      0.70 Work on sole lien process (sole lien) (.3); study correspondence and legal
                                   research regarding claims analysis (7500-06 S Eggleston Avenue; 3030-32 E
                                   79th Street; 2909-19 E 78th Street; 7549-59 S Essex Avenue; 8047-55 S
                                   Manistee Avenue; 7927-29 S Essex Avenue) (.4).

                                   Claims Administration & Objections

         9/9/2021    KBD      1.20 Confer with M. Rachlis and J. Wine regarding third party access to claims
                                   documents database and related logistics (defer) (.2); confer with
                                   receivership team regarding claims analysis and organization of claims
                                   review materials and documents review (Group 1) (.3); work on sole lien
                                   process (sole lien) (.5); draft correspondence to A. Porter regarding potential
                                   discovery (sole lien) (.2).

                                   Claims Administration & Objections

         9/10/2021 KBD        2.50 Confer with A. Porter, M. Rachlis, J. Wine regarding claims analysis (all) (.7);
                                   work on sole lien process and exchange related correspondence (sole lien)
                                   (1.7); exchange correspondence with A. Watychowicz regarding
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Kevin B. Duff, Receiver                                                                              Page 7



    Date      Indiv Hours Description

                               communication with claimant regarding claim (all) (.1).

                               Claims Administration & Objections

    9/11/2021 KBD         0.20 Work on sole lien process and exchange related correspondence (sole lien).

                               Claims Administration & Objections

    9/13/2021 KBD         0.50 Attention to communication with claimants regarding claims process and
                               documentation issues (all) (.2); study revised sole lien claims process and
                               exchange related correspondence (sole lien) (.3).

                               Claims Administration & Objections

    9/14/2021 KBD         0.40 Study correspondence regarding sole lien process and revised process
                               documents (sole lien) (.3); attention to communication with claimant
                               regarding claims process (all) (.1).

                               Claims Administration & Objections

    9/15/2021 KBD         1.20 Confer and exchange correspondence with M. Rachlis and J. Wine regarding
                               sole lien claims process and related discussions with claimants' counsel (sole
                               lien) (.8); confer with claimants' counsel and J. Wine regarding sole lien
                               process (sole lien) (.3); attention to communication with claimant regarding
                               EB documents database issue (Group 1) (.1).

                               Claims Administration & Objections

    9/16/2021 KBD         2.80 Revise sole lien claims process, review further drafts, and exchange related
                               correspondence with J. Wine (sole lien) (2.7); review correspondence from J.
                               Wine regarding tax claim (all) (.1).

                               Claims Administration & Objections

    9/17/2021 KBD         3.40 Analyze and revise sole lien claims process and exchange various related
                               correspondence with M. Rachlis and J. Wine (sole lien) (3.3); attention to EB
                               documents database vendor invoice and exchange related correspondence
                               (all) (.1).

                               Claims Administration & Objections

    9/20/2021 KBD         0.90 Study related correspondence from J. Wine regarding sole lien process (sole
                               lien) (.2); study claimant answers to interrogatories and amended privilege
                               log (Group 1) (.3); review communications relating to discovery compliance
                               and exchange related correspondence (Group 1) (.2); exchange
                               correspondence with A. Porter regarding potential claims and related legal
                               analysis and considerations (all) (.2).

                               Claims Administration & Objections

    9/21/2021 KBD         0.60 Exchange correspondence with J. Wine regarding discovery planning (Group
                               1) (.1); study and revise joint motion regarding sole lien process and
                               exchange related correspondence with J. Wine regarding (sole lien) (.5).

                               Claims Administration & Objections
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    Kevin B. Duff, Receiver                                                                                 Page 8



         Date     Indiv Hours Description

         9/22/2021 KBD        1.90 Attention to claimant communication and exchange related correspondence
                                   (all) (.1); work on single claim process and exchange various related
                                   correspondence (sole lien) (1.5); exchange correspondence regarding
                                   claimant discovery (Group 1) (.1); study correspondencefrom City regarding
                                   claims against properties and exchange correspondencewith J. Wine
                                   regarding potential resolution (4750-52 S Indiana Avenue; 7024-32 S Paxton
                                   Avenue) (.2).

                                   Claims Administration & Objections

         9/23/2021 KBD        2.50 Study and revise several drafts of sole lien claims process and exchange
                                   various related correspondence with M. Rachlis and J. Wine (sole lien) (1.6);
                                   telephone conference with J. Wine regarding sole lien properties, claims
                                   analysis, and barriers related issues (sole lien) (.3); review Collateral Agency
                                   Servicing Agreement issue, analysis of issue, and various related
                                   correspondence (Group 1) (.2); study hearing transcript and telephone
                                   conference with J. Wine regarding claims analysis issue (all) (.3); exchange
                                   correspondence with A. Watychowicz regarding service issue for claimants
                                   and tracking discovery (Group 1) (.1).

                                   Claims Administration & Objections

         9/24/2021 KBD        0.70 Study and revise sole lien claims process and exchange various related
                                   correspondence with J. Wine (sole lien).

                                   Claims Administration & Objections

         9/28/2021 KBD        0.30 Telephone conference with claimant regarding claims process and
                                   various issues (all).

                                   Claims Administration & Objections


SUBTOTAL:                                                                                    [ 22.50         8775.00]

Tax Issues

         9/15/2021 KBD        0.30 Study IRS notices and exchange related correspondence with K. Pritchard.

                                   Tax Issues


SUBTOTAL:                                                                                    [ 0.30            117.00]




                                                                                              34.60       $13,494.00



                                                Summary of Activity
                                                                                     Hours       Rate
Kevin B. Duff                                                                        34.60     390.00     $13,494.00
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Kevin B. Duff, Receiver                                                      Page 9




                                   SUMMARY


              Legal Services                                  $13,494.00
              Other Charges                                        $0.00

                 TOTAL DUE                                    $13,494.00
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                Exhibit G
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                                 Rachlis Duff & Peel, LLC
                                       542 South Dearborn Street
                                                                                             tel (312) 733-3950
                                               Suite 900                                     fax (312) 733-3952
                                        Chicago, Illinois 60605




October 29, 2021

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




 Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                         Fed. I.D. No. XX-XXXXXXX
     Cohen, and Shaun D. Cohen                                                            Invoice No. 6622136
     No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.




 Legal Fees for the period July 2021                                     $43,242.00

Expenses Disbursed                                                            $1,114.94


Due this Invoice                                                          $44,356.94
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    Kevin B. Duff, Receiver                                                                               Page 2




        Date          Indiv Hours Description

Accounting/Auditing

        7/14/2021 KMP         0.20 Update account ledgers to reflect recent transactions.

                                   Accounting/Auditing


SUBTOTAL:                                                                                   [ 0.20           28.00]

Asset Analysis & Recovery

        7/6/2021      JRW     0.40 Correspondence with K. Duff and counsel for third-party regarding settlement
                                   agreement, related telephone conference with K. Duff and further revisions
                                   to same.

                                   Asset Analysis & Recovery

        7/8/2021      KMP     0.90 Review email communication from asset holder regarding production of
                                   documents in response to subpoena, and complete registration process on
                                   secure site for document delivery (.3); download asset holder's document
                                   production for review and related communication with J. Wine (.3); prepare
                                   electronic file of production documents and forward link to EB team (.3).

                                   Asset Analysis & Recovery

        7/9/2021      AW      0.20 Review notice regarding properties (.1); call with K. Duff regarding
                                   asset recovery (.1).

                                   Asset Analysis & Recovery

                      KMP     0.30 Download additional documents produced by asset holder and related
                                   communication with EB team.

                                   Asset Analysis & Recovery

        7/12/2021 KMP         0.40 Download additional documents produced by asset holder, reorganize file
                                   folders, and related communication with EB team.

                                   Asset Analysis & Recovery

        7/13/2021 JRW         0.40 Email exchanges with K. Duff and counsel for third-parties regarding
                                   finalization of settlement agreement.

                                   Asset Analysis & Recovery

        7/15/2021 JRW         3.70 Draft motion to approve settlement regarding asset.

                                   Asset Analysis & Recovery

        7/16/2021 JRW         1.60 Exchange correspondence with counsel for third-party regarding asset (.1);
                                   revisions to motion to approve settlement of claim against asset (1.1);
                                   correspondence with SEC (.4).

                                   Asset Analysis & Recovery
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Kevin B. Duff, Receiver                                                                                 Page 3



    Date      Indiv Hours Description


    7/16/2021 MR          0.40 Work on third party settlement agreement and related follow up with K.
                               Duff and J. Wine.

                               Asset Analysis & Recovery

    7/19/2021 AW          0.50 Attention to motion regarding settlement, communicate with J. Wine
                               regarding same, redact exhibit (.2); prepare notice of motion and file
                               pleadings with the Court (.3).

                               Asset Analysis & Recovery

                JRW       1.20 Confer with M. Rachlis regarding motion to approve settlement of claim
                               against asset and revisions to same (.9); work with A. Watychowicz to finalize
                               and file same (.3).

                               Asset Analysis & Recovery

                MR        0.30 Further review and follow up regarding motion on third party
                               settlement.

                               Asset Analysis & Recovery

    7/20/2021 AW          0.40 Review correspondence and documents from SEC and related
                               correspondence with K. Duff.

                               Asset Analysis & Recovery

    7/21/2021 AW          1.00 Research regarding properties (.5); communicate with J. Rak regarding
                               property and chain of ownership (.2); detailed email to K.Duff regarding
                               property and claims submission requirements (.3).

                               Asset Analysis & Recovery

    7/23/2021 KMP         1.10 Follow up on service of subpoena to third party and related communication
                               with K. Duff (.2); revise draft rider, prepare draft subpoena to another third-
                               party, and related communication with K. Duff and A. Porter (.9).

                               Asset Analysis & Recovery

    7/26/2021 KMP         1.10 Further revise and finalize rider and subpoena to third-party and related
                               communications with K. Duff and A. Porter (.5); draft and revise notice of
                               subpoena (.3); prepare certified mail service transmittal for subpoena and
                               serve notice electronically (.3).

                               Asset Analysis & Recovery

    7/27/2021 KMP         0.20 Communicate with A. Porter regarding third-party subpoenas.

                               Asset Analysis & Recovery
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    Kevin B. Duff, Receiver                                                                                  Page 4



         Date       Indiv Hours Description


         7/28/2021 KMP        0.70 Communicate with K. Duff and J. Wine regarding third-party subpoenas (.2);
                                   attention to receipt of additional documents in response to third-party
                                   subpoena and disseminate same to EB team (.3); finalize notice letter and
                                   add exhibits, and related communications with J. Wine (.2).

                                   Asset Analysis & Recovery

         7/29/2021 KMP        0.50 Email communication with third party regarding transmittal of notice
                                   letter (defer) (.2); attention to receipt of additional documents from third
                                   party in response to subpoena, and disseminate documents to EB team
                                   (.3).

                                   Asset Analysis & Recovery

         7/30/2021 KMP        0.30 Attention to receipt of additional documents from third party in response to
                                   subpoena, and disseminate documents to EB team.

                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                     [ 15.60         3235.00]

Asset Disposition

         7/1/2021    JR       1.00 Organize closing documents in electronic files from previous closings
                                   (7237-43 S Bennett Avenue; 7255-57 S Euclid Avenue) (.5); review email
                                   from J. Wine, update closed property spreadsheet related to recent
                                   closings and further related correspondence with EB team (7237-43 S
                                   Bennett Avenue; 7255-57 S Euclid Avenue) (.1); review email from K.
                                   Pritchard regarding net proceeds from closing (7237-43 S Bennett Avenue)
                                   (.1); exchange correspondence with buyer's counsel and lender regarding
                                   updates to closing documents in preparation for closing (6217-27 S
                                   Dorchester Avenue) (.1); further communication with title company
                                   requesting updates to buyer's title records (6217-27 S Dorchester Avenue)
                                   (.2).

                                   Asset Disposition

         7/2/2021    JR       2.60 Review email from real estate broker requesting current property reports for
                                   property (6217-27 S Dorchester Avenue) (.1); further correspondence with
                                   the buyer and property management requesting property reports and other
                                   various updates in preparation for closing (6217-27 S Dorchester Avenue)
                                   (.4); update notices to tenants requested by buyer (6217-27 S Dorchester
                                   Avenue) (.5); exchange correspondence with buyer's counsel requesting
                                   complaint and lien filed against property and produce same to buyer's
                                   counsel (6217-27 S Dorchester Avenue) (.2); exchange correspondence with
                                   property management requesting additional property reports, review ledgers
                                   and update certified rent roll for closing (6217-27 S Dorchester Avenue)
                                   (1.2); further communication with property management requesting security
                                   deposit information regarding tenant (6217-27 S Dorchester Avenue) (.2).

                                   Asset Disposition
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Kevin B. Duff, Receiver                                                                                Page 5



    Date       Indiv Hours Description


    7/3/2021    AEP       2.00 Review most recent draft of survey, make revisions thereto, request final
                               draft, edit and revise seller's figures and transmit same to closing agent, and
                               review and send pleadings associated with pending administrative action in
                               connection with conveyance of receivership property (6217-27 S Dorchester
                               Avenue) (.2); continue reviewing proofs of claim and EquityBuild e-mails and
                               other documents to ascertain status of mortgage interest of each original
                               investor-lender in receivership property (1102 Bingham) (1.8).

                               Asset Disposition

    7/4/2021    AEP       4.10 Review proofs of claim submitted by each original investor-lender associated
                               with receivership property and reconcile same with EquityBuild e-mails and
                               documents to ascertain status of mortgage interest in property (1102
                               Bingham).

                               Asset Disposition

    7/5/2021    AEP       1.80 Finalize draft motion to confirm sale of receivership property by including
                               information obtained from local broker and prepare detailed e-mail to title
                               underwriter summarizing findings from proofs of claim and internal
                               EquityBuild e-mails and other records in effort to obtain title insurance (1102
                               Bingham).

                               Asset Disposition

    7/6/2021    AEP       0.60 Review settlement statement and communicate with title company regarding
                               title indemnity, survey, and other closing related issues in connection with
                               conveyance of receivership property (6217-27 S Dorchester Avenue) (.3);
                               communications with title underwriter regarding approval of proposed motion
                               papers associated with conveyance of receivership property and transmit
                               presumptively final drafts to K. Duff and M. Rachlis for final review and
                               approval (1102 Bingham) (.3).

                               Asset Disposition

                JR        6.80 Exchange communication with property management requesting property
                               reports in anticipation for closing (6217-27 S Dorchester Avenue) (.2);
                               review reports, and update closing documents in preparation for closing
                               (6217-27 S Dorchester Avenue) (2.1); review emails from closer requesting
                               final water statements for closing (6217-27 S Dorchester Avenue) (.1);
                               review water statements and update records (6217-27 S Dorchester
                               Avenue) (.4); further correspondence with the property manager and closer
                               regarding water statements and posting title indemnity for water related to
                               closing (6217-27 S Dorchester Avenue) (.2); exchange correspondence with
                               real estate broker requesting lien waiver for closing (6217-27 S Dorchester
                               Avenue) (.1); attend closing (6217-27 S Dorchester Avenue) (3.5);
                               exchange correspondence with K. Pritchard, K. Duff, real estate broker,
                               accounting firm and property management advising of closed property
                               (6217-27 S Dorchester Avenue) (.2).

                               Asset Disposition
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Kevin B. Duff, Receiver                                                                               Page 6



    Date       Indiv Hours Description

    7/6/2021    KMP       0.20 Review online bank records to confirm receipt of proceeds from property sale
                               and related communications with K. Duff and J. Rak (6217-27 S Dorchester
                               Avenue).

                               Asset Disposition

    7/7/2021    JRW       0.20 Review and comment on motion to confirm sale (1102 Bingham).

                               Asset Disposition

    7/8/2021    JR        0.30 Review email from K. Duff relating to closed property update and further
                               communicate regarding closed properties status (see D) (.2); review email
                               from property management requesting buyer information for closed
                               properties and provide same (7255-57 S Euclid Avenue; 7237-43 S Bennett
                               Avenue) (.1).

                               Asset Disposition

    7/9/2021    JR        0.40 Review email from buyer for single family homes requesting clarification on
                               tenant rent payments for previously sold property and review records (single
                               family) (.3); further communication with buyer regarding tenant rent status
                               (9212 S Parnell Avenue) (.1).

                               Asset Disposition

                JRW       0.30 Email to court clerk regarding status of pending motion to confirm sale and
                               related correspondence regarding renewal of security services (638-40 N
                               Avers Avenue).

                               Asset Disposition

    7/13/2021 JR          0.20 Review email from K. Duff relating to payment received from the title
                               company related to sale of property and respond accordingly (6217-27 S
                               Dorchester Avenue).

                               Asset Disposition

                KMP       0.20 Review property account balance to determine status of receipt of post-sale
                               reconciliation funds and related communications with K. Duff (7255-57 S
                               Euclid Avenue).

                               Asset Disposition

    7/14/2021 AEP         0.90 Teleconferences with title agent regarding closing costs associated with
                               conveyance of receivership property (1102 Bingham) (.2); insert citations to
                               fourteenth motion to confirm sale of receivership property, make final edits,
                               assemble exhibits, and transmit file-ready paperwork to team (1102
                               Bingham) (.5); read and respond to e-mail correspondence with M. Rachlis
                               and J.Wine regarding comments on fourteenth motion to confirm sale of
                               receivership property (1102 Bingham) (.2).

                               Asset Disposition

                JR        0.20 Review email from property management relating to inquiry received
                               from a previous tenant for sold property and respond accordingly (9212
                               S Parnell Avenue).

                               Asset Disposition
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Kevin B. Duff, Receiver                                                                               Page 7



    Date      Indiv Hours Description


    7/14/2021 JRW         0.50 Revision of 14th motion to confirm sale and related email exchanges with
                               J. Rak and M. Rachlis regarding property taxes (1102 Bingham).

                               Asset Disposition

                MR        0.30 Attention to 14th motion to confirm and related follow up (1102 Bingham).

                               Asset Disposition

    7/15/2021 AEP         0.40 Communications with J. Wine and K. Duff regarding potential revisions to
                               outstanding tax liability estimates contained in motion to confirm sale of
                               receivership property (1102 Bingham) (.1); read memorandum opinion
                               granting twelfth motion to confirm sale and prepare e-mail to counsel for
                               prospective purchaser of receivership property regarding scheduling of
                               closing (638-40 N Avers Avenue) (.2); communications with title company
                               and counsel for prospective purchaser regarding scheduling of closing of
                               sale of receivership property (638-40 N Avers Avenue) (.1).

                               Asset Disposition

                JR        0.60 Review email from K. Pritchard regarding deposits made into EquityBuild
                               account after closing of property and respond accordingly (1422-24 East
                               68th Street) (.2); review email from A. Porter regarding deposit made into
                               EquityBuild account after closing and respond accordingly (4750-52 S Indiana
                               Avenue) (.1); further correspondence with the title company inquiring about
                               deposit post-closing for property (4750-52 S Indiana) (.1); exchange
                               communication with A. Porter and J. Wine regarding status of property
                               related to sale (1102 Bingham) (.2).

                               Asset Disposition

                JRW       0.30 Correspondence with court's clerk regarding status of pending motion to
                               confirm sale (638-40 N Avers Avenue) (.1); confer with J. Rak regarding
                               delinquent property taxes (1102 Bingham) (.2).

                               Asset Disposition

    7/16/2021 JR          0.20 Review email from the title company regarding a refund check from closing
                               and forward information to K. Pritchard (4750-52 S Indiana Avenue).

                               Asset Disposition

                KMP       0.20 Attention to order granting twelfth motion to approve sale of property and
                               related communications with EB team (638-40 N Avers Avenue).

                               Asset Disposition

    7/19/2021 AW          0.90 Attention to 14th motion to approve sale, proofread motion and prepare
                               exhibit, communicate with counsel regarding notice, file with the Court,
                               and email as per service list (1102 Bingham).

                               Asset Disposition
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    Date        Indiv Hours Description

    7/19/2021 JR          0.40 Review email from K. Duff regarding account information for property and
                               provide information (7255-57 S Euclid Avenue) (.1); follow up correspondence
                               withproperty insurance inspector and property management requesting to
                               schedule an inspection of property (638-40 NAvers Avenue) (.3).


                               Asset Disposition

                JRW       0.70 Study tax records and email exchange with K. Duff regarding same (1102
                               Bingham) (.2); finalization and filing of 14th motion to confirm sale (1102
                               Bingham) (.2); correspondence to counsel for taxing authority regarding state
                               tax lien and payoff letters (1102 Bingham) (.3).

                               Asset Disposition

                MR        0.20 Attention to exchanges regarding 14th sales motion and filing (1102
                               Bingham).

                               Asset Disposition

    7/20/2021 JR          1.70 Review email from K. Duff requesting form to be sent to accounting firm
                               relating to the sale of property and communicate with firm regarding same
                               (1422-24 E 68th Street) (.1); review and organize closed property documents
                               related to previous sales (6217-27 S Dorchester Avenue; 7237-43 S Bennett
                               Avenue; 7255-57 S Euclid Avenue; 1422-24 E 68th Street) (1.6).


                               Asset Disposition

    7/21/2021 JR          0.40 Review email from A. Watychowicz related to information for EquityBuild
                               property, conduct research and respond accordingly.

                               Asset Disposition

    7/23/2021 JR          3.00 Review email from K. Duff regarding unsold property and vacancy status and
                               respond accordingly (7109-19 S Calumet Avenue) (.1); follow up with property
                               management requesting current property reports (7109-19 S Calumet
                               Avenue) (.1); review email from A. Porter regarding preparation of closing
                               documents in anticipation of closing and respond accordingly (638-40 S Avers
                               Avenue) (.1); exchange communication with buyer's counsel requesting
                               buyer information needed for closing (638-40 N Avers Avenue) (.2); prepare
                               draft closing documents (638-40 N Avers Avenue) (2.2); exchange
                               correspondence with the title company requesting title invoice in anticipation
                               for closing (638-40 N Avers Avenue) (.1); review email from K. Duff regarding
                               property insurance inspection and further communicate with the inspector
                               regarding sale of property and request cancellation of inspection (7237-43 S
                               Bennett Avenue) (.2).

                               Asset Disposition

                KMP       0.80 Communicate with K. Duff, A. Porter, and J. Rak regarding property
                               manager's request for information in connection with post-sale
                               reconciliation, prepare related spreadsheet and forward to property manager
                               (417 S Oglesby Avenue; 7925 S Kingston Avenue; 8030 S Marquette
                               Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Avenue; 8405 S
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    Date        Indiv Hours Description

                               Marquette Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S
                               Parnell Avenue; 2136 W 83rd Street; 1516 E 85th Place; 7922 S Luella
                               Avenue; 1017 W 102nd Street; 7933 S Kingston Avenue;11318 S Church
                               Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place; 61 E
                               92nd Street; 6554 S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon
                               Avenue; 7712 S Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S Kingston
                               Avenue; 8346 S Constance Avenue; 8517 S Vernon Avenue; 10012 S
                               LaSalle Avenue; 8432 S Essex Avenue; 4750-52 S Indiana Avenue; 7840-42
                               S Yates Avenue; 2800-06 E 81st Street; 1422-24 E 68th Street).

                               Asset Disposition

    7/24/2021 AEP         0.30 Read e-mails pertaining to management of receivership property and
                               cursory review of corresponding financial statements (7109-19 S Calumet
                               Avenue) (.1); read and respond to correspondence with K. Duff and K.
                               Pritchard regarding allocations of disbursements from property manager in
                               connection with EB South Chicago 1 and EB South Chicago 2 properties
                               (1516 E 85th Place; 2136 W 83rd Street; 7922 S Luella Avenue; 7933 S
                               Kingston Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8529
                               S Rhodes Avenue; 1017 W 102nd Street; 417 Oglesby Avenue; 7925 S
                               Kingston Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 8800
                               S Ada Street; 9212 S Parnell Avenue; 11318 S Church Street; 10012 S
                               LaSalle Avenue; 3723 W 68th Place; 406 E 87th Place; 61 E 92nd Street;
                               7712 S Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S Kingston Avenue;
                               8432 S Essex Avenue; 8517 S Vernon Avenue; 3213 S Throop Street; 6554
                               S Rhodes Avenue; 6825 S Indiana Avenue; 8346 S Constance Avenue; 7210
                               S Vernon Avenue) (.2).


                               Asset Disposition

    7/26/2021 AEP         1.20 Read e-mail from title underwriter regarding final needs in connection with
                               processing of title commitment in connection with sale of receivership
                               property, review files, and prepare e-mail to J. Wine regarding entry of judicial
                               order in proper form (638-40 N Avers Avenue) (.1); review and revise all
                               drafts of closing documents associated with prospective conveyance of
                               receivership property and correspond with title underwriters regarding errors
                               on title commitment and title invoice (638-40 N Avers Avenue) (1.1).

                               Asset Disposition

                JR        0.30 Review requested information from S. Zjalic regarding status of unsold
                               properties and provide update regarding sales (7109-19 S Calumet Avenue;
                               638-40 S Avers Avenue; 1102 Bingham) (.1); review email from K. Duff
                               related to property inspection and further contact real estatebroker and
                               inspector to schedule property inspection (1102 Bingham) (.2).

                               Asset Disposition

    7/27/2021 JRW         0.20 Exchange correspondence with A. Porter and transmit proposed order
                               granting 12th sales motion to court clerk (638-40 N Avers Avenue).

                               Asset Disposition
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Kevin B. Duff, Receiver                                                                              Page 10



    Date      Indiv Hours Description

    7/29/2021 AEP         0.60 Read and respond to e-mails from J. Rak, property manager, and buyer's
                               counsel associated with closing preparations for receivership property
                               regarding cancellation of security contract, obstacles to meter reading,
                               and finalization of closing documents (638-40 N Avers Avenue) (.4); read
                               e-mail from title underwriter regarding disposition of earnest money
                               associated with defaulted purchase of receivership property, research
                               pleadings, consult with A. Watychowicz, and respond regarding need to
                               maintain funds in escrow pending decision by court (7656-58 S Kingston
                               Avenue) (.2).

                               Asset Disposition

                AW        0.20 Research regarding third party intervenor's motion regarding earnest money.

                               Asset Disposition

                JR        1.00 Review email from real estate broker requesting the lien waiver for closing
                               (638-40 N Avers Avenue) (.1); exchange correspondence with A. Porter
                               requesting final review of closing documents in preparation for closing (638-
                               40 N Avers Avenue) (.1); forward lien waivers to property manager and real
                               estate broker requesting signatures for closing (638-40 N Avers Avenue)
                               (.1); exchange correspondence with the title company and A. Porter
                               requesting status of water application in anticipation for closing (638-40 N
                               Avers Avenue)(.1); review email from A. Porter requesting information
                               related to earnest money held in escrow for property, further communicate
                               with the title company, review electronic documents and provide A. Porter
                               requested information (7656 S Kingston Avenue) (.3); review email from A.
                               Porter regarding issue with access to property to access water meter for
                               reading (638-40 N Avers Avenue) (.1); further communication with property
                               management requesting contact information for access to property for water
                               reading (638-40 N Avers Avenue) (.1); exchange communication with the title
                               company advising of contact information related to water application (638-40
                               N Avers Avenue) (.1).

                               Asset Disposition

                KMP       0.20 Attention to email from property manager following up on issues relating
                               to post-sale reconciliation and related communication with K. Duff (417 S
                               Oglesby Avenue; 7925 S Kingston Avenue; 8030 S Marquette Avenue;
                               8104 S Kingston Avenue; 8403 S Aberdeen Avenue; 8405 S Marquette
                               Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell
                               Avenue; 2136 W 83rd Street; 1516 E 85th Place; 7922 S Luella Avenue;
                               1017 W 102nd Street; 7933 S Kingston Avenue;11318 S ChurchStreet;
                               3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place; 61 E 92nd
                               Street; 6554 S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon
                               Avenue; 7712 S Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S
                               Kingston Avenue; 8346 S Constance Avenue; 8517 S Vernon Avenue;
                               10012 S LaSalle Avenue; 8432 S Essex Avenue; 4750-52 S Indiana
                               Avenue; 7840-42S Yates Avenue; 2800-06 E 81st Street; 1422-24 E
                               68th Street).

                               Asset Disposition
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    Kevin B. Duff, Receiver                                                                               Page 11



        Date       Indiv Hours Description

        7/30/2021 AEP         0.40 Teleconference with K. Duff and receivership broker regarding receivership
                                   property (7109-19 S Calumet Avenue) (.2); teleconference with K. Duff and
                                   J. Rak regarding obstacles to water meter reading at receivership property
                                   (638-40 N Avers Avenue) (.2).

                                   Asset Disposition

                      JR      0.60 Confer with K. Pritchard and K. Duff regarding allocation of post-sale
                                   reconciliation funds from property manager (1414-18 East 62nd Place; 1017
                                   W 102nd Street; 1516 E 85th Place; 2136 W 83rd Street; 417 Oglesby
                                   Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue; 7933 S Kingston
                                   Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8403 S
                                   Aberdeen Street; 8405 S Marquette Avenue; 8529 S Rhodes Avenue; 8800S
                                   Ada Street; 9212 S Parnell Avenue; 10012 S LaSalle Avenue; 11318 S
                                   Church Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place;
                                   61 E 92nd Street; 6554 S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S
                                   Vernon Avenue; 7712 S Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S
                                   Kingston Avenue; 8346 S Constance Avenue; 8432 S Essex Avenue; 8517 S
                                   Vernon Avenue; 2129 W 71st Street; 5437 S Laflin Street; 6759 S Indiana
                                   Avenue) (.3); confer with K. Duff, A. Porter regarding replacement of water
                                   meter and request water bills for property in anticipation of closing (638-40 N
                                   Avers Avenue) (.2); further communication with property management
                                   requesting update on water meter and water bills in anticipation of closing
                                   (638-40 N Avers Avenue) (.1).

                                   Asset Disposition

                      KMP     0.30 Confer with K. Duff and J. Rak regarding allocation of post-sale reconciliation
                                   funds from property manager (417 S Oglesby Avenue; 7925 S Kingston
                                   Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8403S
                                   Aberdeen Avenue; 8405 S Marquette Avenue; 8529 S Rhodes Avenue; 8800
                                   S Ada Street; 9212 S Parnell Avenue; 2136 W 83rd Street; 1516 E 85thPlace;
                                   7922 S Luella Avenue; 1017 W 102nd Street; 7933 S Kingston Avenue;
                                   11318 S Church Street; 3213 S Throop Street; 3723 W 68th Place; 406 E
                                   87th Place; 61 E 92nd Street; 6554 S Rhodes Avenue; 6825 S Indiana
                                   Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7953 S Woodlawn
                                   Avenue; 8107 S Kingston Avenue; 8346 S Constance Avenue; 8517 S
                                   Vernon Avenue; 10012 S LaSalle Avenue; 8432 S Essex Avenue; 4750-52 S
                                   Indiana Avenue; 7840-42 S Yates Avenue; 2800-06 E 81st Street; 1422-24 E
                                   68th Street).

                                   Asset Disposition


SUBTOTAL:                                                                                   [ 37.70         8742.00]

Business Operations

        7/1/2021      ED      0.30 Update analysis of insurance adjustments relating to sold properties (7749-59
                                   S Yates Boulevard; 6749-59 S Merrill Avenue; 7450 S Luella Avenue;
                                   7546-48 S Saginaw Avenue; 8201 S Kingston Avenue; 4520-26 S Drexel
                                   Boulevard; 5450-52 S Indiana Avenue; 6437-41 S Kenwood Avenue; 7760 S
                                   Coles Avenue; 8000-02 S Justine Street; 8107-09 S Ellis Avenue; 8214-16 S
                                   Ingleside Avenue; 8209 S Ellis Avenue; 11117-11119 S Longwood Drive;
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    Date       Indiv Hours Description

                               7300-04 S St Lawrence Avenue; 7110 S Cornell Avenue; 7957-59 S
                               Marquette Road; 7051 S Bennett Avenue; 3074 E Cheltenham Place;
                               2736-44 W 64th Street; 5618-20 S Martin Luther King Drive; 6356 S
                               California Avenue; 6355-59 S Talman Avenue; 7201 S Constance Avenue;
                               7201-07 S Dorchester Avenue; 431 E 42nd Place; 7701-03 S Essex Avenue;
                               7442-54 S Calumet Avenue; 816-22 E Marquette Road; 6949-59 S Merrill
                               Avenue; 4533-47 S Calumet Avenue; 4315-19 S Michigan Avenue; 7600-10 S
                               Kingston Avenue; 7656-58 S Kingston Avenue; 1131-41 E 79th Place) (.2);
                               confer with J. Rak regarding follow-up to obtain missing data (7749-59 S
                               Yates Boulevard; 6749-59 S Merrill Avenue; 7450 S Luella Avenue; 7546-48
                               S Saginaw Avenue; 8201 S Kingston Avenue; 4520-26 S Drexel Boulevard;
                               5450-52 S Indiana Avenue; 6437-41 S Kenwood Avenue; 7760 S Coles
                               Avenue; 8000-02 S Justine Street; 8107-09 S Ellis Avenue; 8214-16 S
                               Ingleside Avenue; 8209 S Ellis Avenue; 11117-11119 S Longwood Drive;
                               7300-04 S St Lawrence Avenue; 7110 S Cornell Avenue; 7957-59 S
                               Marquette Road; 7051 S Bennett Avenue; 3074 E Cheltenham Place;
                               2736-44 W 64th Street; 5618-20 S Martin Luther King Drive; 6356 S
                               California Avenue; 6355-59 S Talman Avenue; 7201 S Constance Avenue;
                               7201-07 S Dorchester Avenue; 431 E 42nd Place; 7701-03 S Essex Avenue;
                               7442-54 S Calumet Avenue; 816-22 E Marquette Road; 6949-59 S Merrill
                               Avenue; 4533-47 S Calumet Avenue; 4315-19 S Michigan Avenue; 7600-10 S
                               Kingston Avenue; 7656-58 S Kingston Avenue; 1131-41 E 79th Place) (.1).

                               Business Operations

    7/3/2021    AEP       0.40 Review most recent pleadings and notices filed in administrative actions
                               against former receivership properties and update tracking list accordingly
                               (6949-59 S Merrill Avenue; 7656-58 SKingston Avenue; 4750-52 S Indiana
                               Avenue; 6250 S Mozart Street; 6554-58S Vernon Avenue; 4520-26 S Drexel
                               Boulevard; 2736-44 W 64th Street).

                               Business Operations

    7/6/2021    AEP       0.90 Review most recent administrative pleadings relating to receivership
                               properties, update spreadsheet, and respond to J. Wine regarding
                               suggested handling of same (6250 S Mozart Street; 1422-24 East 68th
                               Street) (.2); review administrative and housing court proceedings relating to
                               all other currently pending matters on receivership properties and prepare
                               e-mail to J. Wine seeking confirmation of status of each proceeding (638-40
                               N Avers Avenue; 1422-24 East 68th Street; 4750-52 S Indiana Avenue;
                               6217-27 S Dorchester Avenue; 6949-59 S Merrill Avenue; 7024-32 S
                               Paxton Avenue; 7051 S Bennett Avenue; 7109-19 S Calumet Avenue; 7210
                               S Vernon Avenue; 7237-43 S Bennett Avenue; 7957-59 S Marquette
                               Avenue) (.7).

                               Business Operations

                AW        0.20 Attention to notices from the city and related communication with J. Wine
                               (7110 S Cornell Avenue; 7024-32 S PaxtonAvenue; 4520-26 S Drexel
                               Boulevard; 1414-18 East 62nd Place).

                               Business Operations

                JRW       1.10 Review new notice of violation and related correspondence with K. Duff
                               and A. Porter (1422-24 East 68th Street) (.3); review new notices of code
                               violations, related correspondence to K. Duff and A. Porter and update
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    Date        Indiv Hours Description

                               records (7024-32 S Paxton Avenue; 1414-18 East 62nd Place) (.3);
                               correspondence to city attorney regarding pending administrative matter
                               (7957-59 S Marquette Road) (.1); investigation and response to A. Porter
                               inquiry regarding administrative matters (7957-59 S Marquette Road;4750-
                               52 S Indiana Avenue; 7024-32 S Paxton Avenue; 7051 S Bennett Avenue;
                               7210 S Vernon Avenue) (.4).

                               Business Operations

    7/6/2021    KMP       0.40 Communications with J. Wine, A. Porter, and A. Watychowicz regarding
                               materials relating to administrative hearings (6250 S. Mozart Avenue;
                               1422-24 E 68th Street) (.2); review property manager's request and
                               spreadsheet detailing funds relating to property expenses and related
                               communications with K. Duff (638-40 N Avers Avenue) (.2).

                               Business Operations

                SZ        1.60 Cross-referenced property manager's expense ledger against invoices for
                               duplicate transactions (6160-6212 S Martin Luther King Drive; 7927-29 S
                               Essex Avenue; 7933-35 S Essex Avenue; 7937-39 S Essex Avenue; 7943-
                               45 S Essex Avenue; 7947-49 S EssexAvenue; 5955 S Sacramento Avenue;
                               6001-05 S Sacramento Avenue; 7026-42 S Cornell Avenue; 2909-19 E 78th
                               Street; 7748-52 S Essex Avenue;701-13 S 5th Avenue; 6749-59 S Merrill
                               Avenue; 7546-48 S Saginaw Avenue;8326-32 S Ellis Avenue; 8334-40 S
                               Ellis Avenue; 8342-50 S Ellis Avenue; 8352-58 S Ellis Avenue; 7760 S Coles
                               Avenue; 8000-02 S Justine Street; 8107-09 S Ellis Avenue; 8214-16 S
                               Ingleside Avenue; 8209 S Ellis Avenue; 11117-11119 S Longwood Drive;
                               7300-04 S St Lawrence Avenue; 7957-59 SMarquette Road; 2736-44 W 64th
                               Street; 6355-59 S Talman Avenue; 6356 SCalifornia Avenue; 5618-20 S
                               Martin Luther King Drive; 7201 S Constance Avenue; 6554-58 S Vernon
                               Avenue; 1700-08 W Juneway Terrace; 7201-07 SDorchester Avenue; 4315-
                               19 S Michigan Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston
                               Avenue; 6250 S Mozart Street; 7109-19 S Calumet Avenue; 9610 S
                               Woodlawn Avenue; 1401 W 109th Place; 310 E 50th Street; 6807 S Indiana
                               Avenue; 7237-43 S Bennett Avenue; 638-40 N Avers Avenue; 7255-57 S
                               Euclid Avenue).

                               Business Operations

    7/7/2021    KMP       0.60 Communicate with K. Duff, E. Duff and insurance broker regarding
                               comparison of insurance obligations set forth in property management
                               agreement to insurance policy language (7109-19 S.Calumet Avenue)
                               (.3); communicate with E. Duff regarding comparison of loan agreement
                               to property management agreement relating to property management
                               and insurance provisions (7109-19 S Calumet Avenue) (.3).

                               Business Operations

    7/9/2021    KMP       0.40 Prepare form for funds transfer to property manager for property expenses
                               and related communications with bank representatives and K. Duff (638-40
                               N Avers Avenue).

                               Business Operations
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    Date       Indiv Hours Description

    7/9/2021    SZ        1.10 Compile exhibits for third restoration motion (7300-04 S St Lawrence
                               Avenue; 414 Walnut; 6355-59 S Talman Avenue; 6250 S Mozart Street;
                               4315-19 S Michigan Avenue; 6749-59S Merrill Avenue; 7957-59 S Marquette
                               Road; 11117-11119 S Longwood Drive; 7600-10 S Kingston Avenue; 8000-
                               02 S Justine Street; 8214-16 S Ingleside Avenue; 7255-57 S Euclid Avenue;
                               8352-58 S Ellis Avenue; 8342-50 S Ellis Avenue; 8334-40 S Ellis Avenue;
                               7201-07 S Dorchester Avenue; 7201 S Constance Avenue; 7109-19 S
                               Calumet Avenue; 6356 S California Avenue; 7237-43 S Bennett Avenue;
                               5618-20 S Martin Luther King Drive; 1700-08 W Juneway Terrace; 8214-16 S
                               Ingleside Avenue; 2736-44 W 64th Street; 1401 W 109th Place).

                               Business Operations

    7/12/2021 JR          0.20 Review email from K. Duff requesting property tax balances and status of
                               payment and provide requested information (638-40 N Avers Avenue;
                               7024-32 S Paxton Avenue; 7255-57 S Euclid Avenue; 1422-24 East 68th
                               Street; 2800-06 E 81st Street; 4750-52 S Indiana Avenue; 7840-42 S Yates
                               Avenue; 1102 Bingham) (.2).

                               Business Operations

                KMP       0.80 Revise form for funds transfer to property manager for property expenses
                               and related communications with bank representatives, K. Duff, and property
                               manager (638-40 N Avers Avenue) (.3); telephone conferences with S. Zjalic
                               regarding preparation of exhibits comprising invoices from property
                               managers for expenses, and review related documentation (6160-6212 S
                               Martin Luther King Drive; 7927-29 S Essex Avenue; 7933-35 S Essex
                               Avenue; 7937-39 S Essex Avenue; 7943-45S Essex Avenue; 7947-49 S
                               Essex Avenue; 5955 S Sacramento Avenue; 6001-05 S Sacramento
                               Avenue; 7026-42 S Cornell Avenue; 2909-19 E 78th Street; 7748-52 S
                               Essex Avenue; 701-13 S 5th Avenue; 6749-59 S Merrill Avenue; 7546-48 S
                               Saginaw Avenue; 8326-32 S Ellis Avenue; 8334-40 S EllisAvenue; 8342-50 S
                               Ellis Avenue; 8352-58 S Ellis Avenue; 7760 S Coles Avenue; 8000-02 S
                               Justine Street; 8107-09 S Ellis Avenue; 8214-16 S Ingleside Avenue; 8209 S
                               Ellis Avenue; 11117-11119 S Longwood Drive; 7300-04 S St Lawrence
                               Avenue; 7957-59 S Marquette Road; 2736-44 W 64thStreet; 6355-59 S
                               Talman Avenue; 6356 S California Avenue; 5618-20 S Martin Luther King
                               Drive; 7201 S Constance Avenue; 6554-58 S Vernon Avenue; 1700-08 W
                               Juneway Terrace; 7201-07 S Dorchester Avenue; 4315-19 S Michigan
                               Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue; 6250 S
                               Mozart Street; 7109-19 S Calumet Avenue; 9610 SWoodlawn Avenue; 1401
                               W 109th Place; 310 E 50th Street; 6807 S Indiana Avenue; 7237-43 S
                               Bennett Avenue; 638-40 N Avers Avenue; 7255-57 S Euclid Avenue) (.3);
                               review communications relating to property expenses to be addressed in
                               anticipated third restoration motion (7634-43 S East End Avenue; 1401 W
                               109th Place) (.2).

                               Business Operations

                SZ        2.00 Continued to review property manager's repair expenses in order to
                               populate exhibits list for Third Restoration Motion and related email
                               exchange and phone communication with K. Pritchard (6160-6212 S Martin
                               Luther King Drive; 7927-29 S Essex Avenue;7933-35 S Essex Avenue;
                               7937-39 S Essex Avenue; 7943-45 S Essex Avenue; 7947-49 S Essex
                               Avenue; 5955 S Sacramento Avenue; 6001-05 S Sacramento Avenue;
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    Date        Indiv Hours Description

                               7026-42 S Cornell Avenue; 2909-19 E 78th Street; 7748-52 S Essex
                               Avenue; 701-13 S 5th Avenue; 6749-59 S Merrill Avenue; 7546-48 S
                               Saginaw Avenue; 8326-32 S Ellis Avenue; 8334-40 S Ellis Avenue;8342-50 S
                               Ellis Avenue; 8352-58 S Ellis Avenue; 7760 S Coles Avenue; 8000-02 S
                               Justine Street; 8107-09 S Ellis Avenue; 8214-16 S Ingleside Avenue; 8209 S
                               Ellis Avenue; 11117-11119 S Longwood Drive; 7300-04 S StLawrence
                               Avenue; 7957-59 S Marquette Road; 2736-44 W 64th Street; 6355-59 S
                               Talman Avenue; 6356 S California Avenue; 5618-20 S Martin Luther King
                               Drive; 7201 S Constance Avenue; 6554-58 S Vernon Avenue; 1700-08 W
                               Juneway Terrace; 7201-07 S Dorchester Avenue; 4315-19 S Michigan
                               Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue;6250 S
                               Mozart Street; 7109-19 S Calumet Avenue; 9610 S Woodlawn Avenue; 1401
                               W 109th Place; 310 E 50th Street; 6807 S Indiana Avenue; 7237-43 S
                               Bennett Avenue; 638-40 N Avers Avenue; 7255-57 S Euclid Avenue).

                               Business Operations

    7/13/2021 JR          0.20 Further review status of property taxes for 2020 2nd installment and advise K.
                               Duff on the status (7109-19 S Calumet Avenue; 638-40 N Avers Avenue).

                               Business Operations

                KMP       0.20 Prepare form for funds transfers to property manager for property
                               expenses and related communications with bank representatives, K. Duff,
                               and property manager (638-40 N Avers Avenue).

                               Business Operations

    7/14/2021 AEP         0.50 Research files in effort to determine basis for check received from title
                               company in connection with conveyance of receivership property and
                               prepare response to K. Pritchard (4750-52 SIndiana Avenue) (.3); read and
                               respond to K. Pritchard e-mail regarding competing spreadsheets
                               associated with values of single-family home portfolio in connection with
                               preparation of quarterly report (single family) (.2).

                               Business Operations

                JR        0.20 Review email from K. Duff related to coordination of property inspection
                               related to renewal of property insurance, further communication with property
                               inspector regarding coordination of same (638-40 N Avers Avenue).


                               Business Operations

    7/15/2021 JR          0.20 Review email from E. Duff related to property insurance endorsements and
                               respond accordingly (see I).

                               Business Operations

    7/16/2021 JRW         0.20 Confer with J. Rak regarding tax payments and payment plans and
                               related review of correspondence and statements from tax office (1102
                               Bingham).

                               Business Operations
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Kevin B. Duff, Receiver                                                                          Page 16



    Date        Indiv Hours Description

    7/16/2021 SZ          1.20 Review and assemble records corresponding to property expenses in
                               connection with restoration of funds motion (61 E 92nd Street; 417 Oglesby
                               Avenue; 816-22 E Marquette Road; 1131-41 E 79th Place; 1422-24 East 68th
                               Street; 1516 E 85th Place; 2129 W 71st Street; 2136 W 83rd Street; 2453-59
                               E 75th Street; 2800-06 E 81st Street; 3213 S Throop Street; 4520-26 S
                               Drexel Boulevard; 4533-47 S Calumet Avenue; 4611-17 S Drexel Boulevard;
                               4750-52 S Indiana Avenue; 5437 S Laflin Street; 5450-52 S Indiana Avenue;
                               6217-27 S Dorchester Avenue; 6437-41 S Kenwood Avenue; 11318 S
                               Church Street; 9212 S Parnell Avenue; 8800 S Ada Street; 8529 S Rhodes
                               Avenue; 8517 S Vernon Avenue; 8432 S Essex Avenue; 8346 S Constance
                               Avenue; 8201 S Kingston Avenue; 8107 S Kingston Avenue; 8030 S
                               Marquette Avenue; 7925 S Kingston Avenue; 7922 S Luella Avenue; 7840-42
                               S Yates Avenue; 7836 S Shore Drive; 7712 S Euclid Avenue; 7701-03 S
                               Essex Avenue; 7110 S Cornell Avenue; 7051 S Bennett Avenue; 7024-32 S
                               Paxton Avenue; 6749-59 S Merrill Avenue; 6825 S Indiana Avenue).

                               Business Operations

    7/21/2021 JR          0.30 Exchange correspondence with account analyst regarding various property
                               insurance endorsements related to sold properties (8047-55 S. Manistee
                               Avenue; 7749-59 S. Yates Boulevard; 6749-59 S Merrill Avenue; 7450 S
                               Luella Avenue; 7546-48 S Saginaw Avenue; 8201 S Kingston Avenue;
                               4520-26 S Drexel Boulevard; 8326-32 S Ellis Avenue; 8334-40 S Ellis
                               Avenue; 8342-50 S Ellis Avenue; 8352-58 S Ellis Avenue; 5450-52 S
                               Indiana Avenue; 6437-41 S Kenwood Avenue; 7760S Coles Avenue; 8000-
                               02 S Justine Street; 8107-09 S Ellis Avenue; 8214-16S Ingleside Avenue;
                               8209 S Ellis Avenue; 11117-19 S Longwood Drive; 7300-04 S St Lawrence
                               Avenue; 7110 S Cornell Avenue; 7957-59 S Marquette Avenue; 7051 S
                               Bennett Avenue; 3074 E Cheltenham Place; 2736-44 W 64th Street; 5618-
                               20 S Martin Luther King Drive; 6356 S California Avenue; 6355-59 S
                               Talman Avenue; 7201 S Constance Avenue; 6554-58 S Vernon Avenue;
                               1700-08 W Juneway Terrace; 7201-07 S Dorchester Avenue; 7508 S Essex
                               Avenue; 431 E 42nd Place; 7701-03 S Essex Avenue; 7442-54 S Calumet
                               Avenue; 816-22 E Marquette Road; 6949-59 S Merrill Avenue; 4533-47 S
                               Calumet Avenue; 4315-19 S MichiganAvenue; 7600-10 S Kingston Avenue;
                               7656-58 S Kingston Avenue; 1131-41E 79th Place; 6250 S Mozart Street).

                               Business Operations

                JRW       0.40 Exchange correspondence with corporation counsel regarding housing
                               court matters and related email exchange with J. Rak (7237-43 S Bennett
                               Avenue; 638-40 N Avers Avenue;6217-27 S Dorchester Avenue) (.3); email
                               exchange with A. Watychowicz regarding administrative court order (7024-
                               32 S Paxton Avenue) (.1).

                               Business Operations

    7/22/2021 JR          0.70 Review property insurance endorsements and communicate with account
                               analyst regarding various property insurance missing endorsements related
                               to sold properties and request production of same (8047-55 S. Manistee
                               Avenue; 7749-59 S. Yates Boulevard; 6749-59 S Merrill Avenue; 7450 S
                               Luella Avenue; 7546-48 S Saginaw Avenue; 8201 S Kingston Avenue; 4520-
                               26 S Drexel Boulevard; 8326-32 S Ellis Avenue; 8334-40 S Ellis Avenue;
                               8342-50 S Ellis Avenue; 8352-58 S Ellis Avenue; 5450-52 S Indiana Avenue;
                               6437-41 S Kenwood Avenue; 7760 S Coles Avenue; 8000-02 S Justine
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Kevin B. Duff, Receiver                                                                              Page 17



    Date      Indiv Hours Description

                               Street; 8107-09 S Ellis Avenue; 8214-16 S Ingleside Avenue; 8209 S Ellis
                               Avenue; 11117-19 S Longwood Drive; 7300-04 S St Lawrence Avenue;
                               7110 S Cornell Avenue; 7957-59 S Marquette Avenue; 7051 S Bennett
                               Avenue; 3074 E CheltenhamPlace; 2736-44 W 64th Street; 5618-20 S
                               Martin Luther King Drive; 6356 SCalifornia Avenue; 6355-59 S Talman
                               Avenue; 7201 S Constance Avenue;6554-58 S Vernon Avenue; 1700-08
                               W Juneway Terrace; 7201-07 S Dorchester Avenue; 7508 S Essex
                               Avenue; 431 E 42nd Place; 7701-03 S Essex Avenue; 7442-54 S Calumet
                               Avenue; 816-22 E Marquette Road; 6949-59 S Merrill Avenue; 4533-47 S
                               Calumet Avenue; 4315-19 S MichiganAvenue; 7600-10 S Kingston Avenue;
                               7656-58 S Kingston Avenue; 1131-41E 79th Place; 6250 S Mozart Street).

                               Business Operations

    7/22/2021 SZ          1.60 Continue to cross-reference repair expenses ledger against exhibits for Third
                               Restoration Motion to add missing exhibits (7201-07 S Dorchester Avenue).

                               Business Operations

    7/23/2021 JR          0.50 Exchange correspondence with account analyst regarding requested
                               property insurance endorsements for sold properties in 2020, review
                               requested endorsements and save in electronic files (8047-55 S Manistee
                               Avenue; 701-13 S 5th Avenue; 7749-59 S Yates Boulevard; 6749-59 S
                               Merrill Avenue; 7450 S Luella Avenue; 7546-48 S Saginaw Avenue; 4520-
                               26 S Drexel Boulevard; 8201 S Kingston Avenue; 8326-32 S Ellis Avenue;
                               8334-40 S Ellis Avenue; 8342-50 S Ellis Avenue; 8352-58 S Ellis Avenue;
                               5450-52 S Indiana Avenue; 6437-41 S Kenwood Avenue; 7760 S Coles
                               Avenue; 8000-02 S Justine Street; 8107-09 S Ellis Avenue; 8214-16 S
                               Ingleside Avenue; 8209 S Ellis Avenue; 11117-11119 SLongwood Drive;
                               7300-04 S St Lawrence Avenue; 7110 S Cornell Avenue; 7957-59 S
                               Marquette Road; 7051 S Bennett Avenue; 3074 E Cheltenham Place; 2736-
                               44 W 64th Street; 6355-59 S Talman Avenue; 6356 S CaliforniaAvenue;
                               5618-20 S Martin Luther King Drive; 7201 S Constance Avenue; 6554-58 S
                               Vernon Avenue; 1700-08 W Juneway Terrace; 7201-07 S Dorchester
                               Avenue; 7508 S Essex Avenue; 431 E 42nd Place; 7442-54 S Calumet
                               Avenue; 7701-03 S Essex Avenue; 816-22 E Marquette Road; 6949-59 S
                               Merrill Avenue; 4533-47 S Calumet Avenue; 7600-10 S KingstonAvenue;
                               7656-58 S Kingston Avenue; 4315-19 S Michigan Avenue; 1131-41E 79th
                               Place; 6250 S Mozart Street).

                               Business Operations

                KMP       0.20 Review online bank records to confirm deposit of refunded escrow money to
                               property account and related communication with K. Duff (7255-57 S Euclid
                               Avenue).

                               Business Operations

                SZ        1.40 Continued to cross-reference repair expenses ledger against exhibits for
                               Third Restoration Motion to add missing exhibits (638-40 N Avers Avenue;
                               7255-57 S Euclid Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston
                               Avenue) (1.3); email exchange with property manager regarding missing
                               invoices (638-40 N Avers Avenue; 7255-57 S Euclid Avenue; 7600-10 S
                               Kingston Avenue; 7656-58 S Kingston Avenue) (.1).

                               Business Operations
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Kevin B. Duff, Receiver                                                                              Page 18



    Date      Indiv Hours Description


    7/26/2021 AEP         0.20 Review latest orders forwarded by J. Wine regarding administrative actions
                               on former receivership properties, reconcile with case calendar
                               spreadsheet, and provide related comments (6250 S Mozart Street; 4750-
                               52 S Indiana Avenue; 2736-44 W 64th Street; 7237-43 S Bennett Avenue).

                               Business Operations

                JRW       0.50 Review municipal court orders and related correspondence and updates
                               (7237-43 S Bennett Avenue; 6217-27 S Dorchester Avenue; 638-40 N
                               Avers Avenue) (.2); review orders entered in administrative matters and
                               update records (4750-52 S Indiana Avenue; 6554-58 S Vernon Avenue;
                               6250 S Mozart Street; 2736-44 W 64th Street) (.2); correspondence with
                               City of Chicago regarding judgment order (6250 S Mozart Street) (.1).

                               Business Operations

    7/27/2021 JRW         0.90 Update A. Porter and K. Duff on recent notices of violation and inspection and
                               sale dates (7024-32 S Paxton Avenue; 4750-52 S Indiana Avenue; 6949-59
                               S Merrill Avenue; 7957-59 S Marquette Road; 6250 S Mozart Street; 2736-44
                               W 64th Street; 6554-58 S Vernon Avenue; 1422-24 East 68th Street;
                               1414-18 East 62nd Place) (.7); confer with K. Duff regarding administrative
                               orders and strategy for same (6250 S Mozart Street; 2736-44 W 64th Street;
                               6554-58 S Vernon Avenue) (.2).

                               Business Operations

                SZ         0.9 Email exchange with property manager regarding March 2021 repair
                               documentation for invoices (310 E 50th Street) (.2); review of the previously
                               received invoices related to properties in order to make necessary updates
                               to repair expense ledger (310E 50th Street; 414 Walnut; 416-24 E 66th
                               Street; 1401 W 109th Place; 638-40 N Avers Avenue; 1700-08 W Juneway
                               Terrace; 2736-44 W 64th Street; 4315-19 S Michigan Avenue; 5618-20 S
                               Martin Luther King Drive; 6250 S Mozart Street; 6356 S California Avenue;
                               6355-59 S Talman Avenue;6749-59 S Merrill Avenue; 6807 S Indiana
                               Avenue; 7109-19 S Calumet Avenue; 7201-07 S Dorchester Avenue; 7201 S
                               Constance Avenue; 7237-43S Bennett Avenue; 7255-57 S Euclid Avenue;
                               7300-04 S St Lawrence Avenue; 7600-10 S Kingston Avenue; 7760 S Coles
                               Avenue; 7957-59 S Marquette Road; 8000-02 S Justine Street; 8107-09 S
                               Ellis Avenue; 8214-16S Ingleside Avenue; 8334-40 S Ellis Avenue; 8342-50
                               S Ellis Avenue; 8352-58 S Ellis Avenue; 11117-11119 S Longwood Drive)
                               (.7).

                               Business Operations

    7/28/2021 ED          0.20 Email correspondence with lender's counsel and K. Duff regarding requests for
                               property access for appraisal and for additional details regarding property
                               expenditures and future plans (7109-19 S CalumetAvenue).


                               Business Operations
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    Kevin B. Duff, Receiver                                                                               Page 19



        Date       Indiv Hours Description

        7/28/2021 JR          0.30 Review email from K. Duff regarding property inspection (638-40 N Avers
                                   Avenue) (.1); further communication with the property inspector and property
                                   management requesting to reschedule property inspection (638-40 N Avers
                                   Avenue) (.2).

                                   Business Operations

                      JRW     1.50 Study email correspondence and invoices and related analysis (defer) (.8);
                                   draft notice letters to creditors (defer) (.7).

                                   Business Operations

        7/29/2021 JRW         1.30 Finalize notice letter to creditor and related correspondence to K. Duff (7024-
                                   32 S Paxton Avenue; 4750-52 S Indiana Avenue) (.6); finalize notice letter to
                                   additional creditor and related correspondence to K. Duff (defer) (.5); review
                                   K. Duff revisions to notice letters and propose additional revision to same
                                   (.2).

                                   Business Operations

                      KMP     0.50 Revise and finalize notice letter and add exhibits, prepare email
                                   correspondence transmitting notice letter, and related communications with
                                   J. Wine (7024-32 S Paxton Avenue; 4750-52 S Indiana Avenue).

                                   Business Operations


SUBTOTAL:                                                                                   [ 24.10         4413.00]

Case Administration

        7/1/2021      JRW     0.50 Review EquityBuild documents database and training materials for same
                                   (all).

                                   Case Administration

        7/7/2021      KMP     0.20 complete registration for access to claims database.

                                   Case Administration

        7/12/2021 AW          0.20 Prepare orders and request update to receivership web page.

                                   Case Administration

        7/19/2021 AW          0.20 Draft email to counsel regarding tax issues and loss.

                                   Case Administration

        7/20/2021 AW          0.40 Attention to entered order regarding motion to confirm sale and to approve
                                   settlement and update docket (.1); prepare mailing to claimants and email
                                   motion to approve settlement (.3).

                                   Case Administration
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    Kevin B. Duff, Receiver                                                                              Page 20



         Date       Indiv Hours Description

         7/21/2021 AW         0.30 Prepare update to website and communicate with IT vendor regarding same.

                                   Case Administration

         7/23/2021 AW         0.20 Attention to summary schedule and update docket.

                                   Case Administration

         7/28/2021 KMP        0.30 Communicate with banking application vendor representatives
                                   regarding issues launching application and related work with vendor
                                   representatives to resolve issue.

                                   Case Administration

         7/29/2021 JRW        1.80 Database training and related correspondence with vendor (all).


                                   Case Administration


SUBTOTAL:                                                                                  [ 4.10          850.00]

Claims Administration & Objections

         7/1/2021   AW        3.20 Work on responses and respond to claimants' emails regarding EquityBuild
                                   Document database (all) (.5); share claim documentation regarding property
                                   and mortgagees identified by A. Porter (1102 Bingham) (.9); conference with
                                   A. Porter, J. Rak, S. Zjalic, and N.Gastevich regarding claims review (Group
                                   1) (.8); start upload of claims documents (Group 1) (.9); review database
                                   instructions and related correspondence with J. Wine (all) (.1).


                                   Claims Administration & Objections

                    JRW       2.00 Attention to claimant inquiries (all) (.2); exchange correspondence with
                                   counsel for claimants regarding commencement of claims process (Group 1)
                                   (.1); exchange correspondence with SEC (Group 1) (.1); revisions to framing
                                   report and standard discovery requests (Group 1) (.3); telephone conference
                                   with M. Rachlis regarding process for resolution of single claims properties
                                   (1017 W 102nd Street; 1516 E 85th Place; 2136 W 83rd Street; 417 Oglesby
                                   Avenue; 7922 S Luella Avenue; 8030 S Marquette Avenue; 8104S Kingston
                                   Avenue; 8403 S Aberdeen Street; 8529 S Rhodes Avenue; 11318S Church
                                   Street; 2129 W 71st Street; 6749-59 S Merrill Avenue; 7110 S Cornell
                                   Avenue; 7925 S Kingston Avenue; 9212 S Parnell Avenue; 7210 S Vernon
                                   Avenue; 6825 S Indiana Avenue; 406 E 87th Place; 6554 S Rhodes Avenue;
                                   7712 S Euclid Avenue; 8432 S Essex Avenue; 3213 S Throop Street; 8107 S
                                   Kingston Avenue; 8346 S Constance Avenue; 10012 S LaSalle Avenue;
                                   9610 S Woodlawn Avenue; 6759 S Indiana Avenue; 8517 S Vernon Avenue)
                                   (.9); exchange correspondence with database vendor regarding revised
                                   instructions for database searching and log in credentials for team members
                                   (all) (.4); continued ...


                                   Claims Administration & Objections
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Kevin B. Duff, Receiver                                                                                   Page 21



    Date        Indiv Hours Description

    7/1/2021    JRW       1.50 ...continued; email exchange and telephone conference with claimants'
                               counsel regarding process for resolution of single claims properties, related
                               preparation for same, and review of proposed pleading (1017 W 102nd
                               Street; 1516 E 85th Place; 2136 W 83rd Street; 417 Oglesby Avenue; 7922 S
                               Luella Avenue; 8030 S Marquette Avenue; 8104S Kingston Avenue; 8403 S
                               Aberdeen Street; 8529 S Rhodes Avenue; 11318S Church Street; 2129 W
                               71st Street; 6749-59 S Merrill Avenue; 7110 S Cornell Avenue; 7925 S
                               Kingston Avenue; 9212 S Parnell Avenue; 7210 S Vernon Avenue; 6825 S
                               Indiana Avenue; 406 E 87th Place; 6554 S Rhodes Avenue; 7712 S Euclid
                               Avenue; 8432 S Essex Avenue; 3213 S Throop Street; 8107 S Kingston
                               Avenue; 8346 S Constance Avenue; 10012 S LaSalle Avenue; 9610 S
                               Woodlawn Avenue; 6759 S Indiana Avenue; 8517 SVernon Avenue) (1.3);
                               exchange emails regarding vendor invoice and related correspondence to
                               vendor (.2).

                               Claims Administration & Objections

                MR        1.20 Review notes and materials regarding (sole lien) properties (.3); participate in
                               call with J. Wine regarding issues on process for claims (sole lien) (.9).

                               Claims Administration & Objections

    7/2/2021    AW        0.30 Finish uploading and correspond with J. Rak regarding claims documentation
                               (Group 1).

                               Claims Administration & Objections

    7/6/2021    AW        2.30 Attention to acknowledgment received from claimant's counsel and update list
                               for vendor (.1); work with K. Duff, M. Rachlis, and J. Wine on framing report
                               (Group 1) (.9); communicate with J. Wine regarding email to claimants from
                               Group 1 and serve framing report (Group 1) (.2); attention to communications
                               and claims filed by mortgagees and related email exchange with A. Porter
                               (1102 Bingham) (.7); revisions to standard discovery requests,related
                               communication with J. Wine and set up of group email (Group 1) (.4).


                               Claims Administration & Objections

                JRW       2.80 Summarize conference call with claimant's counsel regarding claims
                               resolution process and related review of draft declaratory action (1017W
                               102nd Street; 1516 E 85th Place; 2136 W 83rd Street; 417 Oglesby Avenue;
                               7922 S Luella Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue;
                               8403 S Aberdeen Street; 8529 S Rhodes Avenue; 11318 S Church Street;
                               2129 W 71st Street; 6749-59 S Merrill Avenue; 7110 S Cornell Avenue; 7925
                               S Kingston Avenue; 9212 S Parnell Avenue; 7210 S Vernon Avenue; 6825 S
                               Indiana Avenue; 406 E 87th Place; 6554 S Rhodes Avenue;7712 S Euclid
                               Avenue; 8432 S Essex Avenue; 3213 S Throop Street; 8107 S Kingston
                               Avenue; 8346 S Constance Avenue; 10012 S LaSalle Avenue; 9610 S
                               Woodlawn Avenue; 6759 S Indiana Avenue; 8517 S Vernon Avenue) (.4);
                               work with A. Watychowicz on finalizing standard discovery requests to
                               investors (all) (.4); revisions to standard discovery to institutional lenders (all)
                               (.2); correspondence with court clerk regarding entry of proposed order
                               setting claims process schedule (Group 1) (.1); revise framing report for
                               Group 1 to add summary of process (Group 1) (1.2); correspondence with K.
                               Duff, A. Watychowicz and SEC (Group 1) (.3); confer with A. Watychowicz
                               regarding setting up new email address and related service issues (Group 1)
                               (.2).


                               Claims Administration & Objections
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Kevin B. Duff, Receiver                                                                                Page 22



    Date       Indiv Hours Description


    7/6/2021    KMP       0.50 Revise, finalize and file Framing Report 1 and related communications with J.
                               Wine and A. Watychowicz (Group 1).

                               Claims Administration & Objections

                MR        0.70 Attention to framing report on claims and related follow up (Group 1) (.4);
                               attention to draft standard discovery and related communications (all) (.3).

                               Claims Administration & Objections

    7/7/2021    AW        3.50 Work on tracking down secondary email for emails that bounced during
                               service of framing report (Group 1) (1.1); communicate with K. Duff and J.
                               Wine regarding framing report with revised exhibit, follow up email to
                               claimants regarding framing report, and sent out same (Group 1) (.5);
                               revisions and email exchanges regarding email to claimants regarding
                               discovery requests (Group 1) (1.2); call with J. Wine regarding EBGroup 1
                               Service group issues (Group 1) (.1); email and call with IT vendor
                               regarding Google group creation (Group 1) (.2); attention to entered order
                               approving Group 1 and work on proposed schedule of proceedings for entry
                               by Judge Lee (Group 1) (.4).

                               Claims Administration & Objections

                JRW       2.40 Work with A. Watychowicz on issues related to service of framing report,
                               service list, and email distribution list (Group 1) (.7); continued revision of
                               standard discovery requests and related correspondence with claimants'
                               counsel and SEC (Group 1) (.9); attention to inquiry from claimants' counsel
                               (all) (.1); correspondence to court clerk regarding proposed order (Group 1)
                               (.1); review court's order approving Group 1, work with A. Watychowicz on
                               finalizing proposed order setting schedule and related correspondence to
                               clerk's court submitting same (Group 1) (.6).

                               Claims Administration & Objections

                KMP       0.30 Review and confirm dates set forth in proposed order relating to framing
                               report and related exchange of email with A. Watychowicz (Group 1).

                               Claims Administration & Objections

                MR        0.20 Exchanges on standard discovery and communications regarding framing
                               report and attention to order entered for claims (Group 1).

                               Claims Administration & Objections

    7/8/2021    AW        5.80 Research, set up, and testing of email group for service and receipt of
                               standard discovery responses (Group 1) (3.7); calls with J. Wine regarding
                               EB Group 1 Service group issues and research results (Group 1) (.3); lengthy
                               calls with IT vendor regarding setup of EB Group 1 Service group (Group 1)
                               (.8); draft email to claimants regarding EB Group 1 Service and discovery
                               requests and multiple related email exchanges and revisions (Group 1) (.9);
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Kevin B. Duff, Receiver                                                                                 Page 23



    Date       Indiv Hours Description

                               attention to email and respond J. Rak regarding claimant (3074 E
                               Cheltenham Place) (.1).

                               Claims Administration & Objections

    7/8/2021    JRW       1.80 Work with A. Watychowicz on testing of email distribution list for Group 1
                               claimants and related communications with IT vendor (Group 1) (1.0);
                               exchange correspondence with claimants' counsel and SEC regarding
                               standard discovery requests (Group 1) (.1); work with A. Watychowicz on
                               cover letter to claimants regarding service of discovery (Group 1) (.3); confer
                               with database vendor and search EquityBuild document database (all) (.4).

                               Claims Administration & Objections

    7/9/2021    AW        4.10 Email claimant regarding claims process and timing (all) (.1); call with J.
                               Wine regarding EB Group 1 Service group issues and email to claimants
                               (Group 1) (.2); track down requested correspondence to/from claimant and
                               related email exchange with J. Rak (all) (.5); attention to email from creditor,
                               research regarding prior correspondence and notice of receivership and
                               claims, attention to draft response from K. Duff (all) (.6); review claims and
                               related communication with J. Wine (all) (.2); work on revisions to standard
                               discovery requests and related email to claimants (Group 1) (1.1); continue
                               work on and testing of EB Group 1 Service group (Group 1) (1.1); email
                               claimants in Group 1 regarding discovery requests (Group 1) (.3).

                               Claims Administration & Objections

                JRW       2.00 Research regarding claimant in response to counsel inquiry (all) (.3); revise
                               and finalize email to claimants regarding discovery (Group 1) (.6);
                               conferences with A. Watychowicz regarding serviceof discovery and
                               population of email distribution list (Group 1) (.8); correspondence and
                               research regarding notice provided to claimant (all) (.1); exchange
                               correspondence with K. Duff regarding claims process and procedures for
                               additional discovery (Group 1) (.2).

                               Claims Administration & Objections

                MR        0.20 Attention to communications regarding discovery to claimants (Group 1).

                               Claims Administration & Objections

    7/12/2021 AW          3.10 Attention to discovery responses received from claimants, create spreadsheet
                               to record same, email exchanges with K. Duff and J. Wine regarding
                               responses to FAQ, and respond to claimants' questions regarding discovery
                               responses (Group 1) (2.9); attention to email from creditor and email
                               response regarding ongoing claims process (all) (.2).

                               Claims Administration & Objections

                JRW       3.20 Confer with A. Watychowicz regarding claimant emails regarding service of
                               discovery, non-deliverable emails to distribution group, and tracking of
                               claimant responses (Group 1) (.4); review documents in database and
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    Date      Indiv Hours Description

                               related correspondence with database vendor (all) (1.2); confer with K. Duff
                               regarding documents from defendants’ laptops (.2); draft correspondence to
                               claimants' counsel regarding process for single-claim properties (1017 W
                               102nd Street; 1516 E 85th Place; 2136 W 83rd Street; 417 Oglesby Avenue;
                               7922 S Luella Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue;
                               8403 S Aberdeen Street; 8529 S Rhodes Avenue; 11318 S Church Street;
                               2129 W 71st Street; 6749-59 S Merrill Avenue; 7110 S Cornell Avenue; 7925
                               S Kingston Avenue; 9212 S Parnell Avenue; 7210 S Vernon Avenue; 6825 S
                               Indiana Avenue; 406 E 87th Place; 6554 S Rhodes Avenue; 7712 S Euclid
                               Avenue; 8432 S Essex Avenue; 3213S Throop Street; 8107 S Kingston
                               Avenue; 8346 S Constance Avenue; 10012S LaSalle Avenue; 9610 S
                               Woodlawn Avenue; 6759 S Indiana Avenue; 8517S Vernon Avenue) (.5);
                               attention to responding to claimant inquiries (all) (.9).

                               Claims Administration & Objections

    7/12/2021 KMP         0.20 Communications with K. Duff and J. Wine regarding claims database
                               vendor.

                               Claims Administration & Objections

    7/13/2021 AW          3.20 Call with J. Wine regarding incoming discovery responses and claims
                               process (Group 1) (.2); attention to discovery responses received from
                               claimants, update spreadsheet to record same (Group 1) (2.5); respond to
                               claimant questions regarding discovery responses and confidentiality issues
                               (Group 1) (.2); research regarding produced records (Group 1) (.3).

                               Claims Administration & Objections

                JRW       1.60 Telephone conference with A. Watychowicz regarding claimant discovery
                               (Group 1) (.2); exchange comments and revisions regarding single claims
                               process with K. Duff and M. Rachlis (1017 W 102nd Street; 1516 E 85th
                               Place; 2136 W 83rd Street; 417 Oglesby Avenue; 7922 S Luella Avenue;
                               8030 S Marquette Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen
                               Street; 8529 S Rhodes Avenue; 11318 S Church Street; 2129 W 71st Street;
                               6749-59 S Merrill Avenue; 7110 S Cornell Avenue; 7925 S Kingston Avenue;
                               9212 S Parnell Avenue; 7210 S Vernon Avenue; 6825 S Indiana Avenue; 406
                               E 87th Place; 6554 S Rhodes Avenue; 7712 S Euclid Avenue; 8432 S Essex
                               Avenue; 3213 S Throop Street; 8107 S Kingston Avenue; 8346 S Constance
                               Avenue; 10012 S LaSalle Avenue; 9610 S Woodlawn Avenue; 6759 S
                               Indiana Avenue; 8517 S Vernon Avenue) (1.2); email from SEC (Group 1)
                               (.1); exchange emails with vendor regarding database (all) (.1).

                               Claims Administration & Objections

                KMP       0.20 Prepare forms for funds transfers to services vendor and related
                               communications with bank representatives and K. Duff.

                               Claims Administration & Objections
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    Date      Indiv Hours Description

    7/13/2021 MR          0.40 Attention to claims process issues and related exchanges with K. Duff and J.
                               Wine (sole lien).

                               Claims Administration & Objections

    7/14/2021 AEP         2.70 Teleconference with N. Gastevich and J. Rak regarding analyses of claims
                               asserted against receivership properties and methodologies for resolving
                               conflicts between proofs of claim and internal EquityBuild records (3074 E
                               Cheltenham Place; 7750-58S Muskegon Avenue) (2.5); read and respond to
                               e-mails from J. Wine regarding secured claims being asserted in connection
                               with single-family homes that have no competing claimants and other
                               receivership properties (sole lien) (.2).

                               Claims Administration & Objections

                AW        3.20 Calls with J. Wine regarding received discovery responses and claims
                               process (Group 1) (.7); attention to discovery responses received from
                               claimants, update spreadsheet to record same (Group 1) (.9); respond to
                               claimants' questions regarding discovery responses and confidentiality issues
                               (Group 1) (.3); set up shared folders as per claimants' requests (Group 1)
                               (.7); confirm receipt of discovery responsesfrom claimants (Group 1) (.5);
                               reach out to claimant who was rejected from Group 1 service (Group 1) (.1).

                               Claims Administration & Objections

                JR        2.50 Teleconference with A. Porter and N. Gastevich regarding analyses of
                               claimsasserted against receivership properties and methodologies for
                               resolving conflicts between proofsof claim and internal EquityBuild records
                               (3074 Cheltenham Place; 7750-58 SMuskegon Avenue).

                               Claims Administration & Objections

                JRW       2.80 Revise draft correspondence to claimants' counsel regarding single claims
                               process (1017 W 102nd Street; 1516 E 85th Place; 2136 W 83rd Street; 417
                               Oglesby Avenue; 7922 S Luella Avenue; 8030 S Marquette Avenue; 8104 S
                               Kingston Avenue; 8403 S Aberdeen Street; 8529 S Rhodes Avenue; 11318
                               S Church Street; 2129 W 71st Street; 6749-59 S Merrill Avenue; 7110 S
                               Cornell Avenue; 7925 S Kingston Avenue; 9212 S Parnell Avenue; 7210 S
                               Vernon Avenue; 6825 S Indiana Avenue; 406 E 87th Place; 6554 S Rhodes
                               Avenue; 7712 S Euclid Avenue; 8432 S Essex Avenue; 3213S Throop
                               Street; 8107 S Kingston Avenue; 8346 S Constance Avenue; 10012S LaSalle
                               Avenue; 9610 S Woodlawn Avenue; 6759 S Indiana Avenue; 8517S Vernon
                               Avenue) (.5); correspondence with M. Rachlis and A. Porter regarding
                               discovery for properties with single disputed claim (1017 W 102nd Street;
                               1516 E 85th Place; 2136 W 83rd Street; 417 Oglesby Avenue; 7922 S Luella
                               Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8403 S
                               Aberdeen Street; 8529 S Rhodes Avenue; 11318 S Church Street; 2129 W
                               71st Street; 6749-59 S Merrill Avenue; 7110 S Cornell Avenue; 7925 S
                               Kingston Avenue; 9212 S Parnell Avenue; 7210 S Vernon Avenue; 6825 S
                               Indiana Avenue; 406 E 87th Place; 6554 S Rhodes Avenue; 7712 S Euclid
                               Avenue; 8432 S Essex Avenue; 3213 S Throop Street; 8107 S Kingston
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    Date        Indiv Hours Description

                               Avenue; 8346 S Constance Avenue; 10012 S LaSalle Avenue; 9610 S
                               Woodlawn Avenue; 6759 S Indiana Avenue; 8517 S Vernon Avenue) (.7);
                               telephone conference with counsel for city of Chicago regarding standard
                               discovery requests and related review of individual requests and email
                               exchange with K. Duff (Group 1) (.6); confer with A. Watychowicz regarding
                               claimant discovery responses and standard discovery procedures (Group 1)
                               (.7); telephone conference with counsel for claimant and related email
                               exchange with K. Duff (all) (.3).

                               Claims Administration & Objections

    7/14/2021 MR          0.50 Further review and comment on process issues and related exchanges (sole
                               lien) (.3); attention to standard discovery issues and email regarding various
                               claims (Group 1) (.2).

                               Claims Administration & Objections

    7/15/2021 AW          0.30 Responses to claimants, update discovery responses spreadsheet, and
                               resolve group email issue (Group1).


                               Claims Administration & Objections

                JRW       0.70 Correspond with K. Duff regarding discovery-related inquiries from claimant's
                               counsel and respond to same (Group 1) (.3); confer with A. Porter and K.
                               Duff regarding process for resolution of single claims and revise draft
                               correspondence accordingly (1017 W 102nd Street; 1516 E 85th Place; 2136
                               W 83rd Street; 417 Oglesby Avenue; 7922 S Luella Avenue; 8030 S
                               Marquette Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Street; 8529
                               S Rhodes Avenue; 11318 S Church Street; 2129 W 71st Street; 6749-59 S
                               Merrill Avenue; 7110 S Cornell Avenue; 7925 S Kingston Avenue; 9212 S
                               Parnell Avenue; 7210 S Vernon Avenue; 6825 S Indiana Avenue; 406 E 87th
                               Place; 6554 S Rhodes Avenue; 7712 S Euclid Avenue; 8432 S Essex
                               Avenue; 3213 S Throop Street; 8107 S Kingston Avenue; 8346 S Constance
                               Avenue; 10012 S LaSalle Avenue; 9610 S Woodlawn Avenue; 6759 S
                               Indiana Avenue; 8517 S Vernon Avenue) (.4).

                               Claims Administration & Objections

                MR        0.20 Attention to issues and follow up response to revisions on claim process (sole
                               lien).

                               Claims Administration & Objections

    7/16/2021 JRW         0.50 Confer with A. Porter regarding claims against property and related review of
                               claims workup (1102 Bingham) (.2); exchange correspondence with counsel
                               for claimants regarding claims resolution procedures (1017 W 102nd Street;
                               1516 E 85th Place; 2136 W 83rd Street; 417 Oglesby Avenue;7922 S Luella
                               Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8403 S
                               Aberdeen Street; 8529 S Rhodes Avenue; 11318 S Church Street; 2129 W
                               71st Street; 6749-59 S Merrill Avenue; 7110 S Cornell Avenue; 7925 S
                               Kingston Avenue; 9212 S Parnell Avenue; 7210 S Vernon Avenue; 6825 S
                               Indiana Avenue; 406 E 87th Place; 6554 S Rhodes Avenue; 7712 S Euclid
                               Avenue; 8432 S Essex Avenue; 3213 S Throop Street; 8107 S Kingston
                               Avenue; 8346 S Constance Avenue; 10012 S LaSalle Avenue; 9610 S
                               Woodlawn Avenue; 6759 S Indiana Avenue; 8517 S Vernon Avenue) (.1);
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Kevin B. Duff, Receiver                                                                                Page 27



    Date        Indiv Hours Description

                               office conference with K. Duff regarding claims process and timing (all) (.2).

                               Claims Administration & Objections

    7/18/2021 AEP         0.20 Teleconference with K. Duff regarding method for assessing claims of
                               secured lenders and process for propounding and reviewing discovery
                               documents (Group 1).

                               Claims Administration & Objections

    7/19/2021 AW          1.80 Attention to discovery responses received from claimants, update files for
                               sharing discovery and spreadsheet reflecting discovery progress (Group 1).

                               Claims Administration & Objections

    7/20/2021 AW          1.20 Confirm receipt of discovery responses to shared folder and via email and
                               update sheet (Group 1) (.4); work on issue with mailing received by claimant
                               (Group 1) (.2); responses to claimants' emails regarding tax issues, property
                               sales in second quarter of 2021, claims process, and grouping (Group 1)
                               (.6).


                               Claims Administration & Objections

    7/21/2021 AEP         0.30 Teleconference with N. Gastevich and J. Rak regarding status of claims
                               analysis in connection with receivership properties (7201 S Constance
                               Avenue; 3074 E Cheltenham Place).

                               Claims Administration & Objections

                AW        2.10 Correspondence with claimants and counsel regarding settlement agreement,
                               claims process, discovery requests, fund issues (Group 1) (.5); confirm
                               receipt of discovery responses to shared folder and via email and update
                               sheet (Group 1) (1.4); work with claimant whose email was frozen and
                               attempt to resend past communication (Group 1) (.2).


                               Claims Administration & Objections

                JR        0.30 Teleconference with A. Porter and N. Gastevich regarding status of claims
                               analyses in connection with receivership properties (7201 S Constance
                               Avenue; 3074 E Cheltenham Place).

                               Claims Administration & Objections

                JRW       0.20 Review correspondence regarding claimant inquiries (Group 1).


                               Claims Administration & Objections
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Kevin B. Duff, Receiver                                                                                Page 28



    Date      Indiv Hours Description

    7/22/2021 AW          1.20 Attention to email from claimant requesting a call and follow up by email
                               (all) (.1); confirm receipt of discovery responses to shared folder and via
                               email and update discovery sheet (Group 1) (.8); continued work with
                               claimant whose email was frozen, resend emails, and change email
                               information (Group 1) (.3).

                               Claims Administration & Objections

    7/23/2021 AW          0.70 Correspond with claimants regarding status of their discovery responses
                               (Group 1) (.2); research regarding claimant's suggestion on framing report
                               and related email to claimant's counsel (Group 1) (.2); communicate with K.
                               Duff regarding hard copy responses and draft email to claimant requesting
                               electronic copies (Group 1) (.3).

                               Claims Administration & Objections

    7/26/2021 AW          0.90 Call with J. Wine regarding received discovery responses and claims process
                               (Group 1) (.2); confirm receipt of discovery responses to shared folder and via
                               email and update discovery sheet (Group 1) (.5); attention to voice message
                               from claimant regarding discovery responses and email response to same
                               (Group 1) (.1); email exchange with J. Wine regarding revision to answer to
                               FAQ (Group 1) (.1).

                               Claims Administration & Objections

                JRW       1.10 Attention to claimant inquiries regarding claims process (all) (.6); telephone
                               conference with A. Watychowicz regarding claims process and claimant
                               inquiries (Group 1) (.2);review invoices from vendor and related
                               correspondence (all) (.3).

                               Claims Administration & Objections

    7/27/2021 AW          1.00 Confirm receipt of discovery responses by email and update discovery sheet
                               (Group 1) (.2); review discovery responses received by mail, confer with K.
                               Duff regarding follow up request to provide same in electronic form, and
                               email claimant (Group 1) (.4); attention to claimant's email response and
                               work on appropriate reply (Group 1) (.1); attention to J. Rak's email
                               regarding claimant, locate claim and related email to J. Rak (Group 1) (.3).

                               Claims Administration & Objections

                JRW       0.50 Attention to claimant inquiries (all) (.1); correspondence to database vendor
                               and claimants' counsel regarding document database issues (all) (.2); review
                               vendor invoices and related email exchanges with K. Duff and K. Pritchard
                               (all) (.2).

                               Claims Administration & Objections
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Kevin B. Duff, Receiver                                                                                 Page 29



    Date      Indiv Hours Description

    7/27/2021 KMP         0.20 Communicate with K. Duff and J. Wine regarding claims data vendor invoice.

                               Claims Administration & Objections

    7/28/2021 AW          1.80 Work on response to claimant who served discovery responses in hard
                               copies (Group 1) (.2); confirm receipt of discovery responses by email and
                               shared folder and update discovery sheet (Group 1) (.3); prepare uploads of
                               claims documents for claimant's requests (Group 1) (.2); review prior email
                               and response to inquiry regarding former property (defer) (.3); review
                               discovery responses containing email files in native form and related
                               correspondence with K. Duff and J. Wine (Group 1) (.5); follow up with J.
                               Wine regarding response to claimant's counsel (all) (.1); email exchange
                               with K. Duff and J. Wine regarding discovery responses and need to follow
                               up with claimants (Group 1) (.2).

                               Claims Administration & Objections

                JRW       4.10 Email exchanges with database vendor and claimants' counsel regarding
                               database maintenance issues (all) (.3); attention to claimant inquiries (all)
                               (.4); work with A. Watychowicz and K. Duff on claimant communications
                               regarding discovery and communications (Group 1) (.6); study fund
                               documents and related analysis (all) (1.3); review proof of claim and
                               supporting documents and related correspondence with K.Duff (all) (1.5).

                               Claims Administration & Objections

                KMP       0.20 Prepare payment for claims data vendor invoice.

                               Claims Administration & Objections

    7/29/2021 AW          0.80 Confirm receipt of discovery responses by email and shared folder and
                               update discovery sheet (Group 1) (.2); attention to email from counsel
                               regarding transfer of claims files, review transfers and confirm link emails
                               were complete and prepare requested files for upload (Group 1) (.6).

                               Claims Administration & Objections

                JRW       0.40 Attention to claimant inquiry regarding discovery (Group 1) (.1); exchange
                               correspondence with claimants counsel regarding claims documentation and
                               related communicationswith A. Watychowicz regarding records from vendor
                               (all) (.3).

                               Claims Administration & Objections

    7/30/2021 AEP         2.70 Teleconference with K. Duff, J. Wine, and J. Rak regarding analysis of
                               secured claims against receivership properties, including legal issues,
                               discovery issues, adjudication issues, inquiry notice issues, and other
                               assorted matters (3074 E Cheltenham Place; 7750-58 S Muskegon
                               Avenue).

                               Claims Administration & Objections
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    Kevin B. Duff, Receiver                                                                              Page 30



        Date       Indiv Hours Description

        7/30/2021 AW          0.30 Test shared folder as per claimant's request (Group 1) (.1); communicate
                                   with K. Duff and J. Wine regarding scheduled call on discovery issues
                                   (Group 1) (.2).

                                   Claims Administration & Objections

                    JR        2.70 Teleconference with A. Porter, K. Duff and J. Wine regarding analysis of
                                   secured claims against receivership properties, including legal issues,
                                   discovery issues, adjudication issues, inquiry notice issues, and other
                                   assorted matters (3074 E Cheltenham Place; 7750-58 S Muskegon
                                   Avenue).

                                   Claims Administration & Objections

                    JRW       7.10 Exchange correspondence with database vendors regarding database
                                   issues (all) (.3); research Cook County Recorder of Deeds records regarding
                                   lien priorities (3074 Cheltenham Place;7625-33 S East End Avenue; 7635-43
                                   S East End Avenue; 7750-58 S Muskegon Avenue; 7201 S Constance
                                   Avenue) (1.2); review correspondence from counsel for claimants regarding
                                   process to resolve claims (1017 W 102nd Street; 1516 E 85th Place; 2136 W
                                   83rd Street; 417 OglesbyAvenue; 7922 S Luella Avenue; 8030 S Marquette
                                   Avenue; 8104 S KingstonAvenue; 8403 S Aberdeen Street; 8529 S Rhodes
                                   Avenue; 11318 S Church Street; 2129 W 71st Street; 6749-59 S Merrill
                                   Avenue; 7110 S Cornell Avenue; 7925 S Kingston Avenue; 9212 S Parnell
                                   Avenue; 7210 S Vernon Avenue; 6825 S Indiana Avenue; 406 E 87th Place;
                                   6554 S Rhodes Avenue;7712 S Euclid Avenue; 8432 S Essex Avenue; 3213
                                   S Throop Street; 8107 SKingston Avenue; 8346 S Constance Avenue; 10012
                                   S LaSalle Avenue; 9610S Woodlawn Avenue; 6759 S Indiana Avenue; 8517
                                   S Vernon Avenue) (.1); videoconference with K. Duff regarding claims
                                   process (all) (.2); search documents in database (all) (1.8); exchange
                                   correspondence with K. Duff and A. Watychowicz regarding communications
                                   with claimants regarding discovery (Group 1) (.1); review draft claims review
                                   checklist and proofs of claim in preparation for meeting (Group 1) (.8); meet
                                   with K. Duff and A. Porter regarding claims review (3074 Cheltenham Place;
                                   7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S
                                   Muskegon Avenue; 7201 S Constance Avenue) (2.6).

                                   Claims Administration & Objections


SUBTOTAL:                                                                                  [ 91.90       19355.00]

Status Reports

        7/9/2021     JRW      0.50 Begin working on second quarter status report and related correspondence to
                                   team.

                                   Status Reports

                    KMP       3.50 Review checklist from J. Wine regarding financial exhibits required for second
                                   quarter 2021 status report (.2); begin work on financial exhibits for second
                                   quarter 2021 status report (3.3).

                                   Status Reports
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    Date        Indiv Hours Description

    7/13/2021 JRW         2.20 Continue working on 2d quarter 2021 status report and related email
                               exchanges with counsel and accountant regarding updates.


                               Status Reports

                KMP       1.10 Continue work on financial exhibits for 2Q2021 status report and related
                               communications with J. Wine and A. Porter.

                               Status Reports

    7/14/2021 JR          0.40 Review email from J. Wine relating to 2nd quarter 2021 status report inquiries
                               for the status of sale of property and property taxes and respond accordingly
                               (1102 Bingham).

                               Status Reports

                JRW       1.30 Attention to preparation of status report for second quarter.

                               Status Reports

                KMP       4.20 Continue work on financial exhibits for 2Q2021 status report and related
                               communications with J. Rak and A. Porter.

                               Status Reports

    7/15/2021 JR          2.70 Review email from J. Wine relating to second quarter 2021 status report and
                               provide requested information (2.5); further correspondence with J. Wine
                               detailing requested information pertaining to the 2nd quarter 2021 status
                               report (.2).

                               Status Reports

                JRW       0.90 Continue working on second quarter status report and related
                               correspondence with team and review of exhibits.

                               Status Reports

                KMP       3.00 Continue work on financial exhibits for 2Q2021 status report and related
                               communications with J. Rak, A. Porter; and J. Wine (2.8); communications
                               with J. Wine regarding details of renewal of property, umbrella, and general
                               liability insurance policies for EB properties (.2).

                               Status Reports

    7/16/2021 JR          0.30 Exchange communication with J. Wine regarding requested 2nd quarter
                               status report property information.

                               Status Reports

                JRW       0.20 Confer with A. Porter regarding status of unliquidated claims (.1); revisions to
                               draft status report (.1).

                               Status Reports
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Kevin B. Duff, Receiver                                                                                  Page 32



    Date        Indiv Hours Description

    7/16/2021 KMP         0.30 Continue work on financial exhibits for 2Q2021 status report and related
                               communications with J. Rak, A. Porter; and J. Wine.

                               Status Reports

    7/18/2021 AEP         0.30 Review pleadings files in lawyers' lawsuit and prepare summary of litigation
                               events for inclusion in 2nd Quarter status report for J. Wine.

                               Status Reports

    7/19/2021 AW          0.40 Provide J. Wine requested information regarding email traffic in email
                               accounts.

                               Status Reports

                ED        0.30 Draft email correspondence to J. Wine with summary of activity relating to
                               accounting reports during Q4 2020.

                               Status Reports

                JRW       5.10 Continue working on second quarter status report and exhibits to same (4.9);
                               correspondence with E. Duff regarding status report (.2).

                               Status Reports

    7/20/2021 AW          0.30 Attention to draft status report and exhibits.

                               Status Reports

    7/21/2021 JRW         0.70 Revisions to draft status report (.4); review Receiver's comments and revise
                               draft status report accordingly (.3).

                               Status Reports

    7/22/2021 MR          0.90 Attention to draft status report and follow up.

                               Status Reports

    7/23/2021 AW          2.40 Proofread status report and email counsel regarding revisions (.8); prepare
                               updated claims list and finalize exhibits (.4); further revisions to status report
                               and email K. Duff final draft (1.2).

                               Status Reports

                JRW       0.30 Telephone conference with A. Watychowicz regarding status report and
                               review revisions to same.

                               Status Reports

    7/26/2021 AW          0.40 Research regarding reference to orders approving sales in second quarter on
                               2021 and related email exchange with J. Wine.

                               Status Reports
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    Kevin B. Duff, Receiver                                                                                 Page 33



        Date        Indiv Hours Description

        7/26/2021 JRW         0.30 Work with A. Watychowicz regarding status report citations.

                                   Status Reports

        7/27/2021 AW          0.30 Revisions to status report and exhibits and related email to counsel (.2);
                                   attention to emails suggesting further revisions (.1).

                                   Status Reports

                    JRW       0.40 Revise status report for second quarter 2021 and related correspondence
                                   with K. Pritchard and K. Duff.

                                   Status Reports

        7/28/2021 AW          0.30 Revise status report as per J. Wine suggestion, attention to email exchanges
                                   regarding additional proposed revisions.

                                   Status Reports

        7/29/2021 AW          0.20 Further revisions to status report and related email to J. Wine.

                                   Status Reports

        7/30/2021 AW          0.80 Additional revisions to twelfth status report as per K. Duff's suggestions,
                                   finalize status report, file status report, and serve as per service list.

                                   Status Reports


SUBTOTAL:                                                                                    [ 34.00         6563.00]

Tax Issues

        7/27/2021 KMP         0.40 Communicate with K. Duff and accountants regarding tax notice for
                                   entity (.2); pay property tax and related communications with K. Duff and
                                   J. Rak (1102 Bingham) (.2).

                                   Tax Issues


SUBTOTAL:                                                                                    [ 0.40              56.00]




                                                                                            208.00        $43,242.00
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    Kevin B. Duff, Receiver                                                                 Page 34




Other Charges

                                     Description

Asset Analysis & Recovery

                                     Witness fee for subpoena to third party                   42.00



SUBTOTAL:                                                                            [         42.00]

Business Operations

                                     Software license fees for July 2021 (Summit              269.00
                                     Hosting, $173; Google Suite, $96)

                                     Corporate filing fee for EB entity                       766.88

                                     Photocopies for July 2021                                   4.20

                                     Online research for July 2021                             32.86



SUBTOTAL:                                                                            [       1,072.94]


Total Other Charges                                                                         $1,114.94




                                    Summary of Activity
                                                                          Hours     Rate
Jodi Wine                                                                 64.30   260.00   $16,718.00
Ania Watychowicz                                                          50.60   140.00    $7,084.00
Justyna Rak                                                               31.20   140.00    $4,368.00
Kathleen M. Pritchard                                                     25.30   140.00    $3,542.00
Stoja Zjalic                                                               9.80   110.00    $1,078.00
Andrew E. Porter                                                          20.50   390.00    $7,995.00
Ellen Duff                                                                 0.80   390.00      $312.00
Michael Rachlis                                                            5.50   390.00    $2,145.00
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                                   SUMMARY


               Legal Services                                  $43,242.00
               Other Charges                                    $1,114.94

                  TOTAL DUE                                    $44,356.94
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                                 Rachlis Duff & Peel, LLC
                                      542 South Dearborn Street
                                                                                           tel (312) 733-3950
                                              Suite 900                                    fax (312) 733-3952
                                       Chicago, Illinois 60605




October 29, 2021

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




 Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                       Fed. I.D. No. XX-XXXXXXX
     Cohen, and Shaun D. Cohen                                                          Invoice No. 6622137
     No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.




 Legal Fees for the period August 2021                                   $42,497.00

 Expenses Disbursed                                                           $905.13


 Due this Invoice                                                         $43,402.13
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    Kevin B. Duff, Receiver                                                                               Page 2




        Date          Indiv Hours Description

Accounting/Auditing

        8/19/2021 KMP         1.30 Work on July schedules of receipts and disbursements.

                                   Accounting/Auditing


SUBTOTAL:                                                                                  [ 1.30            182.00]

Asset Analysis & Recovery

        8/4/2021      JRW     1.90 Correspondence with counsel for third-parties regarding submission of
                                   proposed order (.2); review sample ordersand draft proposed order
                                   approving settlement (1.2); review comments and further revise order (.2);
                                   correspondence to SEC and third-partycounsel regarding proposed order
                                   (.3).

                                   Asset Analysis & Recovery

                      MR      0.30 Attention to third party settlement and related conferences with J.Wine and
                                   K. Duff.

                                   Asset Analysis & Recovery

        8/5/2021      JRW     0.40 Correspondence with courts clerk regarding submission of proposed order
                                   granting motion to approve settlement (.1); draft subpoena riders (.3).

                                   Asset Analysis & Recovery

        8/13/2021 JRW         0.20 Review court order approving settlement and related correspondence with
                                   counsel.

                                   Asset Analysis & Recovery

        8/16/2021 JRW         0.20 Exchange correspondence with counsel for third regarding distributions
                                   pursuant to settlement agreement.

                                   Asset Analysis & Recovery

        8/19/2021 KMP         0.30 Research regarding service on third party and related correspondence with K.
                                   Duff.

                                   Asset Analysis & Recovery

        8/23/2021 AEP         0.30 Review list of properties in connection with which claims for refunds from the
                                   State of Illinois were asserted, identify new properties owned and sold by
                                   EquityBuild, and add same to spreadsheet of all EquityBuild properties.

                                   Asset Analysis & Recovery

                      KMP     1.00 Follow up on delivery of subpoenas to third-parties and related
                                   communication with K. Duff (.2); prepare draft correspondence to third parties
                                   regarding required response to subpoenas and forward to K. Duff, J. Wine,
                                   and A. Porter for review (.8).

                                   Asset Analysis & Recovery
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    Kevin B. Duff, Receiver                                                                               Page 3



         Date       Indiv Hours Description



         8/24/2021 KMP        1.10 Revise, finalize, and prepare certified mail and email transmittals of
                                   correspondence to third parties regarding response to subpoenas, and
                                   related communication with K. Duff.

                                   Asset Analysis & Recovery

         8/30/2021 JR         0.20 Review email from K. Duff regarding search of title records for property
                                   and respond accordingly.

                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                   [ 5.90            1300.00]

Asset Disposition

         8/2/2021    JR       0.30 Review email from property management and request water bills in
                                   anticipation for closing (638-40 N Avers Avenue) (.1); review email from
                                   property management and save water statements in anticipation of closing
                                   (638-40 N Avers Avenue) (.2).

                                   Asset Disposition

                     KMP      0.20 Communicate with property manager regarding allocation of post-sale
                                   reconciliation funds (417 S Oglesby Avenue; 7925 S Kingston Avenue; 8030
                                   S Marquette Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Avenue;
                                   8405 S Marquette Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212
                                   S Parnell Avenue; 2136 W 83rd Street; 1516 E 85th Place; 7922 S Luella
                                   Avenue; 1017 W 102nd Street; 7933 S Kingston Avenue;11318 S Church
                                   Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place; 61 E
                                   92nd Street; 6554 S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon
                                   Avenue; 7712 S Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S Kingston
                                   Avenue; 8346 S Constance Avenue; 8517 S Vernon Avenue; 10012 S
                                   LaSalle Avenue; 8432 S Essex Avenue; 4750-52 S Indiana Avenue; 7840-42
                                   S Yates Avenue; 2800-06 E 81st Street; 1422-24 E 68th Street).

                                   Asset Disposition

         8/3/2021    AEP      0.50 Communications with buyer's counsel, J. Rak, K. Duff, and property manager
                                   regarding inability to obtain full payment water certificate in connection with
                                   prospective conveyance of receivership property (638-40 N Avers Avenue).

                                   Asset Disposition

                     JR       0.60 Review email from A. Porter requesting information related to water certificate
                                   status in anticipation for closing (638-40 N Avers Avenue) (.1); further
                                   communication with the title company, A. Porter, property management, and
                                   City of Chicago regarding expediting water meter replacement and the water
                                   certificate in anticipation for closing (638-40 N Avers Avenue) (.4); review
                                   email from A. Porter regarding the cancellation of closing (638-40 N Avers
                                   Avenue) and further communication with property management advising of
                                   same (.1).


                                   Asset Disposition
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 Kevin B. Duff, Receiver                                                                                Page 4



     Date       Indiv Hours Description


     8/4/2021    AEP       0.20 Conference call with J. Rak and City of Chicago Water Department regarding
                                timing of installation of new water meter at receivership property and
                                issuance of full payment certificate (638-40 N Avers Avenue).

                                Asset Disposition

                 JRW       0.30 Review and revise proposed order granting 14th sales motion and related
                                correspondence with courtroom deputy (1102 Bingham).

                                Asset Disposition

                 MR        0.30 Attention to motion for approval and related conferences with K. Duff and J.
                                Wine (1102 Bingham).

                                Asset Disposition

     8/5/2021    JR        0.20 Exchange communication with property management, A. Porter and the City
                                of Chicago water department to coordinate the replacement of broken water
                                meter at the property in anticipation for closing (638-40 N Avers Avenue).


                                Asset Disposition

     8/6/2021    JR        0.40 Communication with the City of Chicago water department regarding
                                rescheduled water meter install and advise team of same (638-40 N Avers
                                Avenue) (.1); further communication with A. Porter and property
                                management inquiring on the status of plumbing work related to water meter
                                issue at property (638-40 N Avers Avenue) (.1); review email from K. Duff
                                related to allocations for post-closing reconciliation regarding properties and
                                further communicate with A. Porter regarding same (single family) (.2).


                                Asset Disposition

     8/12/2021 JR          0.20 Exchange correspondence with the city of Chicago water department
                                inquiring about water meter installation in anticipation for closing (638-40 N
                                Avers Avenue) (.1); further correspondence with property management
                                regarding water meter install (638-40 N Avers Avenue) (.1).

                                Asset Disposition

                 JRW       0.10 Confer with K. Duff regarding entry of proposed order (1102 Bingham).

                                Asset Disposition

     8/13/2021 KMP         0.30 Communications with K. Duff and property manager regarding issues with
                                post-sale reconciliations and transfer of funds and forward related
                                spreadsheet to property manager (417 S Oglesby Avenue; 7925 S Kingston
                                Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8403 S
                                Aberdeen Avenue; 8405 S Marquette Avenue; 8529 S Rhodes Avenue; 8800
                                S Ada Street; 9212 S Parnell Avenue; 2136 W 83rd Street; 1516 E 85th
                                Place; 7922 S Luella Avenue; 1017 W 102nd Street; 7933 S Kingston
                                Avenue;11318 S Church Street; 3213 S Throop Street; 3723 W 68th Place;
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 Kevin B. Duff, Receiver                                                                             Page 5



     Date        Indiv Hours Description

                                406 E 87th Place; 61 E 92nd Street; 6554 S Rhodes Avenue; 6825 S Indiana
                                Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7953 S Woodlawn
                                Avenue; 8107 S Kingston Avenue; 8346 S Constance Avenue; 8517 S
                                Vernon Avenue; 10012 S LaSalle Avenue; 8432 S Essex Avenue; 4750-52 S
                                Indiana Avenue; 7840-42 S Yates Avenue; 2800-06 E 81st Street; 1422-24 E
                                68th Street).

                                Asset Disposition

     8/13/2021 MR          0.20 Attention to issues on appeal and order on earnest money (6949-59S Merrill
                                Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue).

                                Asset Disposition

     8/20/2021 AEP         1.20 Read order entered by Judge Lee regarding disposition of earnest money
                                associated with purchaser default on prospective sale of receivership
                                properties, analyze underlying strict joint order escrow agreements, and
                                prepare e-mail to title indemnity officer providing factual background and
                                requesting disbursement of escrowed funds (6949-59 S Merrill Avenue;
                                7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue) (.8); read order
                                confirming sale of receivership property, review relevant provisions of
                                purchase and sale contract, and prepare e-mail to title companyand
                                prospective purchaser requesting deposit of remaining earnest money and
                                scheduling of closing (1102 Bingham) (.4).


                                Asset Disposition

                 KMP       0.20 Follow up on post-sale reconciliation and deposits to property accounts (417
                                S Oglesby Avenue; 7925 S Kingston Avenue; 8030 S Marquette Avenue;
                                8104 S Kingston Avenue; 8403 S Aberdeen Avenue; 8405 S Marquette
                                Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell Avenue;
                                2136 W 83rd Street; 1516 E 85th Place; 7922 S Luella Avenue; 1017 W
                                102nd Street; 7933 S Kingston Avenue;11318 S Church Street; 3213 S
                                Throop Street; 3723 W 68th Place; 406 E 87th Place; 61 E 92nd Street; 6554
                                S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7712 S
                                Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S Kingston Avenue; 8346 S
                                Constance Avenue; 8517 S Vernon Avenue; 10012 S LaSalle Avenue; 8432
                                S Essex Avenue; 4750-52 S Indiana Avenue; 7840-42 S Yates Avenue;
                                2800-06 E 81st Street; 1422-24 E 68th Street).

                                Asset Disposition

     8/23/2021 KMP         0.20 Follow up with K. Duff and property manager on post-sale reconciliation and
                                deposits to property accounts (417 S Oglesby Avenue; 7925 S Kingston
                                Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8403 S
                                Aberdeen Avenue; 8405 S Marquette Avenue; 8529 S Rhodes Avenue; 8800
                                S Ada Street; 9212 S Parnell Avenue; 2136 W 83rd Street; 1516 E 85th
                                Place; 7922 S Luella Avenue; 1017 W 102nd Street; 7933 S Kingston
                                Avenue;11318 S Church Street; 3213 S Throop Street; 3723W 68th Place;
                                406 E 87th Place; 61 E 92nd Street; 6554 S Rhodes Avenue; 6825 S Indiana
                                Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7953S Woodlawn
                                Avenue; 8107 S Kingston Avenue; 8346 S Constance Avenue; 8517 S
                                Vernon Avenue; 10012 S LaSalle Avenue; 8432 S Essex Avenue; 4750-52 S
                                Indiana Avenue; 7840-42 S Yates Avenue; 2800-06 E 81st Street;1422-24 E
                                68th Street).


                                Asset Disposition
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 Kevin B. Duff, Receiver                                                                               Page 6



     Date      Indiv Hours Description


     8/24/2021 KMP         0.70 Prepare spreadsheet for property manager relating to post-sale
                                reconciliation and deposits to property accounts, and related communication
                                with K. Duff and property manager (417 S Oglesby Avenue; 7925 S
                                Kingston Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8403
                                S Aberdeen Avenue; 8405 S Marquette Avenue; 8529 S Rhodes Avenue;
                                8800 S Ada Street; 9212 S Parnell Avenue; 2136 W 83rd Street; 1516 E 85th
                                Place; 7922 S Luella Avenue; 1017 W 102nd Street; 7933 S Kingston
                                Avenue;11318 S Church Street; 3213 S Throop Street; 3723 W 68th Place;
                                406 E 87th Place; 61 E 92nd Street; 6554 S Rhodes Avenue; 6825 S Indiana
                                Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7953 S Woodlawn
                                Avenue; 8107 S Kingston Avenue; 8346 S Constance Avenue; 8517 S
                                Vernon Avenue; 10012 S LaSalle Avenue; 8432 S Essex Avenue; 4750-52 S
                                Indiana Avenue; 7840-42 S Yates Avenue; 2800-06 E 81st Street; 1422-24 E
                                68th Street).

                                Asset Disposition

     8/25/2021 KMP         0.40 Communicate with property manager and bank representatives regarding
                                information required for post-sale reconciliation and deposits to property
                                accounts (417 S Oglesby Avenue; 7925 S Kingston Avenue; 8030 S
                                Marquette Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Avenue; 8405
                                S Marquette Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S
                                Parnell Avenue; 2136 W 83rd Street; 1516 E 85th Place; 7922 S Luella
                                Avenue; 1017 W 102nd Street; 7933 S Kingston Avenue;11318 S Church
                                Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place; 61 E
                                92nd Street; 6554 S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon
                                Avenue; 7712 S Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S Kingston
                                Avenue; 8346 S Constance Avenue; 8517 S Vernon Avenue; 10012 S
                                LaSalle Avenue; 8432 S Essex Avenue; 4750-52 S Indiana Avenue; 7840-42
                                S Yates Avenue; 2800-06 E 81st Street; 1422-24 E 68th Street).

                                Asset Disposition

     8/30/2021 JR          1.40 Review email from K. Duff regarding tax bills for single family homes and
                                advise accordingly (single family) (.2); review emails related to water meter
                                installation for property (638-40 N Avers Avenue) (.2); further exchange
                                correspondence with the property managers, firm, and City of Chicago
                                requesting an expedited water meter installation date (638-40 N Avers
                                Avenue) (.4); review email from K. Prichard related to 3rd payment of
                                property taxes (1102 Bingham) (.1); review email from K. Duff regarding a
                                corrective notice received related to maintenance on property (1102
                                Bingham) (.1); follow up correspondence with municipality inquiring about
                                further information related to notice (1102 Bingham) (.3); review email from
                                K. Pritchard requesting property owner information and provide requested
                                EquityBuild portfolio spreadsheet with required information (all) (.1).


                                Asset Disposition

     8/31/2021 JR          0.50 Review email from J. Wine regarding notices received for properties, forward
                                to buyer and buyer's counsel (4533-47S Calumet Avenue; 1414-18 East
                                62nd Place) (.2); review email from A. Porter related to submission of full
                                payment water applications and submit same to the title company (638-40
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    Kevin B. Duff, Receiver                                                                               Page 7



        Date       Indiv Hours Description

                                   N Avers Avenue) (.1); exchange communication with the City of Chicago
                                   water department to discuss options for expediting the water reading related
                                   to property in anticipation for closing (638-40 N Avers Avenue) (.1); follow
                                   up correspondence with the property manager and confirm contact
                                   information in anticipation of water reading (638-40 N Avers Avenue) (.1).

                                   Asset Disposition

        8/31/2021 KMP         0.60 Review online bank records to confirm receipt of post-sale reconciliation
                                   funds from property manager and related communications with K. Duff and
                                   property manager (417 S Oglesby Avenue; 7925 S KingstonAvenue; 8030 S
                                   Marquette Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Avenue;
                                   8405 S Marquette Avenue; 8529 S Rhodes Avenue; 8800S Ada Street; 9212
                                   S Parnell Avenue; 2136 W 83rd Street; 1516 E 85th Place; 7922 S Luella
                                   Avenue; 1017 W 102nd Street; 7933 S Kingston Avenue;11318 S Church
                                   Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place; 61 E
                                   92nd Street; 6554 S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S
                                   Vernon Avenue; 7712 S Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S
                                   Kingston Avenue; 8346 S Constance Avenue; 8517 S Vernon Avenue;
                                   10012 S LaSalle Avenue; 8432 S Essex Avenue; 4750-52 S Indiana Avenue;
                                   7840-42 S Yates Avenue; 2800-06 E 81st Street; 1422-24 E68th Street).

                                   Asset Disposition


SUBTOTAL:                                                                                   [ 9.00          1908.00]

Business Operations

        8/2/2021      ED      0.20 Email correspondence with K. Duff, J. Rak, and lender's counsel regarding
                                   access and information requested in connection withproperty appraisal (7109-
                                   19 S Calumet Avenue).

                                   Business Operations

                      JR      0.40 Review email from K. Duff regarding inspection of property (7109-19 S
                                   Calumet Avenue) (.1); review emails from E. Duff related to property
                                   appraisal and corresponding email exchanges pertaining to same (7109-19 S
                                   Calumet Avenue) (.1); review email from K. Duff requesting property
                                   information related to appraisal of property (7109-19 S Calumet Avenue) (.1);
                                   further communication with property management requesting property reports
                                   and other information regarding same (7109-19 S Calumet Avenue) (.1).

                                   Business Operations

                      KMP     0.30 Review and compare recent and prior utility bills for property and related
                                   communication with K. Duff (1401 W 109th Place).

                                   Business Operations

                      MR      0.20 Attention to issues regarding request for information from lenders (7109-19 S
                                   Calumet Avenue).

                                   Business Operations
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 Kevin B. Duff, Receiver                                                                                Page 8



     Date       Indiv Hours Description


     8/3/2021    ED        0.70 Email correspondence to J. Rak regarding property inspection (7109-19 S
                                Calumet Avenue) (.1); review and analysis of loan document covenants,
                                insurance policy terms (7109-19 S Calumet Avenue) (.4); email
                                correspondence to J. Wine and K. Pritchard with respect to responsive
                                letters to claimants (defer) (.2).

                                Business Operations

                 JR        0.20 Exchange correspondence with property management regarding reports
                                requested by lender and related to appraisal (7109-19 S Calumet
                                Avenue).

                                Business Operations

                 JRW       1.10 Review administrative court orders (7024-32 S Paxton Avenue; 4750-52 S
                                Indiana Avenue; 6949-59 S Merrill Avenue) and related correspondence with
                                K. Duff (.2); draft correspondence to City of Chicago Department of Finance
                                regarding collection notices (7024-32 S Paxton Avenue; 4750-52 S Indiana
                                Avenue) (.3); correspondence with corporation counsel regarding
                                administrative order (6949-59 S Merrill Avenue) (.1); correspondence with E.
                                Duff regarding notice to vendor and related research regarding dissolved
                                corporations (defer) (.5).

                                Business Operations

                 KMP       0.40 Communications with K. Duff, J. Wine, E. Duff, and J. Rak relating to
                                termination of corporate agent services (defer) (.2); revise letter to
                                municipality providing notice of receivership and related communications with
                                J. Wine (7024-32 S Paxton Avenue; 4750-52 S Indiana Avenue) (.2).


                                Business Operations

     8/4/2021    KMP       0.40 Prepare transmittal of letter to municipality providing notice of receivership,
                                and related communications with J. Wine (7024-32 S Paxton Avenue; 4750-
                                52 S Indiana Avenue) (.2); prepare transmittal of letter to corporate services
                                vendor providing notice of receivership, and related communications with J.
                                Wine (defer) (.2).

                                Business Operations

     8/9/2021    JR        0.20 Review emails from account analyst requesting endorsements for sold
                                properties and update 2020 spreadsheet regarding same (2736-44 W 64th
                                Street, 7508 S Essex Avenue; 431 E 42nd Avenue; 7442-54 S Calumet
                                Avenue; 816-22 E Marquette Avenue; 4533-47 S Calumet Avenue; 4315-19
                                S Michigan Avenue).

                                Business Operations

     8/11/2021 JR          0.30 Exchange correspondence with account analyst requesting missing
                                property insurance endorsements (2736-44 W 64th Street, 7508 S Essex
                                Avenue; 431 E 42nd Avenue; 7442-54 S Calumet Avenue; 816-22 E
                                Marquette Avenue; 4533-47 S Calumet Avenue; 4315-19 S Michigan
                                Avenue).

                                Business Operations
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 Kevin B. Duff, Receiver                                                                               Page 9



     Date        Indiv Hours Description

     8/11/2021 JRW         0.20 Review municipal court order and related correspondence with
                                corporation counsel regarding upcoming hearing (638-40 N Avers
                                Avenue).

                                Business Operations

     8/12/2021 JRW         0.50 Review administrative orders from EquityBuild's former counsel and related
                                correspondence with S. Zjalic (6250 S Mozart Street; 2736-44 W 64th
                                Street; 6554-58 S Vernon Avenue) (.1); exchange correspondence with
                                corporation counsel regarding judgment order and update records
                                regarding same (6250 S Mozart Street) (.3); review continuance order in
                                municipal housing matter and update files (638-40 N Avers Avenue) (.1).

                                Business Operations

     8/13/2021 ED          0.20 Email correspondence with K. Duff and K. Pritchard regarding allocation of
                                expenses between properties (6217-27 S Dorchester Avenue; 1414-18 East
                                62nd Place).

                                Business Operations

                 JRW       0.20 Review correspondence regarding civil litigation matter and related
                                discussion with K. Duff (3074 E Cheltenham Place).


                                Business Operations

                 KMP       0.20 Attention to receipt of documents relating to claim by tenant and related
                                communications with K. Duff and J. Wine regarding notice to tenant's
                                counsel (3074 E Cheltenham Place).

                                Business Operations

     8/16/2021 JR          0.60 Review email from E. Duff related to property endorsements regarding 2020
                                property insurance, update same and send all endorsements received from
                                accounting firm (8047-55 S. Manistee Avenue; 7749-59 S. Yates
                                Boulevard; 6749-59 S Merrill Avenue; 7450 S Luella Avenue; 7546-48 S
                                Saginaw Avenue; 8201 S Kingston Avenue; 4520-26 S Drexel Boulevard;
                                8326-32 S Ellis Avenue; 8334-40 S Ellis Avenue; 8342-50 S Ellis Avenue;
                                8352-58 S Ellis Avenue; 5450-52 S Indiana Avenue; 6437-41 S Kenwood
                                Avenue; 7760 S Coles Avenue; 8000-02 S Justine Street; 8107-09 S Ellis
                                Avenue; 8214-16 S Ingleside Avenue; 8209 S Ellis Avenue; 11117-19 S
                                Longwood Drive; 7300-04 S St Lawrence Avenue; 7110 S Cornell Avenue;
                                7957-59 S Marquette Avenue; 7051 S Bennett Avenue; 3074 E
                                Cheltenham Place; 2736-44 W 64th Street; 5618-20 S Martin Luther King
                                Drive; 6356 S California Avenue; 6355-59 S Talman Avenue; 7201 S
                                Constance Avenue; 6554-58 S Vernon Avenue; 1700-08 W Juneway
                                Terrace; 7201-07 S Dorchester Avenue; 7508 S Essex Avenue; 431 E
                                42nd Place; 7701-03 S Essex Avenue; 7442-54 S Calumet Avenue; 816-
                                22 E Marquette Road; 6949-59 S Merrill Avenue; 4533-47 S Calumet
                                Avenue; 4315-19 S Michigan Avenue; 7600-10 S Kingston Avenue; 7656-
                                58 S Kingston Avenue; 1131-41 E 79th Place; 6250 S Mozart Street) (.4);
                                further discussion with E. Duff related to analysis of endorsement and
                                deleted property prior to sale of same (431 E 42nd Street) (.2).

                                Business Operations
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     Date        Indiv Hours Description

     8/17/2021 JRW         0.40 Draft correspondence to plaintiff's counsel in state court matter and related
                                correspondence with K. Pritchard and K. Duff (3074 E Cheltenham Place).


                                Business Operations

     8/18/2021 AW          0.50 Attention to default orders, draft letter to the City of Chicago, and related email
                                to J. Wine (7024-32 S Paxton; 1414-18 E 62nd Place; 1422-24 E 68th Street).


                                Business Operations

                 JRW       0.30 Review administrative court orders and related work with A. Watychowiczto
                                prepare correspondence to City of Chicago (7024-32 S Paxton Avenue; 1414-
                                18 East 62nd Place; 1422-24 East 68th Street).

                                Business Operations

     8/21/2021 JRW         0.30 Review and revise draft correspondence to City of Chicago regarding
                                administrative orders (7024-32 S Paxton Avenue; 1414-18 East 62nd Place;
                                1422-24 East 68th Street).

                                Business Operations

     8/23/2021 AW          0.40 Final revisions to letter to the City regarding default orders, related email
                                to K. Duff, and serve by email (7024-32 S Paxton; 1414-18 E 62nd Place;
                                1422-24 E 68th Street) (.3); attention to notice of violation and order, and
                                related email to J. Wine (1414-18 East 62nd Place; 7933-35 S Essex
                                Avenue) (.1).

                                Business Operations

     8/25/2021 ED          0.90 Review additional documents received from insurance agent regarding
                                refunds of prepaid premium for sold properties (1700-08 W Juneway Terrace;
                                2453-59 E 75th Street; 2736-44 W 64th Street; 4315-19 S Michigan Avenue;
                                4533-47 S Calumet Avenue; 5450-52 S Indiana Avenue; 5618-20 S Martin
                                Luther King Drive; 6437-41 S Kenwood Avenue; 7051 S Bennett Avenue;
                                7110 S Cornell Avenue; 7201 S Constance Avenue; 7201-07 S Dorchester
                                Avenue; 7442-54 S Calumet Avenue; 7600-10 S Kingston Avenue; 7760 S
                                Coles Avenue; 3074 E Cheltenham Place; 8000-02 S Justine Street; 8107-09
                                S Ellis Avenue; 816-22 E Marquette Road; 8209 S Ellis Avenue; 8214-16 S
                                Ingleside Avenue; 8403 S Aberdeen Street) (.2); revise and update analysis
                                of allocation of insurance costs relating to sold properties (1700-08 W
                                Juneway Terrace; 2453-59 E 75th Street; 2736-44 W 64th Street; 4315-19 S
                                Michigan Avenue; 4533-47 S Calumet Avenue; 5450-52 S Indiana Avenue;
                                5618-20 S Martin Luther King Drive; 6437-41 S Kenwood Avenue; 7051 S
                                Bennett Avenue; 7110 S Cornell Avenue; 7201 S Constance Avenue;
                                7201-07 S Dorchester Avenue; 7442-54 S Calumet Avenue; 7600-10 S
                                Kingston Avenue; 7760 S Coles Avenue; 3074 E Cheltenham Place; 8000-02
                                S Justine Street; 8107-09 S Ellis Avenue; 816-22 E Marquette Road; 8209 S
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 Kevin B. Duff, Receiver                                                                               Page 11



     Date        Indiv Hours Description

                                Ellis Avenue; 8214-16 S Ingleside Avenue; 8403 S Aberdeen Street) (.7);
                                continued...

                                Business Operations

     8/25/2021 ED          0.20 ...continued; email correspondence to accountant regarding insurance cost
                                allocation to reflect adjustments related to property sales, and completion of
                                final 2020 accounting reports (1131-41 E 79th Place;1700-08 W Juneway
                                Terrace; 2453-59 E 75th Street; 2736-44 W 64th Street;4315-19 S Michigan
                                Avenue; 4520-26 S Drexel Boulevard; 4533-47 S Calumet Avenue; 5450-52
                                S Indiana Avenue; 5618-20 S Martin Luther King Drive; 6250 S Mozart
                                Street; 6355-59 S Talman Avenue; 6437-41 S KenwoodAvenue; 6554-58 S
                                Vernon Avenue; 6749-59 S Merrill Avenue; 7051 S Bennett Avenue; 7110 S
                                Cornell Avenue; 7201 S Constance Avenue; 7201-07 S Dorchester Avenue;
                                7300-04 S St Lawrence Avenue; 7442-54 S Calumet Avenue; 7450 S Luella
                                Avenue; 7546-48 S Saginaw Avenue; 7600-10 S Kingston Avenue; 7749-59
                                S Yates Boulevard; 7760 S Coles Avenue; 3074 E Cheltenham Place; 7957-
                                59 S Marquette Road; 8000-02 S Justine Street; 8047-55 S Manistee
                                Avenue; 8107-09 S Ellis Avenue; 816-22E Marquette Road; 8201 S Kingston
                                Avenue; 8209 S Ellis Avenue; 8214-16 SIngleside Avenue; 8326-32 S Ellis
                                Avenue; 8334-40 S Ellis Avenue; 8342-50 S Ellis Avenue; 8352-58 S Ellis
                                Avenue; 8403 S Aberdeen Street) (.2).

                                Business Operations

                 KMP       0.20 Effectuate funds transfer among receivership accounts for payment of real
                                estate taxes (1102 Bingham).

                                Business Operations

     8/26/2021 KMP         0.20 Pay real estate tax installment on property and relatedcommunication
                                with K. Duff and J. Rak (1102 Bingham).

                                Business Operations

     8/27/2021 JRW         0.40 Review new notice of municipal code violation and related review of files and
                                correspondence to J. Rak (1414-18 East 62nd Place).

                                Business Operations

     8/30/2021 JR          0.20 Review email from E. Duff and account analyst regarding updated property
                                endorsements (6217-27 S Dorchester Avenue).


                                Business Operations

                 JRW       0.40 Telephone conference with counsel for city regarding administrative
                                judgments and related correspondence with K. Duff (7024-32 S Paxton
                                Avenue; 1414-18 East 62ndPlace; 1422-24 East 68th Street; 4750-52 S
                                Indiana Avenue) (.3); exchange correspondence with J. Rak regarding
                                administrative orders (7933-35 S Essex Avenue; 1414-18 East62nd
                                Place) (.1).

                                Business Operations
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    Kevin B. Duff, Receiver                                                                              Page 12



        Date       Indiv Hours Description

        8/31/2021 JRW         0.20 Correspondence to City of Chicago ownership unit regarding dismissal of
                                   action (1414-18 East 62nd Place).

                                   Business Operations

                      KMP     0.20 Telephone conference with court clerk regarding status on state court action
                                   and potential claim against EB property, and related communication with J.
                                   Wine (3074 E Cheltenham Place).

                                   Business Operations


SUBTOTAL:                                                                                   [ 11.10        2634.00]

Case Administration

        8/4/2021      AW      0.20 Attention to appearances and communicate with K. Duff regarding lack of
                                   objections to recently filed motions (.1); attention to draft proposed order
                                   granting 14th motion to approve sale and email J. Wine draftorder in required
                                   form (1102 Bingham) (.1).

                                   Case Administration

        8/9/2021      AW      0.60 Attention to filed additional appearances and update service lists.

                                   Case Administration

        8/13/2021 AW          0.20 Attention to entered orders regarding settlement, motion to confirm sale, and
                                   return of earnest money deposits and email counsel (1102 Bingham).

                                   Case Administration

        8/16/2021 AW          0.30 Prepare pleadings for upload to website and communicate with IT support
                                   regarding same.

                                   Case Administration

        8/17/2021 AW          0.30 Attention to entered orders and update docket (.1); request upload of entered
                                   orders to website (.2).

                                   Case Administration

        8/18/2021 AW          0.20 Request update to receivership webpage.

                                   Case Administration

        8/25/2021 AW          0.20 Attention to motion for leave to serve subpoena on Receiver and email
                                   regarding missing motion (.1); attention to corrected motion and related email
                                   to team (.1).

                                   Case Administration

        8/27/2021 AW          0.80 Confer with J. Wine regarding combined motion and timing for filing, review
                                   motion and email K. Duff and J. Wine regarding revisions, finalize motion and
                                   file with the Court.

                                   Case Administration
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    Kevin B. Duff, Receiver                                                                                Page 13



         Date       Indiv Hours Description


         8/30/2021 AW         0.40 Attention to entered order with call in information and related email to counsel
                                   (.1); prepare pleadings for upload and request update to Receivership
                                   webpage (.3).

                                    Case Administration

         8/31/2021 AW         0.40 Communicate with K. Duff regarding updates to Receivership webpage (.1);
                                   attention to emails and communicate with K. Duff, M. Rachlis and J. Wine
                                   regarding distribution of dial in number for upcoming hearing (.1); attention to
                                   order entered after motion hearing, email to counsel, and update docket (.1);
                                   attention to email exchange regarding progress status hearing (3074 E
                                   Cheltenham Place) and update docket (.1).

                                    Case Administration


SUBTOTAL:                                                                                    [ 3.60           504.00]

Claims Administration & Objections

         8/2/2021    AEP      2.30 Review e-mails produced by EquityBuild mortgage broker and e-mail
                                   correspondence, analyze exhibits, and prepare detailed e-mail to K. Duff
                                   and J. Wine (7625-33 S East End Avenue; 7635-43 S East End Avenue;
                                   7750-58 S Muskegon Avenue; 7201 S Constance Avenue; 3074 E
                                   Cheltenham Place).

                                    Claims Administration & Objections

                     AW       2.90 Call with K. Duff and J. Wine regarding claimant discovery, production of
                                   records, communications, protective order issues, and logistics to facilitate
                                   process (Group 1) (.6); call with J. Wine regarding reminder email and native
                                   files received from claimants (Group 1) (.1); email exchanges regarding follow
                                   up email to claimants reminding them about upcoming deadline (Group 1)
                                   (.4); finalize and email claimants in Group 1 reminder regarding deadline
                                   (Group 1) (.1); attention to emails from claimants regarding standard
                                   discovery answers and document productions and requests for updates and
                                   update records (Group 1) (1.4); communicate with K. Duff and J. Wine
                                   regarding claims against former property and response to counsel regarding
                                   fund issues (.2) communicate with K. Duff and J. Wine regarding claimants
                                   from Group 1 trying to submit discovery responses for properties from
                                   different groups (Group 1) (.1).

                                    Claims Administration & Objections

                     JRW      3.00 Attention to claimant inquiries (Group 1) (.7);exchange correspondence
                                   with A. Porter regarding claims analysis and confer with M. Rachlis and E.
                                   Duff regarding same (Group 1) (.4); conference call with A. Watychowicz
                                   and
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 Kevin B. Duff, Receiver                                                                             Page 14



     Date       Indiv Hours Description

                                K Duff regarding discovery, claims process, and outreach to claimants
                                (Group 1) (.6); review and revise draft message to Group 1 claimants (Group
                                1) (.3); search database and related correspondence to vendor regarding
                                needed support (Group 1) (.3); review draft motion to serve subpoena and
                                revision history of same, and related correspondence with counsel for
                                claimants and review of new draft (all) (.7).

                                Claims Administration & Objections

     8/2/2021    MR        0.40 Attention to various issues regarding claims process and related conference
                                with J. Wine (Group 1).

                                Claims Administration & Objections

     8/3/2021    AW        2.50 Confer and email exchanges with J. Wine regarding verification issue, follow
                                up with claimants and issue with voluminous production of email files (Group
                                1) (.3); prepare folders to indicate documents produced pursuant to
                                protective order, share files with J. Wine, work to resolve issue with long
                                paths and corrupted files (Group 1) (.8); call with S. Zjalic regarding
                                processing of hard copy discovery responses (Group 1) (.1); attention to
                                emails from claimants regarding standard discovery answers and document
                                productions, requests for updates, update records, and email response to
                                voice message (Group 1) (.9); attention to email from J. Wine to K. Duff
                                regarding issues with discovery responses and reminder email and respond
                                to same (Group 1) (.3); call with K. Duff regarding received responses to
                                discovery requests (Group 1) (.1).

                                Claims Administration & Objections

                 ED        0.90 Review and analysis of documents, correspondence, and notes relating to
                                loan history and claims analysis with respect to five properties (7625-33 S
                                East End Avenue; 7635-43 S East End Avenue; 7750-58 S Muskegon
                                Avenue; 3074 E Cheltenham Place; 7201 S Constance Avenue) (.7); email
                                correspondence to J. Wine regarding claims analysis (7625-33 S East End
                                Avenue; 7635-43 S East End Avenue; 7750-58 S Muskegon Avenue; 3074 E
                                Cheltenham Place; 7201 S Constance Avenue) (.2).

                                Claims Administration & Objections

                 JRW       3.00 Work with A. Watychowicz regarding responding to claimant inquiries
                                (Group 1) (.5); telephone conference with A. Watychowicz and exchange
                                correspondence with K. Duff regarding standard discovery responses,
                                format of productions, and communication with claimants in Group 1 (Group
                                1) (.6); conduct searches in database (Group 1)(.4); conference with vendor
                                regarding database issues (Group 1) (.7); begin reviewing institutional
                                lender claim and related correspondence with A. Watychowicz (Group 1)
                                (.5); telephone conference with counsel for claimant regarding amendment
                                of proof of claim (Group 1) (.1); exchange emails with M. Rachlis and E.
                                Duff regarding prior review of claim (Group 1) (.2).

                                Claims Administration & Objections
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     Date       Indiv Hours Description

     8/3/2021    MR        0.50 Attention to issues regarding properties and related email exchanges
                                (Group 1) (.4); follow up regarding issues on various claims and
                                segregation of properties (Group 1) (.1).

                                Claims Administration & Objections

     8/4/2021    AW        3.50 Confer with J. Wine regarding issues with database and number of unique
                                claimants and monetary claims (.3); review received discovery responses
                                and email exchanges with K. Duff and J. Wine regarding proposed email to
                                claimants (Group 1) (.3); attention to responses to standard discovery
                                requests received via email and through shared folders, record receipt of
                                responses, and relatedemails to claimants (Group 1) (2.4); respond to
                                individual who is not a claimant or a former investor regarding his discovery
                                inquiry (defer) (.1); attention to email from claimant requesting access to
                                claims documents, prepare secured links, and related email to claimant
                                (1700-08 W Juneway Terrace; 4533-47 S Calumet Avenue; 6001-05 S
                                Sacramento Avenue; 7026-42 S Cornell Avenue) (.4).

                                Claims Administration & Objections

                 JRW       1.90 Attention to claimant inquiries (defer) (.2); confer with K. Duff and A.
                                Watychowicz regarding Group 1 discovery (Group 1) (.5); confer with
                                K. Duff and A. Watychowicz regarding database search results, invoice, and
                                related issues (Group 1) (.3); confer with A. Watychowicz regarding claims
                                analysis (Group 1) (.2); review claims submission (Group 1) (.2); exchange
                                correspondence with counsel for claimants regarding motion and proposed
                                order (all) (.2); telephone conference with counsel for claimants regarding
                                claims submissions (all) (.1); email exchange with counsel for claimants
                                regarding single claims process and related conference with K. Duff (sole
                                lien) (.2).

                                Claims Administration & Objections

                 MR        0.20 Attention to notice from government agency and impact on distribution
                                (1516 East 85th Place) (.1); attention to issues regarding property claims
                                (7109-19 S Calumet Avenue) (.1).

                                Claims Administration & Objections

     8/5/2021    AW        2.30 Attention to responses to standard discovery requests received via email,
                                shared folders and mail, record receipt of responses, and related emails to
                                claimants (Group 1) (1.4); communicate regarding email response to follow
                                up from non-claimant (defer) (.1); call regarding database issues with J.
                                Wine and database vendor (all) (.5); research regarding claim and related
                                email to J. Rak (7635-42 S East End Avenue) (.2); attention to email from
                                claims vendor regarding link with documents and related email to J. Wine
                                (6801 S East End Avenue) (.1).

                                Claims Administration & Objections
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     Date       Indiv Hours Description

     8/5/2021    JRW       1.30 Work in database and exchange related emails with vendor (Group 1) (.7);
                                related conference with A. Watychowicz and vendor (Group 1) (.5); review
                                correspondence from claimants' counsel regarding single claim process (sole
                                lien) (Group 1) (.1).

                                Claims Administration & Objections

                 MR        0.20 Follow up on issues regarding single claim process and negotiations with
                                counsel, J. Wine, and K. Duff (sole lien).

                                Claims Administration & Objections

     8/6/2021    AEP       0.90 Teleconference with K. Duff, J. Wine, and J. Rak regarding conflicting claims
                                asserted against receivership property and buyouts (7625-33 S East End
                                Avenue).

                                Claims Administration & Objections

                 AW        3.80 Attention to responses to standard discovery requests received via email,
                                through shared folders and mail, record receipt of responses, and related
                                emails to claimants (Group 1) (3.1); respond to non-claimant regarding his
                                follow up email (defer) (.1); attention to email from claimant requesting
                                access to claims documents, prepare secured links, and related email to
                                claimant (Group 1) (.5); communicate with J. Wine regarding total of claims
                                (all) (.1).

                                Claims Administration & Objections

                 JR        0.90 Teleconference with J. Wine, A. Porter and K. Duff related to review of
                                conflicting claims asserted against receivership property and buyouts (7625-
                                33 S East EndAvenue).

                                Claims Administration & Objections

                 JRW       2.80 Exchange correspondence and multiple telephone conferences with counsel
                                for claimants and K. Duff regarding motion practice or joint report regarding
                                process for single claim properties (sole lien) (.5); review and comment on
                                proposed order granting motion to serve subpoena, revisions to motion and
                                related correspondence with SEC and counsel for claimants (all) (.9); review
                                charts breaking down claims, study related working materials, and related
                                communications with A. Watychowicz (Group 1) (.4); videoconference with A.
                                Porter, J. Rak and K. Duff regarding analysis of claims (7625-33 S East End
                                Avenue; 7635-43 S East End Avenue) (1.0).

                                Claims Administration & Objections
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     Date       Indiv Hours Description

     8/6/2021    MR        0.20 Review communications regarding motion for subpoena and related
                                follow up (all).

                                Claims Administration & Objections

     8/7/2021    AW        0.20 Review claims received from claimants through deadline date and related
                                correspondence with K. Duff (Group 1).

                                Claims Administration & Objections

     8/8/2021    JRW       0.10 Correspondence to claimants' counsel regarding discovery responses,
                                and correspondence with A. Watychowicz regarding claimants' inquiry
                                (Group 1).

                                Claims Administration & Objections

     8/9/2021    AW        6.10 Work in database to locate files requested by K. Duff and related
                                communication forwarding located documents (all) (2.1); email
                                communications with J. Wine and claimant's counsel regarding service of
                                discovery responses, issues relating to same, and work to access responses
                                (Group 1) (.8); communicate with J. Wine regarding verification and related
                                email to claimant (Group 1) (.1); review sheet depicting total claims and J.
                                Wine's interpretation and related email to K. Duff and J. Wine (.3); prepare
                                secured link containing discovery responses and forward same for review to
                                K. Duff and J. Wine (Group 1) (.2); confer with J. Wine regarding zip files and
                                work on extraction of files (Group 1) (.9); revise inventory sheet to check list
                                for received responses (Group 1) (.5); communications regarding email to
                                claimant regarding additional discovery phase and send out approved
                                communication (Group 1) (.4); attention to responses to standard discovery
                                requests received via email and through shared folders, record receipt of
                                responses, and related emails to claimants (Group 1) (.8).

                                Claims Administration & Objections

                 JR        1.20 Conference with J. Wine regarding analysis of claimant information (Group 1).

                                Claims Administration & Objections

                 JRW       7.20 Review emails from A. Watychowicz regarding database searches (Group 1)
                                (.1); exchange correspondence and telephone conference with counsel for
                                claimants regarding standard discovery responses (Group 1) (.1); attention to
                                issues regarding service of standard discovery responses and related
                                correspondence with A. Watychowicz and SEC (Group 1) (.8); analysis of
                                claims submitted by type and related correspondence with K. Duff and A.
                                Watychowicz (Group 1) (1.3); exchange correspondence with K. Duff
                                regarding search terms (Group 1) (.1); attention to claimant inquiry (Group 1)
                                (.1); conference call with J. Rak regarding claims review process and issues
                                (Group 1) (1.3); related email exchange with K. Duff and A. Porter regarding
                                claims review (Group 1) (.1); conduct database searches for emails related
                                to Group One claimants (Group 1) (1.7); confer with A. Watychowicz
                                regarding claimant discovery responses and related review of files (Group 1)
                                (1.1); draft correspondence to claimants regarding additional discovery
                                requests and related correspondence with SEC (Group 1) (.2); exchange
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     Date      Indiv Hours Description

                                correspondence with vendor support regarding database issues (Group 1)
                                (.2); telephone conferencewith counsel for claimants regarding proposed
                                order granting motion to serve subpoena and issues relating to claims
                                against the estate (all) (.1).

                                Claims Administration & Objections

     8/10/2021 AW          3.80 Update received discovery list (Group 1) (.7); reload and extract voluminous
                                files received from claimant (Group 1) (.4); confer with J. Wine and several
                                email exchanges with SEC (Group 1) (.6); confer with J. Wine regarding
                                supplements to discovery responses and procedure (Group 1) (.2); confer
                                with J. Wine and email exchanges with K. Duff and J. Wine regarding
                                communication to claimants in Group 1, access to discovery responses, and
                                security issues (Group 1) (1.1); review voluminous file from claimant, confer
                                with J. Wine regarding file issue, and email claimant regarding removal of
                                files (Group 1) (.8).

                                Claims Administration & Objections

                 JRW       5.20 Exchange correspondence with counsel for SEC (Group 1) (.4); exchange
                                correspondence and telephone conference with claimants' counsel regarding
                                discovery issues (Group 1) (.2); confer with A.Watychowicz regarding late
                                discovery responses and sharing documents with claimants (Group 1) (.4);
                                draft correspondence to Group 1 claimants regarding access to discovery
                                materials and related preparation of list and related correspondence with A.
                                Watychowicz and K. Duff and revision of same (Group 1) (1.0); exchange
                                correspondence with claimant's counsel regarding discovery issues (Group
                                1) (.1); confer with A. Watychowicz regarding claimant's production of
                                personal files and related revision to email to claimant (Group 1) (.2); review
                                documents submitted by claimant in support of claim (Group 1) (2.9).

                                Claims Administration & Objections

     8/11/2021 AEP         2.00 Teleconference with K. Duff, J. Wine, and J. Rak regarding discovery
                                associated with loans on EquityBuild properties and analysis of preliminary
                                facts (4611-17S Drexel Boulevard; 7750-58 S Muskegon Avenue; 7625-33 S
                                East End Avenue; 7635-43 S East End Avenue; 7201 S Constance Avenue;
                                3074 E Cheltenham Place).

                                Claims Administration & Objections

                 AW        4.20 Confer with the team regarding claims process (Group 1) (1.3); email
                                claimant regarding removal of file (Group 1) (.1); attention to email from
                                claimant requesting access to claims files, prepare link, and related
                                communication with claimant (Group 1) (.3);attention to email from
                                claimant's counsel regarding password, test same, related email with K.
                                Pritchard, and email instructions to claimant (Group 1) (.3); attention to
                                supplemental productions from claimants, related communications with K.
                                Duff and J. Wine, update discovery folders, and confirm receipt of
                                supplements (Group 1) (.6); email exchange with J. Wine regarding update
                                to claimants' contacts and process (all) (.2); email communications with
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     Date      Indiv Hours Description

                                SEC (Group 1) (.3); communicate with K. Duff regarding database search
                                results (all) (.1); email communications regarding claims call with J. Rak and
                                K. Pritchard (all) (.1); email J. Rak requested claims documents (all) (.1); call
                                with J.Wine regarding email list and updates (all) (.2); start working on
                                update to contact list for claimants (all) (.6).

                                Claims Administration & Objections

     8/11/2021 JRW         9.10 Confer with A. Watychowicz regarding claimants' discovery responses and
                                maintenance of records regarding claimants' contact information (Group 1)
                                (.4); work with database vendor regarding imaging of records and other
                                database issues (all) (.3); correspond with J. Rak regarding claimant records
                                (Group 1) (.1); confer with A. Porter, K. Duff, J. Rak and A. Watychowicz
                                regarding evaluation of institutional lender and investor lender claims (Group
                                1) (1.8); exchange correspondence with counsel for claimants regarding
                                document production (Group 1) (.1); telephone conference with claimants'
                                counsel regarding discovery matter and related comments to K. Duff and M.
                                Rachlis (all) (.4); confer with A. Watychowicz regarding counsel of record for
                                claimants (all) (.3); review documents submitted by claimant in discovery and
                                with proof of claim (Group 1) (5.7).

                                Claims Administration & Objections

     8/12/2021 AW          4.30 Attention to email regarding discovery responses and related communication
                                with claimant's counsel (Group 1) (.3); email claimant regarding discovery
                                responses (Group 1) (.1); record responses and update shared folder (Group
                                1) (.1); continued work and communication with J. Wine regarding updated
                                service list (all) (.8); call with J.Rak and K. Pritchard regarding claims
                                process (Group 1) (1.5); confer with J.Wine and email SEC (Group 1) (.2);
                                continue work on service list (all) (1.3).

                                Claims Administration & Objections

                 JRW       4.60 Search database for communications with claimant and related
                                correspondence to team (Group 1) (.5); review documents produced in
                                discovery (Group 1) (3.3); attention to claimant inquiries (Group 1) (.1);
                                confer with A. Watychowicz regarding updated counsel information and
                                related review of prior correspondence (Group 1) (.4); correspond with
                                claimants' counsel regarding list of claimants represented (Group 1) (.1);
                                correspondence from claimants' counsel regarding format of document
                                production (Group 1) (.1); telephone conference with counsel for SEC
                                (Group 1) (.1).

                                Claims Administration & Objections

                 KMP       1.60 Confer with J. Rak and A. Watychowicz regarding process for investigation of
                                claims relating to Group 1 properties (3074 Cheltenham Place; 7625-33 S
                                East End Avenue; 7635-43 S East End Avenue; 7750-58 S Muskegon
                                Avenue; 7201 S Constance Avenue).

                                Claims Administration & Objections
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     Date        Indiv Hours Description

     8/13/2021 AW          1.30 Work on updates to service list (all) (1.1); attention to claimant's privilege log
                                and update shared folder (Group 1) (.1); communicate with J. Wine regarding
                                claims documents (Group 1) (.1).

                                Claims Administration & Objections

                 JRW       3.70 Correspond with counsel for claimants regarding joint motion and related
                                discussion with K. Duff (sole lien) (.3); review revised motion to serve
                                subpoena from claimants' counsel and related internal correspondence (all)
                                (.3); review privilege log from claimant and related correspondence (Group
                                1) (.2); review documents produced by claimant (Group 1) (2.9).


                                Claims Administration & Objections

                 MR        0.10 Attention to issues on privilege log entries (Group 1).

                                Claims Administration & Objections

     8/14/2021 AEP         1.70 Begin preparation of comprehensive overview of claims process, including
                                segregation of properties into logical groups, and development of worksheet
                                for tracking information pertaining to claims adjudication (all).

                                Claims Administration & Objections

                 JRW       3.30 Continued review and analysis of claimant document production (Group
                                1).

                                Claims Administration & Objections

     8/15/2021 AEP         2.20 Continue preparing outline of claims process and spreadsheet of properties
                                and finalize comprehensive outline of all properties subsumed within each
                                debt or equity fund, including corporate structures (all).

                                Claims Administration & Objections

     8/16/2021 AW          0.70 Correspond with A. Porter regarding potential claims project (all) (.1);
                                continue work on updates to mailing list (all) (.6).

                                Claims Administration & Objections

                 JRW       3.00 Attention to claimant emails (Group 1) (.1); review and analysis of
                                discovery documents (Group 1) (2.8); review third-party subpoena (Group
                                1) (.1).

                                Claims Administration & Objections

     8/17/2021 AEP         2.00 Teleconference with K. Duff, J. Rak, J. Wine, and A. Watychowicz regarding
                                strategy for analyzing priority disputes, reconciling claim submissions with
                                EquityBuild records, establishing legal and factual frameworks, and
                                prioritizing claims analysis (all).

                                Claims Administration & Objections
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     Date      Indiv Hours Description


     8/17/2021 AW          1.50 Draft email to claimant regarding protective order and discovery, related
                                email to J. Wine, and respond to claimant inquiry (Group 1) (.2); call with
                                the team regarding claims process (Group 1) (.8); work on updates to
                                mailing list (all) (.5).

                                Claims Administration & Objections

                 JR        2.00 Teleconference with K. Duff, J. Wine and A. Watychowicz regarding strategy
                                for analyzing priority disputes, reconciling claim submissions with EquityBuild
                                records, establishing legal and factual frameworks, and prioritizing claims
                                analysis (all).

                                Claims Administration & Objections

                 JRW       6.50 Confer with A. Watychowicz regarding response to claimant inquiry (Group 1)
                                (.1); conference with A. Porter, K. Duff, and J. Rak regarding claims review
                                (all) (1.9); correspondence with SEC (Group 1) (.1); continued review of
                                claimant document production (Group 1) (4.4).

                                Claims Administration & Objections

                 KMP       0.30 Search records for information regarding claimant and related
                                communications with K. Duff.

                                Claims Administration & Objections

     8/18/2021 AEP         2.20 Review and analyze e-mails assembled by J. Wine from documents produced
                                on behalf of claimant in connection with discovery into competing claims
                                against properties and merge chronology of critical facts prepared by J. Wine
                                into existing chronology pertaining to claimant loans (7625-33 S East End
                                Avenue; 7635-43 S East End Avenue; 7750-58 S Muskegon Avenue; 7201 S
                                Constance Avenue;3074 E Cheltenham Place).

                                Claims Administration & Objections

                 AW        1.80 Correspondence with J. Rak regarding claims project (Group 1) (.3); review
                                document production from title company and compare to claimant's
                                production, and related emails with K. Duff, A. Porter, and J. Wine (Group 1)
                                (.7); review and work on updates to mortgagee list (7201 S Constance
                                Avenue) (.8).

                                Claims Administration & Objections

                 JRW       3.40 Prepare chronology of evidence from review of claimants discovery
                                responses and related correspondence with A. Porter and K. Duff (Group 1)
                                (2.5); search document database and related correspondence with A. Porter
                                and K. Duff (7625-33 S East End Avenue) (.3); correspondence with A.
                                Porter, A. Watychowicz and SEC regarding documents produced pursuant to
                                subpoena (Group 1) (.4); correspondence with claimants’ counsel regarding
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     Date      Indiv Hours Description

                                revisions to draft motion and related telephone conference (all) (.2)

                                Claims Administration & Objections

     8/19/2021 AEP         1.20 Conference call with K. Duff, J. Wine, and SEC (7625-33 S East End
                                Avenue; 7635-43 S East End Avenue; 7750-58 S Muskegon Avenue; 7201 S
                                Constance Avenue; 3074 E Cheltenham Place) (.5); teleconference with K.
                                Duff and J. Wine regarding framework for analysis of priority disputes and
                                extent to which additional discovery may be required (7625-33 S East End
                                Avenue; 7635-43 S East End Avenue; 7750-58 S Muskegon Avenue; 7201 S
                                Constance Avenue; 3074 E Cheltenham Place) (.7).

                                Claims Administration & Objections

                 AW        1.30 Attention to subpoenas for third parties served on claimants and related email
                                to K. Duff and J. Wine (Group 1) (.1); work on review of claims documents
                                and updates to mortgagee list (7201 S Constance Avenue) (1.2).

                                Claims Administration & Objections

                 JRW       2.60 Telephone conference with SEC, K. Duff and A. Porter (Group 1) (.5); confer
                                with K. Duff and A. Porter regarding analysis of claimant documents and
                                discovery responses (Group 1) (.5); database searching and related
                                exchange of correspondence with support (Group 1) (.6); review draft
                                discovery requests, proposed revisions to same, and internal
                                correspondence regarding additional discovery (Group 1) (.4); email
                                exchange with SEC (Group 1) (.3); review chronology and comments to A.
                                Porter (Group 1) (.3).

                                Claims Administration & Objections

                 MR        0.60 Attention to discovery related to claims issues and strategy for same, and
                                related follow up with J. Wine, K. Duff, and A. Porter (Group 1).

                                Claims Administration & Objections

     8/20/2021 AEP         1.10 Prepare first draft of outline of factual and legal framework of analyses
                                associated with litigation of priority disputes between institutional and investor
                                lenders (all).

                                Claims Administration & Objections

                 AW        0.30 Attention to additional subpoena to third parties served on claimants and
                                interrogatories served on institutional lender and related emails to K.Duff
                                and J. Wine (Group 1) (.1); respond to claimants’ inquiries regarding
                                additional discovery requests (Group 1) (.2).

                                Claims Administration & Objections
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     Date      Indiv Hours Description


     8/20/2021 JRW         0.70 Review and revise draft motion to serve subpoena and proposed order and
                                related correspondence with K. Duff and M. Rachlis (all).

                                Claims Administration & Objections

                 MR        0.50 Review various issues regarding proposed order on subpoena (all).


                                Claims Administration & Objections

     8/22/2021 AEP         1.70 Review and analyze additional e-mails provided by J. Wine pertaining to
                                refinance, update chronology, and prepare list of follow-up questions(7625-
                                33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S Muskegon
                                Avenue; 7201 S Constance Avenue; 3074 E Cheltenham Place).

                                Claims Administration & Objections

     8/23/2021 AW          1.20 Attention to email from claimant regarding served subpoenas and respond
                                to same (Group 1) (.1); update emails to claimants (all) (.2); prepare link
                                containing claims documents (1700-08 Juneway Terrace; 4533-47 S
                                Calumet Avenue; 6001-05 S Sacramento Avenue) and related email to
                                claimant (.3); start review of emails ofclaimant (Group 1) (.6).


                                Claims Administration & Objections

     8/24/2021 AW          4.10 Attention to emails from claimants regarding served subpoenas and
                                respond to same (Group 1) (.2); communicate with K. Duff and J. Wine
                                regarding email to claimants regarding additional discovery requests (Group
                                1) (.3); continue review of emails of claimant (Group 1) (3.3); call and email
                                communications with K. Duff regarding email search terms (Group 1) (.3).

                                Claims Administration & Objections

                 JRW       0.30 Review draft motion and subpoena and related correspondence with
                                K. Duff (all).

                                Claims Administration & Objections

     8/25/2021 AW          0.50 Work with K. Duff and J. Wine on email to claimants regarding served
                                subpoenas and additional discovery and related email to claimants (Group 1)
                                (.4); attention to email from claimant resending document production (Group
                                1) (.1).

                                Claims Administration & Objections

     8/26/2021 AW          1.20 Review claims and response to claimants' inquiries regarding sold
                                properties, claims process, and grouping issues (5450-52 S Indiana Avenue;
                                6355-59 S Talman Avenue) (.4); email K. Duff and J. Wine regarding re-
                                submission from claimant (Group 1) (.1); attention to email regarding
                                conference on claims and related email to A. Porter (Group 1) (.1); continue
                                review of emails of claimant (Group 1) (.6).

                                Claims Administration & Objections
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     Date      Indiv Hours Description


     8/26/2021 JRW         0.70 Email exchange with claimants' counsel regarding proposed process for
                                resolution of claims, begin reviewing draft motions, and related telephone
                                conference with K. Duff (sole lien) (.5); exchange correspondence with
                                claimants' counsel regarding proposed order (all) (.1); review court order
                                setting hearing and related email exchange with K. Duff (all) (.1).

                                Claims Administration & Objections

     8/27/2021 AW          2.50 Review claims and respond to claimant's inquiry regarding sold properties,
                                claims process, and grouping issues (1700-08 W Juneway Terrace) (.2);
                                continue updates to mortgagee sheet (7201 S Constance Avenue) (.7);
                                research regarding volume of documents submitted by claimants and related
                                email to J. Wine (all) (1.6).

                                Claims Administration & Objections

                 JRW       2.10 Study draft motions from claimants' counsel and provide analysis to K. Duff
                                (sole lien) (1.8); confer with claimants' counsel regarding service list (all)
                                (.1); review letter from counsel for third-party regarding pending motion for
                                leave to serve subpoena and related correspondence with K. Duff and M.
                                Rachlis (all) (.2).

                                Claims Administration & Objections

     8/30/2021 AW          1.50 Confer with legal team regarding analysis of EB transactions (all) (.6);
                                communicate with J. Wine regarding search terms for database (Group 1)
                                (.1); research regarding transcript, declarations, and evidentiary exhibits and
                                related communications with K. Duff and R. Weitendorf (all) (.8).

                                Claims Administration & Objections

                 JR        0.80 Confer with legal team regarding analysis of EB transactions (all) (.5);
                                exchange correspondence with J. Wine regarding next steps in the claims
                                process and emails review pertaining to pertinent claimant issues (all) (.3).

                                Claims Administration & Objections

                 JRW       4.10 Review Group 1 discovery responses (Group 1) (2.3); exchange
                                correspondence with A. Porter regarding document produced in discovery by
                                claimant (Group 1) (.1); telephone conference with K. Duff and M. Rachlis to
                                prepare for hearing before Judge Lee (all) (.6); related review of transcripts,
                                orders, and attorney appearances (all) (.3); conference call with legal team
                                regarding analysis of records (all) (.6); telephone conference with J. Rak
                                regarding claims analysis (Group 1) (.1); telephone conference with A.
                                Watychowicz regarding database searches (Group 1) (.1).

                                Claims Administration & Objections
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        8/30/2021 MR          0.80 Attention to upcoming hearing on subpoena issue and document production
                                   issue and related filing (all) (.5); conference with J.Wine and K. Duff
                                   regarding hearing on request for records (all) (.3).

                                   Claims Administration & Objections

        8/31/2021 AW          0.30 Search for documents in emails and database andrelated email to J.
                                   Wine (Group 1).

                                   Claims Administration & Objections

                    JR        0.90 Review database platform.

                                   Claims Administration & Objections

                    JRW       3.20 Prepare for motions hearing and related email exchange (all) (.2);
                                   appearance in court for telephonic motions hearing (all) (.5); review and
                                   analyze discovery production materials and conduct related database
                                   searches (Group 1) (2.5).

                                   Claims Administration & Objections

                    MR        0.80 Further review of materials for upcoming hearing (all) (.3); attend hearing
                                   regarding discovery issues (all) (.5).

                                   Claims Administration & Objections


SUBTOTAL:                                                                                   [1 53.80       35773.00]

Tax Issues


        8/2/2021    KMP       0.20 Communicate with accountants, A. Porter, and J.Rak regarding tax notice.

                                   Tax Issues

        8/3/2021    KMP       0.60 Confer with K. Duff and accountant regarding tax notice for entity (.2);
                                   review tax documents produced by EB accountant to locate 2015 tax return
                                   for response to tax agency and forward to accountant (.4).

                                   Tax Issues

        8/14/2021 AW          0.40 Attention to notices from government agency relating to EB entities and
                                   email K. Duff regarding same.

                                   Tax Issues

        8/30/2021 KMP         0.20 Prepare transmittal of tax form to accountants relating to settlement with
                                   asset holder.

                                   Tax Issues
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   Kevin B. Duff, Receiver                                                     Page 26



       Date      Indiv Hours Description



SUBTOTAL:                                                           [ 1.40       196.00]




                                                                    186.10    $42,497.00
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    Kevin B. Duff, Receiver                                                                 Page 27




Other Charges

                                     Description

Asset Disposition

                                     Publication of notice of public sale (1422-24 E          550.00
                                     68th Street)



SUBTOTAL:                                                                              [      550.00]

Business Operations

                                     Software license fees for August 2021 (Summit            277.41
                                     Hosting, $181.41; Google Suite, $96)

                                     Photocopies for August 2021                                 4.40

                                     Online research for August 2021                           73.32



SUBTOTAL:                                                                              [      355.13]


Total Other Charges                                                                          $905.13




                                    Summary of Activity
                                                                       Hours       Rate
Jodi Wine                                                              78.90     260.00    $20,514.00
Ania Watychowicz                                                       56.70     140.00     $7,938.00
Justyna Rak                                                            11.50     140.00     $1,610.00
Kathleen M. Pritchard                                                  11.10     140.00     $1,554.00
Andrew E. Porter                                                       19.50     390.00     $7,605.00
Ellen Duff                                                              3.10     390.00     $1,209.00
Michael Rachlis                                                         5.30     390.00     $2,067.00
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                                   SUMMARY


               Legal Services                                  $42,497.00
               Other Charges                                      $905.13

                  TOTAL DUE                                    $43,402.13
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                                 Rachlis Duff & Peel, LLC
                                      542 South Dearborn Street
                                                                                           tel (312) 733-3950
                                              Suite 900                                    fax (312) 733-3952
                                       Chicago, Illinois 60605




October 29, 2021

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




 Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                       Fed. I.D. No. XX-XXXXXXX
     Cohen, and Shaun D. Cohen                                                          Invoice No. 6622138
     No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.




 Legal Fees for the period September 2021                                $34,795.00

 Expenses Disbursed                                                           $566.37


 Due this Invoice                                                         $35,361.37
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    Kevin B. Duff, Receiver                                                                                Page 2




        Date          Indiv Hours Description

Accounting/Auditing

         9/7/2021     KMP     1.40 Review bank records and prepare schedules of receipts and disbursements
                                   for Receiver's account for August 2021.

                                   Accounting/Auditing

         9/28/2021 KMP        0.30 Update ledgers for certain of Receivership accounts in connection with recent
                                   transactions.

                                   Accounting/Auditing


SUBTOTAL:                                                                                   [ 1.70               238.00]

Asset Analysis & Recovery

        9/1/2021      JR      0.30 Review email from K. Duff regarding property and conduct a property public
                                   search.

                                   Asset Analysis & Recovery

                      KMP     0.10 Communicate with J. Wine regarding status of subpoenas to certain third
                                   parties.

                                   Asset Analysis & Recovery

        9/2/2021      AEP     0.30 Preliminary research into existence of real estate still owned by potential
                                   EB entity.

                                   Asset Analysis & Recovery

                      JR      1.60 Review email from K. Duff relating to property and conduct public search of
                                   all documents of record (.9); exchange correspondence with County Clerk's
                                   office and assessor's office requesting confirmation of documents of record
                                   recorded against property (.5); exchange communication with A. Porter and
                                   K.Duff forwarding all documents recorded against property (.2).

                                   Asset Analysis & Recovery

                      JRW     0.20 Correspondence with K. Duff, A. Porter and J. Rak regarding potential
                                   asset.

                                   Asset Analysis & Recovery

                      KMP     3.20 Communicate with K. Duff and J. Wine regarding former asset holder's
                                   response to subpoena (.2); review subpoenas and responses thereto and
                                   prepare chart detailing responses and deficiencies (2.6); review EB files to try
                                   to determine mortgagor for property, and related communications with EB
                                   team (.4).

                                   Asset Analysis & Recovery
Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 132 of 200 PageID #:34068
 Kevin B. Duff, Receiver                                                                                 Page 3



     Date       Indiv Hours Description


     9/7/2021    AW        0.30 Communicate with K. Duff regarding government request (.2); attention to
                                correspondence with third party regarding extension to subpoena and
                                update docket (.1).

                                Asset Analysis & Recovery

     9/10/2021 AW          0.40 Communicate with K. Duff regarding government request (.2);
                                review emails and communicate with K. Duff regarding recovered
                                and imaged devices from Defendants (.2).

                                Asset Analysis & Recovery

     9/13/2021 JRW         0.50 Attention to drafting subpoenas and related correspondence with K. Duff
                                regarding notice letter.

                                Asset Analysis & Recovery

                 KMP       0.40 Prepare draft subpoena to third party and related communication with J.
                                Wine.

                                Asset Analysis & Recovery

     9/14/2021 JRW         0.40 Revisions to document rider and notice letter.

                                Asset Analysis & Recovery

                 KMP       0.60 Revise and finalize subpoena and rider to third party, draft notice letter
                                to accompany subpoena, and related communication with K. Duff and
                                J. Wine.

                                Asset Analysis & Recovery

     9/15/2021 KMP         0.30 Prepare certified mail transmittal subpoena and rider to third party.


                                Asset Analysis & Recovery

     9/16/2021 JRW         0.20 Correspondence with A. Porter and K. Pritchard regarding revisions to draft
                                subpoena.

                                Asset Analysis & Recovery

     9/17/2021 KMP         0.80 Revise subpoena and rider to third party, prepare notice letter, and related
                                communication with J. Wine (.6); review document rider to defendant and
                                related communication with J. Wine regarding request for production to
                                defendant (.2).

                                Asset Analysis & Recovery

     9/20/2021 JRW         0.40 Confer with A. Porter regarding subpoena and related revision of document
                                rider (.2); review and revise notice letter to third party (.2).

                                Asset Analysis & Recovery
Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 133 of 200 PageID #:34069
 Kevin B. Duff, Receiver                                                                                 Page 4



     Date      Indiv Hours Description


     9/21/2021 JRW         0.20 Attention to document production in response to subpoena and related
                                correspondence with counsel for third party.

                                Asset Analysis & Recovery

                 KMP       0.40 Revise rider for subpoena to third party, review discovery materials for
                                prior document requests, and related communications with J.Wine.


                                Asset Analysis & Recovery

     9/22/2021 JRW         0.30 Telephone conference and follow up email to counsel for third party
                                regarding subpoena (.2); review revised subpoena and draft notice letter to
                                third party (.1).

                                Asset Analysis & Recovery

                 KMP       1.30 Finalize subpoena and notice letter to third party, prepare certified mail
                                transmittal, and related communications with J. Wine (1.0); prepare
                                notice of third party deposition and serve on parties (.3).

                                Asset Analysis & Recovery

     9/28/2021 JRW         0.20 Correspondence with third party regarding additional information
                                requested in subpoena (.1); correspondence with third party regarding
                                subpoena (.1).

                                Asset Analysis & Recovery

                 KMP       0.50 Research regarding third party bank's request in connection with
                                subpoena, and related communications with J. Wine.


                                Asset Analysis & Recovery

     9/29/2021 JRW         1.20 Revisions to subpoena riders and notice letters and related
                                correspondence with K. Pritchard (.4); analysis of statute relied upon in
                                response to subpoena and related correspondence with K. Duff and M.
                                Rachlis (.8).


                                Asset Analysis & Recovery

                 KMP       1.30 Further communication with J. Wine regarding third party bank's request in
                                connection with subpoena (.1); revise and finalize subpoenas and riders to
                                third parties, prepare transmittal, and related communications with J. Wine
                                (.9); prepare notice relating to subpoenas and serve on parties (.3).


                                Asset Analysis & Recovery
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    Kevin B. Duff, Receiver                                                                                Page 5



         Date       Indiv Hours Description

         9/30/2021 JRW        0.40 Exchange correspondence with M. Rachlis and K. Duff regarding third-party
                                   response to subpoena (.1); draft correspondence to third party counsel
                                   regarding statute (.1); review and revise subpoena and notice letter (.2).

                                   Asset Analysis & Recovery

                     KMP      1.30 Revise and finalize subpoenas and riders to third parties, prepare
                                   transmittals, and related communications with J. Wine (1.0); prepare notice
                                   relating to subpoenas and serve on parties (.3).

                                   Asset Analysis & Recovery

                     MR       0.30 Further follow up regarding issues on financial institution subpoena
                                   and related exchanges with J. Wine and K. Duff.

                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                   [ 17.40         3066.00]

Asset Disposition

         9/1/2021    JR       1.10 Communication with real estate broker regarding corrective action notice
                                   (1102 Bingham) (.3); communication with K. Pritchard and K. Duff regarding
                                   payment related to property (1102 Bingham) (.2); review email from buyer's
                                   counsel requesting property related information (7109-19 S Calumet Avenue)
                                   (.1); communication with property management requesting property
                                   information related to buyer's counsel’s request (7109-19 S Calumet Avenue)
                                   (.1); review email from property management related to anticipated water
                                   reading and scheduling of same (638-40 N Avers Avenue) (.1); review paper
                                   property tax statement and forward to buyer for single family homes, request
                                   buyer to change address for delivery of same (single family) (.2); exchange
                                   correspondence with A. Porter requesting an update on sale of property
                                   (1102 Bingham) (.1).



                                   Asset Disposition

         9/2/2021    JR       0.40 Review email from property management advising on the completed water
                                   reading for property in anticipation of closing (638-40 N Avers Avenue) (.1);
                                   forward information regarding completion of water reading to the City of
                                   Chicago and request reconciled water statements in anticipation of closing
                                   (638-40 N Avers Avenue) (.1); exchange communication with real estate
                                   broker requesting status of maintenance in anticipation of closing (1102
                                   Bingham) (.2).

                                   Asset Disposition

         9/7/2021    KMP      0.20 Review bank records and communicate with property manager to
                                   confirm deposit of post-sale distribution to property account (8405 S
                                   Marquette Avenue).

                                   Asset Disposition
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     Date      Indiv Hours Description

     9/10/2021 JR          0.80 Update records and forward tax bills for previously sold properties to buyers
                                and buyer's counsel (7255-57 S Euclid Avenue; 3030-32 E 79th Street;
                                4533-37 S Calumet Avenue; 6217-27 S Dorchester Avenue; 5618-20 S
                                Martin Luther King Avenue; 7026-42 S Cornell Avenue; 6554-58 S Vernon
                                Avenue; 8107-09 S Ellis Avenue; 4750-52 S Indiana Avenue) (.6); review
                                email from K. Duff regarding email request to property manager relating to
                                payment of property taxes (7109-19 S Calumet Avenue) (.1); exchange
                                communication with property manager requesting property tax payment
                                (7109-19 S Calumet Avenue) (.1).

                                Asset Disposition

     9/13/2021 AW          0.30 Attention to appeal filings, related emails to team, and docket update (6949-
                                59 S Merrill Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston
                                Avenue).

                                Asset Disposition

                 JR        0.90 Review email from property management regarding paid property taxes and
                                update records (7109-19 S Calumet Avenue) (.1); communication with
                                buyer's counsel relating to property tax bill for previously sold property
                                (4533-47 S Calumet Avenue) (.1); exchange communication with the title
                                company (1102 Bingham) (.2); follow up with the title company on status of
                                the water certificate application for property in anticipation of sale (638-40 N
                                Avers Avenue) (.1); follow up correspondence with the City of Chicago water
                                department requesting reconciliation of water statements related to property
                                (638-40 N Avers Avenue) (.2); further correspondence with property
                                management requesting receipt of water shut off to property per City of
                                Chicago request (638-40 N Avers Avenue) (.2).

                                Asset Disposition

     9/15/2021 JR          0.20 Follow up correspondence with property management requesting
                                update related to water shut off at property (638-40 N Avers Avenue).

                                Asset Disposition

                 KMP       0.20 Prepare email correspondence to property manager regarding wire
                                transfer instructions for post-sale distribution for sold property (6217-27 S
                                Dorchester Avenue).

                                Asset Disposition

     9/16/2021 JR          0.40 Follow up correspondence with property management requesting update
                                related to water shut off at property (638-40 N Avers Avenue) (.1); exchange
                                communication with the title company requesting closing documents for
                                receiver signature in preparation for closing (1102 Bingham) (.3).

                                Asset Disposition

     9/17/2021 AW          0.20 Attention to appeal related filings and share with the team (6949-59 S Merrill
                                Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue).
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 Kevin B. Duff, Receiver                                                                                Page 7



     Date      Indiv Hours Description


                                Asset Disposition

     9/17/2021 JR          0.70 Review email from the title company regarding full payment certificate,
                                review same, and forward to A. Porter and K. Duff (638-40 N Avers Avenue)
                                (.3); follow up correspondence with property management requesting status
                                update of receipt related to water shut off at property (638-40 N Avers
                                Avenue) (.1); further communication with K. Duff and A. Porter regarding
                                next steps related to water balance (638-40 N Avers Avenue) (.2); follow up
                                correspondence with real estate broker requesting an update on
                                maintenance for property (1102 Bingham) (.1).


                                Asset Disposition

     9/20/2021 AEP         0.60 Read initial Seventh Circuit pleadings in connection with appeal of order
                                awarding earnest money to Receiver in connection with defaults on
                                prospective purchases of receivership properties (7600-10 S Kingston
                                Avenue; 7656-58 S Kingston Avenue; 6949-59 S Merrill Avenue) (.2); read
                                correspondence relating to incorrect outstanding balance on full payment
                                certificate obtained for conveyance of receivership property, prepare e-mail
                                to corporation counsel explaining general background and requesting
                                assistance, and prepare e-mail to buyer's counsel regarding current status
                                (638-40 N Avers Avenue) (.4).

                                Asset Disposition

                 JR        0.30 Follow up correspondence with real estate broker requesting status of
                                maintenance (1102 Bingham) (.1); follow up correspondence with
                                insurance commercial escrow manager requesting a form of deed in
                                preparation for closing (1102 Bingham) (.1); further communication with
                                A. Porter regarding closing documents in preparation for closing (1102
                                Bingham) (.1).

                                Asset Disposition

     9/22/2021 JR          1.20 Review email from K. Duff and K. Pritchard regarding post-closing
                                reconciliation distributions and update same for single family homes and
                                other various properties (single family; 1422-24 East 68th Street; 7255-57
                                S Euclid Avenue; 7237-43 S Bennett Avenue; 6217-27 S Dorchester
                                Avenue) (1.1); further communication with K. Pritchard related to post-
                                closing reconciliation distributions (single family; 1422-24 East 68th Street;
                                7255-57 S Euclid Avenue; 7237-43 S Bennett Avenue; 6217-27 S
                                Dorchester Avenue) (.1).

                                Asset Disposition

                 KMP       2.30 Work on updates to spreadsheet reflecting post-sale funds reconciliation
                                and related communication with J. Rak (4750-52 S Indiana Avenue; 7024-
                                32 S Paxton Avenue; 7840-42 S Yates Avenue; 2800-06 E 81st Street;4611-
                                17 S Drexel Boulevard; 1414-18 E 62nd Place; 1017 W 102nd Street; 1516
                                E 85th Place; 2136 W 83rd Street; 417 Oglesby Avenue; 7922 S Luella
                                Avenue; 7925 S Kingston Avenue; 7933 S Kingston Avenue; 8030 S
                                Marquette Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Street; 8405
                                S Marquette Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S
                                Parnell Avenue; 10012 S LaSalle Avenue; 11318 S Church Street; 3213 S
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 Kevin B. Duff, Receiver                                                                               Page 8



     Date        Indiv Hours Description

                                Throop Street; 3723 W 68th Place; 406 E 87th Place; 61 E 92nd Street; 6554
                                S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7712 S
                                Euclid Avenue; 7953 S Woodlawn Avenue; 8107 S Kingston Avenue; 8436 S
                                Constance Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 2129 W
                                71st Street; 5437 S Laflin Street; 6759 S Indiana Avenue; 1422-24 E 68th
                                Street; 6217-27 S Dorchester Avenue) (2.1); communicate with K. Duff and
                                property manager regarding utility invoice received post-sale of property
                                (4750-52 S Indiana Avenue) (.2).

                                Asset Disposition

     9/22/2021 MR          1.40 Begin review of issue regarding appeal and communicate with A.
                                Watychowicz regarding same (6949-59 S Merrill Avenue; 7600-10 S
                                Kingston Avenue; 7656-58 S Kingston Avenue).

                                Asset Disposition

     9/23/2021 JR          1.20 Exchange correspondence with K. Pritchard regarding post-closing
                                reconciliation distributions (single family; 1422-24 East 68th Street; 7255-57 S
                                Euclid Avenue; 7237-43 S Bennett Avenue; 6217-27 S Dorchester Avenue)
                                (.3); communicate with property management requesting update to post-
                                closing reconciliation distributions for various properties (1401W 109th Place;
                                310 E 50th Street; 6807 S Indiana Avenue; 9610 S Woodlawn Avenue;
                                7255-57 S Euclid Avenue; 7237-43 S Bennett Avenue; 7024-32 S Paxton
                                Avenue; 4611-17 S Drexel Boulevard; 1414-18 East 62nd Place; 2129 W
                                71st Street; 5437 S Laflin Street; 6759 S Indiana Avenue; 6217-27 S
                                Dorchester Avenue) (.2); review email from real estate broker relating to
                                maintenance of property, further communicate with company requesting
                                maintenance, and further communication with K. Duff regarding next steps
                                (1102 Bingham) (.7).


                                Asset Disposition

                 KMP       1.10 Work on updates to spreadsheet reflecting post-sale funds reconciliation
                                and related communication with J. Rak (1401 W 109th Place; 310 E 50th
                                Street; 6807 S Indiana Avenue; 9610 S Woodlawn Avenue; 7255-57 S
                                Euclid Avenue; 7237-43 S Bennett Avenue).

                                Asset Disposition

     9/24/2021 KMP         0.50 Attention to communication from property manager regarding post-sale
                                reconciliation (2129 W 71st Street; 5437 S Laflin Street; 6759 S
                                Indiana Avenue; 6217-27 S Dorchester Avenue; 7024-32 S Paxton Avenue;
                                4611-17 S Drexel Boulevard) (.1); review bank records for account numbers
                                relating to post-sale reconciliation and related communication with K. Duff
                                (2129 W 71st Street; 5437 S Laflin Street; 6759 S Indiana Avenue; 6217-27 S
                                Dorchester Avenue; 7024-32 S Paxton Avenue; 4611-17 S Drexel Boulevard)
                                (.4).

                                Asset Disposition

     9/27/2021 KMP         0.20 Review property accounts to follow up on post-sale distribution of funds from
                                property manager (7024-32 S Paxton Avenue; 4611-17 S Drexel
                                Boulevard).

                                Asset Disposition
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 Kevin B. Duff, Receiver                                                                                Page 9



     Date      Indiv Hours Description


     9/28/2021 AEP         0.20 Prepare e-mail to City of Chicago Water Department explaining inaccurate
                                water charges associated with receivership property and seeking assistance
                                with resolution of impasse to sale (638-40 N Avers Avenue).

                                Asset Disposition

                 JR        0.60 Exchange communication with K. Pritchard, property management
                                requesting updates to post-closing reconciliation distributions (1401 W
                                109th Place; 310 E 50th Street; 6807 S Indiana Avenue; 9610 S Woodlawn
                                Avenue; 7255-57 S Euclid Avenue; 7237-43 S Bennett Avenue; 1414-18
                                East 62nd Place; 2129 W 71st Street; 5437 S Laflin Street; 6759 S Indiana
                                Avenue; 6217-27 S Dorchester Avenue) (.2); follow up communication with
                                A. Porter regarding water balance issue pertaining to closing on property
                                (638-40 N Avers Avenue) (.2); review email from K. Duff related to property
                                tax balance and arrange payment of same, further communication with K.
                                Pritchard regarding payment information for property tax payment (638-40
                                N Avers Avenue) (.2).

                                Asset Disposition

                 KMP       0.50 Further follow up on property accounts to verify post-sale distribution of funds
                                from property manager, update spreadsheet, and related communication
                                with property manager and J. Rak (7024-32 S Paxton Avenue; 4611-17 S
                                Drexel Boulevard).

                                Asset Disposition

     9/30/2021 JR          0.30 Review email from property management relating to post-closing
                                reconciliation distributions, and related communications with K. Pritchard and
                                property management (6554-58 S Vernon Avenue; 4315-19S Michigan
                                Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue; 6250 S
                                Mozart Street; 310 E 50th Street; 6807 S Indiana Avenue; 9610 S Woodlawn
                                Avenue; 7255-57 S Euclid Avenue; 7237-43 S Bennett Avenue) (.2); review
                                email from J. Wine and provide requested closing information for property
                                (6217-27 S Dorchester Avenue) (.1).

                                Asset Disposition

                 KMP       1.30 Review property accounts and update spreadsheet relating to property
                                manager's deposits of post-sale reconciliation funds and related
                                communications with J. Rak (6160-6212 S Martin Luther King Drive; 7927-29
                                S Essex Avenue; 7933-35 S Essex Avenue; 7937-39 S Essex Avenue;
                                7943-45 S Essex Avenue; 7947-49 S Essex Avenue; 5955 S Sacramento
                                Avenue; 6001-05 S Sacramento Avenue; 7026-42 S Cornell Avenue; 2909-19
                                E 78th Street; 7748-52 S Essex Avenue; 701-13 S 5th Avenue; 6749-59 S
                                Merrill Avenue; 7546-48 S Saginaw Avenue; 8326-32 S Ellis Avenue; 8334-40
                                S Ellis Avenue; 8342-50 S Ellis Avenue; 8352-58 S Ellis Avenue; 7760 S
                                Coles Avenue; 8000-02 S Justine Street; 8107-09 S Ellis Avenue; 8214-16 S
                                Ingleside Avenue; 8209 S Ellis Avenue; 11117-11119 S Longwood Drive;
                                7300-04 S St Lawrence Avenue; 7957-59 S Marquette Road; 2736-44 W 64th
                                Street; 6355-59 S Talman Avenue; 6356 S California Avenue; 5618-20 S
                                Martin Luther King Drive; 7201 S Constance Avenue; 6554-58 S Vernon
                                Avenue; 1700-08 W Juneway Terrace; 7201-07 S Dorchester Avenue;
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    Kevin B. Duff, Receiver                                                                                 Page 10



        Date       Indiv Hours Description

                                   4315-19 S Michigan Avenue; 7600-10 S Kingston Avenue; 7656-58 S
                                   Kingston Avenue; 6250 S Mozart Street; 7109-19 S Calumet Avenue; 9610 S
                                   Woodlawn Avenue; 1401 W 109th Place; 310 E 50th Street; 6807 S Indiana
                                   Avenue; 7237-43 S Bennett Avenue; 638-40 N Avers Avenue; 7255-57 S
                                   Euclid Avenue).

                                   Asset Disposition


SUBTOTAL:                                                                                    [ 17.10         2944.00]

Business Operations

        9/1/2021      JRW     0.20 Confer with K. Pritchard regarding docket in state action and finalize letter
                                   to plaintiff's counsel regarding dismissal or stay of action (3074 E
                                   Cheltenham Place).

                                   Business Operations

                      KMP     0.30 Finalize and transmit correspondence relating to state court action and
                                   potential claim against EB property and related communication with J. Wine
                                   (3074 E Cheltenham Place).

                                   Business Operations

        9/2/2021      JRW     0.50 Telephone conference with plaintiff's counsel and related correspondence
                                   with K. Duff regarding claims (3074 E Cheltenham Place) (.3); telephone
                                   conference with insurer regarding potential settlement of claim and related
                                   correspondence to K. Duff (7110 S Cornell Avenue) (.2).

                                   Business Operations

        9/3/2021      JR      2.40 Review property reports and update reimbursable amounts, and related
                                   correspondence with E. Duff and K. Duff (8047-55 S. Manistee Avenue;
                                   7749-59 S. Yates Boulevard; 6749-59 S Merrill Avenue; 7450 S Luella
                                   Avenue; 7546-48 S Saginaw Avenue; 8201 S Kingston Avenue; 4520-26 S
                                   Drexel Boulevard; 8326-32 S Ellis Avenue; 8334-40 S Ellis Avenue; 8342-50
                                   S Ellis Avenue; 8352-58 S Ellis Avenue; 5450-52 S Indiana Avenue; 6437-41
                                   S Kenwood Avenue; 7760 S Coles Avenue; 8000-02 S Justine Street;
                                   8107-09 S Ellis Avenue; 8214-16 S Ingleside Avenue; 8209 S Ellis Avenue;
                                   11117-19 S Longwood Drive; 7300-04 S St Lawrence Avenue; 7110 S Cornell
                                   Avenue; 7957-59 S Marquette Avenue; 7051 S Bennett Avenue; 3074 E
                                   Cheltenham Place; 2736-44 W 64th Street; 5618-20 S Martin Luther King
                                   Drive; 6356 S California Avenue; 6355-59 S Talman Avenue; 7201 S
                                   Constance Avenue; 6554-58 S Vernon Avenue; 1700-08 W Juneway
                                   Terrace; 7201-07 S Dorchester Avenue; 7508 S Essex Avenue; 431 E 42nd
                                   Place; 7701-03 S Essex Avenue; 7442-54 S Calumet Avenue; 816-22 E
                                   Marquette Road; 6949-59 S Merrill Avenue; 4533-47 S Calumet Avenue;
                                   4315-19 S Michigan Avenue; 7600-10 S Kingston Avenue; 7656-58 S
                                   Kingston Avenue; 1131-41 E 79th Place; 6250 S Mozart Street).

                                   Business Operations
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     Date        Indiv Hours Description

     9/3/2021    JRW       0.30 Review motion to dismiss third-party action and related email to property
                                manager (3074 E Cheltenham Place) (.2); review correspondence from City
                                of Chicago regarding nonsuit of matter and update related records (1414-18
                                East 62nd Place) (.1).

                                Business Operations

     9/7/2021    JR        2.90 Review email from K. Duff regarding reimbursable amount and respond
                                accordingly (see I) (.1); continue analysis of reimbursable amounts, update
                                spreadsheet and forward to K. Duff and E. Duff (see I and J) (2.6); further
                                correspondence with E. Duff and K. Duff regarding requested spreadsheet
                                related to reimbursable amounts (see I and J) (.2).

                                Business Operations

                 KMP       0.20 Review communications relating to second restoration motion to determine
                                date of funds transfer and related communication with K. Duff (5001 S Drexel
                                Boulevard; 7625-33 S East End Avenue; 6749-59 S Merrill Avenue; 4520-26
                                S Drexel Boulevard; 4533-47 S Calumet Avenue; 1017 W 102nd Street; 1516
                                E 85th Place; 417 Oglesby Avenue; 7922 S Luella Avenue; 7925 S Kingston
                                Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8403 S
                                Aberdeen Street; 8405 S Marquette Avenue; 8529 S Rhodes Avenue; 9212 S
                                Parnell Avenue; 10012 S LaSalle Avenue; 11318 S Church Street; 6554 S
                                Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7712 S
                                Euclid Avenue; 8107 S Kingston Avenue; 8346 S Constance Avenue; 8432 S
                                Essex Avenue; 8517 S Vernon Avenue; 2129 W 71st Street; 9610 S
                                Woodlawn Avenue; 1401 W 109th Place; 1131-41 E 79th Place; 4611-17 S
                                Drexel Boulevard; 6217-27 S Dorchester Avenue; 6250 S Mozart Street;
                                7255-57 S Euclid Avenue; 7024-32 S Paxton Avenue; 4315-19 S Michigan
                                Avenue; 7701-03 S Essex Avenue; 816-22 E Marquette Road; 1422-24 East
                                68th Street; 2800-06 E 81st Street; 4750-52 S Indiana Avenue; 5618-20 S
                                Martin Luther King Drive; 7840-42 S Yates Avenue).

                                Business Operations

     9/8/2021    JR        0.20 Review email from K. Duff related to inspection of property and further
                                correspond with the account analyst forwarding survey for the property
                                related to insurance premiums (7109-19 S Calumet Avenue).

                                Business Operations

                 KMP       0.20 Attention to communications with property manager relating to utilitybilling
                                (2736-44 W 64th Street).

                                Business Operations

     9/9/2021    JRW       0.20 Confer with K. Duff and M. Rachlis regarding third-party request for
                                documents in connection with third-party litigation (defer).

                                Business Operations

     9/10/2021 ED          0.50 Call with accountant to discuss accounting treatment of insurance costs for
                                sold properties (1131-41 E 79th Place; 1700-08 W Juneway Terrace; 2453-
                                59 E 75th Street; 2736-44 W 64th Street; 4315-19 S Michigan Avenue;
                                4520-26 S Drexel Boulevard; 4533-47 S Calumet Avenue; 5450-52 S
                                Indiana Avenue; 5816-20 S Martin Luther King Drive; 6250 S Mozart Street;
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     Date        Indiv Hours Description

                                6355-59 S Talman Avenue; 6437-41 S Kenwood Avenue; 6554-58 S Vernon
                                Avenue; 6749-59 S Merrill Avenue; 7051 S Bennett Avenue; 7110 S Cornell
                                Avenue; 7201 S Constance Avenue; 7201-07 S Dorchester Avenue; 7300-
                                04 S St Lawrence Avenue; 7442-54 S Calumet Avenue; 7450 S Luella
                                Avenue; 7546-48 S Saginaw Avenue; 7600-10 S Kingston Avenue; 7749-59
                                S Yates Boulevard; 7760 S Coles Avenue; 3074 E Cheltenham Place; 7957-
                                59 S Marquette Avenue; 8000-02 S Justine Street; 8047-55 S Manistee
                                Avenue; 8107-09 S Ellis Avenue; 816-22 E Marquette Road; 8201 S
                                Kingston Avenue; 8209 S Ellis Avenue; 8214-16 S Ingleside Avenue; 8326-
                                58 S Ellis Avenue; 8403 S Aberdeen Street).

                                Business Operations

     9/10/2021 JR**        0.70 Review email from buyer's counsel regarding appraiser's request for
                                property information and further communicate and gather related
                                information for K. Duff (7109-19 S Calumet Avenue) (.6); further
                                communication with A. Porter requesting confirmation of requested items
                                related to appraisal of property (7109-19 S Calumet Avenue) (.1).

                                Business Operations

                 JRW       0.40 Exchange correspondence with K. Duff regarding plaintiff's claim (7110 S
                                Cornell Avenue) (.2); related telephone conference with insurer regarding
                                claim against property (7110 S Cornell Avenue)(.2).


                                Business Operations

     9/15/2021 JRW         0.20 Exchange correspondence with City of Chicago Ownership Unit regarding
                                violation notice (1414-18 East 62nd Place) (.1); exchange correspondence
                                with K. Duff regarding tax penalty notices (4520-26 S Drexel Boulevard;
                                7300-04 S St Lawrence Avenue; 7760 S Coles Avenue; 2129 W 71st Street;
                                9610 S Woodlawn Avenue; 6759 S Indiana Avenue; 5437 S Laflin Street;
                                8209 S Ellis Avenue; 8107-09 S Ellis Avenue; 8000-02 S Justine Street;
                                8214-16 S Ingleside Avenue; 1401 W 109th Place; 310 E 50th Street; 6807 S
                                Indiana Avenue; 6217-27 S Dorchester Avenue; 7255-57 S Euclid Avenue;
                                6250 S Mozart Street; 6949-59 S Merrill Avenue; 1422-24 East 68th Street;
                                2800-06 E 81st Street; 4750-52 S Indiana Avenue; 5618-20 S Martin Luther
                                King Drive; 6554-58 S Vernon Avenue; 7840-42 S Yates Avenue) (.1).

                                Business Operations

                 KMP       0.20 Communications with J. Wine and A. Watychowicz regarding City collection
                                notices and administrative hearing order (5001 S Drexel Boulevard; 1422-24
                                E 68th Street; 1414-18 E 62nd Place; 7024-32 S Paxton Avenue).

                                Business Operations

     9/16/2021 AW          0.20 Attention to collection notices and related email to J. Wine (5001 S Drexel
                                Boulevard; 1422-24 East 68thStreet; 1414-18 East 62nd Place; 7024-32 S
                                Paxton Avenue).

                                Business Operations
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     Date      Indiv Hours Description

     9/16/2021 JR          0.90 Review email from J. Wine related to tax notices regarding various
                                EquityBuild entities and identify properties for each and related
                                correspondence with J. Wine (4520-26 S Drexel Boulevard; 7300-04 S St
                                Lawrence Avenue; 7760 S Coles Avenue; 2129 W 71st Street; 9610 S
                                Woodlawn Avenue; 6759 S Indiana Avenue; 5437 S Laflin Street; 8209 S Ellis
                                Avenue; 8107-09 S Ellis Avenue; 8000-02 S Justine Street; 8214-16 S
                                Ingleside Avenue; 1401 W 109th Place; 310 E 50th Street; 6807 S Indiana
                                Avenue; 6217-27 S Dorchester Avenue; 7255-57 S Euclid Avenue; 6250 S
                                Mozart Street; 6949-59 S Merrill Avenue; 1422-24 East 68th Street; 2800-06
                                E 81st Street; 4750-52 S Indiana Avenue; 5618-20 S Martin Luther King
                                Drive; 6554-58 S Vernon Avenue; 7840-42 S Yates Avenue).

                                Business Operations

                 JRW       0.90 Review collection notices and prior correspondence and related
                                communications with K. Duff, A. Porter, A. Watychowicz, and K. Pritchard
                                (7024-32 S Paxton Avenue; 1422-24 East 68th Street; 1414-18 East 62nd
                                Place; 5001 S Drexel Boulevard) (.6); confer with J. Rak and K. Duff
                                regarding entities owned by LLCs receiving tax notices (4520-26 S Drexel
                                Boulevard; 7300-04 S St Lawrence Avenue; 7760 S Coles Avenue; 2129 W
                                71st Street; 9610 S Woodlawn Avenue; 6759 S Indiana Avenue; 5437 S
                                Laflin Street; 8209 S Ellis Avenue; 8107-09 S Ellis Avenue; 8000-02 S Justine
                                Street; 8214-16 S Ingleside Avenue; 1401 W 109th Place; 310 E 50th Street;
                                6807 S Indiana Avenue; 6217-27 S Dorchester Avenue; 7255-57 S Euclid
                                Avenue; 6250 S Mozart Street; 6949-59 S Merrill Avenue; 1422-24 East 68th
                                Street; 2800-06 E 81st Street; 4750-52 S Indiana Avenue; 5618-20 S Martin
                                Luther King Drive; 6554-58 S Vernon Avenue; 7840-42 S Yates Avenue) (.3).

                                Business Operations

     9/17/2021 AW          0.50 Communicate with J. Wine regarding notice of stay of collection, proofread
                                letter, and serve counsel (7024-32 S Paxton Avenue; 1414-18 East 62nd
                                Place; 1422-24 East 68th Street).

                                Business Operations

                 JRW       0.20 Correspondence with A. Porter regarding tax notices (4520-26 S Drexel
                                Boulevard; 7300-04 S St Lawrence Avenue; 7760 S Coles Avenue; 2129 W
                                71st Street; 9610 S Woodlawn Avenue; 6759 S Indiana Avenue; 5437 S
                                Laflin Street; 8209 S Ellis Avenue; 8107-09 S Ellis Avenue; 8000-02 S Justine
                                Street; 8214-16 S Ingleside Avenue; 1401 W 109th Place; 310 E 50th Street;
                                6807 S Indiana Avenue; 6217-27 S Dorchester Avenue; 7255-57 S Euclid
                                Avenue; 6250 S Mozart Street; 6949-59 S Merrill Avenue; 1422-24 East 68th
                                Street; 2800-06 E 81st Street; 4750-52 S Indiana Avenue; 5618-20 S Martin
                                Luther King Drive; 6554-58 S Vernon Avenue; 7840-42 S Yates Avenue) (.1);
                                exchange correspondence with insurer and K. Duff regarding potential
                                settlement of claim (7110 S Cornell Avenue) (.1).

                                Business Operations

                 KMP       0.20 Attention to communications relating to notice letter to City regarding
                                collection issues and related communications with J. Wine and A.
                                Watychowicz (7024-32 S Paxton Avenue; 1414-18 E 62nd Place; 1422-28
                                E 68th Street).

                                Business Operations
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     Date      Indiv Hours Description


     9/20/2021 ED          0.90 Review draft reports and summary from accountant proposing approach to
                                calculating and reporting adjustments to insurance cost allocations for
                                certain properties sold in 2020 (7450 S Luella Avenue; 7546-48 S Saginaw
                                Avenue; 8201 S Kingston Avenue; 4520-26 S Drexel Boulevard; 8326-58 S
                                Ellis Avenue; 5450-52 S Indiana Avenue; 6437-41 S Kenwood Avenue;
                                7760 S Coles Avenue; 8000-02 S Justine Street; 8107-09 S Ellis Avenue;
                                82116 S Ingleside Avenue; 8209 S Ellis Avenue; 11117-11119 S Longwood
                                Drive; 7300-04 S St Lawrence Avenue; 7110 S Cornell Avenue; 7957-59 S
                                Marquette Road; 7051 S Bennett Avenue; 3074 E Cheltenham Place; 2736-
                                44 W 64th Street; 6356 S California Avenue; 6355-59 S Talman Avenue;
                                5618-20 S Martin Luther King Drive; 7201 S Constance Avenue; 6554-58 S
                                Vernon Avenue; 1700-08 W Juneway Terrace; 7201-07 S Dorchester
                                Avenue; 7508 S Essex Avenue; 431 E 42nd Place; 7701-03 S Essex
                                Avenue; 7442-54 S Calumet Avenue; 816-22 E Marquette Road; 6949-59 S
                                Merrill Avenue; 4533-47 S Calumet Avenue; 4315-19 S Michigan Avenue;
                                7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue; 1131-41 E 79th
                                Place; 6250 S Mozart Street).

                                Business Operations

     9/21/2021 KMP         0.30 Prepare form for funds transfer to property manager for security door
                                installation and related communications with bank and K. Duff (638-42 N
                                Avers Avenue).

                                Business Operations

     9/22/2021 AW          0.20 Attention to response from creditor and email same to K. Duff and J. Wine
                                and attention to related email exchanges (7024-32 S Paxton Avenue; 1414-
                                18 East 62nd Place; 1422-24 East 68th Street).

                                Business Operations

                 ED        0.50 Call with accountant to discuss accounting treatment of insurance costs for
                                sold properties and related issues regarding reporting content and
                                presentation (7450 S Luella Avenue; 7546-48 S Saginaw Avenue; 8201 S
                                Kingston Avenue; 4520-26 S Drexel Boulevard; 8326-58 S Ellis Avenue;
                                5450-52 S Indiana Avenue; 6437-41 S Kenwood Avenue; 7760S Coles
                                Avenue; 8000-02 S Justine Street; 8107-09 S Ellis Avenue; 82116 S
                                Ingleside Avenue; 8209 S Ellis Avenue; 11117-11119 S Longwood Drive;
                                7300-04 S St Lawrence Avenue; 7110 S Cornell Avenue; 7957-59 S
                                Marquette Road; 7051 S Bennett Avenue; 3074 E Cheltenham Place;
                                2736-44 W 64th Street; 6356 S California Avenue; 6355-59 S Talman
                                Avenue; 5618-20 S Martin Luther King Drive; 7201 S Constance Avenue;
                                6554-58 S Vernon Avenue; 1700-08 W Juneway Terrace; 7201-07 S
                                Dorchester Avenue; 7508 S Essex Avenue; 431 E 42nd Place; 7701-03 S
                                Essex Avenue; 7442-54 S Calumet Avenue; 816-22 E Marquette Road;
                                6949-59 S Merrill Avenue; 4533-47 S Calumet Avenue; 4315-19 S Michigan
                                Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue; 1131-41
                                E 79th Place; 6250 S Mozart Street).

                                Business Operations
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     Date      Indiv Hours Description

     9/22/2021 JRW         0.70 Study correspondence from corporate counsel regarding administrative
                                proceedings and exhibits thereto (1414-18 East 62nd Place; 1422-24 East
                                68th Street; 4750-52 S Indiana Avenue; 7024-32 S Paxton Avenue) (.5);
                                confer with K. Duff and draft email to corporate counsel in response to
                                correspondence regarding administrative orders (1414-18 East 62nd Place;
                                1422-24 East 68th Street; 4750-52 S Indiana Avenue; 7024-32 SPaxton
                                Avenue) (.2).

                                Business Operations

     9/23/2021 ED          1.20 Confer with K. Duff regarding allocation of insurance premium costs to certain
                                sold properties (7450 S Luella Avenue; 7546-48 S Saginaw Avenue; 8201 S
                                Kingston Avenue; 4520-26 S Drexel Boulevard; 8326-58 S Ellis Avenue;
                                5450-52 S Indiana Avenue; 6437-41 S Kenwood Avenue; 7760 S Coles
                                Avenue; 8000-02 S Justine Street; 8107-09 S Ellis Avenue; 82116 S Ingleside
                                Avenue; 8209 S Ellis Avenue; 11117-11119 S Longwood Drive; 7300-04 S St
                                Lawrence Avenue; 7110 S Cornell Avenue; 7957-59 S Marquette Road; 7051
                                S Bennett Avenue; 3074 E Cheltenham Place; 2736-44 W 64th Street; 6356
                                S California Avenue; 6355-59 S Talman Avenue; 5618-20 S Martin Luther
                                King Drive; 7201 S Constance Avenue; 6554-58 S Vernon Avenue; 1700-08
                                W Juneway Terrace; 7201-07 S Dorchester Avenue; 7508 S Essex Avenue;
                                431 E 42nd Place; 7701-03 S Essex Avenue; 7442-54 S Calumet Avenue;
                                816-22 E Marquette Road; 6949-59 S Merrill Avenue; 4533-47 S Calumet
                                Avenue; 4315-19 S Michigan Avenue; 7600-10 S Kingston Avenue; 7656-58
                                S Kingston Avenue; 1131-41 E 79th Place; 6250 S Mozart Street) (1.2);
                                cont'd...

                                Business Operations

                 ED        0.90 Cont'd. .. Review and analyze reporting regarding insurance cost allocations
                                and refunds with respect to certain sold properties in preparation for
                                discussion with K. Duff (7450 S Luella Avenue; 7546-48 S Saginaw Avenue;
                                8201 S Kingston Avenue; 4520-26 S Drexel Boulevard; 8326-58 S Ellis
                                Avenue; 5450-52 S Indiana Avenue; 6437-41 S Kenwood Avenue; 7760 S
                                Coles Avenue; 8000-02 S Justine Street; 8107-09 S Ellis Avenue; 82116 S
                                Ingleside Avenue; 8209 S Ellis Avenue; 11117-11119 S Longwood Drive;
                                7300-04 S St Lawrence Avenue; 7110 S Cornell Avenue; 7957-59 S
                                Marquette Road; 7051 S Bennett Avenue; 3074 E Cheltenham Place;
                                2736-44 W 64th Street; 6356 S California Avenue; 6355-59 S Talman
                                Avenue; 5618-20 S Martin Luther King Drive; 7201 S Constance Avenue;
                                6554-58 S Vernon Avenue; 1700-08 W Juneway Terrace; 7201-07 S
                                Dorchester Avenue; 7508 S Essex Avenue; 431 E 42nd Place; 7701-03 S
                                Essex Avenue; 7442-54 S Calumet Avenue; 816-22 E Marquette Road;
                                6949-59 S Merrill Avenue; 4533-47 S Calumet Avenue; 4315-19 S Michigan
                                Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue; 1131-41
                                E 79th Place; 6250 S Mozart Street) (.9); cont'd...

                                Business Operations

                 ED        0.30 Cont'd. .. Email correspondence to accountant regarding calculation of insurance
                                costs with respect to sold properties, and preparation of related reporting (7450
                                S Luella Avenue; 7546-48 S Saginaw Avenue; 8201 S Kingston Avenue; 4520-
                                26 S Drexel Boulevard; 8326-58 S Ellis Avenue; 5450-52 S Indiana Avenue;
                                6437-41 S Kenwood Avenue; 7760 S Coles Avenue; 8000-02 S Justine Street;
                                8107-09 S Ellis Avenue; 82116 SIngleside Avenue; 8209 S Ellis Avenue; 11117-
                                11119 S Longwood Drive; 7300-04 S St Lawrence Avenue; 7110 S Cornell
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     Date      Indiv Hours Description

                                Avenue; 7957-59 S Marquette Road; 7051 S Bennett Avenue; 3074 E
                                Cheltenham Place; 2736-44 W 64th Street; 6356 S California Avenue;
                                6355-59 S Talman Avenue; 5618-20 S Martin Luther King Drive; 7201 S
                                Constance Avenue; 6554-58 S Vernon Avenue; 1700-08 W Juneway
                                Terrace; 7201-07 S Dorchester Avenue; 7508 S Essex Avenue; 431 E
                                42nd Place; 7701-03 S Essex Avenue; 7442-54 S Calumet Avenue; 816-
                                22 E Marquette Road; 6949-59 S Merrill Avenue; 4533-47 S Calumet
                                Avenue; 4315-19 S Michigan Avenue; 7600-10 S Kingston Avenue; 7656-
                                58 S Kingston Avenue; 1131-41E 79th Place; 6250 S Mozart Street) (.3).

                                Business Operations

     9/24/2021 ED          1.30 Conference call with accountants and K. Duff to discuss allocation of costs
                                for insurance and other amounts paid by Receivership for the benefit of sold
                                properties (7450 S Luella Avenue; 7546-48 S Saginaw Avenue; 8201 S
                                Kingston Avenue; 4520-26 S Drexel Boulevard; 8326-58 S Ellis Avenue;
                                5450-52 S Indiana Avenue; 6437-41 S Kenwood Avenue; 7760 S Coles
                                Avenue; 8000-02 S Justine Street; 8107-09 S Ellis Avenue; 8216 S Ingleside
                                Avenue; 8209 S Ellis Avenue; 11117-11119 S Longwood Drive; 7300-04 S
                                St Lawrence Avenue; 7110 S Cornell Avenue; 7957-59 S Marquette Road;
                                7051 S Bennett Avenue; 3074 E Cheltenham Place; 2736-44 W 64th Street;
                                6356 S California Avenue; 6355-59 S Talman Avenue; 5618-20 S Martin
                                Luther King Drive; 7201 S Constance Avenue; 6554-58 S Vernon Avenue;
                                1700-08 W Juneway Terrace; 7201-07 S Dorchester Avenue; 7508 S Essex
                                Avenue; 431 E 42nd Place; 7701-03 S Essex Avenue; 7442-54 S Calumet
                                Avenue; 816-22 E Marquette Road; 6949-59 S Merrill Avenue; 4533-47 S
                                Calumet Avenue; 4315-19 S Michigan Avenue; 7600-10 S Kingston Avenue;
                                7656-58 S Kingston Avenue; 1131-41 E 79th Place; 6250 S Mozart Street).

                                Business Operations

                 JRW       0.30 Telephone conference with plaintiff's counsel regarding negotiation of
                                settlement and related correspondence to insurer (7110 S Cornell Avenue).

                                Business Operations

                 KMP       0.40 Attention to communication from provider regarding fees for property
                                maintenance services (1102 Bingham) (.1); prepare form for funds transfer to
                                provider for property maintenance services and related communications with
                                K. Duff (1102 Bingham) (.3).

                                Business Operations

     9/27/2021 AW          0.40 Draft notice of receivership to creditor and related email to K. Duff and J.
                                Wine (defer).

                                Business Operations

                 JR        0.20 Review email from account analyst and communicate with property
                                management related to request for property information regarding to
                                property insurance renewal (7109-19 S Calumet Avenue).

                                Business Operations
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     Date      Indiv Hours Description


     9/27/2021 JRW         0.30 Review form release from counsel in personal injury matter and related
                                review of records and email exchange with counsel and insurer (7110 S
                                Cornell Avenue).

                                Business Operations

                 KMP       0.70 Prepare form for funds transfer to provider regarding fees for property
                                services and related communications with bank representative and K. Duff
                                (1102 Bingham) (.3); effectuate funds transfer and online payment of
                                property taxes and related communication with K. Duff and J. Rak (1102
                                Bingham) (.4).
                                Business Operations

                 SZ        0.20 Attention to repair expenses associated with properties and email
                                communication with the Receiver related to those expenses (7255-57 Euclid
                                Avenue; 7109-19 S Calumet Avenue; 7237-43 S Bennett Avenue; 7600-10
                                S Kingston Avenue; 4317-19 S Michigan Avenue; 638-40 N Avers Avenue;
                                7656-58 S Kingston Avenue; 6356-58 S California Avenue; 7201-07 S
                                Dorchester Avenue; 1700-08 Juneway Terrace; 5618-20 S Martin Luther
                                King Drive; 7957-59 S Marquette Ave; 6357-59 S Talman Avenue; 2736 W
                                64th Street; 7201-09 S Constance Avenue; 1401 W 109th Place; 6807 S
                                Indiana Avenue; 310 E 50th Street; 6250 S Mozart Avenue; 11117-19 S
                                Longwood Drive; 416-24 E 66th Street; 8334 S Ellis Avenue; 8000 -02 S
                                Justine Street; 7760 S Coles Avenue; 8107-09 S Ellis Avenue; 8209 S Ellis
                                Avenue; 6749-59 S Merrill Avenue).

                                Business Operations

                 SZ        0.30 Attention to repair expenses associated with other properties and email
                                communication with the Receiver related to those expenses (7051 S
                                Bennett Avenue; 417 Oglesby Avenue; 1516 E 85th Place; 2136 W 83rd
                                Street; 7922 S Luella Avenue; 8030 S Marquette Avenue; 8529 S Rhodes
                                Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 61 E 92nd Street; 3213
                                S Throop Street; 6825 S Indiana Avenue; 7712 S Euclid Avenue; 8107 S
                                Kingston Avenue; 8346 S Constance Avenue; 8432 S Essex Avenue; 8517 S
                                Vernon Avenue; 11318 S Church Street; 1131-41 E 79th Place; 4520-26 S
                                Drexell Boulevard; 4611-17 S Drexel Boulevard; 5450-52 S Indiana Avenue;
                                6217-27 S Dorchester Avenue; 6437-41 S Kenwood Avenue; 7024-32 S
                                Paxton Avenue; 7110-16 S Cornell Avenue; 7836 S Shore Drive; 1422-24 E
                                68th Street; 2800-06 E 81st Street; 4750-52 S Indiana Avenue; 7840-42 S
                                Yates Avenue; 816-20 E Marquette Road; 1017 W 102nd Street; 1414 &
                                1418 East 62nd Place; 2129 W 71st Street; 2220 E 75th Street; 2453-59 E
                                75th Street; 4533-47 S Calumet Avenue; 5437 S Laflin Street; 6949-59 S
                                Merrill Avenue; 7442-48 S Calumet Avenue; 7701-03 S Essex Avenue;
                                7749-59 S Yates Boulevard; 7925 S Kingston Avenue; 8201 S Kingston
                                Avenue; 10012 S LaSalle Avenue).

                                Business Operations

     9/29/2021 KMP         0.30 Effectuate online payment of property taxes and related communications with
                                K. Duff and J. Rak (638-40 N Avers Avenue).

                                Business Operations
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         Date       Indiv Hours Description



SUBTOTAL:                                                                                    [ 21.70         4927.00]

Case Administration

         9/1/2021     JR      0.90 Review vendor database and study tutorial on navigating through same (all).

                                   Case Administration

         9/22/2021 JRW        0.20 Attention to calendar and related email exchange with A. Watychowicz
                                   regarding docketing.

                                   Case Administration


SUBTOTAL:                                                                                    [ 1.10              178.00]

Claims Administration & Objections

         9/1/2021     AW      1.50 Search database for e-sign documents and related email to J. Wine (Group
                                   1) (.5); attention to email from claimant regarding claims issue and related
                                   email to K. Duff and J. Wine (all) (.1); review native files submitted with
                                   claims and related email to K. Duff (see K) (.8); attention to email from
                                   database vendor, related email with J. Wine, and response email (all) (.1).

                                   Claims Administration & Objections

                      JRW     3.60 Confer with database vendor regarding search results and files in database
                                   (all) (.1); correspondence to claimants' counsel regarding issues with
                                   document production and privilege log (Group 1) (.4); continued review of
                                   documents produced in standard discovery phase (Group 1) (2.8); exchange
                                   correspondence with K. Duff and A. Watychowicz regarding form of
                                   supplemental document production (Group 1) (.1); correspondence with
                                   claimants' counsel regarding format of document production (Group 1) (.1);
                                   exchange correspondence with M. Rachlis and K. Duff regarding
                                   correspondence from counsel for third party regarding meet and confer
                                   (defer) (.1).

                                   Claims Administration & Objections

         9/2/2021     AW      0.40 Attention to emails from claimants and respondto same (all) (.2); attention to
                                   issue with files served on claimants and related email to J. Wine (Group 1)
                                   (.2).

                                   Claims Administration & Objections

                      JRW     2.40 Attention to claimant inquiry (all) (.1); review investor lenders' standard
                                   discovery responses (Group 1) (1.9); email exchange with claimants'
                                   counsel regarding joint motions (sole lien) (.1); exchange
                                   correspondence with database vendor regarding documents in database
                                   (all) (.3).

                                   Claims Administration & Objections
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 Kevin B. Duff, Receiver                                                                                 Page 19



     Date       Indiv Hours Description


     9/3/2021    JRW       0.20 Exchange correspondence with database vendors regarding issues with
                                system files (all).

                                Claims Administration & Objections

     9/6/2021    JRW       0.30 Correspond with K. Duff regarding revisions to single claim process (sole lien).

                                Claims Administration & Objections

     9/7/2021    AW        0.40 Attention to email from counsel regarding representation and related email to
                                J. Wine (all) (.1); communicate with J. Wine regarding database issue (all)
                                (.1); attention to voice message from counsel, review emails and claimant's
                                discovery responses, and related email to J. Wine (all) (.2).

                                Claims Administration & Objections

                 JRW       0.40 Exchange correspondence with database vendors regarding database
                                issues (all) (.1); telephone conference with K. Duff regarding draft joint
                                motion (sole lien) (.1); correspond with A. Watychowicz regarding searches
                                and related review of correspondence with vendor (all) (.1); confer with A.
                                Watychowicz regarding counsel inquiry (all) (.1).

                                Claims Administration & Objections

     9/8/2021    AEP       1.70 Legal research and communication of findings to K. Duff and J. Wine in
                                connection with analysis of claims (7301-09 S Stewart Avenue; 7500-06 S
                                Eggleston Avenue; 3030-32 E 79thStreet; 2909-19 E 78th Street; 7549-59 S
                                Essex Avenue; 8047-55 S Manistee Avenue).

                                Claims Administration & Objections

                 AW        0.30 Email correspondence to claimant and counsel (all) (.2); confer with J. Wine
                                regarding reminder to claimants about expiration of database and update
                                docket (all) (.1).

                                Claims Administration & Objections

                 JRW       2.30 Telephone conference with database vendors regarding reports in database
                                (all) (.2); attention to claimant inquiry (all) (.1); legal research and related
                                correspondence with A. Porter regarding analysis of findings (7301-09 S
                                Stewart Avenue; 7500-06 S Eggleston Avenue; 3030-32 E 79th Street;
                                2909-19 E 78th Street; 7549-59 S Essex Avenue; 8047-55 S Manistee
                                Avenue) (1.8); exchange correspondence with counselfor claimants
                                regarding EB document database and related correspondence with K. Duff
                                (all) (.2).

                                Claims Administration & Objections
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 Kevin B. Duff, Receiver                                                                                Page 20



     Date       Indiv Hours Description


     9/9/2021    AW        2.10 Continue work on update of counsel information for claimants (all) (1.9);
                                work with claims documents (6437-41 S Kenwood Avenue; 11117-11119
                                S Longwood Drive) (.2).

                                Claims Administration & Objections

                 JRW       4.20 Correspondence with A. Watychowicz regarding counsel representation of
                                claimants and follow-up email to claimants' counsel (all) (.3); review discovery
                                responses and documents of investor lenders (Group 1) (3.6); conference
                                with K. Duff and M. Rachlis regarding third-party access to document
                                database (defer) (.2); exchange correspondence with K. Duff regarding
                                volume of claims materials (defer) (.1).

                                Claims Administration & Objections

                 MR        0.20 Conference with K. Duff and J. Wine regarding third party access to
                                claims documents database and related logistics (defer).

                                Claims Administration & Objections

     9/10/2021 AEP         0.70 Teleconference with K. Duff, M. Rachlis, and J. Wine regarding resolution
                                of priority disputes and legal issues (7301-09 S Stewart Avenue; 7500-06
                                S Eggleston Avenue; 3030-32 E 79th Street; 2909-19 E 78th Street; 7549-
                                59 S Essex Avenue; 8047-55 S Manistee Avenue).

                                Claims Administration & Objections

                 AW        1.00 Attention to questions from claimant and update his mailing information (all)
                                (.2); review discovery responses and email regarding volume to K. Duff and
                                J. Wine (Group 1) (.6); communicate with J. Wine regarding volume of
                                claims documents (Group 1) (.1); attention to follow up email regarding
                                representation (all) (.1).

                                Claims Administration & Objections

                 JR        0.90 Conference with J. Wine regarding vendor database and navigating
                                through same (Group 1).

                                Claims Administration & Objections

                 JRW       4.70 Telephone conference with A. Porter, M. Rachlis and K. Duff regarding claims
                                against funds (7301-09 S Stewart Avenue; 7500-06 S Eggleston Avenue;
                                3030-32 E 79th Street; 2909-19 E 78th Street; 7549-59 S Essex Avenue;
                                8047-55 S Manistee Avenue) (.7); additional legal research regarding analysis
                                of claim (7301-09 S Stewart Avenue; 7500-06 S Eggleston Avenue; 3030-32
                                E 79th Street; 2909-19 E 78th Street; 7549-59 S Essex Avenue; 8047-55 S
                                Manistee Avenue) (.4); confer with K. Duff regarding single claim process
                                (sole lien) (.1); review redline of draft motion regarding claims process and
                                further revise same (sole lien) (1.6); conferencewith J. Rak regarding
                                searching database, execute searches, and related correspondence with
                                vendor regarding technical issues (Group 1) (.9); confer with A. Watychowicz
                                regarding volume of submitted claims documentation (Group 1) (.1); review
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 Kevin B. Duff, Receiver                                                                                Page 21



     Date        Indiv Hours Description

                                investor discovery and documentproductions (Group 1) (.9).


                                Claims Administration & Objections

     9/10/2021 MR          0.70 Participate in meeting with K. Duff, A. Porter, J. Wine regarding analysis of
                                claims (7301-09 S Stewart Avenue; 7500-06 S Eggleston Avenue; 3030-
                                32 E 79th Street; 2909-19 E78th Street; 7549-59 S Essex Avenue; 8047-
                                55 S Manistee Avenue).

                                Claims Administration & Objections

     9/11/2021 AW          0.70 Start preparation of information regarding volume of claims for J. Wine
                                (Group 1).

                                Claims Administration & Objections

     9/13/2021 AW          1.40 Finalize preparation of volume of claims for J. Wine and related email (Group
                                1) (.8); communicate with claimant regarding claim and his trustee (all) (.2);
                                communicate with K. Duff and J. Wine regarding claims percentage issue
                                and related email to claimant (all) (.2); attention to voice message from
                                claimant regarding sold property (2736-44 W 64th Street) and related email
                                to claimant (.1); communicate with K. Duff and J. Wine regarding received
                                documents from claimant and related email to claimant (all) (.1).


                                Claims Administration & Objections

                 JRW       3.90 Work with A. Watychowicz regarding analysis of volume of claim submissions
                                (Group 1) (.2); attention to claimant inquiries (all) (.4); review redline and
                                further revise proposed joint motion and related correspondence to K. Duff
                                and M. Rachlis regarding open issues (sole lien) (1.5); continue reviewing
                                discovery produced by investors and conduct database searches for
                                correspondence with investor (Group 1) (1.8).

                                Claims Administration & Objections

                 KMP       0.20 Communications with J. Wine and A. Watychowicz regarding inquiry by
                                claimant (all).

                                Claims Administration & Objections

     9/14/2021 AW          0.40 Follow up with J. Wine regarding claimant's email (all) (.1);
                                communicate with J. Wine regarding review of discovery (Group 1) (.2);
                                attention to email from claimant and database issues and related email
                                to K. Duff and J. Wine (all) (.1).

                                Claims Administration & Objections

                 JRW       4.10 Work on single claims process and related exchange of correspondence with
                                M. Rachlis regarding single claim process (sole lien) (.6); review discovery
                                from investors and related conference with A. Watychowicz (Group 1) (3.4);
                                attention to claimant email (all) (.1).

                                Claims Administration & Objections
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     Date      Indiv Hours Description

     9/14/2021 MR          0.50 Further work on single lien claim process and work and exchanges with J.
                                Wine (sole lien).

                                Claims Administration & Objections

     9/15/2021 JRW         3.50 Analysis to K. Duff and M. Rachlis regarding single claim process (sole lien)
                                (.7); telephone conference with K. Duff and M. Rachlis regarding process for
                                single claim properties (sole lien) (.8); exchange correspondence and
                                telephone conference with claimants' counsel regarding process for single
                                claim properties (sole lien) (.4); revise proposed process for single lien
                                claims (sole lien) (1.6).

                                Claims Administration & Objections

                 MR        1.40 Further review and attention to various issues on the single lien process and
                                review various drafts and e-mails regarding same from K. Duff and J. Wine
                                (sole lien) (.6); participate in meeting with K. Duff and J. Wine regarding the
                                single lien process (sole lien) (.8).

                                Claims Administration & Objections

     9/16/2021 AEP         0.60 Teleconference with J. Wine regarding discovery issues associated with
                                single-claim properties encumbered by loans and legal issues associated
                                with priority determinations (sole lien).

                                Claims Administration & Objections

                 JRW       2.50 Telephone conference with A. Porter regarding third-party discovery needs
                                and analysis of claims (sole lien) (.6); revise draft process for single claim
                                properties to incorporate comments from M. Rachlis (sole lien) (.8); revise
                                draft motion (sole lien) (1.1).

                                Claims Administration & Objections

     9/17/2021 JRW         1.70 Review redlines and further revise single claims process and draft motion
                                (sole lien) (1.0); correspondence with M. Rachlis and K. Duff regarding single
                                claims process (sole lien) (.1); review invoice and related email exchange
                                with K. Duff (all) (.2); draft correspondence to Corporation Counsel regarding
                                collection notices (7024-32 S Paxton Avenue; 1414-18 East 62nd Place;
                                1422-24 East 68th Street) (.4).

                                Claims Administration & Objections

                 KMP       0.20 Communicate with K. Duff regarding payment of vendor invoices (all).

                                Claims Administration & Objections

                 MR        1.50 Review and revise drafts of the joint motion for claims process and related
                                follow up with K. Duff and J. Wine (sole lien).

                                Claims Administration & Objections

     9/20/2021 AEP         2.40 Research regarding competing lien claims and interests and prepare e-
                                mails to K. Duff regarding preliminary conclusions (all).

                                Claims Administration & Objections
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     Date      Indiv Hours Description


     9/20/2021 AW          1.60 Attention to email from claimant regarding sold property, review claim, and
                                related email response (7748-52 S Essex Avenue) (.2); email exchange with
                                J. Wine regarding claimant's request for link, research emails, and reach out
                                to claimant with requested link (Group 1) (.3);attention to and
                                communications with J. Wine regarding supplemental production from
                                claimant, review production, email exchange and follow up call with J. Wine
                                regarding duplicative and incomplete production (Group 1) (1.1).

                                Claims Administration & Objections

                 JRW       6.10 Additional revisions to single claims process and motion (sole lien) (1.3);
                                confer with A. Watychowicz regarding supplemental document production
                                from claimant (Group 1) (.2); review email exchange between lender's
                                counsel and investor claimants (Group 1) (.2); review claimants' standard
                                discovery responses (Group 1) (3.3); correspond with A. Watychowicz
                                regarding claimant production (Group 1) (.1); search EB document database
                                and related correspondence with vendor (Group 1) (1.0).

                                Claims Administration & Objections

     9/21/2021 JRW         4.50 Continued review of investor discovery responses and related database
                                searches (Group 1) (3.3); exchange correspondence with claimants' counsel
                                regarding discovery (Group 1) (.1); review revisions to draft joint motion
                                regarding process for single claims and related correspondence with
                                K. Duff (sole lien) (.4); work with database vendor support regarding
                                database issues and training (all) (.7).

                                Claims Administration & Objections

     9/22/2021 AW          0.60 Communicate with K. Duff and J. Wine regarding hearing inquiries from
                                claimant and respond to emails (all) (.3); attention to email from claimant
                                regarding resolution of claims process and related email response (all_
                                (.1); communicate with vendor regarding access to online account (all) (.1);
                                communicate with J. Wine regarding claimants that submitted documents
                                regarding properties from different tranche (Group 1) (.1).

                                Claims Administration & Objections

                 JRW       5.20 Attention to claimant inquiries (all) (.1); correspondence with K. Duff and M.
                                Rachlis regarding single claims process, review multiple redlines and further
                                revise motion and proposed process to incorporate comments (sole lien)
                                (2.1); continued review of investor discovery responses and related
                                correspondence with A. Watychowicz (Group 1) (3.0).

                                Claims Administration & Objections

                 MR        1.60 Further review and comment on issues regarding proposals on single lien
                                process and follow up regarding same (sole lien) (1.2); attention to issues and
                                responses to discovery from Group 1 participants (Group 1) (.4).

                                Claims Administration & Objections
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 Kevin B. Duff, Receiver                                                                                Page 24



     Date      Indiv Hours Description


     9/23/2021 JRW         3.70 Additional revisions to single claims process and related correspondence
                                (sole lien) (.8); exchange correspondence with A. Watychowicz regarding
                                investor discovery relating to other groups (all) (.2); exchange
                                correspondence with A. Porter regarding factual analysis of discovery
                                materials (all) (.2); conference call with claimants' counsel and SEC
                                regarding discovery (Group 1) (.5); review transcript of proceedings and
                                related email to K. Duff (all) (.2); continued review of investor discovery
                                responses (Group 1) (1.6); review email regarding discovery deficiencies from
                                claimants' counsel and confer with A. Watychowicz regarding follow-up email
                                to investors (Group 1) (.1); review records in database and related
                                correspondence with A. Watychowicz regarding claim form (all) (.1).

                                Claims Administration & Objections

                 MR        0.30 Attention to issues and edits on motion regarding single lien issues (sole lien).

                                Claims Administration & Objections

     9/24/2021 AW          0.90 Communicate with vendor regarding claimant's proof of claim and substitute
                                corrupted file in updated files from vendor (all) (.5); research and email
                                exchanges with SEC (Group1) (.4).

                                Claims Administration & Objections

                 JRW       2.10 Exchange correspondence with claimants' counsel regarding discovery
                                dispute (Group 1) (.1); final revisions to single claims process and related
                                email to claimants' counsel (sole lien) (.4); telephone conference with SEC
                                regarding discovery (Group 1) (.2); correspondence to SEC regarding
                                production documents (Group 1) (.3); study interrogatory answers and
                                update chronology (Group 1) (1.0); correspondence regarding proof of
                                claim and database (all) (.1).

                                Claims Administration & Objections

            9/27/2021 AW         0.20 Email response to claimant's voice message (all).

                                Claims Administration & Objections

                 JRW       0.80 Email exchange with claimants' counsel regarding standard discovery
                                responses (Group 1) (.1); telephone conference with claimants' counsel
                                regarding proofs of claim and related email exchange (all) (.2); review
                                investor discovery responses (Group 1) (.5).

                                Claims Administration & Objections
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    Kevin B. Duff, Receiver                                                                               Page 25



        Date        Indiv Hours Description

        9/28/2021 AW          0.80 Attention to served supplemental requests and responses to same and follow
                                   up regarding subpoenas to third parties (Group 1) (.5); email claimant
                                   requested claims documents (1700-08 Juneway Terrace; 4533-47 S
                                   Calumet Avenue; 6001-05 S Sacramento Avenue; 7026-42 S Cornell
                                   Avenue) (.2); review shared folder from claimant and related email to J. Wine
                                   (all) (.1).


                                   Claims Administration & Objections

                    JRW       2.00 Exchange correspondence with A. Watychowicz regarding investor inquiry
                                   (all) (.1); continued review of investor discovery responses and productions
                                   (Group 1) (1.9).

                                   Claims Administration & Objections

        9/29/2021 AW          0.80 Correspond with J. Wine regarding subpoenas served on third parties in
                                   standard discovery (Group 1) (.1); review J. Winechart and start review
                                   of standard discovery responses (Group 1) (.7).

                                   Claims Administration & Objections

                    JRW       2.10 Continued review of investor discovery responses and documents (Group 1)
                                   (1.4); review and work with K. Duff to revise draft motion for leave to serve
                                   subpoena and subpoena rider (defer) (.7).

                                   Claims Administration & Objections

        9/30/2021 AW          2.40 Continue review of standard discovery responses, communicate with J. Wine
                                   regarding responses, and create related online review sheet (Group 1).

                                   Claims Administration & Objections

                    JRW       3.20 Exchange correspondence with K. Duff and M. Rachlis regarding proposed
                                   order granting motion for leave to serve subpoena (defer) (.2); confer with A.
                                   Watychowicz regarding investor discovery response issue and related
                                   review and comment regarding summary of responses (Group 1) (.7);
                                   exchange correspondence with counsel for third party regarding proposed
                                   motion and order (defer) (.3); review email exchange between investor
                                   claimants and counsel for institutional lender (Group 1) (.1); confer with
                                   claimants' counsel regarding subpoena to title company and review records
                                   regarding same (all) (.3); continued review of investor discovery (Group 1)
                                   (1.6).

                                   Claims Administration & Objections


SUBTOTAL:                                                                                   [ 91.90       23386.00]

Tax Issues

        9/15/2021 KMP         0.40 Prepare email correspondence to accountant transmitting tax notices for
                                   various entities from federal authority.

                                   Tax Issues
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       Date      Indiv Hours Description




SUBTOTAL:                                                           [ 0.40         56.00]




                                                                    151.30    $34,795.00
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    Kevin B. Duff, Receiver                                                              Page 27




Other Charges

                                     Description

Business Operations

                                     Photocopies for September 2021                           6.40

                                     Software license fees for September 2021              277.41
                                     (Summit Hosting, $181.41; Google Suite, $96)

                                     Online research for September 2021                    282.56



SUBTOTAL:                                                                           [      566.37]


Total Other Charges                                                                       $566.37




                                    Summary of Activity
                                                                      Hours     Rate
Jodi Wine                                                             71.90   260.00    $18,694.00
Ania Watychowicz                                                      18.00   140.00     $2,520.00
Justyna Rak                                                           19.10   140.00     $2,674.00
Kathleen M. Pritchard                                                 21.80   140.00     $3,052.00
Stoja Zjalic                                                           0.50   110.00        $55.00
Andrew E. Porter                                                       6.50   390.00     $2,535.00
Ellen Duff                                                             5.60   390.00     $2,184.00
Michael Rachlis                                                        7.90   390.00     $3,081.00
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 Kevin B. Duff, Receiver                                                     Page 28




                                   SUMMARY


               Legal Services                                  $34,795.00
               Other Charges                                      $566.37

                  TOTAL DUE                                    $35,361.37
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                Exhibit H
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                              BrookWeiner L.L.C.
                             125 South Wacker Drive, 10th Floor
                                  Chicago, IL 60606-4497
                                       312-629-0900




EQUITYBUILD INC RECEIVERSHIP                                    Invoice No.210686
C/O KEVIN DUFF
542 S DEARBORN, SUITE 900
CHICAGO, IL 60605                                              Date 10/25/2021
                                                               Client No.BW10753




Services rendered in the month of August, 2021 per attached detail.

D. Weinberg     1.40 hours @ $275                                                       385.00


                                                            Current Amount Due      $   385.00




                                             Thank you.
                              We appreciate the opportunity to serve you.
                                      Referrals are welcome.



                                   PAYMENT DUE UPON RECEIPT
      Case: 1:18-cv-05587  Document
                        Invoice #210686 for#: 1087 Filed:
                                            EQUITYBUILD INC 11/15/21  Page
                                                            RECEIVERSHIP     160 of 200
                                                                         ( BW10753.001 ) PageID #:34096
ENG   DATE       EMPLOYEE CAT        SUBCAT    SERVICE   MEMO                        HOURS           BILLED       ADJUSTED

001   8/3/2021   Weinberg   TAX      1120      2375      Discuss 2015 IRS penalty      1.40           385.00           0.00
                                                         re: 1516 E. 85th & write
                                                         penalty abatement request


                                                                                       1.40           385.00           0.00


                                                         Invoice Reconciliation

                                                         Billed WIP                                    385.00
                                                         Adjusted                                         0.00
                                                         Progress Amount                                  0.00
                                                                                              -----------------
                                                         Gross Amount                                  385.00
                                                         (Apply Prior Progress)                           0.00
                                                         Sales Tax                                        0.00
                                                         (Sales Tax Applied)                              0.00
                                                                                              -----------------
                                                         Net Invoice                                   385.00
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                              BrookWeiner L.L.C.
                             125 South Wacker Drive, 10th Floor
                                  Chicago, IL 60606-4497
                                       312-629-0900




EQUITYBUILD INC RECEIVERSHIP                                   Invoice No.210689
C/O KEVIN DUFF
542 S DEARBORN, SUITE 900
CHICAGO, IL 60605                                             Date 10/25/2021
                                                              Client No.BW10753




Services rendered in the month of September, 2021 per attached detail.

B. Fish         8.75 hours @ $110                                                      $    962.50

D. Arce         2.00 hours @ $ 68                                                           136.00

D. Weinberg     1.40 hours @ $275                                                           385.00


                                                           Current Amount Due      $       1,483.50




                                             Thank you.
                              We appreciate the opportunity to serve you.
                                      Referrals are welcome.



                                  PAYMENT DUE UPON RECEIPT
      Case: 1:18-cv-05587  Document
                        Invoice #210689 for#: 1087 Filed:
                                            EQUITYBUILD INC 11/15/21  Page
                                                            RECEIVERSHIP     162 of 200
                                                                         ( BW10753.001 ) PageID #:34098
ENG   DATE        EMPLOYEE CAT       SUBCAT    SERVICE   MEMO                        HOURS           BILLED       ADJUSTED

001   9/7/2021    Arce       ACCTG   CWU       4200      2021 PS statements            2.00           136.00           0.00
001   9/17/2021   Fish       ACCTG   CWU       4200      Created samples of            1.50           165.00           0.00
                                                         Insurnce reimbursments
                                                         for sold properties
001   9/28/2021   Fish       ACCTG   CWU       4200      Review sample schedules       0.50            55.00           0.00
                                                         for Receivership
001   9/29/2021   Fish       ACCTG   CWU       4200      compiling potential           2.50           275.00           0.00
                                                         Insurnance refunds for
                                                         sold properties
001   9/24/2021   Fish       ACCTG   CWU       4200      Confernce call and re do      4.25           467.50           0.00
                                                         schedules for Insurnce
                                                         restatement
001   9/24/2021   Weinberg   ACCTG   CWU       4235      Zoom mtg K Duff & E Duff      1.40           385.00           0.00
                                                         re: property spreadsheets


                                                                                      12.15        1,483.50            0.00


                                                         Invoice Reconciliation

                                                         Billed WIP                                 1,483.50
                                                         Adjusted                                         0.00
                                                         Progress Amount                                  0.00
                                                                                              -----------------
                                                         Gross Amount                               1,483.50
                                                         (Apply Prior Progress)                           0.00
                                                         Sales Tax                                        0.00
                                                         (Sales Tax Applied)                              0.00
                                                                                              -----------------
                                                         Net Invoice                                1,483.50
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                Exhibit I
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                                                                                                                                    Invoice
        BILL TO
                                                                                                                         DATE              INVOICE #
      EquityBuild
      Kevin Duff                                                                                                       10/15/2021            13467




                                                                    TERMS                                        PROJECT




QUANTITY SERVICED                                                     DESCRIPTION                                               RATE        AMOUNT

        0.25   7/6/2021        Updated article and PDF item for EB website.                                                       110.00         27.50
        0.25   7/12/2021       Updated 3 articles and pdf for EB website.                                                         110.00         27.50
         0.5   7/23/2021       Edited website and uploaded more documents for Ania.                                               110.00         55.00
        0.75   8/17/2021       Updated website with info for Ania.                                                                110.00         82.50
        0.25   8/18/2021       Added two more documents to website for Ania.                                                      110.00         27.50
         0.5   8/30/2021       Uploaded 4 articles and posted them correctly.                                                     110.00         55.00
         0.5   9/2/2021        Fixed error on website for Ania. Copied over QB data for EB computer to MatterDSK for Ania.        110.00         55.00
                               Illinois Sales Tax                                                                               10.25%            0.00




Thank you for your business.
                                                                                                                              Total            $330.00
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                Exhibit J
                                                                                                                               Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 166 of 200 PageID #:34102




EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month                Billing Category               Entry Date    Time    Rate    Task Entry ID                                           Task Description                                             Task        Task Cost                                                      Property Allocations                                                     Property
                                                                         Keeper                                                                                                                                Hours                                                                                                                                               Allocation
                                                                                                                                                                                                                                                                                                                                                                     Count
        July-21 Asset Disposition                             7/1/2021 JR           140       40506.01 Organize closing documents in electronic files from previous closings (7237-43 S Bennett Avenue,          0.5 $          70.00 7237-43 S Bennett Avenue; 7255-57 S Euclid Avenue                                                                                         2
                                                                                                       7255-57 S Euclid Avenue) (.5)
        July-21 Asset Disposition                             7/1/2021 JR           140       40506.02 review email from J. Wine, update closed property spreadsheet related to recent closings and              0.1 $          14.00 7237-43 S Bennett Avenue; 7255-57 S Euclid Avenue                                                                                         2
                                                                                                       further related correspondence with EB team (7237-43 S Bennett Avenue, 7255-57 S Euclid Avenue)
                                                                                                       (.1)
        July-21 Asset Disposition                             7/1/2021 JR           140       40506.03 review email from K. Pritchard regarding net proceeds from closing (7237-43 S Bennett Avenue) (.1)        0.1 $          14.00 7237-43 S Bennett Avenue                                                                                                                  1

        July-21 Asset Disposition                             7/1/2021 JR           140       40506.04 exchange correspondence with buyer's counsel and lender regarding updates to closing documents            0.1 $          14.00 6217-27 S Dorchester Avenue                                                                                                               1
                                                                                                       in preparation for closing (6217-27 S Dorchester Avenue) (.1)
        July-21 Asset Disposition                             7/1/2021 JR           140       40506.05 further communication with title company requesting updates to buyer's title records (6217-27 S           0.2 $          28.00 6217-27 S Dorchester Avenue                                                                                                               1
                                                                                                       Dorchester Avenue) (.2).
        July-21 Business Operations                           7/1/2021 ED           390       41408.01 Update analysis of insurance adjustments relating to sold properties (7749-59 S Yates Boulevard,          0.2 $          78.00 8214-16 S Ingleside Avenue; 7450 S Luella Avenue; 7546-48 S Saginaw Avenue; 7600-10 S Kingston Avenue; 7656-58 S                          35
                                                                                                       6749-59 S Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue,                              Kingston Avenue; 7701-03 S Essex Avenue; 7749-59 S Yates Boulevard; 7760 S Coles Avenue; 11117-11119 S Longwood Drive;
                                                                                                       4520-26 S Drexel Boulevard, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles                                   1131-41 E 79th Place; 2736-44 W 64th Street; 7201-07 S Dorchester Avenue; 7300-04 S St Lawrence Avenue; 7442-54 S
                                                                                                       Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis                             Calumet Avenue; 4533-47 S Calumet Avenue; 5450-52 S Indiana Avenue; 3074 E Cheltenham Place; 431 E 42nd Place; 4315-19
                                                                                                       Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-                               S Michigan Avenue; 4520-26 S Drexel Boulevard; 6949-59 S Merrill Avenue; 7051 S Bennett Avenue; 7110 S Cornell Avenue;
                                                                                                       59 S Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street,                                    7201 S Constance Avenue; 5618-20 S Martin Luther King Drive; 6355-59 S Talman Avenue; 6356 S California Avenue; 6437-41 S
                                                                                                       5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S Talman Avenue, 7201 S                                  Kenwood Avenue; 6749-59 S Merrill Avenue; 7957-59 S Marquette Road; 8000-02 S Justine Street; 8107-09 S Ellis Avenue; 816-
                                                                                                       Constance Avenue, 7201-07 S Dorchester Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54                               22 E Marquette Road; 8201 S Kingston Avenue; 8209 S Ellis Avenue
                                                                                                       S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue,
                                                                                                       4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th
                                                                                                       Place) (.2)
        July-21 Business Operations                           7/1/2021 ED           390       41408.02 confer with J. Rak regarding follow-up to obtain missing data (7749-59 S Yates Boulevard, 6749-59 S       0.1 $          39.00 4315-19 S Michigan Avenue; 4520-26 S Drexel Boulevard; 4533-47 S Calumet Avenue; 5450-52 S Indiana Avenue; 5618-20 S                      35
                                                                                                       Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S                              Martin Luther King Drive; 6355-59 S Talman Avenue; 6356 S California Avenue; 6437-41 S Kenwood Avenue; 6749-59 S Merrill
                                                                                                       Drexel Boulevard, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-                               Avenue; 7450 S Luella Avenue; 7546-48 S Saginaw Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue; 7701-03 S
                                                                                                       02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-                           Essex Avenue; 7749-59 S Yates Boulevard; 7760 S Coles Avenue; 11117-11119 S Longwood Drive; 1131-41 E 79th Place; 2736-
                                                                                                       11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S                                         44 W 64th Street; 3074 E Cheltenham Place; 431 E 42nd Place; 7201 S Constance Avenue; 7201-07 S Dorchester Avenue; 7300-
                                                                                                       Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street, 5618-20                                 04 S St Lawrence Avenue; 7442-54 S Calumet Avenue; 7957-59 S Marquette Road; 8000-02 S Justine Street; 8107-09 S Ellis
                                                                                                       S Martin Luther King Drive, 6356 S California Avenue, 6355-59 S Talman Avenue, 7201 S Constance                                Avenue; 816-22 E Marquette Road; 8201 S Kingston Avenue; 8209 S Ellis Avenue; 8214-16 S Ingleside Avenue; 6949-59 S
                                                                                                       Avenue, 7201-07 S Dorchester Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet                               Merrill Avenue; 7051 S Bennett Avenue; 7110 S Cornell Avenue
                                                                                                       Avenue, 816-22 E Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S
                                                                                                       Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place) (.1).

        July-21 Claims Administration & Objections            7/1/2021 KBD          390       42301.01 Telephone conference with SEC (Group 1) (.1)                                                              0.1 $         39.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                     Muskegon Avenue
        July-21 Claims Administration & Objections            7/1/2021 KBD          390       42301.02 telephone conference and exchange correspondence with J. Wine regarding framing report and                0.2 $         78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                       proposed revisions (Group 1) (.2)                                                                                             Muskegon Avenue
        July-21 Claims Administration & Objections            7/1/2021 KBD          390       42301.03 attention to communication with claimant regarding claim (Group 1) (.1)                                   0.1 $         39.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                     Muskegon Avenue
        July-21 Claims Administration & Objections            7/1/2021 KBD          390       42301.04 attention to records platform invoice (Group 1) (.1).                                                     0.1 $         39.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                     Muskegon Avenue
        July-21 Claims Administration & Objections            7/1/2021 JRW          260       42303.01 Attention to claimant inquiries (all) (.2)                                                                0.2 $         52.00 all                                                                                                                                        80
        July-21 Claims Administration & Objections            7/1/2021 JRW          260       42303.02 exchange correspondence with counsel for claimants regarding commencement of claims process               0.1 $         26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                       (Group 1) (.1)                                                                                                                Muskegon Avenue
        July-21 Claims Administration & Objections            7/1/2021 JRW          260       42303.03 exchange correspondence with SEC (Group 1) (.1)                                                           0.1 $         26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                     Muskegon Avenue
        July-21 Claims Administration & Objections            7/1/2021 JRW          260       42303.04 revisions to framing report and standard discovery requests (Group 1) (.3)                                0.3 $         78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                     Muskegon Avenue
        July-21 Claims Administration & Objections            7/1/2021 JRW          260       42303.05 telephone conference with M. Rachlis regarding process for resolution of single claims properties         0.9 $        234.00 10012 S LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 1516 E 85th Place; 2129 W 71st Street; 2136 W 83rd                     28
                                                                                                       (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella                                Street; 3213 S Throop Street; 406 E 87th Place; 417 Oglesby Avenue; 6554 S Rhodes Avenue; 6749-59 S Merrill Avenue; 6759 S
                                                                                                       Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes                                Indiana Avenue; 6825 S Indiana Avenue; 7110 S Cornell Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7922 S Luella
                                                                                                       Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue,                           Avenue; 7925 S Kingston Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8107 S Kingston Avenue; 8346 S
                                                                                                       7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E                             Constance Avenue; 8403 S Aberdeen Street; 8432 S Essex Avenue; 8517 S Vernon Avenue; 8529 S Rhodes Avenue; 9212 S
                                                                                                       87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street,                            Parnell Avenue; 9610 S Woodlawn Avenue
                                                                                                       8107 S Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn
                                                                                                       Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue) (.9)
        July-21 Claims Administration & Objections            7/1/2021 JRW          260       42303.06 exchange correspondence with database vendor regarding revised instructions for database                  0.4 $        104.00 all                                                                                                                                        80
                                                                                                       searching and log in credentials for team members (all) (.4)
        July-21 Claims Administration & Objections            7/1/2021 AW           140       42304.01 Work on responses and respond to claimants' emails regarding EquityBuild Document database (all)          0.5 $          70.00 all                                                                                                                                       80
                                                                                                       (.5)
        July-21 Claims Administration & Objections            7/1/2021 AW           140       42304.02 share claim documentation regarding property and mortgagees identified by A. Porter (1102                 0.9 $        126.00 1102 Bingham (Houston, TX)                                                                                                                 1
                                                                                                       Bingham) (.9)
        July-21 Claims Administration & Objections            7/1/2021 AW           140       42304.03 conference with A. Porter, J. Rak, S. Zjalic, and N. Gastevich regarding claims review (Group 1) (.8)     0.8 $        112.00 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S Muskegon Avenue; 3074 E                           5
                                                                                                                                                                                                                                     Cheltenham Place
        July-21 Claims Administration & Objections            7/1/2021 AW           140       42304.04 start upload of claims documents (Group 1) (.9)                                                           0.9 $        126.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                     Muskegon Avenue
        July-21   Claims Administration & Objections          7/1/2021   AW         140       42304.05     review database instructions and related correspondence with J. Wine (all) (.1).                      0.1   $       14.00 all                                                                                                                                        80
        July-21   Claims Administration & Objections          7/1/2021   MR         390       42305.01    Review notes and materials regarding (sole lien) properties (.3)                                       0.3   $      117.00 sole lien                                                                                                                                  28
        July-21   Claims Administration & Objections          7/1/2021   MR         390       42305.02     participate in call with J. Wine regarding issues on process for claims (sole lien) (.9).             0.9   $      351.00 sole lien                                                                                                                                  28
        July-21   Claims Administration & Objections          7/1/2021   JRW        260       46590.01     email exchange and telephone conference with claimants' counsel regarding process for resolution      1.3   $      338.00 2129 W 71st Street; 2136 W 83rd Street; 3213 S Throop Street; 406 E 87th Place; 417 Oglesby Avenue; 6554 S Rhodes Avenue;                  28
                                                                                                          of single claims properties, related preparation for same, and review of proposed pleading (1017 W                         6749-59 S Merrill Avenue; 6759 S Indiana Avenue; 6825 S Indiana Avenue; 7110 S Cornell Avenue; 7210 S Vernon Avenue;
                                                                                                          102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue,                             7712 S Euclid Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue;
                                                                                                          8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue,                             8107 S Kingston Avenue; 8346 S Constance Avenue; 8403 S Aberdeen Street; 8432 S Essex Avenue; 10012 S LaSalle Avenue;
                                                                                                          11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S                         1017 W 102nd Street; 11318 S Church Street; 8517 S Vernon Avenue; 8529 S Rhodes Avenue; 9212 S Parnell Avenue; 9610 S
                                                                                                          Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th                            Woodlawn Avenue; 1516 E 85th Place
                                                                                                          Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107
                                                                                                          S Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue,
                                                                                                          6759 S Indiana Avenue, 8517 S Vernon Avenue) (1.3)
        July-21 Claims Administration & Objections            7/1/2021 JRW          260       46590.02 exchange emails regarding vendor invoice and related correspondence to vendor (.2).                       0.2 $          52.00 all                                                                                                                                       80
        July-21 Asset Disposition                             7/2/2021 JR           140       40515.01 Review email from real estate broker requesting current property reports for property (6217-27 S          0.1 $          14.00 6217-27 S Dorchester Avenue                                                                                                                1
                                                                                                       Dorchester Avenue) (.1)
        July-21 Asset Disposition                             7/2/2021 JR           140       40515.02 further correspondence with the buyer and property management requesting property reports and             0.4 $          56.00 6217-27 S Dorchester Avenue                                                                                                               1
                                                                                                       other various updates in preparation for closing (6217-27 S Dorchester Avenue) (.4)

        July-21 Asset Disposition                             7/2/2021 JR           140       40515.03 update notices to tenants requested by buyer (6217-27 S Dorchester Avenue) (.5)                           0.5 $          70.00 6217-27 S Dorchester Avenue                                                                                                               1
        July-21 Asset Disposition                             7/2/2021 JR           140       40515.04 exchange correspondence with buyer's counsel requesting complaint and lien filed against property         0.2 $          28.00 6217-27 S Dorchester Avenue                                                                                                               1
                                                                                                       and produce same to buyer's counsel (6217-27 S Dorchester Avenue) (.2)


                                                                                                                                                                                     1 of 35
                                                                                                                             Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 167 of 200 PageID #:34103




EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                          Task Description                                              Task      Task Cost                                                     Property Allocations                                                    Property
                                                                         Keeper                                                                                                                                Hours                                                                                                                                           Allocation
                                                                                                                                                                                                                                                                                                                                                                 Count
        July-21 Asset Disposition                             7/2/2021 JR           140       40515.05 exchange correspondence with property management requesting additional property reports,                  1.2 $      168.00 6217-27 S Dorchester Avenue                                                                                                              1
                                                                                                       review ledgers and update certified rent roll for closing (6217-27 S Dorchester Avenue) (1.2)

        July-21 Asset Disposition                             7/2/2021 JR           140       40515.06 further communication with property management requesting security deposit information                    0.2 $        28.00 6217-27 S Dorchester Avenue                                                                                                             1
                                                                                                       regarding tenant (6217-27 S Dorchester Avenue) (.2).
        July-21 Claims Administration & Objections            7/2/2021 AW           140       42313.01 Finish uploading and correspond with J. Rak regarding claims documentation (Group 1).                     0.3 $        42.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                       5
                                                                                                                                                                                                                                    Muskegon Avenue
        July-21 Asset Disposition                             7/3/2021 AEP          390       40525.01 Review most recent draft of survey, make revisions thereto, request final draft, edit and revise          0.2 $        78.00 6217-27 S Dorchester Avenue                                                                                                             1
                                                                                                       seller's figures and transmit same to closing agent, and review and send pleadings associated with
                                                                                                       pending administrative action in connection with conveyance of receivership property (6217-27 S
                                                                                                       Dorchester Avenue) (.2)
        July-21 Asset Disposition                             7/3/2021 AEP          390       40525.02 continue reviewing proofs of claim and EquityBuild e-mails and other documents to ascertain status        1.8 $      702.00 1102 Bingham (Houston, TX)                                                                                                               1
                                                                                                       of mortgage interest of each original investor-lender in receivership property (1102 Bingham) (1.8)

        July-21 Business Operations                           7/3/2021 AEP          390       41425.01 Review most recent pleadings and notices filed in administrative actions against former receivership      0.4 $      156.00 2736-44 W 64th Street; 4520-26 S Drexel Boulevard; 4750-52 S Indiana Avenue; 6250 S Mozart Street; 6554-58 S Vernon                      7
                                                                                                       properties and update tracking list accordingly (6949-59 S Merrill Avenue, 7656-58 S Kingston                               Avenue; 6949-59 S Merrill Avenue; 7656-58 S Kingston Avenue
                                                                                                       Avenue, 4750-52 S Indiana Avenue, 6250 S Mozart Street, 6554-58 S Vernon Avenue, 4520-26 S Drexel
                                                                                                       Boulevard, 2736-44 W 64th Street).
        July-21 Asset Disposition                             7/4/2021 AEP          390       40534.01 Review proofs of claim submitted by each original investor-lender associated with receivership            4.1 $     1,599.00 1102 Bingham (Houston, TX)                                                                                                              1
                                                                                                       property and reconcile same with EquityBuild e-mails and documents to ascertain status of mortgage
                                                                                                       interest in property (1102 Bingham).
        July-21 Claims Administration & Objections            7/4/2021 KBD          390       42328.01 Exchange correspondence with J. Wine regarding single claim process (sole lien).                          0.1 $       39.00 sole lien                                                                                                                                28
        July-21 Asset Disposition                             7/5/2021 AEP          390       40543.01 Finalize draft motion to confirm sale of receivership property by including information obtained from     1.8 $      702.00 1102 Bingham (Houston, TX)                                                                                                                1
                                                                                                       local broker and prepare detailed e-mail to title underwriter summarizing findings from proofs of
                                                                                                       claim and internal EquityBuild e-mails and other records in effort to obtain title insurance (1102
                                                                                                       Bingham).
        July-21 Claims Administration & Objections            7/5/2021 KBD          390       42337.01 Telephone conference with A. Porter regarding analysis of claims against property (1102 Bingham).         0.2 $        78.00 1102 Bingham (Houston, TX)                                                                                                              1

        July-21 Asset Disposition                             7/6/2021 KBD          390       40546.01 Study and revise motion to approve property sale (1102 Bingham).                                          0.2 $        78.00 1102 Bingham (Houston, TX)                                                                                                              1
        July-21 Asset Disposition                             7/6/2021 KMP          140       40547.01 Review online bank records to confirm receipt of proceeds from property sale and related                  0.2 $        28.00 6217-27 S Dorchester Avenue                                                                                                             1
                                                                                                       communications with K. Duff and J. Rak (6217-27 S Dorchester Avenue).
        July-21 Asset Disposition                             7/6/2021 JR           140       40551.01 Exchange communication with property management requesting property reports in anticipation for           0.2 $        28.00 6217-27 S Dorchester Avenue                                                                                                             1
                                                                                                       closing (6217-27 S Dorchester Avenue) (.2)
        July-21 Asset Disposition                             7/6/2021 JR           140       40551.02 review reports, and update closing documents in preparation for closing (6217-27 S Dorchester             2.1 $      294.00 6217-27 S Dorchester Avenue                                                                                                              1
                                                                                                       Avenue) (2.1)
        July-21 Asset Disposition                             7/6/2021 JR           140       40551.03 review emails from closer requesting final water statements for closing (6217-27 S Dorchester             0.1 $        14.00 6217-27 S Dorchester Avenue                                                                                                             1
                                                                                                       Avenue) (.1)
        July-21 Asset Disposition                             7/6/2021 JR           140       40551.04 review water statements and update records (6217-27 S Dorchester Avenue) (.4)                             0.4 $        56.00 6217-27 S Dorchester Avenue                                                                                                             1
        July-21 Asset Disposition                             7/6/2021 JR           140       40551.05 further correspondence with the property manager and closer regarding water statements and                0.2 $        28.00 6217-27 S Dorchester Avenue                                                                                                             1
                                                                                                       posting title indemnity for water related to closing (6217-27 S Dorchester Avenue) (.2)
        July-21 Asset Disposition                             7/6/2021 JR           140       40551.06 exchange correspondence with real estate broker requesting lien waiver for closing (6217-27 S             0.1 $        14.00 6217-27 S Dorchester Avenue                                                                                                             1
                                                                                                       Dorchester Avenue) (.1)
        July-21 Asset Disposition                             7/6/2021 JR           140       40551.07 attend closing (6217-27 S Dorchester Avenue) (3.5)                                                        3.5 $      490.00 6217-27 S Dorchester Avenue                                                                                                              1
        July-21 Asset Disposition                             7/6/2021 JR           140       40551.08 exchange correspondence with K. Pritchard, K. Duff, real estate broker, accounting firm and property      0.2 $       28.00 6217-27 S Dorchester Avenue                                                                                                              1
                                                                                                       management advising of closed property (6217-27 S Dorchester Avenue) (.2).
        July-21 Asset Disposition                             7/6/2021 AEP          390       40552.01 Review settlement statement and communicate with title company regarding title indemnity, survey,         0.3 $      117.00 6217-27 S Dorchester Avenue                                                                                                              1
                                                                                                       and other closing related issues in connection with conveyance of receivership property (6217-27 S
                                                                                                       Dorchester Avenue) (.3)
        July-21 Asset Disposition                             7/6/2021 AEP          390       40552.02 communications with title underwriter regarding approval of proposed motion papers associated             0.3 $      117.00 1102 Bingham (Houston, TX)                                                                                                               1
                                                                                                       with conveyance of receivership property and transmit presumptively final drafts to K. Duff and M.
                                                                                                       Rachlis for final review and approval (1102 Bingham) (.3).
        July-21 Business Operations                           7/6/2021 KBD          390       41446.01 Study information and communication from property manager regarding property expenses and                 0.2 $        78.00 638-40 N Avers Avenue                                                                                                                   1
                                                                                                       exchange related correspondence with K. Pritchard (638-40 N Avers Avenue).
        July-21 Business Operations                           7/6/2021 KMP          140       41447.01 Communications with J. Wine, A. Porter, and A. Watychowicz regarding materials relating to                0.2 $        28.00 1422-24 East 68th Street; 6250 S Mozart Street                                                                                          2
                                                                                                       administrative hearings (6250 S. Mozart Avenue, 1422-24 E 68th Street) (.2)
        July-21 Business Operations                           7/6/2021 KMP          140       41447.02 review property manager's request and spreadsheet detailing funds relating to property expenses           0.2 $        28.00 638-40 N Avers Avenue                                                                                                                   1
                                                                                                       and related communications with K. Duff (638-40 N Avers Avenue) (.2).
        July-21 Business Operations                           7/6/2021 JRW          260       41448.01 Review new notice of violation and related correspondence with K. Duff and A. Porter (1422-24 East        0.3 $        78.00 1422-24 East 68th Street                                                                                                                1
                                                                                                       68th Street) (.3)
        July-21 Business Operations                           7/6/2021 JRW          260       41448.02 review new notices of code violations, related correspondence to K. Duff and A. Porter and update         0.3 $        78.00 7024-32 S Paxton Avenue; 1414-18 East 62nd Place                                                                                        2
                                                                                                       records (7024-32 S Paxton Avenue, 1414-18 East 62nd Place) (.3)
        July-21 Business Operations                           7/6/2021 JRW          260       41448.03 correspondence to city attorney regarding pending administrative matter (7957-59 S Marquette              0.1 $        26.00 7957-59 S Marquette Road                                                                                                                1
                                                                                                       Road) (.1)
        July-21 Business Operations                           7/6/2021 JRW          260       41448.04 investigation and response to A. Porter inquiry regarding administrative matters (7957-59 S               0.4 $      104.00 4750-52 S Indiana Avenue; 7024-32 S Paxton Avenue; 7051 S Bennett Avenue; 7210 S Vernon Avenue; 7957-59 S Marquette                      5
                                                                                                       Marquette Road, 4750- 52 S Indiana Avenue, 7024-32 S Paxton Avenue, 7051 S Bennett Avenue, 7210                             Road
                                                                                                       S Vernon Avenue) (.4).
        July-21 Business Operations                           7/6/2021 AW           140       41449.01 Attention to notices from the city and related communication with J. Wine (7110 S Cornell Avenue,         0.2 $        28.00 1414-18 East 62nd Place; 4520-26 S Drexel Boulevard; 7024-32 S Paxton Avenue; 7110 S Cornell Avenue                                     4
                                                                                                       7024-32 S Paxton Avenue, 4520-26 S Drexel Boulevard, 1414-18 East 62nd Place).
        July-21 Business Operations                           7/6/2021 AEP          390       41452.01 Review most recent administrative pleadings relating to receivership properties, update spreadsheet,      0.2 $        78.00 1422-24 East 68th Street; 6250 S Mozart Street                                                                                          2
                                                                                                       and respond to J. Wine regarding suggested handling of same (6250 S Mozart Street, 1422-24 East
                                                                                                       68th Street) (.2)
        July-21 Business Operations                           7/6/2021 AEP          390       41452.02 review administrative and housing court proceedings relating to all other currently pending matters       0.7 $      273.00 1422-24 East 68th Street; 4750-52 S Indiana Avenue; 6217-27 S Dorchester Avenue; 638-40 N Avers Avenue; 6949-59 S Merrill                11
                                                                                                       on receivership properties and prepare e-mail to J. Wine seeking confirmation of status of each                             Avenue; 7024-32 S Paxton Avenue; 7051 S Bennett Avenue; 7109-19 S Calumet Avenue; 7210 S Vernon Avenue; 7237-43 S
                                                                                                       proceeding (638-40 N Avers Avenue, 1422-24 East 68th Street, 4750-52 S Indiana Avenue, 6217-27 S                            Bennett Avenue; 7957-59 S Marquette Road
                                                                                                       Dorchester Avenue, 6949-59 S Merrill Avenue, 7024-32 S Paxton Avenue, 7051 S Bennett Avenue,
                                                                                                       7109-19 S Calumet Avenue, 7210 S Vernon Avenue, 7237-43 S Bennett Avenue, 7957-59 S Marquette
                                                                                                       Avenue) ( 7)




                                                                                                                                                                                   2 of 35
                                                                                                                             Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 168 of 200 PageID #:34104




EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                           Task Description                                            Task      Task Cost                                                    Property Allocations                                                      Property
                                                                         Keeper                                                                                                                               Hours                                                                                                                                            Allocation
                                                                                                                                                                                                                                                                                                                                                                 Count
        July-21 Business Operations                           7/6/2021 SZ           110       41454.01 Cross-referenced property manager's expense ledger against invoices for duplicate transactions           1.6 $      176.00 7957-59 S Marquette Road; 8000-02 S Justine Street; 8107-09 S Ellis Avenue; 6250 S Mozart Street; 6355-59 S Talman Avenue;                39
                                                                                                       (6160-6212 S Martin Luther King Drive, 7927-29 S Essex Avenue, 7933-35 S Essex Avenue, 7937-39 S                           6356 S California Avenue; 638-40 N Avers Avenue; 6554-58 S Vernon Avenue; 6749-59 S Merrill Avenue; 1401 W 109th Place;
                                                                                                       Essex Avenue, 7943- 45 S Essex Avenue, 7947-49 S Essex Avenue, 5955 S Sacramento Avenue, 6001-                             1700-08 W Juneway Terrace; 2736-44 W 64th Street; 2909-19 E 78th Street; 8209 S Ellis Avenue; 8214-16 S Ingleside Avenue;
                                                                                                       05 S Sacramento Avenue, 7026-42 S Cornell Avenue, 2909-19 E 78th Street, 7748-52 S Essex Avenue,                           8326-58 S Ellis Avenue; 11117-11119 S Longwood Drive; 7237-43 S Bennett Avenue; 7255-57 S Euclid Avenue; 9610 S
                                                                                                       701-13 S 5th Avenue, 6749-59 S Merrill Avenue, 7546-48 S Saginaw Avenue, 8326-32 S Ellis Avenue,                           Woodlawn Avenue; 6807 S Indiana Avenue; 701-13 S 5th Avenue; 7026-42 S Cornell Avenue; 7109-19 S Calumet Avenue; 7748-
                                                                                                       8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 7760 S Coles Avenue, 8000-02                       52 S Essex Avenue; 7760 S Coles Avenue; 7927-49 S Essex Avenue; 7201 S Constance Avenue; 7201-07 S Dorchester Avenue;
                                                                                                       S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-                          310 E 50th Street; 4315-19 S Michigan Avenue; 5618-20 S Martin Luther King Drive; 5955 S Sacramento Avenue; 6001-05 S
                                                                                                       11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7957-59 S Marquette Road, 2736-44 W 64th                             Sacramento Avenue ; 6160-6212 S Martin Luther King Drive; 7300-04 S St Lawrence Avenue; 7546-48 S Saginaw Avenue; 7600-
                                                                                                       Street, 6355-59 S Talman Avenue, 6356 S California Avenue, 5618-20 S Martin Luther King Drive, 7201                        10 S Kingston Avenue; 7656-58 S Kingston Avenue
                                                                                                       S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester
                                                                                                       Avenue, 4315- 19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 6250 S
                                                                                                       Mozart Street, 7109-19 S Calumet Avenue, 9610 S Woodlawn Avenue, 1401 W 109th Place, 310 E
                                                                                                       50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 638-40 N Avers Avenue, 7255-57 S
                                                                                                       Euclid Avenue).
        July-21 Claims Administration & Objections            7/6/2021 KBD          390       42346.01 Telephone conference and exchange correspondence with J. Wine regarding framing report and               0.5 $      195.00 all                                                                                                                                       80
                                                                                                       review and revise draft framing report (all) (.5)
        July-21 Claims Administration & Objections            7/6/2021 KBD          390       42346.02 study standard discovery and related exchange of correspondence with J. Wine. M. Rachlis, and A.         0.3 $      117.00 all                                                                                                                                       80
                                                                                                       Watychowicz (all) (.3)
        July-21 Claims Administration & Objections            7/6/2021 KBD          390       42346.03 study correspondence from J. Wine regarding single claim process (sole lien) (.2).                       0.2 $       78.00 sole lien                                                                                                                                 28
        July-21 Claims Administration & Objections            7/6/2021 KMP          140       42347.01 Revise, finalize and file Framing Report 1 and related communications with J. Wine and A.                0.5 $       70.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                       Watychowicz (Group 1).                                                                                                     Muskegon Avenue
        July-21 Claims Administration & Objections            7/6/2021 JRW          260       42348.01 Summarize conference call with claimant's counsel regarding claims resolution process and related        0.4 $      104.00 10012 S LaSalle Avenue; 1017 W 102nd Street; 8517 S Vernon Avenue; 8529 S Rhodes Avenue; 9212 S Parnell Avenue; 9610 S                    28
                                                                                                       review of draft declaratory action (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417                        Woodlawn Avenue; 1516 E 85th Place; 2129 W 71st Street; 2136 W 83rd Street; 3213 S Throop Street; 406 E 87th Place; 417
                                                                                                       Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S                              Oglesby Avenue; 6554 S Rhodes Avenue; 6749-59 S Merrill Avenue; 6759 S Indiana Avenue; 6825 S Indiana Avenue; 7110 S
                                                                                                       Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S                                Cornell Avenue; 11318 S Church Street; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7922 S Luella Avenue; 7925 S Kingston
                                                                                                       Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S                               Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8107 S Kingston Avenue; 8346 S Constance Avenue; 8403 S
                                                                                                       Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid                                Aberdeen Street; 8432 S Essex Avenue
                                                                                                       Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance
                                                                                                       Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                                                                       A en e) ( 4)
        July-21 Claims Administration & Objections            7/6/2021 JRW          260       42348.02 work with A. Watychowicz on finalizing standard discovery requests to investors (all) (.4)               0.4 $      104.00 all                                                                                                                                       80
        July-21 Claims Administration & Objections            7/6/2021 JRW          260       42348.03 revisions to standard discovery to institutional lenders (all) (.2)                                      0.2 $       52.00 all                                                                                                                                       80
        July-21 Claims Administration & Objections            7/6/2021 JRW          260       42348.04 correspondence with court clerk regarding entry of proposed order setting claims process schedule        0.1 $       26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                       (Group 1) (.1)                                                                                                             Muskegon Avenue
        July-21 Claims Administration & Objections            7/6/2021 JRW          260       42348.05 revise framing report for Group 1 to add summary of process (Group 1) (1.2)                              1.2 $      312.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                  Muskegon Avenue
        July-21 Claims Administration & Objections            7/6/2021 JRW          260       42348.06 correspondence with K. Duff, A. Watychowicz and SEC (Group 1) (.3)                                       0.3 $       78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                  Muskegon Avenue
        July-21 Claims Administration & Objections            7/6/2021 JRW          260       42348.07 confer with A. Watychowicz regarding setting up new email address and related service issues             0.2 $       52.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       (Group 1) (.2).                                                                                                            Muskegon Avenue
        July-21 Claims Administration & Objections            7/6/2021 AW           140       42349.01 Attention to acknowledgment received from claimant's counsel and update list for vendor (.1)             0.1 $       14.00 all                                                                                                                                       80

        July-21 Claims Administration & Objections            7/6/2021 AW           140       42349.02 work with K. Duff, M. Rachlis, and J. Wine on framing report (Group 1) (.9)                              0.9 $      126.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                  Muskegon Avenue
        July-21 Claims Administration & Objections            7/6/2021 AW           140       42349.03 communicate with J. Wine regarding email to claimants from Group 1 and serve framing report              0.2 $       28.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       (Group 1) (.2)                                                                                                             Muskegon Avenue
        July-21 Claims Administration & Objections            7/6/2021 AW           140       42349.04 attention to communications and claims filed by mortgagees and related email exchange with A.            0.7 $       98.00 1102 Bingham (Houston, TX)                                                                                                                1
                                                                                                       Porter (1102 Bingham) (.7)
        July-21 Claims Administration & Objections            7/6/2021 AW           140       42349.05 revisions to standard discovery requests, related communication with J. Wine and set up of group         0.4 $       56.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       email (Group 1) (.4).                                                                                                      Muskegon Avenue
        July-21 Claims Administration & Objections            7/6/2021 MR           390       42350.01 Attention to framing report on claims and related follow up (Group 1) (.4)                               0.4 $      156.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                  Muskegon Avenue
        July-21 Claims Administration & Objections            7/6/2021 MR           390       42350.02 attention to draft standard discovery and related communications (all) (.3).                             0.3 $      117.00 all                                                                                                                                       80
        July-21 Asset Disposition                             7/7/2021 JRW          260       40557.01 Review and comment on motion to confirm sale (1102 Bingham).                                             0.2 $       52.00 1102 Bingham (Houston, TX)                                                                                                                 1
        July-21 Business Operations                           7/7/2021 KBD          390       41455.01 Attention to property management agreement and exchange correspondence regarding agreement               0.3 $      117.00 7109-19 S Calumet Avenue                                                                                                                   1
                                                                                                       and insurance issue (7109-19 S Calumet Avenue).
        July-21 Business Operations                           7/7/2021 KMP          140       41456.01 Communicate with K. Duff, E. Duff and insurance broker regarding comparison of insurance                 0.3 $        42.00 7109-19 S Calumet Avenue                                                                                                                 1
                                                                                                       obligations set forth in property management agreement to insurance policy language (7109-19 S.
                                                                                                       Calumet Avenue) (.3)
        July-21 Business Operations                           7/7/2021 KMP          140       41456.02 communicate with E. Duff regarding comparison of loan agreement to property management                   0.3 $        42.00 7109-19 S Calumet Avenue                                                                                                                 1
                                                                                                       agreement relating to property management and insurance provisions (7109-19 S Calumet Avenue)
                                                                                                       (.3).
        July-21 Claims Administration & Objections            7/7/2021 KBD          390       42355.01 Exchange correspondence with A. Watychowicz regarding steps to address bounced service emails            0.1 $        39.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                        5
                                                                                                       and communications with claimants (Group 1) (.1)                                                                            Muskegon Avenue
        July-21 Claims Administration & Objections            7/7/2021 KBD          390       42355.02 exchange correspondence with counsel regarding claimant's claim and request for information, and         0.2 $        78.00 all                                                                                                                                      80
                                                                                                       exchange related correspondence with J. Wine (all) (.2)
        July-21 Claims Administration & Objections            7/7/2021 KBD          390       42355.03 study revised standard discovery requests (all) (.2).                                                    0.2 $       78.00 all                                                                                                                                       80
        July-21 Claims Administration & Objections            7/7/2021 KMP          140       42356.01 Review and confirm dates set forth in proposed order relating to framing report and related              0.3 $       42.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                       exchange of email with A. Watychowicz (Group 1).                                                                           Muskegon Avenue
        July-21 Claims Administration & Objections            7/7/2021 JRW          260       42357.01 Work with A. Watychowicz on issues related to service of framing report, service list, and email         0.7 $      182.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       distribution list (Group 1) (.7)                                                                                           Muskegon Avenue
        July-21 Claims Administration & Objections            7/7/2021 JRW          260       42357.02 continued revision of standard discovery requests and related correspondence with claimants'             0.9 $      234.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       counsel and SEC (Group 1) (.9)                                                                                             Muskegon Avenue
        July-21 Claims Administration & Objections            7/7/2021 JRW          260       42357.03 attention to inquiry from claimants' counsel (all) (.1)                                                  0.1 $       26.00 all                                                                                                                                       80
        July-21 Claims Administration & Objections            7/7/2021 JRW          260       42357.04 correspondence to court clerk regarding proposed order (Group 1) (.1)                                    0.1 $       26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                  Muskegon Avenue
        July-21 Claims Administration & Objections            7/7/2021 JRW          260       42357.05 review court's order approving Group 1, work with A. Watychowicz on finalizing proposed order            0.6 $      156.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       setting schedule and related correspondence to clerk's court submitting same (Group 1) (.6)                                Muskegon Avenue

        July-21 Claims Administration & Objections            7/7/2021 AW           140       42358.01 Work on tracking down secondary email for emails that bounced during service of framing report           1.1 $      154.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       (Group 1) (1.1)                                                                                                            Muskegon Avenue
        July-21 Claims Administration & Objections            7/7/2021 AW           140       42358.02 communicate with K. Duff and J. Wine regarding framing report with revised exhibit, follow up email      0.5 $       70.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       to claimants regarding framing report, and sent out same (Group 1) (.5)                                                    Muskegon Avenue
        July-21 Claims Administration & Objections            7/7/2021 AW           140       42358.03 revisions and email exchanges regarding email to claimants regarding discovery requests (Group 1)        1.2 $      168.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       (1.2)                                                                                                                      Muskegon Avenue
        July-21 Claims Administration & Objections            7/7/2021 AW           140       42358.04 call with J. Wine regarding EB Group 1 Service group issues (Group 1) (.1)                               0.1 $       14.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                  Muskegon Avenue
        July-21 Claims Administration & Objections            7/7/2021 AW           140       42358.05 email and call with IT vendor regarding Google group creation (Group 1) (.2)                             0.2 $       28.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                  Muskegon Avenue



                                                                                                                                                                                      3 of 35
                                                                                                                             Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 169 of 200 PageID #:34105




EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                           Task Description                                            Task      Task Cost                                                      Property Allocations                                                     Property
                                                                         Keeper                                                                                                                               Hours                                                                                                                                             Allocation
                                                                                                                                                                                                                                                                                                                                                                  Count
        July-21 Claims Administration & Objections            7/7/2021 AW           140       42358.06 attention to entered order approving Group 1 and work on proposed schedule of proceedings for            0.4 $        56.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       entry by Judge Lee (Group 1) (.4).                                                                                          Muskegon Avenue
        July-21 Claims Administration & Objections            7/7/2021 MR           390       42359.01 Exchanges on standard discovery and communications regarding framing report and attention to             0.2 $        78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       order entered for claims (Group 1).                                                                                         Muskegon Avenue
        July-21 Asset Disposition                             7/8/2021 JR           140       40569.01 Review email from K. Duff relating to closed property update and further communicate regarding           0.2 $        28.00 4520-26 S Drexel Boulevard; 1131-41 E 79th Place; 11318 S Church Street; 5955 S Sacramento Avenue; 2136 W 83rd Street;                106
                                                                                                       closed properties status (see D) (.2)                                                                                       2736-44 W 64th Street; 4750-52 S Indiana Avenue; 5001 S Drexel Boulevard; 1050 8th Avenue N (Naples, FL); 11117-11119 S
                                                                                                                                                                                                                                   Longwood Drive; 7712 S Euclid Avenue; 7748-52 S Essex Avenue; 7210 S Vernon Avenue; 7237-43 S Bennett Avenue; 8432 S
                                                                                                                                                                                                                                   Essex Avenue; 8517 S Vernon Avenue; 3030-32 E 79th Street; 3074 E Cheltenham Place; 6554 S Rhodes Avenue; 6554-58 S
                                                                                                                                                                                                                                   Vernon Avenue; 4315-19 S Michigan Avenue; 7933 S Kingston Avenue; 7953 S Woodlawn Avenue; 6807 S Indiana Avenue;
                                                                                                                                                                                                                                   6825 S Indiana Avenue; 5437 S Laflin Street; 5450-52 S Indiana Avenue; 6356 S California Avenue; 6437-41 S Kenwood
                                                                                                                                                                                                                                   Avenue; 7840-42 S Yates Avenue; 7922 S Luella Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7051 S
                                                                                                                                                                                                                                   Bennett Avenue; 7110 S Cornell Avenue; 6001-05 S Sacramento Avenue ; 61 E 92nd Street; 310 E 50th Street; 3213 S Throop
                                                                                                                                                                                                                                   Street; 7255-57 S Euclid Avenue; 7300-04 S St Lawrence Avenue; 8326-58 S Ellis Avenue; 8346 S Constance Avenue; 7925 S
                                                                                                                                                                                                                                   Kingston Avenue; 7927-49 S Essex Avenue; 8209 S Ellis Avenue; 8214-16 S Ingleside Avenue; 8100 S Essex Avenue; 8104 S
                                                                                                                                                                                                                                   Kingston Avenue; 9212 S Parnell Avenue; 9610 S Woodlawn Avenue; 7549-59 S Essex Avenue; 7600-10 S Kingston Avenue;
                                                                                                                                                                                                                                   7024-32 S Paxton Avenue; 7026-42 S Cornell Avenue; 7301-09 S Stewart Avenue; 7442-54 S Calumet Avenue; 8529 S Rhodes
                                                                                                                                                                                                                                   Avenue; 8800 S Ada Street; 8030 S Marquette Avenue; 8047-55 S Manistee Avenue; 7508 S Essex Avenue; 7546-48 S Saginaw
                                                                                                                                                                                                                                   Avenue; 6949-59 S Merrill Avenue; 701-13 S 5th Avenue; 5618-20 S Martin Luther King Drive; 8107 S Kingston Avenue; 8107-
                                                                                                                                                                                                                                   09 S Ellis Avenue; 7749-59 S Yates Boulevard; 7750-58 S Muskegon Avenue; 7656-58 S Kingston Avenue; 7701-03 S Essex
                                                                                                                                                                                                                                   Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 7957-59 S Marquette Road; 8000-02 S Justine Street; 816-22 E
                                                                                                                                                                                                                                   Marquette Road; 8201 S Kingston Avenue; 7201 S Constance Avenue; 7201-07 S Dorchester Avenue; 7450 S Luella Avenue;
                                                                                                                                                                                                                                   7500-06 S Eggleston Avenue; 3723 W 68th Place; 406 E 87th Place; 6250 S Mozart Street; 6355-59 S Talman Avenue; 417
                                                                                                                                                                                                                                   Oglesby Avenue; 431 E 42nd Place; 1422-24 East 68th Street; 1516 E 85th Place; 6160-6212 S Martin Luther King Drive; 6217-
                                                                                                                                                                                                                                   27 S Dorchester Avenue; 6749-59 S Merrill Avenue; 6759 S Indiana Avenue; 1700-08 W Juneway Terrace; 2129 W 71st Street;
                                                                                                                                                                                                                                   2800-06 E 81st Street; 2909-19 E 78th Street; 4533-47 S Calumet Avenue; 4611-17 S Drexel Boulevard; 1401 W 109th Place;
                                                                                                                                                                                                                                   1414-18 East 62nd Place; 10012 S LaSalle Avenue; 1017 W 102nd Street; 7760 S Coles Avenue; 7834-44 S Ellis Avenue
        July-21 Asset Disposition                             7/8/2021 JR           140       40569.02 review email from property management requesting buyer information for closed properties and             0.1 $        14.00 7237-43 S Bennett Avenue; 7255-57 S Euclid Avenue                                                                                         2
                                                                                                       provide same (7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue) (.1).
        July-21 Business Operations                           7/8/2021 KBD          390       41464.01 Exchange correspondence with property manager regarding property management agreement (7109-             0.2 $        78.00 7109-19 S Calumet Avenue                                                                                                                  1
                                                                                                       19 S Calumet Avenue).
        July-21 Claims Administration & Objections            7/8/2021 KBD          390       42364.01 Study and revise correspondence to claimants regarding deadlines and standard discovery, and             0.2 $       78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                       review additional related correspondence (Group 1).                                                                        Muskegon Avenue
        July-21 Claims Administration & Objections            7/8/2021 JRW          260       42366.01 Work with A. Watychowicz on testing of email distribution list for Group 1 claimants and related           1 $      260.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                       communications with IT vendor (Group 1) (1.0)                                                                              Muskegon Avenue
        July-21 Claims Administration & Objections            7/8/2021 JRW          260       42366.02 exchange correspondence with claimants' counsel and SEC regarding standard discovery requests            0.1 $       26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                       (Group 1) (.1)                                                                                                             Muskegon Avenue
        July-21 Claims Administration & Objections            7/8/2021 JRW          260       42366.03 work with A. Watychowicz on cover letter to claimants regarding service of discovery (Group 1) (.3)      0.3 $       78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                  Muskegon Avenue
        July-21 Claims Administration & Objections            7/8/2021 JRW          260       42366.04 confer with database vendor and search EquityBuild document database (all) (.4).                         0.4 $      104.00 all                                                                                                                                        80
        July-21 Claims Administration & Objections            7/8/2021 AW           140       42367.01 Research, set up, and testing of email group for service and receipt of standard discovery responses     3.7 $      518.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                       (Group 1) (3.7)                                                                                                            Muskegon Avenue
        July-21 Claims Administration & Objections            7/8/2021 AW           140       42367.02 calls with J. Wine regarding EB Group 1 Service group issues and research results (Group 1) (.3)         0.3 $       42.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                  Muskegon Avenue
        July-21 Claims Administration & Objections            7/8/2021 AW           140       42367.03 lengthy calls with IT vendor regarding setup of EB Group 1 Service group (Group 1) (.8)                  0.8 $      112.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                  Muskegon Avenue
        July-21 Claims Administration & Objections            7/8/2021 AW           140       42367.04 draft email to claimants regarding EB Group 1 Service and discovery requests and multiple related        0.9 $      126.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                       email exchanges and revisions (Group 1) (.9)                                                                               Muskegon Avenue
        July-21 Claims Administration & Objections            7/8/2021 AW           140       42367.05 attention to email and respond J. Rak regarding claimant (3074 E Cheltenham Place) (.1).                 0.1 $       14.00 3074 E Cheltenham Place                                                                                                                    1
        July-21 Asset Disposition                             7/9/2021 JRW          260       40575.01 Email to court clerk regarding status of pending motion to confirm sale and related correspondence       0.3 $       78.00 638-40 N Avers Avenue                                                                                                                      1
                                                                                                       regarding renewal of security services (638-40 N Avers Avenue).
        July-21 Asset Disposition                             7/9/2021 JR           140       40578.01 Review email from buyer for single family homes requesting clarification on tenant rent payments for     0.3 $        42.00 10012 S LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 1401 W 109th Place; 1414-18 East 62nd Place; 1516 E                   37
                                                                                                       previously sold property and review records (single family) (.3)                                                            85th Place; 2129 W 71st Street; 2136 W 83rd Street; 310 E 50th Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th
                                                                                                                                                                                                                                   Place; 417 Oglesby Avenue; 5437 S Laflin Street; 61 E 92nd Street; 6554 S Rhodes Avenue; 6759 S Indiana Avenue; 6807 S
                                                                                                                                                                                                                                   Indiana Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7922 S Luella Avenue; 7925 S Kingston
                                                                                                                                                                                                                                   Avenue; 7933 S Kingston Avenue; 7953 S Woodlawn Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8107 S
                                                                                                                                                                                                                                   Kingston Avenue; 8346 S Constance Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 8432 S Essex Avenue; 8517 S
                                                                                                                                                                                                                                   Vernon Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 9610 S Woodlawn Avenue
        July-21 Asset Disposition                             7/9/2021 JR           140       40578.02 further communication with buyer regarding tenant rent status (9212 S Parnell Avenue) (.1).              0.1 $        14.00 9212 S Parnell Avenue                                                                                                                     1
        July-21 Business Operations                           7/9/2021 KBD          390       41473.01 Attention to expense for property security, exchange related correspondence with K. Pritchard and J.     0.2 $        78.00 638-40 N Avers Avenue                                                                                                                     1
                                                                                                       Wine, and telephone conference with bank representative for funds transfer (638-40 N Avers
                                                                                                       Avenue) (.2)
        July-21 Business Operations                           7/9/2021 KBD          390       41473.02 exchange correspondence with property manager regarding property management agreement (7109-             0.2 $        78.00 7109-19 S Calumet Avenue                                                                                                                  1
                                                                                                       19 S Calumet Avenue) (.2)
        July-21 Business Operations                           7/9/2021 KBD          390       41473.03 attention to property manager property fund request (1401 W 109th Place) (.1)                            0.1 $        39.00 1401 W 109th Place                                                                                                                        1
        July-21 Business Operations                           7/9/2021 KBD          390       41473.04 attention to insurance representative request for property access and exchange related                   0.1 $        39.00 7237-43 S Bennett Avenue                                                                                                                  1
                                                                                                       correspondence with J. Rak (7237-43 S Bennett Avenue) (.1)
        July-21 Business Operations                           7/9/2021 KBD          390       41473.05 exchange correspondence with K. Pritchard regarding deposits for property accounts (4750-52 S            0.1 $        39.00 4750-52 S Indiana Avenue; 6001-05 S Sacramento Avenue                                                                                     2
                                                                                                       Indiana Avenue, 6001-05 S Sacramento Avenue) (.1).
        July-21 Business Operations                           7/9/2021 KMP          140       41474.01 Prepare form for funds transfer to property manager for property expenses and related                    0.4 $        56.00 638-40 N Avers Avenue                                                                                                                     1
                                                                                                       communications with bank representatives and K. Duff (638-40 N Avers Avenue).
        July-21 Business Operations                           7/9/2021 SZ           110       41481.01 Compile exhibits for third restoration motion (7300-04 S St Lawrence Avenue, 414 Walnut, 6355-59 S       1.1 $      121.00 11117-11119 S Longwood Drive; 1401 W 109th Place; 1700-08 W Juneway Terrace; 7201-07 S Dorchester Avenue; 7237-43 S                        22
                                                                                                       Talman Avenue, 6250 S Mozart Street, 4315-19 S Michigan Avenue, 6749-59 S Merrill Avenue, 7957-                            Bennett Avenue; 7255-57 S Euclid Avenue; 2736-44 W 64th Street; 5618-20 S Martin Luther King Drive; 6250 S Mozart Street;
                                                                                                       59 S Marquette Road, 11117-11119 S Longwood Drive, 7600-10 S Kingston Avenue, 8000- 02 S Justine                           6355-59 S Talman Avenue; 6356 S California Avenue; 6749-59 S Merrill Avenue; 701-13 S 5th Avenue; 7109-19 S Calumet
                                                                                                       Street, 8214-16 S Ingleside Avenue, 7255-57 S Euclid Avenue, 8352-58 S Ellis Avenue, 8342-50 S Ellis                       Avenue; 7201 S Constance Avenue; 7300-04 S St Lawrence Avenue; 7600-10 S Kingston Avenue; 7957-59 S Marquette Road;
                                                                                                       Avenue, 8334-40 S Ellis Avenue, 7201-07 S Dorchester Avenue, 7201 S Constance Avenue, 7109-19 S                            8000-02 S Justine Street; 8214-16 S Ingleside Avenue; 8326-58 S Ellis Avenue; 4315-19 S Michigan Avenue
                                                                                                       Calumet Avenue, 6356 S California Avenue, 7237-43 S Bennett Avenue, 5618-20 S Martin Luther King
                                                                                                       Drive, 1700-08 W Juneway Terrace, 8214-16 S Ingleside Avenue, 2736-44 W 64th Street, 1401 W
                                                                                                       109th Place)
        July-21 Claims Administration & Objections            7/9/2021 KBD          390       42373.01 Study draft communication to claimants regarding claims process and discovery and exchange               0.3 $      117.00 all                                                                                                                                        80
                                                                                                       correspondence with J. Wine regarding potential discovery issues (all) (.3)
        July-21 Claims Administration & Objections            7/9/2021 KBD          390       42373.02 attention to communication with potential claimant (7836 S Shore Drive) (.2).                            0.2 $       78.00 3074 E Cheltenham Place                                                                                                                     1
        July-21 Claims Administration & Objections            7/9/2021 JRW          260       42375.01 Research regarding claimant in response to counsel inquiry (all) (.3)                                    0.3 $       78.00 all                                                                                                                                        80
        July-21 Claims Administration & Objections            7/9/2021 JRW          260       42375.02 revise and finalize email to claimants regarding discovery (Group 1) (.6)                                0.6 $      156.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                  Muskegon Avenue
        July-21 Claims Administration & Objections            7/9/2021 JRW          260       42375.03 conferences with A. Watychowicz regarding service of discovery and population of email distribution      0.8 $      208.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                       list (Group 1) (.8)                                                                                                        Muskegon Avenue
        July-21 Claims Administration & Objections            7/9/2021 JRW          260       42375.04 correspondence and research regarding notice provided to claimant (all) (.1)                             0.1 $       26.00 all                                                                                                                                        80



                                                                                                                                                                                    4 of 35
                                                                                                                             Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 170 of 200 PageID #:34106




EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                           Task Description                                            Task      Task Cost                                                     Property Allocations                                                     Property
                                                                         Keeper                                                                                                                               Hours                                                                                                                                            Allocation
                                                                                                                                                                                                                                                                                                                                                                 Count
        July-21 Claims Administration & Objections            7/9/2021 JRW          260       42375.05 exchange correspondence with K. Duff regarding claims process and procedures for additional              0.2 $        52.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                        5
                                                                                                       discovery (Group 1) (.2).                                                                                                   Muskegon Avenue
        July-21 Claims Administration & Objections            7/9/2021 AW           140       42376.01 Email claimant regarding claims process and timing (all) (.1)                                            0.1 $        14.00 all                                                                                                                                      80
        July-21 Claims Administration & Objections            7/9/2021 AW           140       42376.02 call with J. Wine regarding EB Group 1 Service group issues and email to claimants (Group 1) (.2)        0.2 $        28.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                   Muskegon Avenue
        July-21 Claims Administration & Objections            7/9/2021 AW           140       42376.03 track down requested correspondence to/from claimant and related email exchange with J. Rak (all)        0.5 $        70.00 all                                                                                                                                      80
                                                                                                       (.5)
        July-21 Claims Administration & Objections            7/9/2021 AW           140       42376.04 attention to email from creditor, research regarding prior correspondence and notice of receivership     0.6 $        84.00 all                                                                                                                                      80
                                                                                                       and claims, attention to draft response from K. Duff (all) (.6)
        July-21 Claims Administration & Objections            7/9/2021 AW           140       42376.05 review claims and related communication with J. Wine (all) (.2)                                          0.2 $       28.00 all                                                                                                                                       80
        July-21 Claims Administration & Objections            7/9/2021 AW           140       42376.06 work on revisions to standard discovery requests and related email to claimants (Group 1) (1.1)          1.1 $      154.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                  Muskegon Avenue
        July-21 Claims Administration & Objections            7/9/2021 AW           140       42376.07 continue work on and testing of EB Group 1 Service group (Group 1) (1.1)                                 1.1 $      154.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                  Muskegon Avenue
        July-21 Claims Administration & Objections            7/9/2021 AW           140       42376.08 email claimants in Group 1 regarding discovery requests (Group 1) (.3)                                   0.3 $       42.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                  Muskegon Avenue
        July-21 Claims Administration & Objections            7/9/2021 MR           390       42377.01 Attention to communications regarding discovery to claimants (Group 1).                                  0.2 $       78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                  Muskegon Avenue
        July-21 Business Operations                          7/12/2021 KBD          390       41500.01 Attention to fund transfer for property expenses (638-40 N Avers Avenue) (.2)                            0.2 $       78.00 638-40 N Avers Avenue                                                                                                                     1
        July-21 Business Operations                          7/12/2021 KBD          390       41500.02 exchange correspondence regarding planning for real estate taxes (7109-19 S Calumet Avenue, 638-         0.1 $       39.00 638-40 N Avers Avenue; 7109-19 S Calumet Avenue                                                                                           2
                                                                                                       40 N Avers Avenue) (.1).
        July-21 Business Operations                          7/12/2021 KMP          140       41501.01 Revise form for funds transfer to property manager for property expenses and related                     0.3 $        42.00 638-40 N Avers Avenue                                                                                                                    1
                                                                                                       communications with bank representatives, K. Duff, and property manager (638-40 N Avers Avenue)
                                                                                                       (.3)
        July-21 Business Operations                          7/12/2021 KMP          140       41501.02 telephone conferences with S. Zjalic regarding preparation of exhibits comprising invoices from          0.3 $        42.00 11117-11119 S Longwood Drive; 1401 W 109th Place; 1700-08 W Juneway Terrace; 2736-44 W 64th Street; 2909-19 E 78th                       39
                                                                                                       property managers for expenses, and review related documentation (6160-6212 S Martin Luther King                            Street; 638-40 N Avers Avenue; 8209 S Ellis Avenue; 8214-16 S Ingleside Avenue; 8326-58 S Ellis Avenue; 9610 S Woodlawn
                                                                                                       Drive, 7927-29 S Essex Avenue, 7933-35 S Essex Avenue, 7937-39 S Essex Avenue, 7943-45 S Essex                              Avenue; 6250 S Mozart Street; 6355-59 S Talman Avenue; 6356 S California Avenue; 7237-43 S Bennett Avenue; 7255-57 S
                                                                                                       Avenue, 7947-49 S Essex Avenue, 5955 S Sacramento Avenue, 6001-05 S Sacramento Avenue, 7026-                                Euclid Avenue; 7300-04 S St Lawrence Avenue; 7546-48 S Saginaw Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston
                                                                                                       42 S Cornell Avenue, 2909-19 E 78th Street, 7748-52 S Essex Avenue, 701-13 S 5th Avenue, 6749-59 S                          Avenue; 310 E 50th Street; 4315-19 S Michigan Avenue; 5618-20 S Martin Luther King Drive; 5955 S Sacramento Avenue; 6001-
                                                                                                       Merrill Avenue, 7546-48 S Saginaw Avenue, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S                         05 S Sacramento Avenue ; 6160-6212 S Martin Luther King Drive; 6554-58 S Vernon Avenue; 6749-59 S Merrill Avenue; 7748-
                                                                                                       Ellis Avenue, 8352-58 S Ellis Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis                        52 S Essex Avenue; 7760 S Coles Avenue; 7927-49 S Essex Avenue; 7957-59 S Marquette Road; 8000-02 S Justine Street; 8107-
                                                                                                       Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S                            09 S Ellis Avenue; 6807 S Indiana Avenue; 701-13 S 5th Avenue; 7026-42 S Cornell Avenue; 7109-19 S Calumet Avenue; 7201 S
                                                                                                       St Lawrence Avenue, 7957-59 S Marquette Road, 2736-44 W 64th Street, 6355-59 S Talman Avenue,                               Constance Avenue; 7201-07 S Dorchester Avenue
                                                                                                       6356 S California Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S
                                                                                                       Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 4315-19 S Michigan
                                                                                                       Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 6250 S Mozart Street, 7109-19 S
                                                                                                       Calumet Avenue, 9610 S Woodlawn Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                                                                       Avenue, 7237-43 S Bennett Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue) (.3)

        July-21 Business Operations                          7/12/2021 KMP          140       41501.03 review communications relating to property expenses to be addressed in anticipated third                 0.2 $        28.00 1401 W 109th Place; 7635-43 S East End Avenue                                                                                            2
                                                                                                       restoration motion (7634-43 S East End Avenue, 1401 W 109th Place) (.2).
        July-21 Business Operations                          7/12/2021 JR           140       41505.01 Review email from K. Duff requesting property tax balances and status of payment and provide             0.2 $        28.00 1102 Bingham (Houston, TX); 1422-24 East 68th Street; 2800-06 E 81st Street; 4750-52 S Indiana Avenue; 638-40 N Avers                    8
                                                                                                       requested information (638-40 N Avers Avenue, 7024-32 S Paxton Avenue, 7255-57 S Euclid Avenue,                             Avenue; 7024-32 S Paxton Avenue; 7255-57 S Euclid Avenue; 7840-42 S Yates Avenue
                                                                                                       1422-24 East 68th Street, 2800-06 E 81st Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue,
                                                                                                       1102 Bingham) (.2).
        July-21 Business Operations                          7/12/2021 SZ           110       41508.01 Continued to review property manager's repair expenses in order to populate exhibits list for Third        2 $      220.00 638-40 N Avers Avenue; 6554-58 S Vernon Avenue; 6749-59 S Merrill Avenue; 6807 S Indiana Avenue; 4315-19 S Michigan                       39
                                                                                                       Restoration Motion and related email exchange and phone communication with K. Pritchard (6160-                             Avenue; 5618-20 S Martin Luther King Drive; 7109-19 S Calumet Avenue; 7201 S Constance Avenue; 7201-07 S Dorchester
                                                                                                       6212 S Martin Luther King Drive, 7927-29 S Essex Avenue, 7933-35 S Essex Avenue, 7937-39 S Essex                           Avenue; 7237-43 S Bennett Avenue; 7255-57 S Euclid Avenue; 7300-04 S St Lawrence Avenue; 6355-59 S Talman Avenue; 6356
                                                                                                       Avenue, 7943-45 S Essex Avenue, 7947-49 S Essex Avenue, 5955 S Sacramento Avenue, 6001-05 S                                S California Avenue; 11117-11119 S Longwood Drive; 1401 W 109th Place; 701-13 S 5th Avenue; 7026-42 S Cornell Avenue;
                                                                                                       Sacramento Avenue, 7026-42 S Cornell Avenue, 2909-19 E 78th Street, 7748-52 S Essex Avenue, 701-                           7546-48 S Saginaw Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue; 7748-52 S Essex Avenue; 7760 S Coles
                                                                                                       13 S 5th Avenue, 6749-59 S Merrill Avenue, 7546-48 S Saginaw Avenue, 8326-32 S Ellis Avenue, 8334-                         Avenue; 7927-49 S Essex Avenue; 9610 S Woodlawn Avenue; 7957-59 S Marquette Road; 8000-02 S Justine Street; 5955 S
                                                                                                       40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 7760 S Coles Avenue, 8000-02 S                          Sacramento Avenue; 6001-05 S Sacramento Avenue ; 6160-6212 S Martin Luther King Drive; 6250 S Mozart Street; 8107-09 S
                                                                                                       Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119                       Ellis Avenue; 8209 S Ellis Avenue; 8214-16 S Ingleside Avenue; 8326-58 S Ellis Avenue; 1700-08 W Juneway Terrace; 2736-44
                                                                                                       S Longwood Drive, 7300-04 S St Lawrence Avenue, 7957-59 S Marquette Road, 2736-44 W 64th                                   W 64th Street; 2909-19 E 78th Street; 310 E 50th Street
                                                                                                       Street, 6355-59 S Talman Avenue, 6356 S California Avenue, 5618-20 S Martin Luther King Drive, 7201
                                                                                                       S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester
                                                                                                       Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 6250 S
                                                                                                       Mozart Street, 7109-19 S Calumet Avenue, 9610 S Woodlawn Avenue, 1401 W 109th Place, 310 E
                                                                                                       50th Street, 6807 S Indiana Avenue, 7237-43 S Bennett Avenue, 638-40 N Avers Avenue, 7255-57 S
                                                                                                       Euclid Avenue).
        July-21 Claims Administration & Objections           7/12/2021 KBD          390       42400.01 Exchange correspondence with A. Watychowicz regarding communication with claimants regarding             0.5 $      195.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       claims process, email communications, and production of records (Group 1) (.5)                                             Muskegon Avenue
        July-21 Claims Administration & Objections           7/12/2021 KBD          390       42400.02 exchange correspondence with J. Wine regarding vendor invoice and Court approved payment (all)           0.2 $       78.00 all                                                                                                                                       80
                                                                                                       (.2)
        July-21 Claims Administration & Objections           7/12/2021 KBD          390       42400.03 study correspondence from J. Wine regarding single claim process (sole lien) (.1).                       0.1 $       39.00 sole lien                                                                                                                                 28
        July-21 Claims Administration & Objections           7/12/2021 KMP          140       42401.01 Communications with K. Duff and J. Wine regarding claims database vendor.                                0.2 $       28.00 all                                                                                                                                       80
        July-21 Claims Administration & Objections           7/12/2021 JRW          260       42402.01 Confer with A. Watychowicz regarding claimant emails regarding service of discovery, non-deliverable     0.4 $      104.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                       emails to distribution group, and tracking of claimant responses (Group 1) (.4)                                            Muskegon Avenue
        July-21 Claims Administration & Objections           7/12/2021 JRW          260       42402.02 review documents in database and related correspondence with database vendor (all) (1.2)                 1.2 $      312.00 all                                                                                                                                       80
        July-21 Claims Administration & Objections           7/12/2021 JRW          260       42402.03 confer with K. Duff regarding documents from defendants' laptops (.2)                                    0.2 $       52.00 all                                                                                                                                       80
        July-21 Claims Administration & Objections           7/12/2021 JRW          260       42402.04 draft correspondence to claimants' counsel regarding process for single-claim properties (1017 W         0.5 $      130.00 10012 S LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 1516 E 85th Place; 2129 W 71st Street; 2136 W 83rd                    28
                                                                                                       102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue,                             Street; 3213 S Throop Street; 406 E 87th Place; 417 Oglesby Avenue; 8104 S Kingston Avenue; 8107 S Kingston Avenue; 8346 S
                                                                                                       8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue,                             Constance Avenue; 8403 S Aberdeen Street; 8432 S Essex Avenue; 8517 S Vernon Avenue; 8529 S Rhodes Avenue; 9212 S
                                                                                                       11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S                         Parnell Avenue; 9610 S Woodlawn Avenue; 6554 S Rhodes Avenue; 6749-59 S Merrill Avenue; 6759 S Indiana Avenue; 6825 S
                                                                                                       Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th                            Indiana Avenue; 7110 S Cornell Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7922 S Luella Avenue; 7925 S Kingston
                                                                                                       Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107                         Avenue; 8030 S Marquette Avenue
                                                                                                       S Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue,
                                                                                                       6759 S Indiana Avenue, 8517 S Vernon Avenue) (.5)
        July-21 Claims Administration & Objections           7/12/2021 JRW          260       42402.05 attention to responding to claimant inquiries (all) (.9).                                                0.9 $      234.00 all                                                                                                                                       80
        July-21 Claims Administration & Objections           7/12/2021 AW           140       42403.01 Attention to discovery responses received from claimants, create spreadsheet to record same, email       2.9 $      406.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                       exchanges with K. Duff and J. Wine regarding responses to FAQ, and respond to claimants' questions                         Muskegon Avenue
                                                                                                       regarding discovery responses (Group 1) (2.9)
        July-21 Claims Administration & Objections           7/12/2021 AW           140       42403.02 attention to email from creditor and email response regarding ongoing claims process (all) (.2).         0.2 $        28.00 all                                                                                                                                      80

        July-21 Asset Disposition                            7/13/2021 KMP          140       40610.01 Review property account balance to determine status of receipt of post-sale reconciliation funds and     0.2 $        28.00 7255-57 S Euclid Avenue                                                                                                                  1
                                                                                                       related communications with K. Duff (7255-57 S Euclid Avenue).
        July-21 Asset Disposition                            7/13/2021 JR           140       40614.01 Review email from K. Duff relating to payment received from the title company related to sale of         0.2 $        28.00 6217-27 S Dorchester Avenue                                                                                                              1
                                                                                                       property and respond accordingly (6217-27 S Dorchester Avenue).


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EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                           Task Description                                             Task      Task Cost                                                      Property Allocations                                                     Property
                                                                         Keeper                                                                                                                                Hours                                                                                                                                             Allocation
                                                                                                                                                                                                                                                                                                                                                                   Count
        July-21 Business Operations                          7/13/2021 KBD          390       41509.01 Study property manager financial reporting (4611-17 S Drexel Boulevard, 6217-27 S Dorchester              0.3 $      117.00 1414-18 East 62nd Place; 1414-18 East 62nd Place; 1422-24 East 68th Street; 1516 E 85th Place; 2129 W 71st Street; 2136 W                  45
                                                                                                       Avenue, 1414-18 East 62nd Place, 7024-32 S Paxton Avenue, 1422-24 East 68th Street, 2800-06 E 81st                          83rd Street; 8107 S Kingston Avenue; 8346 S Constance Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 8432 S
                                                                                                       Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, single family) (.3)                                               Essex Avenue; 8517 S Vernon Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 9610 S Woodlawn
                                                                                                                                                                                                                                   Avenue; 2800-06 E 81st Street; 310 E 50th Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place; 417 Oglesby
                                                                                                                                                                                                                                   Avenue; 4611-17 S Drexel Boulevard; 4750-52 S Indiana Avenue; 5437 S Laflin Street; 61 E 92nd Street; 6217-27 S Dorchester
                                                                                                                                                                                                                                   Avenue; 6554 S Rhodes Avenue; 6759 S Indiana Avenue; 6807 S Indiana Avenue; 6825 S Indiana Avenue; 7024-32 S Paxton
                                                                                                                                                                                                                                   Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7840-42 S Yates Avenue; 7922 S Luella Avenue; 7925 S Kingston
                                                                                                                                                                                                                                   Avenue; 7933 S Kingston Avenue; 7953 S Woodlawn Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 10012 S
                                                                                                                                                                                                                                   LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 1401 W 109th Place
        July-21 Business Operations                          7/13/2021 KBD          390       41509.02 attention to property expense (638-40 N Avers Avenue) (.1)                                                0.1 $        39.00 638-40 N Avers Avenue                                                                                                                     1
        July-21 Business Operations                          7/13/2021 KBD          390       41509.03 study correspondence from J. Rak regarding real estate taxes (638-40 N Avers Avenue, 7109-19 S            0.1 $        39.00 638-40 N Avers Avenue; 7109-19 S Calumet Avenue                                                                                           2
                                                                                                       Calumet Avenue) (.1)
        July-21 Business Operations                          7/13/2021 KBD          390       41509.04 exchange correspondence with J. Rak regarding funds from title company (6217-27 S Dorchester              0.1 $        39.00 6217-27 S Dorchester Avenue                                                                                                               1
                                                                                                       Avenue) (.1)
        July-21 Business Operations                          7/13/2021 KBD          390       41509.05 attention to refuse and recycling disposal bills and review related correspondence from property          0.1 $        39.00 7237-43 S Bennett Avenue; 7255-57 S Euclid Avenue                                                                                         2
                                                                                                       manager (7237-43 S Bennett Avenue, 7255- 57 S Euclid Avenue) (.1).
        July-21 Business Operations                          7/13/2021 KMP          140       41510.01 Prepare form for funds transfers to property manager for property expenses and related                    0.2 $        28.00 638-40 N Avers Avenue                                                                                                                     1
                                                                                                       communications with bank representatives, K. Duff, and property manager (638-40 N Avers Avenue).

        July-21 Business Operations                          7/13/2021 JR           140       41514.01 Further review status of property taxes for 2020 2nd installment and advise K. Duff on the status         0.2 $        28.00 638-40 N Avers Avenue; 7109-19 S Calumet Avenue                                                                                           2
                                                                                                       (7109-19 S Calumet Avenue, 638-40 N Avers Avenue).
        July-21 Claims Administration & Objections           7/13/2021 KBD          390       42409.01 Study revisions to sole lien process and exchange correspondence with M. Rachlis and J. Wine and M.       0.6 $      234.00 sole lien                                                                                                                                  28
                                                                                                       Rachlis (sole lien) (.6)
        July-21 Claims Administration & Objections           7/13/2021 KBD          390       42409.02 exchange correspondence regarding production of files from claims vendor (all) (.1).                      0.1 $        39.00 all                                                                                                                                       80
        July-21 Claims Administration & Objections           7/13/2021 KMP          140       42410.01 Prepare forms for funds transfers to services vendor and related communications with bank                 0.2 $        28.00 all                                                                                                                                       80
                                                                                                       representatives and K. Duff.
        July-21 Claims Administration & Objections           7/13/2021 JRW          260       42411.01 Telephone conference with A. Watychowicz regarding claimant discovery (Group 1) (.2)                      0.2 $       52.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                   Muskegon Avenue
        July-21 Claims Administration & Objections           7/13/2021 JRW          260       42411.02 exchange comments and revisions regarding single claims process with K. Duff and M. Rachlis (1017         1.2 $      312.00 10012 S LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 1516 E 85th Place; 2129 W 71st Street; 2136 W 83rd                     28
                                                                                                       W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue,                            Street; 3213 S Throop Street; 406 E 87th Place; 417 Oglesby Avenue; 6554 S Rhodes Avenue; 6749-59 S Merrill Avenue; 6759 S
                                                                                                       8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue,                              Indiana Avenue; 6825 S Indiana Avenue; 7110 S Cornell Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7922 S Luella
                                                                                                       11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S                          Avenue; 7925 S Kingston Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8107 S Kingston Avenue; 8346 S
                                                                                                       Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th                             Constance Avenue; 8403 S Aberdeen Street; 8432 S Essex Avenue; 8517 S Vernon Avenue; 8529 S Rhodes Avenue; 9212 S
                                                                                                       Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107                          Parnell Avenue; 9610 S Woodlawn Avenue
                                                                                                       S Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue,
                                                                                                       6759 S Indiana Avenue, 8517 S Vernon Avenue) (1.2)
        July-21 Claims Administration & Objections           7/13/2021 JRW          260       42411.03 email from SEC (Group 1) (.1)                                                                             0.1 $       26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                   Muskegon Avenue
        July-21 Claims Administration & Objections           7/13/2021 JRW          260       42411.04 exchange emails with vendor regarding database (all) (.1).                                                0.1 $       26.00 all                                                                                                                                        80
        July-21 Claims Administration & Objections           7/13/2021 AW           140       42412.01 Call with J. Wine regarding incoming discovery responses and claims process (Group 1) (.2)                0.2 $       28.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                   Muskegon Avenue
        July-21 Claims Administration & Objections           7/13/2021 AW           140       42412.02 attention to discovery responses received from claimants, update spreadsheet to record same               2.5 $      350.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                       (Group 1) (2.5)                                                                                                             Muskegon Avenue
        July-21 Claims Administration & Objections           7/13/2021 AW           140       42412.03 respond to claimant questions regarding discovery responses and confidentiality issues (Group 1)          0.2 $       28.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                       (.2)                                                                                                                        Muskegon Avenue
        July-21 Claims Administration & Objections           7/13/2021 AW           140       42412.04 research regarding produced records (Group 1) (.3).                                                       0.3 $       42.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                   Muskegon Avenue
        July-21 Claims Administration & Objections           7/13/2021 MR           390       42413.01 Attention to claims process issues and related exchanges with K. Duff and J. Wine (sole lien).            0.4 $      156.00 sole lien                                                                                                                                  28
        July-21 Asset Disposition                            7/14/2021 KBD          390       40618.01 Study draft motion to confirm sale of property and related correspondence (1102 Bingham) (.2)             0.2 $       78.00 1102 Bingham (Houston, TX)                                                                                                                  1

        July-21 Asset Disposition                            7/14/2021 KBD          390       40618.02 confirmation of funds transfer amounts (single family) (.1).                                              0.1 $        39.00 10012 S LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 1401 W 109th Place; 1414-18 East 62nd Place; 1516 E                   37
                                                                                                                                                                                                                                    85th Place; 2129 W 71st Street; 2136 W 83rd Street; 310 E 50th Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th
                                                                                                                                                                                                                                    Place; 417 Oglesby Avenue; 5437 S Laflin Street; 61 E 92nd Street; 6554 S Rhodes Avenue; 6759 S Indiana Avenue; 6807 S
                                                                                                                                                                                                                                    Indiana Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7922 S Luella Avenue; 7925 S Kingston
                                                                                                                                                                                                                                    Avenue; 7933 S Kingston Avenue; 7953 S Woodlawn Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8107 S
                                                                                                                                                                                                                                    Kingston Avenue; 8346 S Constance Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 8432 S Essex Avenue; 8517 S
                                                                                                                                                                                                                                    Vernon Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 9610 S Woodlawn Avenue
        July-21 Asset Disposition                            7/14/2021 JRW          260       40620.01 Revision of 14th motion to confirm sale and related email exchanges with J. Rak and M. Rachlis            0.5 $      130.00 1102 Bingham (Houston, TX)                                                                                                                 1
                                                                                                       regarding property taxes (1102 Bingham).
        July-21 Asset Disposition                            7/14/2021 MR           390       40622.01 Attention to 14th motion to confirm and related follow up (1102 Bingham).                                 0.3 $      117.00 1102 Bingham (Houston, TX)                                                                                                                 1
        July-21 Asset Disposition                            7/14/2021 JR           140       40623.01 Review email from property management relating to inquiry received from a previous tenant for sold        0.2 $       28.00 9212 S Parnell Avenue                                                                                                                      1
                                                                                                       property and respond accordingly (9212 S Parnell Avenue).
        July-21 Asset Disposition                            7/14/2021 AEP          390       40624.01 Teleconferences with title agent regarding closing costs associated with conveyance of receivership       0.2 $        78.00 1102 Bingham (Houston, TX)                                                                                                                1
                                                                                                       property (1102 Bingham) (.2)
        July-21 Asset Disposition                            7/14/2021 AEP          390       40624.02 insert citations to fourteenth motion to confirm sale of receivership property, make final edits,         0.5 $      195.00 1102 Bingham (Houston, TX)                                                                                                                 1
                                                                                                       assemble exhibits, and transmit file-ready paperwork to team (1102 Bingham) (.5)
        July-21 Asset Disposition                            7/14/2021 AEP          390       40624.03 read and respond to e-mail correspondence with M. Rachlis and J. Wine regarding comments on               0.2 $        78.00 1102 Bingham (Houston, TX)                                                                                                                1
                                                                                                       fourteenth motion to confirm sale of receivership property (1102 Bingham) (.2).

        July-21 Business Operations                          7/14/2021 KBD          390       41518.01 Attention to request from insurance representative regarding property appraisal and draft related         0.2 $        78.00 638-40 N Avers Avenue                                                                                                                     1
                                                                                                       correspondence to J. Rak (638-40 N Avers Avenue).
        July-21 Business Operations                          7/14/2021 JR           140       41523.01 Review email from K. Duff related to coordination of property inspection related to renewal of            0.2 $        28.00 638-40 N Avers Avenue                                                                                                                     1
                                                                                                       property insurance, further communication with property inspector regarding coordination of same
                                                                                                       (638-40 N Avers Avenue).
        July-21 Business Operations                          7/14/2021 AEP          390       41524.01 Research files in effort to determine basis for check received from title company in connection with      0.3 $      117.00 4750-52 S Indiana Avenue                                                                                                                   1
                                                                                                       conveyance of receivership property and prepare response to K. Pritchard (4750-52 S Indiana
                                                                                                       Avenue) (.3)
        July-21 Business Operations                          7/14/2021 AEP          390       41524.02 read and respond to K. Pritchard e-mail regarding competing spreadsheets associated with values of        0.2 $        78.00 10012 S LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 1401 W 109th Place; 1414-18 East 62nd Place; 1516 E                   37
                                                                                                       single-family home portfolio in connection with preparation of quarterly report (single family) (.2).                        85th Place; 2129 W 71st Street; 2136 W 83rd Street; 310 E 50th Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th
                                                                                                                                                                                                                                    Place; 417 Oglesby Avenue; 5437 S Laflin Street; 61 E 92nd Street; 6554 S Rhodes Avenue; 6759 S Indiana Avenue; 6807 S
                                                                                                                                                                                                                                    Indiana Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7922 S Luella Avenue; 7925 S Kingston
                                                                                                                                                                                                                                    Avenue; 7933 S Kingston Avenue; 7953 S Woodlawn Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8107 S
                                                                                                                                                                                                                                    Kingston Avenue; 8346 S Constance Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 8432 S Essex Avenue; 8517 S
                                                                                                                                                                                                                                    Vernon Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 9610 S Woodlawn Avenue
        July-21 Claims Administration & Objections           7/14/2021 KBD          390       42418.01 Exchange correspondence regarding inquiry regarding claimant's claim (all) (.2)                           0.2 $       78.00 all                                                                                                                                        80
        July-21 Claims Administration & Objections           7/14/2021 KBD          390       42418.02 exchange correspondence with J. Wine and M. Rachlis regarding sole lien process (sole lien) (.4)          0.4 $      156.00 sole lien                                                                                                                                  28



                                                                                                                                                                                    6 of 35
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EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                           Task Description                                           Task      Task Cost                                                     Property Allocations                                                      Property
                                                                         Keeper                                                                                                                              Hours                                                                                                                                             Allocation
                                                                                                                                                                                                                                                                                                                                                                 Count
        July-21 Claims Administration & Objections           7/14/2021 KBD          390       42418.03 attention to inquiry from claimant regarding standard discovery requests (Group 1) (.1).                0.1 $       39.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                 Muskegon Avenue
        July-21 Claims Administration & Objections           7/14/2021 JRW          260       42420.01 Revise draft correspondence to claimants' counsel regarding single claims process (1017 W 102nd         0.5 $      130.00 9610 S Woodlawn Avenue; 10012 S LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 1516 E 85th Place; 2129 W                      28
                                                                                                       Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 8030 S                           71st Street; 2136 W 83rd Street; 3213 S Throop Street; 7925 S Kingston Avenue; 8030 S Marquette Avenue; 8104 S Kingston
                                                                                                       Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 11318 S                           Avenue; 8107 S Kingston Avenue; 8346 S Constance Avenue; 8403 S Aberdeen Street; 8432 S Essex Avenue; 8517 S Vernon
                                                                                                       Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston                       Avenue; 8529 S Rhodes Avenue; 9212 S Parnell Avenue; 406 E 87th Place; 417 Oglesby Avenue; 6554 S Rhodes Avenue; 6749-
                                                                                                       Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place,                             59 S Merrill Avenue; 6759 S Indiana Avenue; 6825 S Indiana Avenue; 7110 S Cornell Avenue; 7210 S Vernon Avenue; 7712 S
                                                                                                       6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S                             Euclid Avenue; 7922 S Luella Avenue
                                                                                                       Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759
                                                                                                       S Indiana Avenue, 8517 S Vernon Avenue) (.5)
        July-21 Claims Administration & Objections           7/14/2021 JRW          260       42420.02 correspondence with M. Rachlis and A. Porter regarding discovery for properties with single             0.7 $      182.00 10012 S LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 1516 E 85th Place; 2129 W 71st Street; 2136 W 83rd                     28
                                                                                                       disputed claim (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue,                           Street; 3213 S Throop Street; 406 E 87th Place; 417 Oglesby Avenue; 6554 S Rhodes Avenue; 8107 S Kingston Avenue; 8346 S
                                                                                                       7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street,                            Constance Avenue; 8403 S Aberdeen Street; 8432 S Essex Avenue; 8517 S Vernon Avenue; 8529 S Rhodes Avenue; 9212 S
                                                                                                       8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S                         Parnell Avenue; 9610 S Woodlawn Avenue; 6749-59 S Merrill Avenue; 6759 S Indiana Avenue; 6825 S Indiana Avenue; 7110 S
                                                                                                       Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S                               Cornell Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue; 8030 S
                                                                                                       Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex                                Marquette Avenue; 8104 S Kingston Avenue
                                                                                                       Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle
                                                                                                       Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon Avenue) (.7)
        July-21 Claims Administration & Objections           7/14/2021 JRW          260       42420.03 telephone conference with counsel for city of Chicago regarding standard discovery requests and         0.6 $      156.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                       related review of individual requests and email exchange with K. Duff (Group 1) (.6)                                      Muskegon Avenue

        July-21 Claims Administration & Objections           7/14/2021 JRW          260       42420.04 confer with A. Watychowicz regarding claimant discovery responses and standard discovery                0.7 $      182.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                       procedures (Group 1) (.7)                                                                                                 Muskegon Avenue
        July-21 Claims Administration & Objections           7/14/2021 JRW          260       42420.05 telephone conference with counsel for claimant and related email exchange with K. Duff (all) (.3).      0.3 $       78.00 all                                                                                                                                        80

        July-21 Claims Administration & Objections           7/14/2021 AW           140       42421.01 Calls with J. Wine regarding received discovery responses and claims process (Group 1) (.7)             0.7 $       98.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                 Muskegon Avenue
        July-21 Claims Administration & Objections           7/14/2021 AW           140       42421.02 attention to discovery responses received from claimants, update spreadsheet to record same             0.9 $      126.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                       (Group 1) (.9)                                                                                                            Muskegon Avenue
        July-21 Claims Administration & Objections           7/14/2021 AW           140       42421.03 respond to claimants' questions regarding discovery responses and confidentiality issues (Group 1)      0.3 $       42.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                       (.3)                                                                                                                      Muskegon Avenue
        July-21 Claims Administration & Objections           7/14/2021 AW           140       42421.04 set up shared folders as per claimants' requests (Group 1) (.7)                                         0.7 $       98.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                 Muskegon Avenue
        July-21 Claims Administration & Objections           7/14/2021 AW           140       42421.05 confirm receipt of discovery responses from claimants (Group 1) (.5)                                    0.5 $       70.00 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S Muskegon Avenue; 3074 E Cheltenham Place; 7201 S                           5
                                                                                                                                                                                                                                 Constance Avenue
        July-21 Claims Administration & Objections           7/14/2021 AW           140       42421.06 reach out to claimant who was rejected from Group 1 service (Group 1) (.1).                             0.1 $       14.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                 Muskegon Avenue
        July-21 Claims Administration & Objections           7/14/2021 MR           390       42422.01 Further review and comment on process issues and related exchanges (sole lien) (.3)                     0.3 $      117.00 sole lien                                                                                                                                  28
        July-21 Claims Administration & Objections           7/14/2021 MR           390       42422.02 attention to standard discovery issues and email regarding various claims (Group 1) (.2).               0.2 $       78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                 Muskegon Avenue
        July-21 Claims Administration & Objections           7/14/2021 JR           140       42423.01 Teleconference with A. Porter and N. Gastevich regarding analyses of claims asserted against            2.5 $      350.00 3074 E Cheltenham Place; 7750-58 S Muskegon Avenue                                                                                         2
                                                                                                       receivership properties and methodologies for resolving conflicts between proofs of claim and
                                                                                                       internal EquityBuild records (3074 Cheltenham Place, 7750-58 S Muskegon Avenue).

        July-21 Claims Administration & Objections           7/14/2021 AEP          390       42424.01 Teleconference with N. Gastevich and J. Rak regarding analyses of claims asserted against               2.5 $      975.00 3074 E Cheltenham Place; 7750-58 S Muskegon Avenue                                                                                         2
                                                                                                       receivership properties and methodologies for resolving conflicts between proofs of claim and
                                                                                                       internal EquityBuild records (3074 E Cheltenham Place, 7750-58 S Muskegon Avenue) (2.5)

        July-21 Claims Administration & Objections           7/14/2021 AEP          390       42424.02 read and respond to e-mails from J. Wine regarding secured claims being asserted in connection          0.2 $        78.00 sole lien                                                                                                                                 28
                                                                                                       with single-family homes that have no competing claimants and other receivership properties (sole
                                                                                                       lien) (.2).
        July-21 Asset Disposition                            7/15/2021 JRW          260       40629.01 Correspondence with court's clerk regarding status of pending motion to confirm sale (638-40 N          0.1 $        26.00 638-40 N Avers Avenue                                                                                                                     1
                                                                                                       Avers Avenue) (.1)
        July-21 Asset Disposition                            7/15/2021 JRW          260       40629.02 confer with J. Rak regarding delinquent property taxes (1102 Bingham) (.2).                             0.2 $        52.00 1102 Bingham (Houston, TX)                                                                                                                1
        July-21 Asset Disposition                            7/15/2021 JR           140       40632.01 Review email from K. Pritchard regarding deposits made into EquityBuild account after closing of        0.2 $        28.00 1422-24 East 68th Street                                                                                                                  1
                                                                                                       property and respond accordingly (1422-24 East 68th Street) (.2)
        July-21 Asset Disposition                            7/15/2021 JR           140       40632.02 review email from A. Porter regarding deposit made into EquityBuild account after closing and           0.1 $        14.00 4750-52 S Indiana Avenue                                                                                                                  1
                                                                                                       respond accordingly (4750-52 S Indiana Avenue) (.1)
        July-21 Asset Disposition                            7/15/2021 JR           140       40632.03 further correspondence with the title company inquiring about deposit post-closing for property         0.1 $        14.00 4750-52 S Indiana Avenue                                                                                                                  1
                                                                                                       (4750-52 S Indiana) (.1)
        July-21 Asset Disposition                            7/15/2021 JR           140       40632.04 exchange communication with A. Porter and J. Wine regarding status of property related to sale          0.2 $        28.00 1102 Bingham (Houston, TX)                                                                                                                1
                                                                                                       (1102 Bingham) (.2).
        July-21 Asset Disposition                            7/15/2021 AEP          390       40633.01 Communications with J. Wine and K. Duff regarding potential revisions to outstanding tax liability      0.1 $        39.00 1102 Bingham (Houston, TX)                                                                                                                1
                                                                                                       estimates contained in motion to confirm sale of receivership property (1102 Bingham) (.1)

        July-21 Asset Disposition                            7/15/2021 AEP          390       40633.02 read memorandum opinion granting twelfth motion to confirm sale and prepare e-mail to counsel           0.2 $        78.00 638-40 N Avers Avenue                                                                                                                     1
                                                                                                       for prospective purchaser of receivership property regarding scheduling of closing (638-40 N Avers
                                                                                                       Avenue) (.2)
        July-21 Asset Disposition                            7/15/2021 AEP          390       40633.03 communications with title company and counsel for prospective purchaser regarding scheduling of         0.1 $        39.00 638-40 N Avers Avenue                                                                                                                     1
                                                                                                       closing of sale of receivership property (638-40 N Avers Avenue) (.1).
        July-21 Business Operations                          7/15/2021 JR           140       41532.01 Review email from E. Duff related to property insurance endorsements and respond accordingly (see       0.2 $        28.00 8030 S Marquette Avenue; 8100 S Essex Avenue; 8104 S Kingston Avenue; 7210 S Vernon Avenue; 7237-43 S Bennett Avenue;                     81
                                                                                                       I).                                                                                                                        7255-57 S Euclid Avenue; 10012 S LaSalle Avenue; 1017 W 102nd Street; 11117-11119 S Longwood Drive; 4611-17 S Drexel
                                                                                                                                                                                                                                  Boulevard; 4750-52 S Indiana Avenue; 5437 S Laflin Street; 1422-24 East 68th Street; 1516 E 85th Place; 1700-08 W Juneway
                                                                                                                                                                                                                                  Terrace; 7712 S Euclid Avenue; 7760 S Coles Avenue; 7840-42 S Yates Avenue; 6356 S California Avenue; 638-40 N Avers
                                                                                                                                                                                                                                  Avenue; 6437-41 S Kenwood Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 9610 S Woodlawn Avenue; 8209 S Ellis
                                                                                                                                                                                                                                  Avenue; 8214-16 S Ingleside Avenue; 8326-58 S Ellis Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 8529 S Rhodes
                                                                                                                                                                                                                                  Avenue; 8346 S Constance Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 8107 S Kingston Avenue; 8107-09 S
                                                                                                                                                                                                                                  Ellis Avenue; 816-22 E Marquette Road; 7953 S Woodlawn Avenue; 7957-59 S Marquette Road; 8000-02 S Justine Street; 7024-
                                                                                                                                                                                                                                  32 S Paxton Avenue; 7051 S Bennett Avenue; 7109-19 S Calumet Avenue; 1131-41 E 79th Place; 11318 S Church Street; 1401
                                                                                                                                                                                                                                  W 109th Place; 6554 S Rhodes Avenue; 6554-58 S Vernon Avenue; 6759 S Indiana Avenue; 2129 W 71st Street; 2136 W 83rd
                                                                                                                                                                                                                                  Street; 2736-44 W 64th Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place; 6807 S Indiana Avenue; 6825 S
                                                                                                                                                                                                                                  Indiana Avenue; 6949-59 S Merrill Avenue; 2800-06 E 81st Street; 3074 E Cheltenham Place; 310 E 50th Street; 7922 S Luella
                                                                                                                                                                                                                                  Avenue; 7925 S Kingston Avenue; 7933 S Kingston Avenue; 7110 S Cornell Avenue; 7201 S Constance Avenue; 7201-07 S
                                                                                                                                                                                                                                  Dorchester Avenue; 417 Oglesby Avenue; 4315-19 S Michigan Avenue; 4533-47 S Calumet Avenue; 7600-10 S Kingston
                                                                                                                                                                                                                                  Avenue; 7656-58 S Kingston Avenue; 7701-03 S Essex Avenue; 6217-27 S Dorchester Avenue; 6250 S Mozart Street; 6355-59 S
                                                                                                                                                                                                                                  Talman Avenue; 7300-04 S St Lawrence Avenue; 7442-54 S Calumet Avenue; 7508 S Essex Avenue; 5450-52 S Indiana Avenue;
                                                                                                                                                                                                                                  5618-20 S Martin Luther King Drive; 61 E 92nd Street



                                                                                                                                                                                     7 of 35
                                                                                                                             Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 173 of 200 PageID #:34109




EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                           Task Description                                             Task      Task Cost                                                     Property Allocations                                                      Property
                                                                         Keeper                                                                                                                                Hours                                                                                                                                             Allocation
                                                                                                                                                                                                                                                                                                                                                                   Count
        July-21 Claims Administration & Objections           7/15/2021 KBD          390       42427.01 Exchange correspondence regarding claimant and standard discovery requests (Group 1) (.1)                 0.1 $       39.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                   Muskegon Avenue
        July-21 Claims Administration & Objections           7/15/2021 KBD          390       42427.02 work on claims analysis approach (all) (.1)                                                               0.1 $       39.00 all                                                                                                                                        80
        July-21 Claims Administration & Objections           7/15/2021 KBD          390       42427.03 work on sole lien process and exchange related correspondence (sole lien) (.2).                           0.2 $       78.00 sole lien                                                                                                                                  28
        July-21 Claims Administration & Objections           7/15/2021 JRW          260       42429.01 Correspond with K. Duff regarding discovery-related inquiries from claimant's counsel and respond to      0.3 $       78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                       same (Group 1) (.3)                                                                                                         Muskegon Avenue
        July-21 Claims Administration & Objections           7/15/2021 JRW          260       42429.02 confer with A. Porter and K. Duff regarding process for resolution of single claims and revise draft      0.4 $      104.00 6749-59 S Merrill Avenue; 6759 S Indiana Avenue; 6825 S Indiana Avenue; 7110 S Cornell Avenue; 7210 S Vernon Avenue;                       28
                                                                                                       correspondence accordingly (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417                                 7712 S Euclid Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue;
                                                                                                       Oglesby Avenue, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S                               10012 S LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 1516 E 85th Place; 2129 W 71st Street; 2136 W 83rd
                                                                                                       Aberdeen Street, 8529 S Rhodes Avenue, 11318 S Church Street, 2129 W 71st Street, 6749-59 S                                 Street; 3213 S Throop Street; 406 E 87th Place; 417 Oglesby Avenue; 6554 S Rhodes Avenue; 8107 S Kingston Avenue; 8346 S
                                                                                                       Merrill Avenue, 7110 S Cornell Avenue, 7925 S Kingston Avenue, 9212 S Parnell Avenue, 7210 S                                Constance Avenue; 8403 S Aberdeen Street; 8432 S Essex Avenue; 8517 S Vernon Avenue; 8529 S Rhodes Avenue; 9212 S
                                                                                                       Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th Place, 6554 S Rhodes Avenue, 7712 S Euclid                                 Parnell Avenue; 9610 S Woodlawn Avenue
                                                                                                       Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107 S Kingston Avenue, 8346 S Constance
                                                                                                       Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue, 8517 S Vernon
                                                                                                       Avenue) ( 4)
        July-21 Claims Administration & Objections           7/15/2021 AW           140       42430.01 Responses to claimants, update discovery responses spreadsheet, and resolve group email issue             0.3 $       42.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                       (Group 1).                                                                                                                  Muskegon Avenue
        July-21 Claims Administration & Objections           7/15/2021 MR           390       42431.01 Attention to issues and follow up response to revisions on claim process (sole lien).                     0.2 $       78.00 sole lien                                                                                                                                  28
        July-21 Asset Disposition                            7/16/2021 KBD          390       40636.01 Exchange correspondence regarding motion to approve sale of property and revise motion (.4) (1102         0.4 $      156.00 1102 Bingham (Houston, TX)                                                                                                                  1
                                                                                                       Bingham)
        July-21 Asset Disposition                            7/16/2021 KBD          390       40636.02 exchange correspondence with property manager regarding water meter issue (638-40 N Avers                 0.1 $        39.00 638-40 N Avers Avenue                                                                                                                     1
                                                                                                       Avenue) (.1).
        July-21 Asset Disposition                            7/16/2021 KMP          140       40637.01 Attention to order granting twelfth motion to approve sale of property and related communications         0.2 $        28.00 638-40 N Avers Avenue                                                                                                                     1
                                                                                                       with EB team (638-40 N Avers Avenue).
        July-21 Asset Disposition                            7/16/2021 JR           140       40641.01 Review email from the title company regarding a refund check from closing and forward information         0.2 $        28.00 4750-52 S Indiana Avenue                                                                                                                  1
                                                                                                       to K. Pritchard (4750-52 S Indiana Avenue).
        July-21 Business Operations                          7/16/2021 JRW          260       41538.01 Confer with J. Rak regarding tax payments and payment plans and related review of correspondence          0.2 $        52.00 1102 Bingham (Houston, TX)                                                                                                                1
                                                                                                       and statements from tax office (1102 Bingham).
        July-21 Business Operations                          7/16/2021 SZ           110       41544.01 Review and assemble records corresponding to property expenses in connection with restoration of          1.2 $      132.00 7925 S Kingston Avenue; 8030 S Marquette Avenue; 8107 S Kingston Avenue; 816-22 E Marquette Road; 8201 S Kingston                          40
                                                                                                       funds motion (61 E 92nd Street, 417 Oglesby Avenue, 816-22 E Marquette Road, 1131-41 E 79th                                 Avenue; 8346 S Constance Avenue; 8432 S Essex Avenue; 1131-41 E 79th Place; 8517 S Vernon Avenue; 8529 S Rhodes
                                                                                                       Place, 1422-24 East 68th Street, 1516 E 85th Place, 2129 W 71st Street, 2136 W 83rd Street, 2453-59                         Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 7051 S Bennett Avenue; 7110 S Cornell Avenue; 7508 S Essex Avenue;
                                                                                                       E 75th Street, 2800-06 E 81st Street, 3213 S Throop Street, 4520-26 S Drexel Boulevard, 4533-47 S                           7701-03 S Essex Avenue; 7712 S Euclid Avenue; 7840-42 S Yates Avenue; 7922 S Luella Avenue; 11318 S Church Street; 1422-
                                                                                                       Calumet Avenue, 4611-17 S Drexel Boulevard, 4750-52 S Indiana Avenue, 5437 S Laflin Street, 5450-                           24 East 68th Street; 1516 E 85th Place; 2129 W 71st Street; 2136 W 83rd Street; 2800-06 E 81st Street; 3074 E Cheltenham
                                                                                                       52 S Indiana Avenue, 6217-27 S Dorchester Avenue, 6437-41 S Kenwood Avenue, 11318 S Church                                  Place; 3213 S Throop Street; 417 Oglesby Avenue; 4520-26 S Drexel Boulevard; 4533-47 S Calumet Avenue; 4611-17 S Drexel
                                                                                                       Street, 9212 S Parnell Avenue, 8800 S Ada Street, 8529 S Rhodes Avenue, 8517 S Vernon Avenue,                               Boulevard; 4750-52 S Indiana Avenue; 5437 S Laflin Street; 5450-52 S Indiana Avenue; 61 E 92nd Street; 6217-27 S Dorchester
                                                                                                       8432 S Essex Avenue, 8346 S Constance Avenue, 8201 S Kingston Avenue, 8107 S Kingston Avenue,                               Avenue; 6437-41 S Kenwood Avenue; 6749-59 S Merrill Avenue; 6825 S Indiana Avenue; 7024-32 S Paxton Avenue
                                                                                                       8030 S Marquette Avenue, 7925 S Kingston Avenue, 7922 S Luella Avenue, 7840-42 S Yates Avenue,
                                                                                                       7836 S Shore Drive, 7712 S Euclid Avenue, 7701-03 S Essex Avenue, 7110 S Cornell Avenue, 7051 S
                                                                                                       Bennett Avenue, 7024-32 S Paxton Avenue, 6749-59 S Merrill Avenue, 6825 S Indiana Avenue).

        July-21 Claims Administration & Objections           7/16/2021 KBD          390       42436.01 Exchange correspondence regarding evaluation of secured status for claims (all).                          0.2 $        78.00 all                                                                                                                                       80
        July-21 Claims Administration & Objections           7/16/2021 JRW          260       42438.01 Confer with A. Porter regarding claims against property and related review of claims workup (1102         0.2 $        52.00 1102 Bingham (Houston, TX)                                                                                                                 1
                                                                                                       Bingham) (.2)
        July-21 Claims Administration & Objections           7/16/2021 JRW          260       42438.02 exchange correspondence with counsel for claimants regarding claims resolution procedures (1017           0.1 $        26.00 10012 S LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 1516 E 85th Place; 2129 W 71st Street; 2136 W 83rd                    28
                                                                                                       W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue,                             Street; 3213 S Throop Street; 406 E 87th Place; 417 Oglesby Avenue; 6554 S Rhodes Avenue; 6749-59 S Merrill Avenue; 6759 S
                                                                                                       8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue,                               Indiana Avenue; 6825 S Indiana Avenue; 7110 S Cornell Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7922 S Luella
                                                                                                       11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S                           Avenue; 7925 S Kingston Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8107 S Kingston Avenue; 8346 S
                                                                                                       Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th                              Constance Avenue; 8403 S Aberdeen Street; 8432 S Essex Avenue; 8517 S Vernon Avenue; 8529 S Rhodes Avenue; 9212 S
                                                                                                       Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107                           Parnell Avenue; 9610 S Woodlawn Avenue
                                                                                                       S Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue,
                                                                                                       6759 S Indiana Avenue, 8517 S Vernon Avenue) (.1)
        July-21 Claims Administration & Objections           7/16/2021 JRW          260       42438.03 office conference with K. Duff regarding claims process and timing (all) (.2).                            0.2 $       52.00 all                                                                                                                                        80
        July-21 Claims Administration & Objections           7/18/2021 KBD          390       42454.01 Telephone conference with A. Porter regarding claims analysis and discovery planning (Group 1).           0.2 $       78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                   Muskegon Avenue
        July-21 Claims Administration & Objections           7/18/2021 AEP          390       42460.01 Teleconference with K. Duff regarding method for assessing claims of secured lenders and process          0.2 $       78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                       for propounding and reviewing discovery documents (Group 1).                                                                Muskegon Avenue
        July-21 Asset Disposition                            7/19/2021 KBD          390       40663.01 Revise motion to approve sale of property and exchange related correspondence (1102 Bingham) (.3)         0.3 $      117.00 1102 Bingham (Houston, TX)                                                                                                                 1

        July-21 Asset Disposition                            7/19/2021 KBD          390       40663.02 attention to post-sale funds from title company and exchange related correspondence (7255-57 S            0.1 $        39.00 7255-57 S Euclid Avenue                                                                                                                   1
                                                                                                       Euclid Avenue) (.1).
        July-21 Asset Disposition                            7/19/2021 JRW          260       40665.01 Study tax records and email exchange with K. Duff regarding same (1102 Bingham) (.2)                      0.2 $        52.00 1102 Bingham (Houston, TX)                                                                                                                1
        July-21 Asset Disposition                            7/19/2021 JRW          260       40665.02 finalization and filing of 14th motion to confirm sale (1102 Bingham) (.2)                                0.2 $        52.00 1102 Bingham (Houston, TX)                                                                                                                1
        July-21 Asset Disposition                            7/19/2021 JRW          260       40665.03 correspondence to counsel for taxing authority regarding state tax lien and payoff letters (1102          0.3 $        78.00 1102 Bingham (Houston, TX)                                                                                                                1
                                                                                                       Bingham) (.3).
        July-21 Asset Disposition                            7/19/2021 AW           140       40666.01 Attention to 14th motion to approve sale, proofread motion and prepare exhibit, communicate with          0.9 $      126.00 1102 Bingham (Houston, TX)                                                                                                                 1
                                                                                                       counsel regarding notice, file with the Court, and email as per service list (1102 Bingham).

        July-21 Asset Disposition                            7/19/2021 MR           390       40667.01 Attention to exchanges regarding 14th sales motion and filing (1102 Bingham).                             0.2 $        78.00 1102 Bingham (Houston, TX)                                                                                                                1
        July-21 Asset Disposition                            7/19/2021 JR           140       40668.01 Review email from K. Duff regarding account information for property and provide information (7255-       0.1 $        14.00 7255-57 S Euclid Avenue                                                                                                                   1
                                                                                                       57 S Euclid Avenue) (.1)
        July-21 Asset Disposition                            7/19/2021 JR           140       40668.02 follow up correspondence with property insurance inspector and property management requesting             0.3 $        42.00 638-40 N Avers Avenue                                                                                                                     1
                                                                                                       to schedule an inspection of property (638-40 N Avers Avenue) (.3).
        July-21 Claims Administration & Objections           7/19/2021 KBD          390       42463.01 Work on response to claimant inquiry (all).                                                               0.2 $       78.00 all                                                                                                                                        80
        July-21 Claims Administration & Objections           7/19/2021 AW           140       42466.01 Attention to discovery responses received from claimants, update files for sharing discovery and          1.8 $      252.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                       spreadsheet reflecting discovery progress (Group 1).                                                                        Muskegon Avenue
        July-21 Asset Disposition                            7/20/2021 JR           140       40677.01 Review email from K. Duff requesting form to be sent to accounting firm relating to the sale of           0.1 $       14.00 1422-24 East 68th Street                                                                                                                   1
                                                                                                       property and communicate with firm regarding same (1422-24 E 68th Street) (.1)
        July-21 Asset Disposition                            7/20/2021 JR           140       40677.02 review and organize closed property documents related to previous sales (6217-27 S Dorchester             1.6 $      224.00 1422-24 East 68th Street; 6217-27 S Dorchester Avenue; 7237-43 S Bennett Avenue; 7255-57 S Euclid Avenue                                   4
                                                                                                       Avenue, 7237-43 S Bennett Avenue, 7255-57 S Euclid Avenue, 1422-24 E 68th Street) (1.6).

        July-21 Claims Administration & Objections           7/20/2021 KBD          390       42472.01 Attention to communication from claimant and exchange related correspondence with A.                      0.2 $        78.00 all                                                                                                                                       80
                                                                                                       Watychowicz (all).
        July-21 Claims Administration & Objections           7/20/2021 AW           140       42475.01 Confirm receipt of discovery responses to shared folder and via email and update sheet (Group 1) (.4)     0.4 $        56.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                    Muskegon Avenue
        July-21 Claims Administration & Objections           7/20/2021 AW           140       42475.02 work on issue with mailing received by claimant (Group 1) (.2)                                            0.2 $        28.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                    Muskegon Avenue
        July-21 Claims Administration & Objections           7/20/2021 AW           140       42475.03 responses to claimants' emails regarding tax issues, property sales in second quarter of 2021, claims     0.6 $        84.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       process, and grouping (Group 1) (.6).                                                                                        Muskegon Avenue



                                                                                                                                                                                    8 of 35
                                                                                                                             Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 174 of 200 PageID #:34110




EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                           Task Description                                           Task      Task Cost                                                     Property Allocations                                                     Property
                                                                         Keeper                                                                                                                              Hours                                                                                                                                            Allocation
                                                                                                                                                                                                                                                                                                                                                                Count
        July-21 Asset Disposition                            7/21/2021 JR           140       40686.01 Review email from A. Watychowicz related to information for EquityBuild property, conduct research      0.4 $        56.00 exclude/defer                                                                                                                            0
                                                                                                       and respond accordingly.
        July-21 Business Operations                          7/21/2021 KBD          390       41581.01 Review correspondence from J. Rak regarding real estate tax payment planning (638-40 N Avers            0.1 $        39.00 638-40 N Avers Avenue; 7109-19 S Calumet Avenue                                                                                          2
                                                                                                       Avenue, 7109-19 S Calumet Avenue).
        July-21 Business Operations                          7/21/2021 JRW          260       41583.01 Exchange correspondence with corporation counsel regarding housing court matters and related            0.3 $        78.00 6217-27 S Dorchester Avenue; 638-40 N Avers Avenue; 7237-43 S Bennett Avenue                                                             3
                                                                                                       email exchange with J. Rak (7237-43 S Bennett Avenue, 638-40 N Avers Avenue, 6217-27 S Dorchester
                                                                                                       Avenue) (.3)
        July-21 Business Operations                          7/21/2021 JRW          260       41583.02 email exchange with A. Watychowicz regarding administrative court order (7024- 32 S Paxton              0.1 $        26.00 7024-32 S Paxton Avenue                                                                                                                  1
                                                                                                       Avenue) (.1).
        July-21 Business Operations                          7/21/2021 JR           140       41586.01 Exchange correspondence with account analyst regarding various property insurance endorsements          0.3 $        42.00 7508 S Essex Avenue; 7546-48 S Saginaw Avenue; 2736-44 W 64th Street; 3074 E Cheltenham Place; 431 E 42nd Place; 4315-                   41
                                                                                                       related to sold properties (8047-55 S. Manistee Avenue, 7749-59 S. Yates Boulevard, 6749-59 S                              19 S Michigan Avenue; 4520-26 S Drexel Boulevard; 4533-47 S Calumet Avenue; 8000-02 S Justine Street; 8047-55 S Manistee
                                                                                                       Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S                          Avenue; 8107-09 S Ellis Avenue; 816-22 E Marquette Road; 8201 S Kingston Avenue; 8209 S Ellis Avenue; 8214-16 S Ingleside
                                                                                                       Drexel Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S                        Avenue; 8326-58 S Ellis Avenue; 11117-11119 S Longwood Drive; 1131-41 E 79th Place; 1700-08 W Juneway Terrace; 7600-10
                                                                                                       Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000- 02 S                          S Kingston Avenue; 7656-58 S Kingston Avenue; 7701-03 S Essex Avenue; 7749-59 S Yates Boulevard; 7760 S Coles Avenue;
                                                                                                       Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-19 S                        7957-59 S Marquette Road; 6554-58 S Vernon Avenue; 6749-59 S Merrill Avenue; 6949-59 S Merrill Avenue; 7051 S Bennett
                                                                                                       Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette                                   Avenue; 7110 S Cornell Avenue; 7201 S Constance Avenue; 5450-52 S Indiana Avenue; 5618-20 S Martin Luther King Drive;
                                                                                                       Avenue, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street, 5618- 20 S Martin                           6250 S Mozart Street; 6355-59 S Talman Avenue; 6356 S California Avenue; 6437-41 S Kenwood Avenue; 7201-07 S Dorchester
                                                                                                       Luther King Drive, 6356 S California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue,                             Avenue; 7300-04 S St Lawrence Avenue; 7442-54 S Calumet Avenue; 7450 S Luella Avenue
                                                                                                       6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex
                                                                                                       Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette
                                                                                                       Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S
                                                                                                       Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).

        July-21 Claims Administration & Objections           7/21/2021 KBD          390       42481.01 Exchange correspondence with A. Watychowicz and J. Wine regarding claimant communication and            0.2 $       78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       funds issue (Group 1).                                                                                                    Muskegon Avenue
        July-21 Claims Administration & Objections           7/21/2021 JRW          260       42483.01 Review correspondence regarding claimant inquiries (Group 1).                                           0.2 $       52.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                 Muskegon Avenue
        July-21 Claims Administration & Objections           7/21/2021 AW           140       42484.01 Correspondence with claimants and counsel regarding settlement agreement, claims process,               0.5 $       70.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       discovery requests, fund issues (Group 1) (.5)                                                                            Muskegon Avenue
        July-21 Claims Administration & Objections           7/21/2021 AW           140       42484.02 confirm receipt of discovery responses to shared folder and via email and update sheet (Group 1)        1.4 $      196.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       (1.4)                                                                                                                     Muskegon Avenue
        July-21 Claims Administration & Objections           7/21/2021 AW           140       42484.03 work with claimant whose email was frozen and attempt to resend past communication (Group 1)            0.2 $       28.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       (.2).                                                                                                                     Muskegon Avenue
        July-21 Claims Administration & Objections           7/21/2021 JR           140       42486.01 Teleconference with A. Porter and N. Gastevich regarding status of claims analyses in connection        0.3 $       42.00 3074 E Cheltenham Place; 7201 S Constance Avenue                                                                                          2
                                                                                                       with receivership properties (7201 S Constance Avenue, 3074 E Cheltenham Place).

        July-21 Claims Administration & Objections           7/21/2021 AEP          390       42487.01 Teleconference with N. Gastevich and J. Rak regarding status of claims analysis in connection with      0.3 $      117.00 3074 E Cheltenham Place; 7201 S Constance Avenue                                                                                          2
                                                                                                       receivership properties (7201 S Constance Avenue, 3074 E Cheltenham Place).

        July-21 Business Operations                          7/22/2021 JR           140       41595.01 Review property insurance endorsements and communicate with account analyst regarding various           0.7 $        98.00 8000-02 S Justine Street; 8047-55 S Manistee Avenue; 8107-09 S Ellis Avenue; 816-22 E Marquette Road; 8201 S Kingston                    41
                                                                                                       property insurance missing endorsements related to sold properties and request production of same                          Avenue; 8209 S Ellis Avenue; 11117-11119 S Longwood Drive; 1131-41 E 79th Place; 1700-08 W Juneway Terrace; 5450-52 S
                                                                                                       (8047-55 S. Manistee Avenue, 7749-59 S. Yates Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella                           Indiana Avenue; 5618-20 S Martin Luther King Drive; 6250 S Mozart Street; 7201-07 S Dorchester Avenue; 7300-04 S St
                                                                                                       Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520- 26 S Drexel Boulevard, 8326-32 S                           Lawrence Avenue; 7442-54 S Calumet Avenue; 7450 S Luella Avenue; 7508 S Essex Avenue; 7546-48 S Saginaw Avenue; 6355-
                                                                                                       Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 5450-52 S                            59 S Talman Avenue; 6356 S California Avenue; 6437-41 S Kenwood Avenue; 8214-16 S Ingleside Avenue; 8326-58 S Ellis
                                                                                                       Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09                           Avenue; 2736-44 W 64th Street; 3074 E Cheltenham Place; 431 E 42nd Place; 4315-19 S Michigan Avenue; 4520-26 S Drexel
                                                                                                       S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-19 S Longwood Drive, 7300-04                        Boulevard; 4533-47 S Calumet Avenue; 6554-58 S Vernon Avenue; 6749-59 S Merrill Avenue; 6949-59 S Merrill Avenue; 7051 S
                                                                                                       S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Avenue, 7051 S Bennett Avenue,                            Bennett Avenue; 7110 S Cornell Avenue; 7201 S Constance Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue;
                                                                                                       3074 E Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S                                 7701-03 S Essex Avenue; 7749-59 S Yates Boulevard; 7760 S Coles Avenue; 7957-59 S Marquette Road
                                                                                                       California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue,
                                                                                                       1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place,
                                                                                                       7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill
                                                                                                       Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-
                                                                                                       58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).

        July-21 Business Operations                          7/22/2021 SZ           110       41598.01 Continue to cross-reference repair expenses ledger against exhibits for Third Restoration Motion to     1.6 $      176.00 7201-07 S Dorchester Avenue                                                                                                               1
                                                                                                       add missing exhibits (7201-07 S Dorchester Avenue).
        July-21 Claims Administration & Objections           7/22/2021 AW           140       42493.01 Attention to email from claimant requesting a call and follow up by email (all) (.1)                    0.1 $       14.00 all                                                                                                                                       80
        July-21 Claims Administration & Objections           7/22/2021 AW           140       42493.02 confirm receipt of discovery responses to shared folder and via email and update discovery sheet        0.8 $      112.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                       (Group 1) (.8)                                                                                                            Muskegon Avenue
        July-21 Claims Administration & Objections           7/22/2021 AW           140       42493.03 continued work with claimant whose email was frozen, resend emails, and change email information        0.3 $       42.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       (Group 1) (.3)                                                                                                            Muskegon Avenue
        July-21 Asset Disposition                            7/23/2021 KBD          390       40699.01 Telephone conference with A. Porter and asset manager regarding potential property improvements,        0.8 $      312.00 7109-19 S Calumet Avenue                                                                                                                  1
                                                                                                       disposition issues, and communications with property manager and lender (7109-19 S Calumet
                                                                                                       Avenue) (.8)
        July-21 Asset Disposition                            7/23/2021 KBD          390       40699.02 study letter of credit issue (7109-19 S Calumet Avenue) (.3).                                           0.3 $      117.00 7109-19 S Calumet Avenue                                                                                                                   1
        July-21 Asset Disposition                            7/23/2021 KMP          140       40700.01 Communicate with K. Duff, A. Porter, and J. Rak regarding property manager's request for                0.8 $      112.00 7922 S Luella Avenue; 7925 S Kingston Avenue; 7933 S Kingston Avenue; 7953 S Woodlawn Avenue; 8030 S Marquette                            33
                                                                                                       information in connection with post-sale reconciliation, prepare related spreadsheet and forward to                       Avenue; 8104 S Kingston Avenue; 8107 S Kingston Avenue; 8346 S Constance Avenue; 8403 S Aberdeen Street; 406 E 87th
                                                                                                       property manager (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S                           Place; 4750-52 S Indiana Avenue; 61 E 92nd Street; 6554 S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue;
                                                                                                       Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800                              7712 S Euclid Avenue; 7840-42 S Yates Avenue; 10012 S LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 1422-24
                                                                                                       S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue,                         East 68th Street; 1516 E 85th Place; 2136 W 83rd Street; 2800-06 E 81st Street; 3213 S Throop Street; 417 Oglesby Avenue;
                                                                                                       1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W                           3723 W 68th Place; 8405 S Marquette Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 8529 S Rhodes Avenue; 8800 S
                                                                                                       68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S                       Ada Street; 9212 S Parnell Avenue
                                                                                                       Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S
                                                                                                       Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S
                                                                                                       Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).
        July-21 Asset Disposition                            7/23/2021 JR           140       40704.01 Review email from K. Duff regarding unsold property and vacancy status and respond accordingly          0.1 $        14.00 7109-19 S Calumet Avenue                                                                                                                 1
                                                                                                       (7109-19 S Calumet Avenue) (.1)
        July-21 Asset Disposition                            7/23/2021 JR           140       40704.02 follow up with property management requesting current property reports (7109-19 S Calumet               0.1 $        14.00 7109-19 S Calumet Avenue                                                                                                                 1
                                                                                                       Avenue) (.1)
        July-21 Asset Disposition                            7/23/2021 JR           140       40704.03 review email from A. Porter regarding preparation of closing documents in anticipation of closing       0.1 $        14.00 638-40 N Avers Avenue                                                                                                                    1
                                                                                                       and respond accordingly (638-40 S Avers Avenue) (.1)
        July-21 Asset Disposition                            7/23/2021 JR           140       40704.04 exchange communication with buyer's counsel requesting buyer information needed for closing (638-       0.2 $        28.00 638-40 N Avers Avenue                                                                                                                    1
                                                                                                       40 N Avers Avenue) (.2)
        July-21 Asset Disposition                            7/23/2021 JR           140       40704.05 prepare draft closing documents (638-40 N Avers Avenue) (2.2)                                           2.2 $      308.00 638-40 N Avers Avenue                                                                                                                     1
        July-21 Asset Disposition                            7/23/2021 JR           140       40704.06 exchange correspondence with the title company requesting title invoice in anticipation for closing     0.1 $       14.00 638-40 N Avers Avenue                                                                                                                     1
                                                                                                       (638-40 N Avers Avenue) (.1)




                                                                                                                                                                                    9 of 35
                                                                                                                              Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 175 of 200 PageID #:34111




EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                           Task Description                                            Task      Task Cost                                                     Property Allocations                                                     Property
                                                                         Keeper                                                                                                                               Hours                                                                                                                                            Allocation
                                                                                                                                                                                                                                                                                                                                                                 Count
        July-21 Asset Disposition                            7/23/2021 JR           140       40704.07 review email from K. Duff regarding property insurance inspection and further communicate with           0.2 $        28.00 7237-43 S Bennett Avenue                                                                                                                 1
                                                                                                       the inspector regarding sale of property and request cancellation of inspection (7237-43 S Bennett
                                                                                                       Avenue) (.2).
        July-21 Business Operations                          7/23/2021 KBD          390       41599.01 Exchange correspondence with property manager regarding occupancy and improvement issues                 0.2 $        78.00 7109-19 S Calumet Avenue                                                                                                                 1
                                                                                                       (7109-19 S Calumet Avenue) (.2)
        July-21 Business Operations                          7/23/2021 KBD          390       41599.02 exchange correspondence with J. Rak regarding communication with property inspector regarding            0.1 $        39.00 7237-43 S Bennett Avenue                                                                                                                 1
                                                                                                       sale (7237-43 S Bennett Avenue) (.1).
        July-21 Business Operations                          7/23/2021 KMP          140       41600.01 Review online bank records to confirm deposit of refunded escrow money to property account and           0.2 $        28.00 7255-57 S Euclid Avenue                                                                                                                  1
                                                                                                       related communication with K. Duff (7255-57 S Euclid Avenue).
        July-21 Business Operations                          7/23/2021 JRW          260       41601.01 Review municipal court orders and related correspondence and updates (7237-43 S Bennett Avenue,          0.2 $        52.00 6217-27 S Dorchester Avenue; 638-40 N Avers Avenue; 7237-43 S Bennett Avenue                                                             3
                                                                                                       6217-27 S Dorchester Avenue, 638-40 N Avers Avenue) (.2)
        July-21 Business Operations                          7/23/2021 JRW          260       41601.02 review orders entered in administrative matters and update records (4750-52 S Indiana Avenue,            0.2 $        52.00 2736-44 W 64th Street; 4750-52 S Indiana Avenue; 6250 S Mozart Street; 6554-58 S Vernon Avenue                                           4
                                                                                                       6554-58 S Vernon Avenue, 6250 S Mozart Street, 2736-44 W 64th Street) (.2)
        July-21 Business Operations                          7/23/2021 JRW          260       41601.03 correspondence with City of Chicago regarding judgment order (6250 S Mozart Street) (.1).                0.1 $        26.00 6250 S Mozart Street                                                                                                                      1
        July-21 Business Operations                          7/23/2021 JR           140       41604.01 Exchange correspondence with account analyst regarding requested property insurance                      0.5 $        70.00 7201-07 S Dorchester Avenue; 7300-04 S St Lawrence Avenue; 7442-54 S Calumet Avenue; 7450 S Luella Avenue; 7508 S Essex                  42
                                                                                                       endorsements for sold properties in 2020, review requested endorsements and save in electronic                              Avenue; 7546-48 S Saginaw Avenue; 3074 E Cheltenham Place; 431 E 42nd Place; 4315-19 S Michigan Avenue; 4520-26 S
                                                                                                       files (8047-55 S Manistee Avenue, 701-13 S 5th Avenue, 7749-59 S Yates Boulevard, 6749-59 S Merrill                         Drexel Boulevard; 4533-47 S Calumet Avenue; 5450-52 S Indiana Avenue; 8214-16 S Ingleside Avenue; 8326-58 S Ellis Avenue;
                                                                                                       Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 4520- 26 S Drexel Boulevard, 8201 S                                 8000-02 S Justine Street; 8047-55 S Manistee Avenue; 8107-09 S Ellis Avenue; 816-22 E Marquette Road; 8201 S Kingston
                                                                                                       Kingston Avenue, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S                          Avenue; 8209 S Ellis Avenue; 11117-11119 S Longwood Drive; 1131-41 E 79th Place; 1700-08 W Juneway Terrace; 2736-44 W
                                                                                                       Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S                            64th Street; 7760 S Coles Avenue; 7957-59 S Marquette Road; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue; 7701-
                                                                                                       Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119                        03 S Essex Avenue; 7749-59 S Yates Boulevard; 6749-59 S Merrill Avenue; 6949-59 S Merrill Avenue; 701-13 S 5th Avenue;
                                                                                                       S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Road,                            7051 S Bennett Avenue; 7110 S Cornell Avenue; 7201 S Constance Avenue; 5618-20 S Martin Luther King Drive; 6250 S Mozart
                                                                                                       7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736- 44 W 64th Street, 6355-59 S Talman                                    Street; 6355-59 S Talman Avenue; 6356 S California Avenue; 6437-41 S Kenwood Avenue; 6554-58 S Vernon Avenue
                                                                                                       Avenue, 6356 S California Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue,
                                                                                                       6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex
                                                                                                       Avenue, 431 E 42nd Place, 7442-54 S Calumet Avenue, 7701-03 S Essex Avenue, 816-22 E Marquette
                                                                                                       Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 7600-10 S Kingston Avenue, 7656-58 S
                                                                                                       Kingston Avenue, 4315-19 S Michigan Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).

        July-21 Business Operations                          7/23/2021 SZ           110       41607.01 Continued to cross-reference repair expenses ledger against exhibits for Third Restoration Motion to     1.3 $      143.00 638-40 N Avers Avenue; 7255-57 S Euclid Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue                                      4
                                                                                                       add missing exhibits (638-40 N Avers Avenue, 7255-57 S Euclid Avenue, 7600-10 S Kingston Avenue,
                                                                                                       7656-58 S Kingston Avenue) (1.3)
        July-21 Business Operations                          7/23/2021 SZ           110       41607.02 email exchange with property manager regarding missing invoices (638-40 N Avers Avenue, 7255-57          0.1 $        11.00 638-40 N Avers Avenue; 7255-57 S Euclid Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue                                     4
                                                                                                       S Euclid Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue) (.1).
        July-21 Claims Administration & Objections           7/23/2021 KBD          390       42499.01 Review claims documentation and exchange various related correspondence with J. Wine and A.              0.5 $      195.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       Watychowicz (Group 1) (.5)                                                                                                 Muskegon Avenue
        July-21 Claims Administration & Objections           7/23/2021 KBD          390       42499.02 exchange correspondence with claimant regarding claims information (Group 1) (.1).                       0.1 $       39.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                  Muskegon Avenue
        July-21 Claims Administration & Objections           7/23/2021 AW           140       42502.01 Correspond with claimants regarding status of their discovery responses (Group 1) (.2)                   0.2 $       28.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                  Muskegon Avenue
        July-21 Claims Administration & Objections           7/23/2021 AW           140       42502.02 research regarding claimant's suggestion on framing report and related email to claimant's counsel       0.2 $       28.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       (Group 1) (.2)                                                                                                             Muskegon Avenue
        July-21 Claims Administration & Objections           7/23/2021 AW           140       42502.03 communicate with K. Duff regarding hard copy responses and draft email to claimant requesting            0.3 $       42.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       electronic copies (Group 1) (.3).                                                                                          Muskegon Avenue
        July-21 Asset Disposition                            7/24/2021 AEP          390       40714.01 Read e-mails pertaining to management of receivership property and cursory review of                     0.1 $       39.00 7109-19 S Calumet Avenue                                                                                                                  1
                                                                                                       corresponding financial statements (7109-19 S Calumet Avenue) (.1)
        July-21 Asset Disposition                            7/24/2021 AEP          390       40714.02 read and respond to correspondence with K. Duff and K. Pritchard regarding allocations of                0.2 $        78.00 10012 S LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 1516 E 85th Place; 2136 W 83rd Street; 3213 S Throop                 29
                                                                                                       disbursements from property manager in connection with EB South Chicago 1 and EB South Chicago                              Street; 3723 W 68th Place; 406 E 87th Place; 417 Oglesby Avenue; 61 E 92nd Street; 6554 S Rhodes Avenue; 6825 S Indiana
                                                                                                       2 properties (1516 E 85th Place, 2136 W 83rd Street, 7922 S Luella Avenue, 7933 S Kingston Avenue,                          Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue; 7933 S Kingston
                                                                                                       8030 S Marquette Avenue, 8104 S Kingston Avenue, 8529 S Rhodes Avenue, 1017 W 102nd Street,                                 Avenue; 7953 S Woodlawn Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8107 S Kingston Avenue; 8346 S
                                                                                                       417 Oglesby Avenue, 7925 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue,                                Constance Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 8529 S
                                                                                                       8800 S Ada Street, 9212 S Parnell Avenue, 11318 S Church Street, 10012 S LaSalle Avenue, 3723 W                             Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell Avenue
                                                                                                       68th Place, 406 E 87th Place, 61 E 92nd Street, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107
                                                                                                       S Kingston Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 3213 S Throop Street, 6554 S
                                                                                                       Rhodes Avenue, 6825 S Indiana Avenue, 8346 S Constance Avenue, 7210 S Vernon Avenue) (.2).
        July-21 Asset Disposition                            7/26/2021 JR           140       40731.01 Review requested information from S. Zjalic regarding status of unsold properties and provide update     0.1 $        14.00 1102 Bingham (Houston, TX); 638-40 N Avers Avenue; 7109-19 S Calumet Avenue                                                              3
                                                                                                       regarding sales (7109-19 S Calumet Avenue, 638-40 S Avers Avenue, 1102 Bingham) (.1)

        July-21 Asset Disposition                            7/26/2021 JR           140       40731.02 review email from K. Duff related to property inspection and further contact real estate broker and      0.2 $        28.00 1102 Bingham (Houston, TX)                                                                                                               1
                                                                                                       inspector to schedule property inspection (1102 Bingham) (.2).
        July-21 Asset Disposition                            7/26/2021 AEP          390       40732.01 Read e-mail from title underwriter regarding final needs in connection with processing of title          0.1 $        39.00 638-40 N Avers Avenue                                                                                                                    1
                                                                                                       commitment in connection with sale of receivership property, review files, and prepare e-mail to J.
                                                                                                       Wine regarding entry of judicial order in proper form (638-40 N Avers Avenue) (.1)

        July-21 Asset Disposition                            7/26/2021 AEP          390       40732.02 review and revise all drafts of closing documents associated with prospective conveyance of              1.1 $      429.00 638-40 N Avers Avenue                                                                                                                     1
                                                                                                       receivership property and correspond with title underwriters regarding errors on title commitment
                                                                                                       and title invoice (638-40 N Avers Avenue) (1.1).
        July-21 Business Operations                          7/26/2021 KBD          390       41626.01 Attention to property inspection (1102 Bingham) (.1)                                                     0.1 $        39.00 1102 Bingham (Houston, TX)                                                                                                               1
        July-21 Business Operations                          7/26/2021 KBD          390       41626.02 exchange correspondence with J. Wine regarding administrative order (6250 S Mozart Street) (.1).         0.1 $        39.00 6250 S Mozart Street                                                                                                                     1

        July-21 Business Operations                          7/26/2021 AEP          390       41632.01 Review latest orders forwarded by J. Wine regarding administrative actions on former receivership        0.2 $        78.00 2736-44 W 64th Street; 4750-52 S Indiana Avenue; 6250 S Mozart Street; 7237-43 S Bennett Avenue                                          4
                                                                                                       properties, reconcile with case calendar spreadsheet, and provide related comments (6250 S Mozart
                                                                                                       Street, 4750- 52 S Indiana Avenue, 2736-44 W 64th Street, 7237-43 S Bennett Avenue).

        July-21 Claims Administration & Objections           7/26/2021 KBD          390       42526.01 Attention to claimant communication regarding Group 1 discovery (Group 1) (.1)                           0.1 $        39.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                        5
                                                                                                                                                                                                                                   Muskegon Avenue
        July-21 Claims Administration & Objections           7/26/2021 KBD          390       42526.02 exchange correspondence with A. Porter regarding third party failure to submit claim (all) (.1)          0.1 $        39.00 all                                                                                                                                      80

        July-21 Claims Administration & Objections           7/26/2021 KBD          390       42526.03 attention to claimant production records issue (all) (.1).                                               0.1 $       39.00 all                                                                                                                                       80
        July-21 Claims Administration & Objections           7/26/2021 JRW          260       42528.01 Attention to claimant inquiries regarding claims process (all) (.6)                                      0.6 $      156.00 all                                                                                                                                       80
        July-21 Claims Administration & Objections           7/26/2021 JRW          260       42528.02 telephone conference with A. Watychowicz regarding claims process and claimant inquiries (Group          0.2 $       52.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                       1) (.2)                                                                                                                    Muskegon Avenue
        July-21 Claims Administration & Objections           7/26/2021 JRW          260       42528.03 review invoices from vendor and related correspondence (all) (.3).                                       0.3 $       78.00 all                                                                                                                                       80
        July-21 Claims Administration & Objections           7/26/2021 AW           140       42529.01 Call with J. Wine regarding received discovery responses and claims process (Group 1) (.2)               0.2 $       28.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                  Muskegon Avenue
        July-21 Claims Administration & Objections           7/26/2021 AW           140       42529.02 confirm receipt of discovery responses to shared folder and via email and update discovery sheet         0.5 $       70.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       (Group 1) (.5)                                                                                                             Muskegon Avenue
        July-21 Claims Administration & Objections           7/26/2021 AW           140       42529.03 attention to voice message from claimant regarding discovery responses and email response to same        0.1 $       14.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       (Group 1) (.1)                                                                                                             Muskegon Avenue


                                                                                                                                                                                    10 of 35
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EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month                Billing Category               Entry Date    Time    Rate    Task Entry ID                                            Task Description                                               Task        Task Cost                                                     Property Allocations                                                     Property
                                                                         Keeper                                                                                                                                   Hours                                                                                                                                              Allocation
                                                                                                                                                                                                                                                                                                                                                                       Count
        July-21 Claims Administration & Objections           7/26/2021 AW           140       42529.04 email exchange with J. Wine regarding revision to answer to FAQ (Group 1) (.1).                              0.1 $          14.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                        5
                                                                                                                                                                                                                                         Muskegon Avenue
        July-21 Asset Disposition                            7/27/2021 KMP          140       40736.01 Attention to email from property manager following up on issues relating to post-sale reconciliation         0.2 $          28.00 10012 S LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 1422-24 East 68th Street; 8800 S Ada Street; 417                     33
                                                                                                       and related communication with K. Duff (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S                                      Oglesby Avenue; 4750-52 S Indiana Avenue; 61 E 92nd Street; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8107 S
                                                                                                       Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue,                                        Kingston Avenue; 8346 S Constance Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 8432 S Essex Avenue; 8517 S
                                                                                                       8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th                                   Vernon Avenue; 8529 S Rhodes Avenue; 9212 S Parnell Avenue; 6554 S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S
                                                                                                       Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church Street,                                   Vernon Avenue; 7712 S Euclid Avenue; 7840-42 S Yates Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue; 7933 S
                                                                                                       3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue,                                Kingston Avenue; 7953 S Woodlawn Avenue; 1516 E 85th Place; 2136 W 83rd Street; 2800-06 E 81st Street; 3213 S Throop
                                                                                                       6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue,                                        Street; 3723 W 68th Place; 406 E 87th Place
                                                                                                       8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue,
                                                                                                       8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 1422-
                                                                                                       24 E 68th Street).
        July-21 Asset Disposition                            7/27/2021 JRW          260       40737.01 Exchange correspondence with A. Porter and transmit proposed order granting 12th sales motion to             0.2 $          52.00 638-40 N Avers Avenue                                                                                                                    1
                                                                                                       court clerk (638-40 N Avers Avenue).
        July-21 Asset Disposition                            7/27/2021 AW           140       40738.01 Research regarding third party intervenor's motion regarding earnest money.                                  0.2 $          28.00 6949-59 S Merrill Avenue                                                                                                                 1
        July-21 Asset Disposition                            7/27/2021 JR           140       40740.01 Review email from real estate broker requesting the lien waiver for closing (638-40 N Avers Avenue)          0.1 $          14.00 638-40 N Avers Avenue                                                                                                                    1
                                                                                                       (.1)
        July-21 Asset Disposition                            7/27/2021 JR           140       40740.02 exchange correspondence with A. Porter requesting final review of closing documents in preparation           0.1 $          14.00 638-40 N Avers Avenue                                                                                                                    1
                                                                                                       for closing (638- 40 N Avers Avenue) (.1)
        July-21 Asset Disposition                            7/27/2021 JR           140       40740.03 forward lien waivers to property manager and real estate broker requesting signatures for closing            0.1 $          14.00 638-40 N Avers Avenue                                                                                                                    1
                                                                                                       (638-40 N Avers Avenue) (.1)
        July-21 Asset Disposition                            7/27/2021 JR           140       40740.04 exchange correspondence with the title company and A. Porter requesting status of water                      0.1 $          14.00 638-40 N Avers Avenue                                                                                                                    1
                                                                                                       application in anticipation for closing (638-40 N Avers Avenue) (.1)
        July-21 Asset Disposition                            7/27/2021 JR           140       40740.05 review email from A. Porter requesting information related to earnest money held in escrow for               0.3 $          42.00 7656-58 S Kingston Avenue                                                                                                                1
                                                                                                       property, further communicate with the title company, review electronic documents and provide A.
                                                                                                       Porter requested information (7656 S Kingston Avenue) (.3)
        July-21 Asset Disposition                            7/27/2021 JR           140       40740.06 review email from A. Porter regarding issue with access to property to access water meter for                0.1 $          14.00 638-40 N Avers Avenue                                                                                                                    1
                                                                                                       reading (638-40 N Avers Avenue) (.1)
        July-21 Asset Disposition                            7/27/2021 JR           140       40740.07 further communication with property management requesting contact information for access to                  0.1 $          14.00 638-40 N Avers Avenue                                                                                                                    1
                                                                                                       property for water reading (638-40 N Avers Avenue) (.1)
        July-21 Asset Disposition                            7/27/2021 JR           140       40740.08 exchange communication with the title company advising of contact information related to water               0.1 $          14.00 638-40 N Avers Avenue                                                                                                                    1
                                                                                                       application (638-40 N Avers Avenue) (.1).
        July-21 Asset Disposition                            7/27/2021 KMP          140       40754.01 Confer with K. Duff and J. Rak regarding allocation of post-sale reconciliation funds from property          0.3 $          42.00 7712 S Euclid Avenue; 7840-42 S Yates Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue; 7933 S Kingston Avenue; 7953                 33
                                                                                                       manager (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston                                   S Woodlawn Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8107 S Kingston Avenue; 8346 S Constance Avenue;
                                                                                                       Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada                                         8403 S Aberdeen Street; 8405 S Marquette Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 8529 S Rhodes Avenue;
                                                                                                       Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W                                8800 S Ada Street; 9212 S Parnell Avenue; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place; 417 Oglesby Avenue;
                                                                                                       102nd Street, 7933 S Kingston Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th                                    4750-52 S Indiana Avenue; 61 E 92nd Street; 6554 S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 10012 S
                                                                                                       Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S                                    LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 1422-24 East 68th Street; 1516 E 85th Place; 2136 W 83rd
                                                                                                       Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S                                       Street; 2800-06 E 81st Street
                                                                                                       Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S
                                                                                                       Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).
        July-21 Business Operations                          7/27/2021 KBD          390       41635.01 Study information regarding administrative orders and exchange related correspondence with J.                0.2 $          78.00 1414-18 East 62nd Place; 1422-24 East 68th Street; 2736-44 W 64th Street; 4750-52 S Indiana Avenue; 6250 S Mozart Street;                9
                                                                                                        Wine (1414-18 East 62nd Place, 1422-24 East 68th Street, 2736-44 W 64th Street, 4750-52 S Indiana                                6554-58 S Vernon Avenue; 6949-59 S Merrill Avenue; 7024-32 S Paxton Avenue; 7957-59 S Marquette Road
                                                                                                        Avenue, 6250 S Mozart Street, 6554-58 S Vernon Avenue, 6949-59 S Merrill Avenue, 7024-32 S Paxton
                                                                                                        Avenue, 7957-59 S Marquette Road) (.2)
        July-21 Business Operations                          7/27/2021 KBD          390       41635.02 exchange correspondence with J. Wine regarding communication with corporate service provider                 0.2 $          78.00 exclude/defer                                                                                                                            0
                                                                                                        (defer) (.2).
        July-21 Business Operations                          7/27/2021 JRW          260       41637.01 Update A. Porter and K. Duff on recent notices of violation and inspection and sale dates (7024-32 S         0.7 $        182.00 4750-52 S Indiana Avenue; 6250 S Mozart Street; 6554-58 S Vernon Avenue; 6949-59 S Merrill Avenue; 7024-32 S Paxton                       9
                                                                                                        Paxton Avenue, 4750-52 S Indiana Avenue, 6949-59 S Merrill Avenue, 7957-59 S Marquette Road,                                    Avenue; 7957-59 S Marquette Road; 1414-18 East 62nd Place; 1422-24 East 68th Street; 2736-44 W 64th Street
                                                                                                        6250 S Mozart Street, 2736-44 W 64th Street, 6554-58 S Vernon Avenue, 1422-24 East 68th Street,
                                                                                                        1414-18 East 62nd Place) (.7)
        July-21 Business Operations                          7/27/2021 JRW          260       41637.02 confer with K. Duff regarding administrative orders and strategy for same (6250 S Mozart Street,             0.2 $          52.00 2736-44 W 64th Street; 6250 S Mozart Street; 6554-58 S Vernon Avenue                                                                     3
                                                                                                        2736-44 W 64th Street, 6554-58 S Vernon Avenue) (.2).
        July-21 Business Operations                          7/27/2021 SZ           110       41643.01 Email exchange with property manager regarding March 2021 repair documentation for invoices (310             0.2 $          22.00 310 E 50th Street                                                                                                                        1
                                                                                                        E 50th Street) (.2)
        July-21 Business Operations                          7/27/2021 SZ           110       41643.02 review of the previously received invoices related to properties in order to make necessary updates          0.7 $          77.00 11117-11119 S Longwood Drive; 1401 W 109th Place; 1700-08 W Juneway Terrace; 2736-44 W 64th Street; 310 E 50th Street;                   28
                                                                                                        to repair expense ledger (310 E 50th Street, 414 Walnut, 416-24 E 66th Street, 1401 W 109th Place,                               4315-19 S Michigan Avenue; 7109-19 S Calumet Avenue; 7201 S Constance Avenue; 7201-07 S Dorchester Avenue; 7237-43 S
                                                                                                        638-40 N Avers Avenue, 1700-08 W Juneway Terrace, 2736-44 W 64th Street, 4315-19 S Michigan                                      Bennett Avenue; 7255-57 S Euclid Avenue; 7300-04 S St Lawrence Avenue; 7600-10 S Kingston Avenue; 7760 S Coles Avenue;
                                                                                                        Avenue, 5618-20 S Martin Luther King Drive, 6250 S Mozart Street, 6356 S California Avenue, 6355-59                              7957-59 S Marquette Road; 8000-02 S Justine Street; 8107-09 S Ellis Avenue; 8214-16 S Ingleside Avenue; 8326-58 S Ellis
                                                                                                        S Talman Avenue, 6749-59 S Merrill Avenue, 6807 S Indiana Avenue, 7109-19 S Calumet Avenue, 7201-                                Avenue; 5618-20 S Martin Luther King Drive; 6250 S Mozart Street; 6355-59 S Talman Avenue; 6356 S California Avenue; 638-
                                                                                                        07 S Dorchester Avenue, 7201 S Constance Avenue, 7237-43 S Bennett Avenue, 7255-57 S Euclid                                      40 N Avers Avenue; 6554-58 S Vernon Avenue; 6749-59 S Merrill Avenue; 6807 S Indiana Avenue; 701-13 S 5th Avenue
                                                                                                        Avenue, 7300-04 S St Lawrence Avenue, 7600-10 S Kingston Avenue, 7760 S Coles Avenue, 7957-59 S
                                                                                                        Marquette Road, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8334-
                                                                                                        40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 11117-11119 S Longwood Drive)
        July-21 Claims Administration & Objections           7/27/2021 KBD          390       42535.01 (Study
                                                                                                          7) correspondence from claimant regarding production of documents and exchange related                    0.2 $          78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                        5
                                                                                                       correspondence addressing same (Group 1) (.2)                                                                                     Muskegon Avenue
        July-21   Claims Administration & Objections         7/27/2021   KBD        390       42535.02  attention to claims documentation vendor invoice (all) (.2).                                                0.2   $        78.00 all                                                                                                                                      80
        July-21   Claims Administration & Objections         7/27/2021   KMP        140       42536.01 Communicate with K. Duff and J. Wine regarding claims data vendor invoice .                                  0.2   $        28.00 all                                                                                                                                      80
        July-21   Claims Administration & Objections         7/27/2021   JRW        260       42537.01 Attention to claimant inquiries (all) (.1)                                                                   0.1   $        26.00 all                                                                                                                                      80
        July-21   Claims Administration & Objections         7/27/2021   JRW        260       42537.02  correspondence to database vendor and claimants' counsel regarding document database issues (all)           0.2   $        52.00 all                                                                                                                                      80
                                                                                                       (.2)
        July-21 Claims Administration & Objections           7/27/2021 JRW          260       42537.03 review vendor invoices and related email exchanges with K. Duff and K. Pritchard (all) (.2).                 0.2 $         52.00 all                                                                                                                                       80
        July-21 Claims Administration & Objections           7/27/2021 AW           140       42538.01 Confirm receipt of discovery responses by email and update discovery sheet (Group 1) (.2)                    0.2 $         28.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                        Muskegon Avenue
        July-21 Claims Administration & Objections           7/27/2021 AW           140       42538.02 review discovery responses received by mail, confer with K. Duff regarding follow up request to              0.4 $         56.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       provide same in electronic form, and email claimant (Group 1) (.4)                                                               Muskegon Avenue
        July-21 Claims Administration & Objections           7/27/2021 AW           140       42538.03 attention to claimant's email response and work on appropriate reply (Group 1) (.1)                          0.1 $         14.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                        Muskegon Avenue
        July-21 Claims Administration & Objections           7/27/2021 AW           140       42538.04 attention to J. Rak's email regarding claimant, locate claim and related email to J. Rak (Group 1) (.3).     0.3 $         42.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                        Muskegon Avenue
        July-21 Asset Disposition                            7/28/2021 KBD          390       40744.01 Confer with A. Porter and real estate broker regarding disposition of property to maximize funds             0.3 $        117.00 7109-19 S Calumet Avenue                                                                                                                  1
                                                                                                       (7109-19 S Calumet Avenue).
        July-21   Business Operations                        7/28/2021   KBD        390       41644.01 Exchange correspondence regarding property inspection (638-40 N Avers Avenue) (.1)                           0.1   $       39.00   638-40 N Avers Avenue                                                                                                                   1
        July-21   Business Operations                        7/28/2021   KBD        390       41644.02 study correspondence from J. Wine regarding corporate service vendor issues (defer) (.1).                    0.1   $       39.00   exclude/defer                                                                                                                           0
        July-21   Business Operations                        7/28/2021   JRW        260       41646.01 Study email correspondence and invoices and related analysis (defer) (.8)                                    0.8   $      208.00   exclude/defer                                                                                                                           0
        July-21   Business Operations                        7/28/2021   JRW        260       41646.02 draft notice letters to creditors (defer) (.7).                                                              0.7   $      182.00   exclude/defer                                                                                                                           0
        July-21   Business Operations                        7/28/2021   JR         140       41649.01 Review email from K. Duff regarding property inspection (638-40 N Avers Avenue) (.1)                         0.1   $       14.00   638-40 N Avers Avenue                                                                                                                   1



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EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                           Task Description                                             Task      Task Cost                                                      Property Allocations                                                      Property
                                                                         Keeper                                                                                                                                Hours                                                                                                                                              Allocation
                                                                                                                                                                                                                                                                                                                                                                    Count
        July-21 Business Operations                          7/28/2021 JR           140       41649.02 further communication with the property inspector and property management requesting to                   0.2 $        28.00 638-40 N Avers Avenue                                                                                                                      1
                                                                                                       reschedule property inspection (638-40 N Avers Avenue) (.2).
        July-21 Business Operations                          7/28/2021 ED           390       41651.01 Email correspondence with lender's counsel and K. Duff regarding requests for property access for         0.2 $        78.00 7109-19 S Calumet Avenue                                                                                                                   1
                                                                                                       appraisal and for additional details regarding property expenditures and future plans (7109-19 S
                                                                                                       Calumet Avenue).
        July-21 Claims Administration & Objections           7/28/2021 KBD          390       42544.01 Attention to communication with claimant regarding claim form issues (all) (.1)                           0.1 $        39.00 all                                                                                                                                        80
        July-21 Claims Administration & Objections           7/28/2021 KBD          390       42544.02 exchange correspondence regarding claims review and analysis (all) (.1)                                   0.1 $        39.00 all                                                                                                                                        80
        July-21 Claims Administration & Objections           7/28/2021 KBD          390       42544.03 study draft correspondence to claimants regarding discovery procedures (Group 1) (.2)                     0.2 $        78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                    Muskegon Avenue
        July-21 Claims Administration & Objections           7/28/2021 KBD          390       42544.04 work on response to claimant regarding various issues for claims process (Group 1) (.2)                   0.2 $        78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                    Muskegon Avenue
        July-21 Claims Administration & Objections           7/28/2021 KBD          390       42544.05 attention to claimant production format issue (Group 1) (.1).                                             0.1 $        39.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                    Muskegon Avenue
        July-21 Claims Administration & Objections           7/28/2021 KMP          140       42545.01 Prepare payment for claims data vendor invoice.                                                           0.2 $        28.00 all                                                                                                                                        80
        July-21 Claims Administration & Objections           7/28/2021 JRW          260       42546.01 Email exchanges with database vendor and claimants' counsel regarding database maintenance                0.3 $        78.00 all                                                                                                                                        80
                                                                                                       issues (all) (.3)
        July-21 Claims Administration & Objections           7/28/2021 JRW          260       42546.02 attention to claimant inquiries (all) (.4)                                                                0.4 $      104.00 all                                                                                                                                         80
        July-21 Claims Administration & Objections           7/28/2021 JRW          260       42546.03 work with A. Watychowicz and K. Duff on claimant communications regarding discovery and                   0.6 $      156.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                            5
                                                                                                       communications (Group 1) (.6)                                                                                               Muskegon Avenue
        July-21 Claims Administration & Objections           7/28/2021 JRW          260       42546.04 study fund documents and related analysis (all) (1.3)                                                     1.3 $      338.00 all                                                                                                                                         80
        July-21 Claims Administration & Objections           7/28/2021 JRW          260       42546.05 review proof of claim and supporting documents and related correspondence with K. Duff (all) (1.5).       1.5 $      390.00 all                                                                                                                                         80

        July-21 Claims Administration & Objections           7/28/2021 AW           140       42547.01 Work on response to claimant who served discovery responses in hard copies (Group 1) (.2)                 0.2 $       28.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                   Muskegon Avenue
        July-21 Claims Administration & Objections           7/28/2021 AW           140       42547.02 confirm receipt of discovery responses by email and shared folder and update discovery sheet              0.3 $       42.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                       (Group 1) (.3)                                                                                                              Muskegon Avenue
        July-21 Claims Administration & Objections           7/28/2021 AW           140       42547.03 prepare uploads of claims documents for claimant's requests (Group 1) (.2)                                0.2 $       28.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                   Muskegon Avenue
        July-21 Claims Administration & Objections           7/28/2021 AW           140       42547.04 review prior email and response to inquiry regarding former property (defer) (.3)                         0.3 $       42.00 exclude/defer                                                                                                                               0
        July-21 Claims Administration & Objections           7/28/2021 AW           140       42547.05 review discovery responses containing email files in native form and related correspondence with K.       0.5 $       70.00 7635-43 S East End Avenue; 7750-58 S Muskegon Avenue; 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S                           5
                                                                                                       Duff and J. Wine (Group 1) (.5)                                                                                             East End Avenue
        July-21 Claims Administration & Objections           7/28/2021 AW           140       42547.06 follow up with J. Wine regarding response to claimant's counsel (all) (.1)                                0.1 $       14.00 all                                                                                                                                         80
        July-21 Claims Administration & Objections           7/28/2021 AW           140       42547.07 email exchange with K. Duff and J. Wine regarding discovery responses and need to follow up with          0.2 $       28.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                            5
                                                                                                       claimants (Group 1) (.2).                                                                                                   Muskegon Avenue
        July-21 Asset Disposition                            7/29/2021 AEP          390       40759.01 Read and respond to e-mails from J. Rak, property manager, and buyer's counsel associated with            0.4 $      156.00 638-40 N Avers Avenue                                                                                                                       1
                                                                                                       closing preparations for receivership property regarding cancellation of security contract, obstacles
                                                                                                       to meter reading, and finalization of closing documents (638-40 N Avers Avenue) (.4)

        July-21 Asset Disposition                            7/29/2021 AEP          390       40759.02 read e-mail from title underwriter regarding disposition of earnest money associated with defaulted       0.2 $        78.00 7656-58 S Kingston Avenue                                                                                                                  1
                                                                                                       purchase of receivership property, research pleadings, consult with A. Watychowicz, and respond
                                                                                                       regarding need to maintain funds in escrow pending decision by court (7656-58 S Kingston Avenue)
                                                                                                       (.2).
        July-21 Business Operations                          7/29/2021 KBD          390       41653.01 Draft correspondence to property manager regarding potential improvements (7109-19 S Calumet              0.1 $        39.00 7109-19 S Calumet Avenue                                                                                                                   1
                                                                                                       Avenue).
        July-21 Business Operations                          7/29/2021 KMP          140       41654.01 Revise and finalize notice letter and add exhibits, prepare email correspondence transmitting notice      0.5 $        70.00 4750-52 S Indiana Avenue; 7024-32 S Paxton Avenue                                                                                          2
                                                                                                       letter, and related communications with J. Wine (7024-32 S Paxton Avenue, 4750-52 S Indiana
                                                                                                       Avenue).
        July-21 Business Operations                          7/29/2021 JRW          260       41655.01 Finalize notice letter to creditor and related correspondence to K. Duff (7024- 32 S Paxton Avenue,       0.6 $      156.00 4750-52 S Indiana Avenue; 7024-32 S Paxton Avenue                                                                                           2
                                                                                                       4750-52 S Indiana Avenue) (.6)
        July-21 Business Operations                          7/29/2021 JRW          260       41655.02 finalize notice letter to additional creditor and related correspondence to K. Duff (defer) (.5)          0.5 $      130.00 exclude/defer                                                                                                                                0
        July-21 Business Operations                          7/29/2021 JRW          260       41655.03 review K. Duff revisions to notice letters and propose additional revision to same (.2).                  0.2 $       52.00 4750-52 S Indiana Avenue; 7024-32 S Paxton Avenue                                                                                            2
        July-21 Claims Administration & Objections           7/29/2021 KBD          390       42553.01 Exchange correspondence with J. Wine and A. Porter regarding claims process and review planning           0.2 $       78.00 all                                                                                                                                         80
                                                                                                       (all) (.2)
        July-21 Claims Administration & Objections           7/29/2021 KBD          390       42553.02 attention to correspondence with third party vendor regarding notice and collection issue (all) (.2)      0.2 $        78.00 all                                                                                                                                        80

        July-21 Claims Administration & Objections           7/29/2021 KBD          390       42553.03 study and revise correspondence to claimant regarding collection and claim issue (all) (.2)               0.2 $        78.00 all                                                                                                                                        80
        July-21 Claims Administration & Objections           7/29/2021 KBD          390       42553.04 work on communication to claimants regarding claims process issues (Group 1) (.2).                        0.2 $        78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                    Muskegon Avenue
        July-21 Claims Administration & Objections           7/29/2021 JRW          260       42555.01 Attention to claimant inquiry regarding discovery (Group 1) (.1)                                          0.1 $        26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                    Muskegon Avenue
        July-21 Claims Administration & Objections           7/29/2021 JRW          260       42555.02 exchange correspondence with claimants counsel regarding claims documentation and related                 0.3 $        78.00 all                                                                                                                                        80
                                                                                                       communications with A. Watychowicz regarding records from vendor (all) (.3).
        July-21 Claims Administration & Objections           7/29/2021 AW           140       42556.01 Confirm receipt of discovery responses by email and shared folder and update discovery sheet              0.2 $       28.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                       (Group 1) (.2)                                                                                                              Muskegon Avenue
        July-21 Claims Administration & Objections           7/29/2021 AW           140       42556.02 attention to email from counsel regarding transfer of claims files, review transfers and confirm link     0.6 $       84.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                       emails were complete and prepare requested files for upload (Group 1) (.6).                                                 Muskegon Avenue
        July-21 Asset Disposition                            7/30/2021 KBD          390       40762.01 Confer with K. Pritchard and J. Rak regarding allocation of post-sale reconciliation funds from           0.3 $      117.00 9212 S Parnell Avenue; 7712 S Euclid Avenue; 7840-42 S Yates Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue; 7933 S                   33
                                                                                                       property manager (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S                             Kingston Avenue; 10012 S LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 8529 S Rhodes Avenue; 8800 S Ada
                                                                                                       Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800                                Street; 7953 S Woodlawn Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8107 S Kingston Avenue; 8346 S
                                                                                                       S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue,                           Constance Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 1422-24
                                                                                                       1017 W 102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W                             East 68th Street; 1516 E 85th Place; 2136 W 83rd Street; 2800-06 E 81st Street; 3213 S Throop Street; 3723 W 68th Place; 406
                                                                                                       68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S                         E 87th Place; 417 Oglesby Avenue; 4750-52 S Indiana Avenue; 61 E 92nd Street; 6554 S Rhodes Avenue; 6825 S Indiana
                                                                                                       Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S                                 Avenue; 7210 S Vernon Avenue
                                                                                                       Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S
                                                                                                       Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street) (.3)
        July-21 Asset Disposition                            7/30/2021 KBD          390       40762.02 confer with A. Porter and real estate broker regarding potential property improvements and                0.1 $        39.00 7109-19 S Calumet Avenue                                                                                                                   1
                                                                                                       disposition issues (7109-19 S Calumet Avenue) (.1)
        July-21 Asset Disposition                            7/30/2021 KBD          390       40762.03 telephone conference with real estate broker regarding motion to approve, closing planning, and           0.2 $        78.00 1102 Bingham (Houston, TX)                                                                                                                 1
                                                                                                       communications with buyer (1102 Bingham) (.2)
        July-21 Asset Disposition                            7/30/2021 KBD          390       40762.04 confer with A. Porter and J. Rak regarding closing planning, potential utility issue, and related         0.2 $        78.00 638-40 N Avers Avenue                                                                                                                      1
                                                                                                       communication with property manager (638-40 N Avers Avenue) (.2).




                                                                                                                                                                                    12 of 35
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EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                             Task Description                                             Task      Task Cost                                                      Property Allocations                                                     Property
                                                                         Keeper                                                                                                                                  Hours                                                                                                                                             Allocation
                                                                                                                                                                                                                                                                                                                                                                     Count
        July-21 Asset Disposition                            7/30/2021 JR           140       40767.01 Confer with K. Pritchard and K. Duff regarding allocation of post-sale reconciliation funds from            0.3 $        42.00 7925 S Kingston Avenue; 7933 S Kingston Avenue; 7953 S Woodlawn Avenue; 8030 S Marquette Avenue; 8104 S Kingston                          33
                                                                                                       property manager (1414-18 East 62nd Place, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd                                 Avenue; 8107 S Kingston Avenue; 8346 S Constance Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 1414-18 East
                                                                                                       Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue,                              62nd Place; 1516 E 85th Place; 2129 W 71st Street; 2136 W 83rd Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th
                                                                                                       8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette                                      Place; 417 Oglesby Avenue; 5437 S Laflin Street; 61 E 92nd Street; 6554 S Rhodes Avenue; 6759 S Indiana Avenue; 6825 S
                                                                                                       Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue,                                Indiana Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7922 S Luella Avenue; 10012 S LaSalle Avenue; 8432 S Essex
                                                                                                       11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street,                            Avenue; 8517 S Vernon Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 1017 W 102nd Street;
                                                                                                       6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S                                11318 S Church Street
                                                                                                       Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S
                                                                                                       Vernon Avenue, 2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana Avenue) (.3)
        July-21 Asset Disposition                            7/30/2021 JR           140       40767.02 confer with K. Duff, A. Porter regarding replacement of water meter and request water bills for             0.2 $        28.00 638-40 N Avers Avenue                                                                                                                     1
                                                                                                       property in anticipation of closing (638-40 N Avers Avenue) (.2)
        July-21 Asset Disposition                            7/30/2021 JR           140       40767.03 further communication with property management requesting update on water meter and water                   0.1 $        14.00 638-40 N Avers Avenue                                                                                                                     1
                                                                                                       bills in anticipation of closing (638-40 N Avers Avenue) (.1).
        July-21 Asset Disposition                            7/30/2021 AEP          390       40768.01 teleconference with K. Duff and J. Rak regarding obstacles to water meter reading at receivership           0.2 $        78.00 638-40 N Avers Avenue                                                                                                                     1
                                                                                                       property (638-40 N Avers Avenue) (.2).
        July-21 Asset Disposition                            7/30/2021 AEP          390       40768.03 Teleconference with K. Duff and receivership broker regarding receivership property (7109-19 S              0.2 $        78.00 7109-19 S Calumet Avenue                                                                                                                  1
                                                                                                       Calumet Avenue) (.2)
        July-21 Business Operations                          7/30/2021 KBD          390       41662.01 Exchange correspondence with property manager regarding potential improvements (7109-19 S                   0.1 $        39.00 7109-19 S Calumet Avenue                                                                                                                  1
                                                                                                       Calumet Avenue) (.1)
        July-21 Business Operations                          7/30/2021 KBD          390       41662.02 attention to utility invoices and draft correspondence to K. Pritchard regarding same (1401 W 109th         0.1 $        39.00 1401 W 109th Place                                                                                                                        1
                                                                                                       Place) (.1).
        July-21 Claims Administration & Objections           7/30/2021 KBD          390       42562.01 Confer with J. Wine, A. Porter, and J. Rak regarding claims process analysis and various related issues     2.7 $     1,053.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       (Group 1) (2.7)                                                                                                                Muskegon Avenue
        July-21 Claims Administration & Objections           7/30/2021 KBD          390       42562.02 study correspondence from claimants' counsel regarding request for EB records and potential                 0.2 $        78.00 all                                                                                                                                       80
                                                                                                       subpoena (all) (.2)
        July-21 Claims Administration & Objections           7/30/2021 KBD          390       42562.03 study correspondence from counsel for claimant regarding single claim process and related analysis          0.2 $        78.00 sole lien                                                                                                                                 28
                                                                                                       (sole lien) (.2).
        July-21 Claims Administration & Objections           7/30/2021 JRW          260       42564.01 Exchange correspondence with database vendors regarding database issues (all) (.3)                          0.3 $       78.00 all                                                                                                                                        80
        July-21 Claims Administration & Objections           7/30/2021 JRW          260       42564.02 research Cook County Recorder of Deeds records regarding lien priorities (3074 Cheltenham Place,            1.2 $      312.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                       7625-33 S East End Avenue, 7635-43 S East End Avenue, 7750-58 S Muskegon Avenue, 7201 S                                       Muskegon Avenue
                                                                                                       Constance Avenue) (1.2)
        July-21 Claims Administration & Objections           7/30/2021 JRW          260       42564.03 review correspondence from counsel for claimants regarding process to resolve claims (1017 W                0.1 $        26.00 6759 S Indiana Avenue; 6825 S Indiana Avenue; 7110 S Cornell Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7922 S                   28
                                                                                                       102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue,                                 Luella Avenue; 7925 S Kingston Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8107 S Kingston Avenue; 8346 S
                                                                                                       8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue,                                 Constance Avenue; 8403 S Aberdeen Street; 10012 S LaSalle Avenue; 1017 W 102nd Street; 8432 S Essex Avenue; 8517 S
                                                                                                       11318 S Church Street, 2129 W 71st Street, 6749-59 S Merrill Avenue, 7110 S Cornell Avenue, 7925 S                             Vernon Avenue; 8529 S Rhodes Avenue; 9212 S Parnell Avenue; 9610 S Woodlawn Avenue; 11318 S Church Street; 1516 E
                                                                                                       Kingston Avenue, 9212 S Parnell Avenue, 7210 S Vernon Avenue, 6825 S Indiana Avenue, 406 E 87th                                85th Place; 2129 W 71st Street; 2136 W 83rd Street; 3213 S Throop Street; 406 E 87th Place; 417 Oglesby Avenue; 6554 S
                                                                                                       Place, 6554 S Rhodes Avenue, 7712 S Euclid Avenue, 8432 S Essex Avenue, 3213 S Throop Street, 8107                             Rhodes Avenue; 6749-59 S Merrill Avenue
                                                                                                       S Kingston Avenue, 8346 S Constance Avenue, 10012 S LaSalle Avenue, 9610 S Woodlawn Avenue,
                                                                                                       6759 S Indiana Avenue, 8517 S Vernon Avenue) (.1)
        July-21 Claims Administration & Objections           7/30/2021 JRW          260       42564.04 videoconference with K. Duff regarding claims process (all) (.2)                                            0.2 $       52.00 all                                                                                                                                        80
        July-21 Claims Administration & Objections           7/30/2021 JRW          260       42564.05 search documents in database (all) (1.8)                                                                    1.8 $      468.00 all                                                                                                                                        80
        July-21 Claims Administration & Objections           7/30/2021 JRW          260       42564.06 exchange correspondence with K. Duff and A. Watychowicz regarding communications with                       0.1 $       26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                       claimants regarding discovery (Group 1) (.1)                                                                                  Muskegon Avenue
        July-21 Claims Administration & Objections           7/30/2021 JRW          260       42564.07 review draft claims review checklist and proofs of claim in preparation for meeting (Group 1) (.8)          0.8 $      208.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                     Muskegon Avenue
        July-21 Claims Administration & Objections           7/30/2021 JRW          260       42564.08 meet with K. Duff and A. Porter regarding claims review (3074 Cheltenham Place, 7625-33 S East End          2.6 $      676.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                       Avenue, 7635-43 S East End Avenue, 7750-58 S Muskegon Avenue, 7201 S Constance Avenue) (2.6).                                 Muskegon Avenue

        July-21 Claims Administration & Objections           7/30/2021 AW           140       42565.01 Test shared folder as per claimant's request (Group 1) (.1)                                                 0.1 $       14.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                     Muskegon Avenue
        July-21 Claims Administration & Objections           7/30/2021 AW           140       42565.02 communicate with K. Duff and J. Wine regarding scheduled call on discovery issues (Group 1) (.2).           0.2 $       28.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                     Muskegon Avenue
        July-21 Claims Administration & Objections           7/30/2021 JR           140       42567.01 Teleconference with A. Porter, K. Duff and J. Wine regarding analysis of secured claims against             2.7 $      378.00 3074 E Cheltenham Place; 7750-58 S Muskegon Avenue                                                                                         2
                                                                                                       receivership properties, including legal issues, discovery issues, adjudication issues, inquiry notice
                                                                                                       issues, and other assorted matters (3074 E Cheltenham Place, 7750-58 S Muskegon Avenue).

        July-21 Claims Administration & Objections           7/30/2021 AEP          390       42568.01 Teleconference with K. Duff, J. Wine, and J. Rak regarding analysis of secured claims against               2.7 $     1,053.00 3074 E Cheltenham Place; 7750-58 S Muskegon Avenue                                                                                        2
                                                                                                       receivership properties, including legal issues, discovery issues, adjudication issues, inquiry notice
                                                                                                       issues, and other assorted matters (3074 E Cheltenham Place, 7750-58 S Muskegon Avenue).

     August-21 Asset Disposition                              8/2/2021 KMP          140       40790.01 Communicate with property manager regarding allocation of post-sale reconciliation funds (417 S             0.2 $        28.00 10012 S LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 1422-24 East 68th Street; 1516 E 85th Place; 2136 W                   33
                                                                                                       Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S                                83rd Street; 2800-06 E 81st Street; 7712 S Euclid Avenue; 7840-42 S Yates Avenue; 7922 S Luella Avenue; 8346 S Constance
                                                                                                       Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S                                      Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 8529 S Rhodes
                                                                                                       Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street,                              Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place; 417 Oglesby
                                                                                                       7933 S Kingston Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th                              Avenue; 4750-52 S Indiana Avenue; 61 E 92nd Street; 6554 S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue;
                                                                                                       Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712                               7925 S Kingston Avenue; 7933 S Kingston Avenue; 7953 S Woodlawn Avenue; 8030 S Marquette Avenue; 8104 S Kingston
                                                                                                       S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517                                 Avenue; 8107 S Kingston Avenue
                                                                                                       S Vernon Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                                                                       Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).
     August-21 Asset Disposition                              8/2/2021 JR           140       40794.01 Review email from property management and request water bills in anticipation for closing (638-40 N         0.1 $        14.00 638-40 N Avers Avenue                                                                                                                     1
                                                                                                       Avers Avenue) (.1)
     August-21 Asset Disposition                              8/2/2021 JR           140       40794.02 review email from property management and save water statements in anticipation of closing (638-            0.2 $        28.00 638-40 N Avers Avenue                                                                                                                     1
                                                                                                       40 N Avers Avenue) (.2).
     August-21 Business Operations                            8/2/2021 KBD          390       41689.01 Work on gathering information for claimant's counsel and appraiser and exchange various related             0.2 $        78.00 7109-19 S Calumet Avenue                                                                                                                  1
                                                                                                       correspondence (7109-19 S Calumet Avenue).
     August-21 Business Operations                            8/2/2021 KMP          140       41690.01 Review and compare recent and prior utility bills for property and related communication with K.            0.3 $        42.00 1401 W 109th Place                                                                                                                        1
                                                                                                       Duff (1401 W 109th Place).
     August-21 Business Operations                            8/2/2021 JRW          260       41691.01 correspondence with corporation counsel regarding administrative order (6949-59 S Merrill Avenue)           0.1 $        26.00 6949-59 S Merrill Avenue                                                                                                                  1
                                                                                                       (.1)
     August-21 Business Operations                            8/2/2021 JRW          260       41691.02 correspondence with E. Duff regarding notice to vendor and related research regarding dissolved             0.5 $      130.00 exclude/defer                                                                                                                              0
                                                                                                       corporations (defer) (.5).
     August-21 Business Operations                            8/2/2021 JRW          260       41691.03 Review administrative court orders (7024-32 S Paxton Avenue, 4750-52 S Indiana Avenue, 6949-59 S            0.2 $        52.00 4750-52 S Indiana Avenue; 6949-59 S Merrill Avenue; 7024-32 S Paxton Avenue                                                               3
                                                                                                       Merrill Avenue) and related correspondence with K. Duff (.2)
     August-21 Business Operations                            8/2/2021 JRW          260       41691.04 draft correspondence to City of Chicago Department of Finance regarding collection notices (7024-32         0.3 $        78.00 4750-52 S Indiana Avenue; 7024-32 S Paxton Avenue                                                                                         2
                                                                                                       S Paxton Avenue, 4750-52 S Indiana Avenue) (.3)
     August-21 Business Operations                            8/2/2021 MR           390       41693.03 Attention to issues regarding request for information from lenders (7109-19 S Calumet Avenue).              0.2 $        78.00 7109-19 S Calumet Avenue                                                                                                                  1

     August-21 Business Operations                            8/2/2021 JR           140       41694.01 Review email from K. Duff regarding inspection of property (7109-19 S Calumet Avenue) (.1)                  0.1 $        14.00 7109-19 S Calumet Avenue                                                                                                                  1


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EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                           Task Description                                              Task      Task Cost                                                      Property Allocations                                            Property
                                                                         Keeper                                                                                                                                 Hours                                                                                                                                    Allocation
                                                                                                                                                                                                                                                                                                                                                           Count
     August-21 Business Operations                            8/2/2021 JR           140       41694.02 review emails from E. Duff related to property appraisal and corresponding email exchanges                 0.1 $        14.00 7109-19 S Calumet Avenue                                                                                                         1
                                                                                                       pertaining to same (7109-19 S Calumet Avenue) (.1)
     August-21 Business Operations                            8/2/2021 JR           140       41694.03 review email from K. Duff requesting property information related to appraisal of property (7109-19        0.1 $        14.00 7109-19 S Calumet Avenue                                                                                                         1
                                                                                                       S Calumet Avenue) (.1)
     August-21 Business Operations                            8/2/2021 JR           140       41694.04 further communication with property management requesting property reports and other                       0.1 $        14.00 7109-19 S Calumet Avenue                                                                                                         1
                                                                                                       information regarding same (7109-19 S Calumet Avenue) (.1).
     August-21 Business Operations                            8/2/2021 ED           390       41696.01 Email correspondence with K. Duff, J. Rak, and lender's counsel regarding access and information           0.2 $        78.00 7109-19 S Calumet Avenue                                                                                                         1
                                                                                                       requested in connection with property appraisal (7109- 19 S Calumet Avenue).
     August-21 Claims Administration & Objections             8/2/2021 KBD          390       42589.01 Confer with J. Wine and A. Watychowicz regarding claimant discovery, production of records,                0.6 $      234.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                       communications, protective order issues, and logistics to facilitate process (Group 1) (.6)                                  Muskegon Avenue

     August-21 Claims Administration & Objections             8/2/2021 KBD          390       42589.02 work on communication to claimants (Group 1) (.2)                                                          0.2 $       78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                                                                                                                                                    Muskegon Avenue
     August-21 Claims Administration & Objections             8/2/2021 KBD          390       42589.03 study communication from claimant's counsel regarding nature of claim and discovery and exchange           0.7 $      273.00 all                                                                                                                               80
                                                                                                       related correspondence with J. Wine (all) (.7)
     August-21 Claims Administration & Objections             8/2/2021 KBD          390       42589.04 study correspondence from A. Porter regarding analysis of refinance of properties (Group 1) (.2)           0.2 $       78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                                                                                                                                                    Muskegon Avenue
     August-21 Claims Administration & Objections             8/2/2021 KBD          390       42589.05 attention to communication with claimant (all) (.1).                                                       0.1 $       39.00 all                                                                                                                               80
     August-21 Claims Administration & Objections             8/2/2021 JRW          260       42591.01 Attention to claimant inquiries (Group 1) (.7)                                                             0.7 $      182.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                  5
                                                                                                                                                                                                                                    Muskegon Avenue
     August-21 Claims Administration & Objections             8/2/2021 JRW          260       42591.02 exchange correspondence with A. Porter regarding claims analysis and confer with M. Rachlis and E.         0.4 $      104.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                       Duff regarding same (Group 1) (.4)                                                                                           Muskegon Avenue
     August-21 Claims Administration & Objections             8/2/2021 JRW          260       42591.03 conference call with A. Watychowicz and K Duff regarding discovery, claims process, and outreach to        0.6 $      156.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                       claimants (Group 1) (.6)                                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections             8/2/2021 JRW          260       42591.04 review and revise draft message to Group 1 claimants (Group 1) (.3)                                        0.3 $       78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                                                                                                                                                    Muskegon Avenue
     August-21 Claims Administration & Objections             8/2/2021 JRW          260       42591.05 search database and related correspondence to vendor regarding needed support (Group 1) (.3)               0.3 $       78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                                                                                                                                                    Muskegon Avenue
     August-21 Claims Administration & Objections             8/2/2021 JRW          260       42591.06 review draft motion to serve subpoena and revision history of same, and related correspondence             0.7 $      182.00 all                                                                                                                               80
                                                                                                       with counsel for claimants and review of new draft (all) (.7).
     August-21 Claims Administration & Objections             8/2/2021 AW           140       42592.01 Call with K. Duff and J. Wine regarding claimant discovery, production of records, communications,         0.6 $       84.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                       protective order issues, and logistics to facilitate process (Group 1) (.6)                                                  Muskegon Avenue
     August-21 Claims Administration & Objections             8/2/2021 AW           140       42592.02 call with J. Wine regarding reminder email and native files received from claimants (Group 1) (.1)         0.1 $       14.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                                                                                                                                                    Muskegon Avenue
     August-21 Claims Administration & Objections             8/2/2021 AW           140       42592.03 email exchanges regarding follow up email to claimants reminding them about upcoming deadline              0.4 $       56.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                       (Group 1) (.4)                                                                                                               Muskegon Avenue
     August-21 Claims Administration & Objections             8/2/2021 AW           140       42592.04 finalize and email claimants in Group 1 reminder regarding deadline (Group 1) (.1)                         0.1 $       14.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                                                                                                                                                    Muskegon Avenue
     August-21 Claims Administration & Objections             8/2/2021 AW           140       42592.05 attention to emails from claimants regarding standard discovery answers and document productions           1.4 $      196.00 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S Muskegon Avenue; 3074 E                  5
                                                                                                       and requests for updates and update records (Group 1) (1.4)                                                                  Cheltenham Place
     August-21 Claims Administration & Objections             8/2/2021 AW           140       42592.06 communicate with K. Duff and J. Wine regarding claims against former property and response to              0.2 $       28.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                       counsel regarding fund issues (.2)                                                                                           Muskegon Avenue
     August-21 Claims Administration & Objections             8/2/2021 AW           140       42592.07 communicate with K. Duff and J. Wine regarding claimants from Group 1 trying to submit discovery           0.1 $       14.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                       responses for properties from different groups (Group 1) (.1)                                                                Muskegon Avenue
     August-21 Claims Administration & Objections             8/2/2021 MR           390       42593.01 Attention to various issues regarding claims process and related conference with J. Wine (Group 1).        0.4 $      156.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                                                                                                                                                    Muskegon Avenue
     August-21 Claims Administration & Objections             8/2/2021 AEP          390       42595.01 Review e-mails produced by EquityBuild mortgage broker and e-mail correspondence, analyze                  2.3 $      897.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                       exhibits, and prepare detailed e-mail to K. Duff and J. Wine (7625-33 S East End Avenue, 7635-43 S                           Muskegon Avenue
                                                                                                       East End Avenue, 7750-58 S Muskegon Avenue, 7201 S Constance Avenue, 3074 E Cheltenham Place).

     August-21 Asset Disposition                              8/3/2021 KBD          390       40798.01 Exchange correspondence and telephone conference with A. Porter regarding property closing and             0.3 $      117.00 638-40 N Avers Avenue                                                                                                             1
                                                                                                       water certification issue (638-40 N Avers Avenue) (.3)
     August-21 Asset Disposition                              8/3/2021 KBD          390       40798.02 attention to motion to approve sale of property and order granting the same (1102 Bingham) (.1).           0.1 $        39.00 1102 Bingham (Houston, TX)                                                                                                       1

     August-21 Asset Disposition                              8/3/2021 JRW          260       40800.01 Review and revise proposed order granting 14th sales motion and related correspondence with                0.3 $        78.00 1102 Bingham (Houston, TX)                                                                                                       1
                                                                                                       courtroom deputy (1102 Bingham).
     August-21 Asset Disposition                              8/3/2021 MR           390       40802.01 Attention to motion for approval and related conferences with K. Duff and J. Wine (1102 Bingham).          0.3 $      117.00 1102 Bingham (Houston, TX)                                                                                                        1

     August-21 Asset Disposition                              8/3/2021 JR           140       40803.01 Review email from A. Porter requesting information related to water certificate status in anticipation     0.1 $        14.00 638-40 N Avers Avenue                                                                                                            1
                                                                                                       for closing (638-40 N Avers Avenue) (.1)
     August-21 Asset Disposition                              8/3/2021 JR           140       40803.02 further communication with the title company, A. Porter, property management, and City of Chicago          0.4 $        56.00 638-40 N Avers Avenue                                                                                                            1
                                                                                                       regarding expediting water meter replacement and the water certificate in anticipation for closing
                                                                                                       (638-40 N Avers Avenue) (.4)
     August-21 Asset Disposition                              8/3/2021 JR           140       40803.03 review email from A. Porter regarding the cancellation of closing (638-40 N Avers Avenue) and              0.1 $        14.00 638-40 N Avers Avenue                                                                                                            1
                                                                                                       further communication with property management advising of same (.1).
     August-21 Asset Disposition                              8/3/2021 AEP          390       40804.01 Communications with buyer's counsel, J. Rak, K. Duff, and property manager regarding inability to          0.5 $      195.00 638-40 N Avers Avenue                                                                                                             1
                                                                                                       obtain full payment water certificate in connection with prospective conveyance of receivership
                                                                                                       property (638-40 N Avers Avenue).
     August-21 Business Operations                            8/3/2021 KBD          390       41698.01 Work on communication with former service provider and confirmation of termination of services             0.1 $        39.00 exclude/defer                                                                                                                    0
                                                                                                       (defer).
     August-21 Business Operations                            8/3/2021 KMP          140       41699.01 Communications with K. Duff, J. Wine, E. Duff, and J. Rak relating to termination of corporate agent       0.2 $        28.00 exclude/defer                                                                                                                    0
                                                                                                       services (defer) (.2)
     August-21 Business Operations                            8/3/2021 KMP          140       41699.02 revise letter to municipality providing notice of receivership and related communications with J.          0.2 $        28.00 4750-52 S Indiana Avenue; 7024-32 S Paxton Avenue                                                                                2
                                                                                                       Wine (7024-32 S Paxton Avenue, 4750-52 S Indiana Avenue) (.2).
     August-21 Business Operations                            8/3/2021 JR           140       41703.01 Exchange correspondence with property management regarding reports requested by lender and                 0.2 $        28.00 7109-19 S Calumet Avenue                                                                                                         1
                                                                                                       related to appraisal (7109-19 S Calumet Avenue).
     August-21 Business Operations                            8/3/2021 ED           390       41705.01 Email correspondence to J. Rak regarding property inspection (7109-19 S Calumet Avenue) (.1)               0.1 $        39.00 7109-19 S Calumet Avenue                                                                                                         1

     August-21 Business Operations                            8/3/2021 ED           390       41705.02 review and analysis of loan document covenants, insurance policy terms (7109-19 S Calumet Avenue)          0.4 $      156.00 7109-19 S Calumet Avenue                                                                                                          1
                                                                                                       (.4)
     August-21 Business Operations                            8/3/2021 ED           390       41705.03 email correspondence to J. Wine and K. Pritchard with respect to responsive letters to claimants           0.2 $        78.00 exclude/defer                                                                                                                    0
                                                                                                       (defer) (.2).
     August-21 Claims Administration & Objections             8/3/2021 KBD          390       42598.01 Exchange correspondence with J. Wine and A. Watychowicz regarding communications with                      0.2 $        78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                       claimants regarding discovery and claimant production format issue (Group 1) (.2)                                             Muskegon Avenue
     August-21 Claims Administration & Objections             8/3/2021 KBD          390       42598.02 exchange correspondence with J. Wine regarding communication with claimants' counsel relating to           0.1 $        39.00 all                                                                                                                              80
                                                                                                       discovery and claims against funds (all) (.1)
     August-21 Claims Administration & Objections             8/3/2021 KBD          390       42598.03 attention to communications regarding analysis of claims (Group 1) (.1)                                    0.1 $        39.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                                                                                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections             8/3/2021 KBD          390       42598.04 exchange correspondence with A. Watychowicz regarding functionality of document database (all)             0.2 $        78.00 all                                                                                                                              80
                                                                                                       (.2).



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EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                           Task Description                                             Task      Task Cost                                                      Property Allocations                                            Property
                                                                         Keeper                                                                                                                                Hours                                                                                                                                    Allocation
                                                                                                                                                                                                                                                                                                                                                          Count
     August-21 Claims Administration & Objections             8/3/2021 JRW          260       42600.01 Work with A. Watychowicz regarding responding to claimant inquiries (Group 1) (.5)                        0.5 $      130.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                                                                                                                                                   Muskegon Avenue
     August-21 Claims Administration & Objections             8/3/2021 JRW          260       42600.02 telephone conference with A. Watychowicz and exchange correspondence with K. Duff regarding               0.6 $      156.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                       standard discovery responses, format of productions, and communication with claimants in Group 1                            Muskegon Avenue
                                                                                                       (Group 1) (.6)
     August-21 Claims Administration & Objections             8/3/2021 JRW          260       42600.03 conduct searches in database (Group 1) (.4)                                                               0.4 $      104.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                                                                                                                                                   Muskegon Avenue
     August-21 Claims Administration & Objections             8/3/2021 JRW          260       42600.04 conference with vendor regarding database issues (Group 1) (.7)                                           0.7 $      182.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                                                                                                                                                   Muskegon Avenue
     August-21 Claims Administration & Objections             8/3/2021 JRW          260       42600.05 begin reviewing institutional lender claim and related correspondence with A. Watychowicz (Group          0.5 $      130.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                       1) (.5)                                                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections             8/3/2021 JRW          260       42600.06 telephone conference with counsel for claimant regarding amendment of proof of claim (Group 1)            0.1 $       26.00 7635-43 S East End Avenue; 7750-58 S Muskegon Avenue; 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S                 5
                                                                                                       (.1)                                                                                                                        East End Avenue
     August-21 Claims Administration & Objections             8/3/2021 JRW          260       42600.07 exchange emails with M. Rachlis and E. Duff regarding prior review of claim (Group 1) (.2).               0.2 $       52.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                                                                                                                                                   Muskegon Avenue
     August-21 Claims Administration & Objections             8/3/2021 AW           140       42601.01 Confer and email exchanges with J. Wine regarding verification issue, follow up with claimants and        0.3 $       42.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                       issue with voluminous production of email files (Group 1) (.3)                                                              Muskegon Avenue
     August-21 Claims Administration & Objections             8/3/2021 AW           140       42601.02 prepare folders to indicate documents produced pursuant to protective order, share files with J.          0.8 $      112.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                       Wine, work to resolve issue with long paths and corrupted files (Group 1) (.8)                                              Muskegon Avenue
     August-21 Claims Administration & Objections             8/3/2021 AW           140       42601.03 call with S. Zjalic regarding processing of hard copy discovery responses (Group 1) (.1)                  0.1 $       14.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                                                                                                                                                   Muskegon Avenue
     August-21 Claims Administration & Objections             8/3/2021 AW           140       42601.04 attention to emails from claimants regarding standard discovery answers and document                      0.9 $      126.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                       productions, requests for updates, update records, and email response to voice message (Group 1)                            Muskegon Avenue
                                                                                                       (.9)
     August-21 Claims Administration & Objections             8/3/2021 AW           140       42601.05 attention to email from J. Wine to K. Duff regarding issues with discovery responses and reminder         0.3 $       42.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                       email and respond to same (Group 1) (.3)                                                                                    Muskegon Avenue
     August-21 Claims Administration & Objections             8/3/2021 AW           140       42601.06 call with K. Duff regarding received responses to discovery requests (Group 1) (.1).                      0.1 $       14.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                                                                                                                                                   Muskegon Avenue
     August-21 Claims Administration & Objections             8/3/2021 MR           390       42602.01 Attention to issues regarding properties and related email exchanges (Group 1) (.4)                       0.4 $      156.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                                                                                                                                                   Muskegon Avenue
     August-21 Claims Administration & Objections             8/3/2021 MR           390       42602.02 follow up regarding issues on various claims and segregation of properties (Group 1) (.1).                0.1 $       39.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                                                                                                                                                   Muskegon Avenue
     August-21 Claims Administration & Objections             8/3/2021 ED           390       42605.01 Review and analysis of documents, correspondence, and notes relating to loan history and claims           0.7 $      273.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                       analysis with respect to five properties (7625-33 S East End Avenue, 7635-43 S East End Avenue, 7750-                       Muskegon Avenue
                                                                                                       58 S Muskegon Avenue, 3074 E Cheltenham Place, 7201 S Constance Avenue) (.7)

     August-21 Claims Administration & Objections             8/3/2021 ED           390       42605.02 email correspondence to J. Wine regarding claims analysis (7625-33 S East End Avenue, 7635-43 S           0.2 $        78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                       East End Avenue, 7750-58 S Muskegon Avenue, 3074 E Cheltenham Place, 7201 S Constance Avenue)                                Muskegon Avenue
                                                                                                       (.2).
     August-21 Asset Disposition                              8/4/2021 KBD          390       40807.01 Attention to order for motion to approve sale of property (1102 Bingham) (.1)                             0.1 $        39.00 1102 Bingham (Houston, TX)                                                                                                       1
     August-21 Asset Disposition                              8/4/2021 KBD          390       40807.02 work on water certification issue (638-40 N Avers Avenue) (.1).                                           0.1 $        39.00 638-40 N Avers Avenue                                                                                                            1
     August-21 Asset Disposition                              8/4/2021 AEP          390       40813.01 Conference call with J. Rak and City of Chicago Water Department regarding timing of installation of      0.2 $        78.00 638-40 N Avers Avenue                                                                                                            1
                                                                                                       new water meter at receivership property and issuance of full payment certificate (638-40 N Avers
                                                                                                       Avenue).
     August-21 Business Operations                            8/4/2021 KMP          140       41708.01 Prepare transmittal of letter to municipality providing notice of receivership, and related               0.2 $        28.00 4750-52 S Indiana Avenue; 7024-32 S Paxton Avenue                                                                                2
                                                                                                       communications with J. Wine (7024-32 S Paxton Avenue, 4750- 52 S Indiana Avenue) (.2)
     August-21 Business Operations                            8/4/2021 KMP          140       41708.02 prepare transmittal of letter to corporate services vendor providing notice of receivership, and          0.2 $        28.00 exclude/defer                                                                                                                    0
                                                                                                       related communications with J. Wine (defer) (.2).
     August-21 Claims Administration & Objections             8/4/2021 KBD          390       42607.01 Exchange correspondence with J. Wine and A. Watychowicz regarding claimants' discovery                    0.2 $        78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                       verification issue (Group 1) (.2)                                                                                            Muskegon Avenue
     August-21 Claims Administration & Objections             8/4/2021 KBD          390       42607.02 exchange correspondence with J. Wine regarding communication with claimants' counsel regarding            0.1 $        39.00 all                                                                                                                              80
                                                                                                       request for records (all) (.1)
     August-21 Claims Administration & Objections             8/4/2021 KBD          390       42607.03 exchange correspondence with J. Wine regarding sole lien process and follow up with counsel for           0.1 $        39.00 sole lien                                                                                                                        28
                                                                                                       claimants (sole lien) (.1)
     August-21 Claims Administration & Objections             8/4/2021 KBD          390       42607.04 draft correspondence regarding potential claim and distribution issue (1516 E 85th Place) (.2)            0.2 $        78.00 1516 E 85th Place                                                                                                                1

     August-21 Claims Administration & Objections             8/4/2021 KBD          390       42607.05 exchange correspondence with J. Wine and A. Watychowicz regarding functionality of document               0.2 $        78.00 all                                                                                                                              80
                                                                                                       database (all) (.2).
     August-21 Claims Administration & Objections             8/4/2021 JRW          260       42609.01 Attention to claimant inquiries (defer) (.2)                                                              0.2 $       52.00 exclude/defer                                                                                                                     0
     August-21 Claims Administration & Objections             8/4/2021 JRW          260       42609.02 confer with K. Duff and A. Watychowicz regarding Group 1 discovery (Group 1) (.5)                         0.5 $      130.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                                                                                                                                                   Muskegon Avenue
     August-21 Claims Administration & Objections             8/4/2021 JRW          260       42609.03 confer with K. Duff and A. Watychowicz regarding database search results, invoice, and related            0.3 $       78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                       issues (Group 1) (.3)                                                                                                       Muskegon Avenue
     August-21 Claims Administration & Objections             8/4/2021 JRW          260       42609.04 confer with A. Watychowicz regarding claims analysis (Group 1) (.2)                                       0.2 $       52.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                                                                                                                                                   Muskegon Avenue
     August-21 Claims Administration & Objections             8/4/2021 JRW          260       42609.05 review claims submission (Group 1) (.2)                                                                   0.2 $       52.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                                                                                                                                                   Muskegon Avenue
     August-21 Claims Administration & Objections             8/4/2021 JRW          260       42609.06 exchange correspondence with counsel for claimants regarding motion and proposed order (all) (.2)         0.2 $       52.00 all                                                                                                                               80

     August-21 Claims Administration & Objections             8/4/2021 JRW          260       42609.07 telephone conference with counsel for claimants regarding claims submissions (all) (.1)                   0.1 $        26.00 all                                                                                                                              80
     August-21 Claims Administration & Objections             8/4/2021 JRW          260       42609.08 email exchange with counsel for claimants regarding single claims process and related conference          0.2 $        52.00 sole lien                                                                                                                        28
                                                                                                       with K. Duff (sole lien) (.2).
     August-21 Claims Administration & Objections             8/4/2021 AW           140       42610.01 Confer with J. Wine regarding issues with database and number of unique claimants and monetary            0.3 $        42.00 all                                                                                                                              80
                                                                                                       claims (.3)
     August-21 Claims Administration & Objections             8/4/2021 AW           140       42610.02 review received discovery responses and email exchanges with K. Duff and J. Wine regarding                0.3 $       42.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                       proposed email to claimants (Group 1) (.3)                                                                                  Muskegon Avenue
     August-21 Claims Administration & Objections             8/4/2021 AW           140       42610.03 attention to responses to standard discovery requests received via email and through shared folders,      2.4 $      336.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                       record receipt of responses, and related emails to claimants (Group 1) (2.4)                                                Muskegon Avenue
     August-21 Claims Administration & Objections             8/4/2021 AW           140       42610.04 respond to individual who is not a claimant or a former investor regarding his discovery inquiry          0.1 $       14.00 exclude/defer                                                                                                                     0
                                                                                                       (defer) (.1)
     August-21 Claims Administration & Objections             8/4/2021 AW           140       42610.05 attention to email from claimant requesting access to claims documents, prepare secured links, and        0.4 $        56.00 1700-08 W Juneway Terrace; 4533-47 S Calumet Avenue; 6001-05 S Sacramento Avenue ; 7026-42 S Cornell Avenue                      4
                                                                                                       related email to claimant (1700-08 W Juneway Terrace, 4533-47 S Calumet Avenue, 6001-05 S
                                                                                                       Sacramento Avenue, 7026-42 S Cornell Avenue) (.4).
     August-21 Claims Administration & Objections             8/4/2021 MR           390       42611.01 Attention to notice from government agency and impact on distribution (1516 East 85th Place) (.1)         0.1 $        39.00 1516 E 85th Place                                                                                                                1

     August-21 Claims Administration & Objections             8/4/2021 MR           390       42611.02 attention to issues regarding property claims (7109-19 S Calumet Avenue) (.1).                            0.1 $        39.00 7109-19 S Calumet Avenue                                                                                                         1
     August-21 Asset Disposition                              8/5/2021 JR           140       40821.01 Exchange communication with property management, A. Porter and the City of Chicago water                  0.2 $        28.00 638-40 N Avers Avenue                                                                                                            1
                                                                                                       department to coordinate the replacement of broken water meter at the property in anticipation for
                                                                                                       closing (638-40 N Avers Avenue).
     August-21 Claims Administration & Objections             8/5/2021 KBD          390       42616.01 Work on response to claimant regarding standard discovery (all) (.1)                                      0.1 $        39.00 all                                                                                                                              80



                                                                                                                                                                                   15 of 35
                                                                                                                              Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 181 of 200 PageID #:34117




EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                            Task Description                                               Task        Task Cost                                                    Property Allocations                                                      Property
                                                                         Keeper                                                                                                                                   Hours                                                                                                                                              Allocation
                                                                                                                                                                                                                                                                                                                                                                       Count
     August-21 Claims Administration & Objections             8/5/2021 KBD          390       42616.02 exchange correspondence with M. Rachlis and J. Wine regarding sole lien process (sole lien) (.2).            0.2 $          78.00 sole lien                                                                                                                                28

     August-21 Claims Administration & Objections             8/5/2021 JRW          260       42618.01 Work in database and exchange related emails with vendor (Group 1) (.7)                                      0.7 $        182.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                        Muskegon Avenue
     August-21 Claims Administration & Objections             8/5/2021 JRW          260       42618.02 related conference with A. Watychowicz and vendor (Group 1) (.5)                                             0.5 $        130.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                        Muskegon Avenue
     August-21 Claims Administration & Objections             8/5/2021 JRW          260       42618.03 review correspondence from claimants' counsel regarding single claim process (sole lien) (Group 1)           0.1 $         26.00 sole lien                                                                                                                                 28
                                                                                                       (.1).
     August-21 Claims Administration & Objections             8/5/2021 AW           140       42619.01 Attention to responses to standard discovery requests received via email, shared folders and mail,           1.4 $        196.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       record receipt of responses, and related emails to claimants (Group 1) (1.4)                                                     Muskegon Avenue
     August-21   Claims Administration & Objections           8/5/2021   AW         140       42619.02 communicate regarding email response to follow up from non-claimant (defer) (.1)                             0.1   $       14.00 exclude/defer                                                                                                                              0
     August-21   Claims Administration & Objections           8/5/2021   AW         140       42619.03 call regarding database issues with J. Wine and database vendor (all) (.5)                                   0.5   $       70.00 all                                                                                                                                       80
     August-21   Claims Administration & Objections           8/5/2021   AW         140       42619.04 research regarding claim and related email to J. Rak (7635-42 S East End Avenue) (.2)                        0.2   $       28.00 7635-43 S East End Avenue                                                                                                                  1
     August-21   Claims Administration & Objections           8/5/2021   AW         140       42619.05 attention to email from claims vendor regarding link with documents and related email to J. Wine             0.1   $       14.00 exclude/defer                                                                                                                              0
                                                                                                       (6801 S East End Avenue) (.1).
     August-21 Claims Administration & Objections             8/5/2021 MR           390       42620.01 Follow up on issues regarding single claim process and negotiations with counsel, J. Wine, and K. Duff       0.2 $          78.00 sole lien                                                                                                                                28
                                                                                                       (sole lien).
     August-21 Asset Disposition                              8/6/2021 KBD          390       40825.01 Prepare spreadsheet confirming allocation of post-sale funds from property manager and exchange              0.3 $        117.00 10012 S LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 7953 S Woodlawn Avenue; 406 E 87th Place; 417                         33
                                                                                                       various related correspondence for information (417 S Oglesby Avenue, 7925 S Kingston Avenue,                                    Oglesby Avenue; 4750-52 S Indiana Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 61 E 92nd
                                                                                                       8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette                                        Street; 6554 S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7840-42 S Yates Avenue;
                                                                                                       Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516                                 7922 S Luella Avenue; 7925 S Kingston Avenue; 7933 S Kingston Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue;
                                                                                                       E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue, 11318 S Church                                  8107 S Kingston Avenue; 8346 S Constance Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 8432 S Essex Avenue;
                                                                                                       Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes                               8517 S Vernon Avenue; 1422-24 East 68th Street; 1516 E 85th Place; 2136 W 83rd Street; 2800-06 E 81st Street; 3213 S
                                                                                                       Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn                                       Throop Street; 3723 W 68th Place
                                                                                                       Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle
                                                                                                       Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st
                                                                                                       Street, 1422-24 E 68th Street).
     August-21 Asset Disposition                              8/6/2021 JR           140       40830.01 Communication with the City of Chicago water department regarding rescheduled water meter install            0.1 $          14.00 638-40 N Avers Avenue                                                                                                                    1
                                                                                                       and advise team of same (638-40 N Avers Avenue) (.1)
     August-21 Asset Disposition                              8/6/2021 JR           140       40830.02 further communication with A. Porter and property management inquiring on the status of plumbing             0.1 $          14.00 638-40 N Avers Avenue                                                                                                                    1
                                                                                                       work related to water meter issue at property (638-40 N Avers Avenue) (.1)
     August-21 Asset Disposition                              8/6/2021 JR           140       40830.03 review email from K. Duff related to allocations for post-closing reconciliation regarding properties        0.2 $          28.00 417 Oglesby Avenue; 5437 S Laflin Street; 61 E 92nd Street; 6554 S Rhodes Avenue; 6759 S Indiana Avenue; 6807 S Indiana                  37
                                                                                                       and further communicate with A. Porter regarding same (single family) (.2).                                                       Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue;
                                                                                                                                                                                                                                         7933 S Kingston Avenue; 7953 S Woodlawn Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8107 S Kingston
                                                                                                                                                                                                                                         Avenue; 8346 S Constance Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 8432 S Essex Avenue; 8517 S Vernon
                                                                                                                                                                                                                                         Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 9610 S Woodlawn Avenue; 10012 S LaSalle
                                                                                                                                                                                                                                         Avenue; 1017 W 102nd Street; 11318 S Church Street; 1401 W 109th Place; 1414-18 East 62nd Place; 1516 E 85th Place; 2129
                                                                                                                                                                                                                                         W 71st Street; 2136 W 83rd Street; 310 E 50th Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place
     August-21 Business Operations                            8/6/2021 KBD          390       41725.01 Study financial reporting from property manager (6250 S Mozart Street, 9610 S Woodlawn Avenue,               0.2 $          78.00 1401 W 109th Place; 310 E 50th Street; 4315-19 S Michigan Avenue; 6250 S Mozart Street; 638-40 N Avers Avenue; 6554-58 S                 12
                                                                                                       638-40 N Avers Avenue, 7237-43 S Bennett Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S                                    Vernon Avenue; 6807 S Indiana Avenue; 7237-43 S Bennett Avenue; 7255-57 S Euclid Avenue; 7600-10 S Kingston Avenue;
                                                                                                       Indiana Avenue, 7255-57 S Euclid Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue,                                    7656-58 S Kingston Avenue; 9610 S Woodlawn Avenue
                                                                                                       7656-58 S Kingston Avenue, 416-24 E 66th Street).
     August-21 Claims Administration & Objections             8/6/2021 KBD          390       42625.01 Exchange correspondence and telephone conference with J. Wine regarding single claim process and             0.2 $          78.00 sole lien                                                                                                                                28
                                                                                                       communication with claimants' counsel regarding same (sole lien) (.2)
     August-21 Claims Administration & Objections             8/6/2021 KBD          390       42625.02 confer with J. Wine, A. Porter, and J. Rak regarding analysis of claims (Group 1) (.5)                       0.5 $        195.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                        Muskegon Avenue
     August-21 Claims Administration & Objections             8/6/2021 KBD          390       42625.03 exchange correspondence with J. Wine regarding communication with claimants' counsel regarding               0.3 $        117.00 all                                                                                                                                       80
                                                                                                       motion for EB documents, subpoena, and proposed order (all) (.3).
     August-21 Claims Administration & Objections             8/6/2021 JRW          260       42627.01 Exchange correspondence and multiple telephone conferences with counsel for claimants and K. Duff            0.5 $        130.00 sole lien                                                                                                                                 28
                                                                                                       regarding motion practice or joint report regarding process for single claim properties (sole lien) (.5)

     August-21 Claims Administration & Objections             8/6/2021 JRW          260       42627.02 review and comment on proposed order granting motion to serve subpoena, revisions to motion and              0.9 $        234.00 all                                                                                                                                       80
                                                                                                       related correspondence with SEC and counsel for claimants (all) (.9)
     August-21 Claims Administration & Objections             8/6/2021 JRW          260       42627.03 review charts breaking down claims, study related working materials, and related communications              0.4 $        104.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       with A. Watychowicz (Group 1) (.4)                                                                                               Muskegon Avenue
     August-21 Claims Administration & Objections             8/6/2021 JRW          260       42627.04 videoconference with A. Porter, J. Rak and K. Duff regarding analysis of claims (7625-33 S East End            1 $        260.00 7625-33 S East End Avenue; 7635-43 S East End Avenue                                                                                      2
                                                                                                       Avenue, 7635-43 S East End Avenue) (1.0).
     August-21 Claims Administration & Objections             8/6/2021 AW           140       42628.01 Attention to responses to standard discovery requests received via email, through shared folders and         3.1 $        434.00 7635-43 S East End Avenue; 7750-58 S Muskegon Avenue; 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S                         5
                                                                                                       mail, record receipt of responses, and related emails to claimants (Group 1) (3.1)                                               East End Avenue

     August-21 Claims Administration & Objections             8/6/2021 AW           140       42628.02 respond to non-claimant regarding his follow up email (defer) (.1)                                           0.1 $         14.00 exclude/defer                                                                                                                             0
     August-21 Claims Administration & Objections             8/6/2021 AW           140       42628.03 attention to email from claimant requesting access to claims documents, prepare secured links, and           0.5 $         70.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       related email to claimant (Group 1) (.5)                                                                                         Muskegon Avenue
     August-21 Claims Administration & Objections             8/6/2021 AW           140       42628.04 communicate with J. Wine regarding total of claims (all) (.1).                                               0.1 $         14.00 all                                                                                                                                       80
     August-21 Claims Administration & Objections             8/6/2021 MR           390       42629.01 Review communications regarding motion for subpoena and related follow up (all).                             0.2 $         78.00 all                                                                                                                                       80
     August-21 Claims Administration & Objections             8/6/2021 JR           140       42630.01 Teleconference with J. Wine, A. Porter and K. Duff related to review of conflicting claims asserted          0.9 $        126.00 7625-33 S East End Avenue                                                                                                                  1
                                                                                                       against receivership property and buyouts (7625- 33 S East End Avenue).
     August-21 Claims Administration & Objections             8/6/2021 AEP          390       42631.01 Teleconference with K. Duff, J. Wine, and J. Rak regarding conflicting claims asserted against               0.9 $        351.00 7625-33 S East End Avenue                                                                                                                 1
                                                                                                       receivership property and buyouts (7625-33 S East End Avenue).
     August-21 Claims Administration & Objections             8/7/2021 KBD          390       42634.01 Exchange correspondence regarding claims discovery (Group 1).                                                0.2 $         78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                        Muskegon Avenue
     August-21 Claims Administration & Objections             8/7/2021 AW           140       42637.01 Review claims received from claimants through deadline date and related correspondence with K.               0.2 $         28.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       Duff (Group 1).                                                                                                                  Muskegon Avenue
     August-21 Claims Administration & Objections             8/8/2021 JRW          260       42645.01 Correspondence to claimants' counsel regarding discovery responses, and correspondence with A.               0.1 $         26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       Watychowicz regarding claimants' inquiry (Group 1).                                                                              Muskegon Avenue
     August-21 Asset Disposition                              8/9/2021 KBD          390       40852.01 Continue to prepare and finalize spreadsheet confirming allocation of post-sale funds from property          0.7 $        273.00 8107 S Kingston Avenue; 8346 S Constance Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 8432 S Essex Avenue;                    33
                                                                                                       manager (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston                                  8517 S Vernon Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 2800-06 E 81st Street; 3213 S
                                                                                                       Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada                                        Throop Street; 3723 W 68th Place; 406 E 87th Place; 417 Oglesby Avenue; 4750-52 S Indiana Avenue; 61 E 92nd Street; 6554 S
                                                                                                       Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W                               Rhodes Avenue; 6825 S Indiana Avenue; 10012 S LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 1422-24 East
                                                                                                       102nd Street, 7933 S Kingston Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th                                   68th Street; 1516 E 85th Place; 2136 W 83rd Street; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7840-42 S Yates Avenue;
                                                                                                       Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S                                   7922 S Luella Avenue; 7925 S Kingston Avenue; 7933 S Kingston Avenue; 7953 S Woodlawn Avenue; 8030 S Marquette
                                                                                                       Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S                                      Avenue; 8104 S Kingston Avenue
                                                                                                       Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S
                                                                                                       Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).
     August-21 Business Operations                            8/9/2021 JR           140       41757.01 Review emails from account analyst requesting endorsements for sold properties and update 2020               0.2 $          28.00 2736-44 W 64th Street; 431 E 42nd Place; 4315-19 S Michigan Avenue; 4533-47 S Calumet Avenue; 7442-54 S Calumet                          7
                                                                                                       spreadsheet regarding same (2736-44 W 64th Street, 7508 S Essex Avenue, 431 E 42nd Avenue, 7442-                                  Avenue; 7508 S Essex Avenue; 816-22 E Marquette Road
                                                                                                       54 S Calumet Avenue, 816-22 E Marquette Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan
                                                                                                       Avenue).


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                                                                                                                              Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 182 of 200 PageID #:34118




EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                           Task Description                                            Task      Task Cost                                                   Property Allocations                                              Property
                                                                         Keeper                                                                                                                               Hours                                                                                                                                   Allocation
                                                                                                                                                                                                                                                                                                                                                        Count
     August-21 Claims Administration & Objections             8/9/2021 KBD          390       42652.01 Telephone conference with J. Wine regarding claimant productions and related communications              0.3 $      117.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                       (Group 1) (.3)                                                                                                             Muskegon Avenue
     August-21 Claims Administration & Objections             8/9/2021 KBD          390       42652.02 study claimants' discovery responses (Group 1) (.4)                                                      0.4 $      156.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                                                                                                                                                  Muskegon Avenue
     August-21 Claims Administration & Objections             8/9/2021 KBD          390       42652.03 exchange correspondence regarding claimant request for claims information (all) (.1)                     0.1 $       39.00 all                                                                                                                              80
     August-21 Claims Administration & Objections             8/9/2021 KBD          390       42652.04 study correspondence from J. Rak regarding analysis of claim (Group 1) (.2)                              0.2 $       78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                 5
                                                                                                                                                                                                                                  Muskegon Avenue
     August-21 Claims Administration & Objections             8/9/2021 KBD          390       42652.05 exchange correspondence with J. Wine regarding claims totals and payments to claimants (all) (.2).       0.2 $       78.00 all                                                                                                                              80

     August-21 Claims Administration & Objections             8/9/2021 JRW          260       42654.01 Review emails from A. Watychowicz regarding database searches (Group 1) (.1)                             0.1 $       26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                                                                                                                                                  Muskegon Avenue
     August-21 Claims Administration & Objections             8/9/2021 JRW          260       42654.02 exchange correspondence and telephone conference with counsel for claimants regarding standard           0.1 $       26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                       discovery responses (Group 1) (.1)                                                                                         Muskegon Avenue
     August-21 Claims Administration & Objections             8/9/2021 JRW          260       42654.03 attention to issues regarding service of standard discovery responses and related correspondence         0.8 $      208.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                       with A. Watychowicz and SEC (Group 1) (.8)                                                                                 Muskegon Avenue
     August-21 Claims Administration & Objections             8/9/2021 JRW          260       42654.04 analysis of claims submitted by type and related correspondence with K. Duff and A. Watychowicz          1.3 $      338.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                       (Group 1) (1.3)                                                                                                            Muskegon Avenue
     August-21 Claims Administration & Objections             8/9/2021 JRW          260       42654.05 exchange correspondence with K. Duff regarding search terms (Group 1) (.1)                               0.1 $       26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                                                                                                                                                  Muskegon Avenue
     August-21 Claims Administration & Objections             8/9/2021 JRW          260       42654.06 attention to claimant inquiry (Group 1) (.1)                                                             0.1 $       26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                                                                                                                                                  Muskegon Avenue
     August-21 Claims Administration & Objections             8/9/2021 JRW          260       42654.07 conference call with J. Rak regarding claims review process and issues (Group 1) (1.3)                   1.3 $      338.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                                                                                                                                                  Muskegon Avenue
     August-21 Claims Administration & Objections             8/9/2021 JRW          260       42654.08 related email exchange with K. Duff and A. Porter regarding claims review (Group 1) (.1)                 0.1 $       26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                                                                                                                                                  Muskegon Avenue
     August-21 Claims Administration & Objections             8/9/2021 JRW          260       42654.09 conduct database searches for emails related to Group One claimants (Group 1) (1.7)                      1.7 $      442.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                                                                                                                                                  Muskegon Avenue
     August-21 Claims Administration & Objections             8/9/2021 JRW          260        42654.1 confer with A. Watychowicz regarding claimant discovery responses and related review of files            1.1 $      286.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                       (Group 1) (1.1)                                                                                                            Muskegon Avenue
     August-21 Claims Administration & Objections             8/9/2021 JRW          260       42654.11 draft correspondence to claimants regarding additional discovery requests and related                    0.2 $       52.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                       correspondence with SEC (Group 1) (.2)                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections             8/9/2021 JRW          260       42654.12 exchange correspondence with vendor support regarding database issues (Group 1) (.2)                     0.2 $       52.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                                                                                                                                                  Muskegon Avenue
     August-21 Claims Administration & Objections             8/9/2021 JRW          260       42654.13 telephone conference with counsel for claimants regarding proposed order granting motion to serve        0.1 $       26.00 all                                                                                                                              80
                                                                                                       subpoena and issues relating to claims against the estate (all) (.1).
     August-21 Claims Administration & Objections             8/9/2021 AW           140       42655.01 Work in database to locate files requested by K. Duff and related communication forwarding located       2.1 $      294.00 all                                                                                                                              80
                                                                                                       documents (all) (2.1)
     August-21 Claims Administration & Objections             8/9/2021 AW           140       42655.02 email communications with J. Wine and claimant's counsel regarding service of discovery responses,       0.8 $      112.00 7750-58 S Muskegon Avenue; 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S                5
                                                                                                       issues relating to same, and work to access responses (Group 1) (.8)                                                       East End Avenue
     August-21 Claims Administration & Objections             8/9/2021 AW           140       42655.03 communicate with J. Wine regarding verification and related email to claimant (Group 1) (.1)             0.1 $       14.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                                                                                                                                                  Muskegon Avenue
     August-21 Claims Administration & Objections             8/9/2021 AW           140       42655.04 review sheet depicting total claims and J. Wine's interpretation and related email to K. Duff and J.     0.3 $       42.00 all                                                                                                                              80
                                                                                                       Wine (.3)
     August-21 Claims Administration & Objections             8/9/2021 AW           140       42655.05 prepare secured link containing discovery responses and forward same for review to K. Duff and J.        0.2 $       28.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                       Wine (Group 1) (.2)                                                                                                        Muskegon Avenue
     August-21 Claims Administration & Objections             8/9/2021 AW           140       42655.06 confer with J. Wine regarding zip files and work on extraction of files (Group 1) (.9)                   0.9 $      126.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                                                                                                                                                  Muskegon Avenue
     August-21 Claims Administration & Objections             8/9/2021 AW           140       42655.07 revise inventory sheet to check list for received responses (Group 1) (.5)                               0.5 $       70.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                                                                                                                                                  Muskegon Avenue
     August-21 Claims Administration & Objections             8/9/2021 AW           140       42655.08 communications regarding email to claimant regarding additional discovery phase and send out             0.4 $       56.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                       approved communication (Group 1) (.4)                                                                                      Muskegon Avenue
     August-21 Claims Administration & Objections             8/9/2021 AW           140       42655.09 attention to responses to standard discovery requests received via email and through shared folders,     0.8 $      112.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                       record receipt of responses, and related emails to claimants (Group 1) (.8).                                               Muskegon Avenue
     August-21 Claims Administration & Objections             8/9/2021 JR           140       42657.01 Conference with J. Wine regarding analysis of claimant information (Group 1).                            1.2 $      168.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                                                                                                                                                  Muskegon Avenue
     August-21 Asset Disposition                             8/10/2021 KBD          390       40861.01 Exchange correspondence with property manager, asset manager, A. Porter, and J. Rak regarding            0.2 $       78.00 638-40 N Avers Avenue                                                                                                            1
                                                                                                       water meter pipe repair needed to facilitate closing (638-40 N Avers Avenue) (.2)
     August-21 Asset Disposition                             8/10/2021 KBD          390       40861.02 exchange correspondence with A. Porter regarding procedure relating to approval of sale of property      0.2 $        78.00 1102 Bingham (Houston, TX)                                                                                                      1
                                                                                                       and communication with purchaser regarding earnest money deposit and closing date (1102
                                                                                                       Bingham) (.2).
     August-21 Business Operations                           8/10/2021 KBD          390       41761.01 Review expense projections for property improvements and exchange related correspondence (7109-          0.2 $        78.00 7109-19 S Calumet Avenue                                                                                                        1
                                                                                                       19 S Calumet Avenue).
     August-21 Claims Administration & Objections            8/10/2021 KBD          390       42661.01 Study, revise, and exchange correspondence relating to communication to claimants regarding claims       0.3 $      117.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                       discovery issues (Group 1) (.3)                                                                                            Muskegon Avenue
     August-21 Claims Administration & Objections            8/10/2021 KBD          390       42661.02 study claimants' discovery responses (Group 1) (.1).                                                     0.1 $       39.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                                                                                                                                                  Muskegon Avenue
     August-21 Claims Administration & Objections            8/10/2021 JRW          260       42663.01 Exchange correspondence with counsel for SEC (Group 1) (.4)                                              0.4 $      104.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                                                                                                                                                  Muskegon Avenue
     August-21 Claims Administration & Objections            8/10/2021 JRW          260       42663.02 exchange correspondence and telephone conference with claimants' counsel regarding discovery             0.2 $       52.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                       issues (Group 1) (.2)                                                                                                      Muskegon Avenue
     August-21 Claims Administration & Objections            8/10/2021 JRW          260       42663.03 confer with A. Watychowicz regarding late discovery responses and sharing documents with                 0.4 $      104.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                       claimants (Group 1) (.4)                                                                                                   Muskegon Avenue
     August-21 Claims Administration & Objections            8/10/2021 JRW          260       42663.04 draft correspondence to Group 1 claimants regarding access to discovery materials and related              1 $      260.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                       preparation of list and related correspondence with A. Watychowicz and K. Duff and revision of same                        Muskegon Avenue
                                                                                                       (Group 1) (1.0)
     August-21 Claims Administration & Objections            8/10/2021 JRW          260       42663.05 exchange correspondence with claimant's counsel regarding discovery issues (Group 1) (.1)                0.1 $       26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                                                                                                                                                  Muskegon Avenue
     August-21 Claims Administration & Objections            8/10/2021 JRW          260       42663.06 confer with A. Watychowicz regarding claimant's production of personal files and related revision to     0.2 $       52.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                       email to claimant (Group 1) (.2)                                                                                           Muskegon Avenue
     August-21 Claims Administration & Objections            8/10/2021 JRW          260       42663.07 review documents submitted by claimant in support of claim (Group 1) (2.9).                              2.9 $      754.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                                                                                                                                                  Muskegon Avenue
     August-21 Claims Administration & Objections            8/10/2021 AW           140       42664.01 Update received discovery list (Group 1) (.7)                                                            0.7 $       98.00 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S Muskegon Avenue; 3074 E Cheltenham Place; 7201 S                 5
                                                                                                                                                                                                                                  Constance Avenue
     August-21 Claims Administration & Objections            8/10/2021 AW           140       42664.02 reload and extract voluminous files received from claimant (Group 1) (.4)                                0.4 $       56.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                                                                                                                                                  Muskegon Avenue
     August-21 Claims Administration & Objections            8/10/2021 AW           140       42664.03 confer with J. Wine and several email exchanges with SEC (Group 1) (.6)                                  0.6 $       84.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                                                                                                                                                  Muskegon Avenue
     August-21 Claims Administration & Objections            8/10/2021 AW           140       42664.04 confer with J. Wine regarding supplements to discovery responses and procedure (Group 1) (.2)            0.2 $       28.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                                                                                                                                                  Muskegon Avenue
     August-21 Claims Administration & Objections            8/10/2021 AW           140       42664.05 confer with J. Wine and email exchanges with K. Duff and J. Wine regarding communication to              1.1 $      154.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                5
                                                                                                       claimants in Group 1, access to discovery responses, and security issues (Group 1) (1.1)                                   Muskegon Avenue


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EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date     Time    Rate    Task Entry ID                                           Task Description                                              Task        Task Cost                                                    Property Allocations                                                   Property
                                                                          Keeper                                                                                                                                 Hours                                                                                                                                           Allocation
                                                                                                                                                                                                                                                                                                                                                                   Count
     August-21 Claims Administration & Objections            8/10/2021 AW            140       42664.06 review voluminous file from claimant, confer with J. Wine regarding file issue, and email claimant         0.8 $        112.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                        regarding removal of files (Group 1) (.8).                                                                                     Muskegon Avenue
     August-21 Asset Disposition                             8/11/2021 KBD           390       40870.01 Exchange correspondence with A. Porter and J. Wine regarding property repair for water certification       0.2 $         78.00 638-40 N Avers Avenue                                                                                                                  1
                                                                                                        and closing timing (638-40 N Avers Avenue).
     August-21 Business Operations                           8/11/2021 KBD           390       41770.01 Study information regarding potential improvements (7109-19 S Calumet Avenue).                             0.1 $          39.00 7109-19 S Calumet Avenue                                                                                                              1
     August-21 Business Operations                           8/11/2021 JRW           260       41772.01 Review municipal court order and related correspondence with corporation counsel regarding                 0.2 $          52.00 638-40 N Avers Avenue                                                                                                                 1
                                                                                                        upcoming hearing (638-40 N Avers Avenue).
     August-21 Business Operations                           8/11/2021 JR            140       41775.01 Exchange correspondence with account analyst requesting missing property insurance endorsements            0.3 $          42.00 2736-44 W 64th Street; 431 E 42nd Place; 4315-19 S Michigan Avenue; 4533-47 S Calumet Avenue; 7442-54 S Calumet                       7
                                                                                                        (2736-44 W 64th Street, 7508 S Essex Avenue, 431 E 42nd Avenue, 7442-54 S Calumet Avenue, 816-                                  Avenue; 7508 S Essex Avenue; 816-22 E Marquette Road
                                                                                                        22 E Marquette Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue).

     August-21 Claims Administration & Objections            8/11/2021 KBD           390       42670.01 Work on procedure for sharing late and supplemental production documents with claimants (Group             0.2 $         78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                        1) (.2)                                                                                                                        Muskegon Avenue
     August-21 Claims Administration & Objections            8/11/2021 KBD           390       42670.02 work on claims analysis with A. Porter, J. Wine, J. Rak, and A. Watychowicz (all) (1.8)                    1.8 $        702.00 all                                                                                                                                    80
     August-21 Claims Administration & Objections            8/11/2021 KBD           390       42670.03 exchange correspondence with A. Watychowicz regarding document database functionality issue                0.1 $         39.00 all                                                                                                                                    80
                                                                                                        (all) (.1)
     August-21 Claims Administration & Objections            8/11/2021 KBD           390       42670.04 study correspondence from J. Wine regarding claimants’ request for records and related                     0.1 $          39.00 all                                                                                                                                   80
                                                                                                        confidentiality issues (all) (.1).
     August-21 Claims Administration & Objections            8/11/2021 JRW           260       42672.01 Confer with A. Watychowicz regarding claimants' discovery responses and maintenance of records             0.4 $        104.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                        regarding claimants' contact information (Group 1) (.4)                                                                        Muskegon Avenue
     August-21 Claims Administration & Objections            8/11/2021 JRW           260       42672.02 work with database vendor regarding imaging of records and other database issues (all) (.3)                0.3 $         78.00 all                                                                                                                                    80

     August-21 Claims Administration & Objections            8/11/2021 JRW           260       42672.03 correspond with J. Rak regarding claimant records (Group 1) (.1)                                           0.1 $         26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                                                                                                                                                       Muskegon Avenue
     August-21 Claims Administration & Objections            8/11/2021 JRW           260       42672.04 confer with A. Porter, K. Duff, J. Rak and A. Watychowicz regarding evaluation of institutional lender     1.8 $        468.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                        and investor lender claims (Group 1) (1.8)                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections            8/11/2021 JRW           260       42672.05 exchange correspondence with counsel for claimants regarding document production (Group 1) (.1)            0.1 $         26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                                                                                                                                                       Muskegon Avenue
     August-21 Claims Administration & Objections            8/11/2021 JRW           260       42672.06 telephone conference with claimants' counsel regarding discovery matter and related comments to            0.4 $        104.00 all                                                                                                                                    80
                                                                                                        K. Duff and M. Rachlis (all) (.4)
     August-21 Claims Administration & Objections            8/11/2021 JRW           260       42672.07 confer with A. Watychowicz regarding counsel of record for claimants (all) (.3)                            0.3 $          78.00 all                                                                                                                                   80
     August-21 Claims Administration & Objections            8/11/2021 JRW           260       42672.08 review documents submitted by claimant in discovery and with proof of claim (Group 1) (5.7).               5.7 $       1,482.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                                                                                                                                                        Muskegon Avenue
     August-21 Claims Administration & Objections            8/11/2021 AW            140       42673.01 Confer with the team regarding claims process (Group 1) (1.3)                                              1.3 $         182.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                     5
                                                                                                                                                                                                                                        Muskegon Avenue
     August-21 Claims Administration & Objections            8/11/2021 AW            140       42673.02 email claimant regarding removal of file (Group 1) (.1)                                                    0.1 $          14.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                     5
                                                                                                                                                                                                                                        Muskegon Avenue
     August-21 Claims Administration & Objections            8/11/2021 AW            140       42673.03 attention to email from claimant requesting access to claims files, prepare link, and related              0.3 $          42.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                     5
                                                                                                        communication with claimant (Group 1) (.3)                                                                                      Muskegon Avenue
     August-21 Claims Administration & Objections            8/11/2021 AW            140       42673.04 attention to email from claimant's counsel regarding password, test same, related email with K.            0.3 $          42.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                     5
                                                                                                        Pritchard, and email instructions to claimant (Group 1) (.3)                                                                    Muskegon Avenue
     August-21 Claims Administration & Objections            8/11/2021 AW            140       42673.05 attention to supplemental productions from claimants, related communications with K. Duff and J.           0.6 $          84.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                     5
                                                                                                        Wine, update discovery folders, and confirm receipt of supplements (Group 1) (.6)                                               Muskegon Avenue

     August-21 Claims Administration & Objections            8/11/2021 AW            140       42673.06 email exchange with J. Wine regarding update to claimants' contacts and process (all) (.2)                 0.2 $         28.00 all                                                                                                                                    80
     August-21 Claims Administration & Objections            8/11/2021 AW            140       42673.07 email communications with SEC (Group 1) (.3)                                                               0.3 $         42.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                       5
                                                                                                                                                                                                                                       Muskegon Avenue
     August-21   Claims Administration & Objections          8/11/2021   AW          140       42673.08     communicate with K. Duff regarding database search results (all) (.1)                                  0.1   $       14.00 all                                                                                                                                    80
     August-21   Claims Administration & Objections          8/11/2021   AW          140       42673.09     email communications regarding claims call with J. Rak and K. Pritchard (all) (.1)                     0.1   $       14.00 all                                                                                                                                    80
     August-21   Claims Administration & Objections          8/11/2021   AW          140        42673.1     email J. Rak requested claims documents (all) (.1)                                                     0.1   $       14.00 all                                                                                                                                    80
     August-21   Claims Administration & Objections          8/11/2021   AW          140       42673.11     call with J. Wine regarding email list and updates (all) (.2)                                          0.2   $       28.00 all                                                                                                                                    80
     August-21   Claims Administration & Objections          8/11/2021   AW          140       42673.12     start working on update to contact list for claimants (all) (.6).                                      0.6   $       84.00 all                                                                                                                                    80
     August-21   Claims Administration & Objections          8/11/2021   AEP         390       42676.01    Teleconference with K. Duff, J. Wine, and J. Rak regarding discovery associated with loans on             2   $      780.00 3074 E Cheltenham Place; 4611-17 S Drexel Boulevard; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East                 6
                                                                                                           EquityBuild properties and analysis of preliminary facts (4611-17 S Drexel Boulevard, 7750-58 S                             End Avenue; 7750-58 S Muskegon Avenue
                                                                                                           Muskegon Avenue, 7625-33 S East End Avenue, 7635-43 S East End Avenue, 7201 S Constance
                                                                                                           Avenue, 3074 E Cheltenham Place).
     August-21 Asset Disposition                             8/12/2021 KBD           390       40879.01    Exchange correspondence with J. Wine regarding efforts to close sale (1102 Bingham).                    0.1 $          39.00 1102 Bingham (Houston, TX)                                                                                                            1
     August-21 Asset Disposition                             8/12/2021 JRW           260       40881.01    Confer with K. Duff regarding entry of proposed order (1102 Bingham).                                   0.1 $          26.00 1102 Bingham (Houston, TX)                                                                                                            1
     August-21 Asset Disposition                             8/12/2021 JR            140       40884.01    Exchange correspondence with the city of Chicago water department inquiring about water meter           0.1 $          14.00 638-40 N Avers Avenue                                                                                                                 1
                                                                                                           installation in anticipation for closing (638-40 N Avers Avenue) (.1)
     August-21 Asset Disposition                             8/12/2021 JR            140       40884.02     further correspondence with property management regarding water meter install (638-40 N Avers          0.1 $          14.00 638-40 N Avers Avenue                                                                                                                 1
                                                                                                           Avenue) (.1).
     August-21 Business Operations                           8/12/2021 KBD           390       41779.01    Exchange correspondence with property manager regarding financial reporting and final expenses          0.1 $          39.00 6250 S Mozart Street; 638-40 N Avers Avenue; 6554-58 S Vernon Avenue; 6807 S Indiana Avenue; 7237-43 S Bennett Avenue;                12
                                                                                                           (6250 S Mozart Street, 9610 S Woodlawn Avenue, 638-40 N Avers Avenue, 7237-43 S Bennett                                      7255-57 S Euclid Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue; 9610 S Woodlawn Avenue; 1401 W 109th
                                                                                                           Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana Avenue, 7255-57 S Euclid Avenue,                               Place; 310 E 50th Street; 4315-19 S Michigan Avenue
                                                                                                           4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 416-24 E 66th
                                                                                                           Street) ( 1)
     August-21 Business Operations                           8/12/2021 KBD           390       41779.02     review information regarding resolution of administrative action (6250 S Mozart Street) (.1).          0.1 $          39.00 6250 S Mozart Street                                                                                                                  1

     August-21 Business Operations                           8/12/2021 JRW           260       41781.01 Review administrative orders from EquityBuild's former counsel and related correspondence with S.          0.1 $          26.00 2736-44 W 64th Street; 6250 S Mozart Street; 6554-58 S Vernon Avenue                                                                  3
                                                                                                        Zjalic (6250 S Mozart Street, 2736-44 W 64th Street, 6554-58 S Vernon Avenue) (.1)

     August-21 Business Operations                           8/12/2021 JRW           260       41781.02 exchange correspondence with corporation counsel regarding judgment order and update records               0.3 $          78.00 6250 S Mozart Street                                                                                                                  1
                                                                                                        regarding same (6250 S Mozart Street) (.3)
     August-21 Business Operations                           8/12/2021 JRW           260       41781.03 review continuance order in municipal housing matter and update files (638-40 N Avers Avenue) (.1).        0.1 $          26.00 638-40 N Avers Avenue                                                                                                                 1

     August-21 Claims Administration & Objections            8/12/2021 KBD           390       42679.01 Exchange correspondence regarding claimant submission and related communications (Group 1) (.1)            0.1 $         39.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                                                                                                                                                       Muskegon Avenue
     August-21 Claims Administration & Objections            8/12/2021 KBD           390       42679.02 exchange correspondence with J. Wine regarding development of factual narrative and study related          0.3 $        117.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                        documents (Group 1) (.3).                                                                                                      Muskegon Avenue
     August-21 Claims Administration & Objections            8/12/2021 KMP           140       42680.01 Confer with J. Rak and A. Watychowicz regarding process for investigation of claims relating to Group      1.6 $        224.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                        1 properties (3074 Cheltenham Place, 7625-33 S East End Avenue, 7635-43 S East End Avenue, 7750-                               Muskegon Avenue
                                                                                                        58 S Muskegon Avenue, 7201 S Constance Avenue).
     August-21 Claims Administration & Objections            8/12/2021 JRW           260       42681.01 Search database for communications with claimant and related correspondence to team (Group 1)              0.5 $        130.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                        (.5)                                                                                                                           Muskegon Avenue
     August-21 Claims Administration & Objections            8/12/2021 JRW           260       42681.02 review documents produced in discovery (Group 1) (3.3)                                                     3.3 $        858.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                                                                                                                                                       Muskegon Avenue
     August-21 Claims Administration & Objections            8/12/2021 JRW           260       42681.03 attention to claimant inquiries (Group 1) (.1)                                                             0.1 $         26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                                                                                                                                                       Muskegon Avenue
     August-21 Claims Administration & Objections            8/12/2021 JRW           260       42681.04 confer with A. Watychowicz regarding updated counsel information and related review of prior               0.4 $        104.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                        correspondence (Group 1) (.4)                                                                                                  Muskegon Avenue


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EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                            Task Description                                          Task      Task Cost                                                     Property Allocations                                                      Property
                                                                         Keeper                                                                                                                              Hours                                                                                                                                             Allocation
                                                                                                                                                                                                                                                                                                                                                                 Count
     August-21 Claims Administration & Objections            8/12/2021 JRW          260       42681.05 correspond with claimants' counsel regarding list of claimants represented (Group 1) (.1)               0.1 $       26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                 Muskegon Avenue
     August-21 Claims Administration & Objections            8/12/2021 JRW          260       42681.06 correspondence from claimants' counsel regarding format of document production (Group 1) (.1)           0.1 $       26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                 Muskegon Avenue
     August-21 Claims Administration & Objections            8/12/2021 JRW          260       42681.07 telephone conference with counsel for SEC (Group 1) (.1).                                               0.1 $       26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                 Muskegon Avenue
     August-21 Claims Administration & Objections            8/12/2021 AW           140       42682.01 Attention to email regarding discovery responses and related communication with claimant's counsel      0.3 $       42.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                       (Group 1) (.3)                                                                                                            Muskegon Avenue
     August-21 Claims Administration & Objections            8/12/2021 AW           140       42682.02 email claimant regarding discovery responses (Group 1) (.1)                                             0.1 $       14.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                 Muskegon Avenue
     August-21 Claims Administration & Objections            8/12/2021 AW           140       42682.03 record responses and update shared folder (Group 1) (.1)                                                0.1 $       14.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                 Muskegon Avenue
     August-21 Claims Administration & Objections            8/12/2021 AW           140       42682.04 continued work and communication with J. Wine regarding updated service list (all) (.8)                 0.8 $      112.00 all                                                                                                                                        80
     August-21 Claims Administration & Objections            8/12/2021 AW           140       42682.05 call with J. Rak and K. Pritchard regarding claims process (Group 1) (1.5)                              1.5 $      210.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                 Muskegon Avenue
     August-21 Claims Administration & Objections            8/12/2021 AW           140       42682.06 confer with J. Wine and email SEC (Group 1) (.2)                                                        0.2 $       28.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                 Muskegon Avenue
     August-21 Claims Administration & Objections            8/12/2021 AW           140       42682.07 continue work on service list (all) (1.3)                                                               1.3 $      182.00 all                                                                                                                                        80
     August-21 Claims Administration & Objections            8/12/2021 MR           390       42683.01 Attention to issues on privilege log entries (Group 1).                                                 0.1 $       39.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                 Muskegon Avenue
     August-21 Asset Disposition                             8/13/2021 KBD          390       40888.01 Work on post-sale reconciliation of property manager funds (417 S Oglesby Avenue, 7925 S Kingston       0.4 $      156.00 6554 S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7840-42 S Yates Avenue; 8405 S                    33
                                                                                                       Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S                                   Marquette Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell
                                                                                                       Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd                             Avenue; 10012 S LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 1422-24 East 68th Street; 1516 E 85th Place;
                                                                                                       Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,                             2136 W 83rd Street; 2800-06 E 81st Street; 3213 S Throop Street; 3723 W 68th Place; 7922 S Luella Avenue; 7925 S Kingston
                                                                                                       11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street,                       Avenue; 7933 S Kingston Avenue; 7953 S Woodlawn Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8107 S
                                                                                                       6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S                           Kingston Avenue; 8346 S Constance Avenue; 8403 S Aberdeen Street; 406 E 87th Place; 417 Oglesby Avenue; 4750-52 S
                                                                                                       Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon Avenue,                                   Indiana Avenue; 61 E 92nd Street
                                                                                                       10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue,
                                                                                                       2800-06 E 81st Street, 1422-24 E 68th Street) (.4)
     August-21 Asset Disposition                             8/13/2021 KBD          390       40888.02 study order denying former purchaser motion for return of earnest money (6949-59 S Merrill              0.2 $        78.00 6949-59 S Merrill Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue                                                            3
                                                                                                       Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue) (.2).
     August-21 Asset Disposition                             8/13/2021 KMP          140       40889.01 Communications with K. Duff and property manager regarding issues with post-sale reconciliations        0.3 $        42.00 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7840-42 S Yates Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue; 7933 S                  33
                                                                                                       and transfer of funds and forward related spreadsheet to property manager (417 S Oglesby Avenue,                           Kingston Avenue; 7953 S Woodlawn Avenue; 10012 S LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 1422-24
                                                                                                       7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen                                   East 68th Street; 8800 S Ada Street; 9212 S Parnell Avenue; 1516 E 85th Place; 2136 W 83rd Street; 2800-06 E 81st Street;
                                                                                                       Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue,                           3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place; 417 Oglesby Avenue; 4750-52 S Indiana Avenue; 61 E 92nd Street;
                                                                                                       2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston                          8030 S Marquette Avenue; 8104 S Kingston Avenue; 8107 S Kingston Avenue; 8346 S Constance Avenue; 8403 S Aberdeen
                                                                                                       Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd                         Street; 8405 S Marquette Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 8529 S Rhodes Avenue; 6554 S Rhodes
                                                                                                       Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue,                           Avenue; 6825 S Indiana Avenue
                                                                                                       7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                                                                       Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates
                                                                                                       Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).
     August-21 Asset Disposition                             8/13/2021 MR           390       40892.01 Attention to issues on appeal and order on earnest money (6949-59 S Merrill Avenue, 7600-10 S           0.2 $        78.00 6949-59 S Merrill Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue                                                            3
                                                                                                       Kingston Avenue, 7656-58 S Kingston Avenue).
     August-21 Business Operations                           8/13/2021 KBD          390       41788.01 Study correspondence from property manager and J. Wine regarding asserted claim and exchange            0.2 $        78.00 3074 E Cheltenham Place                                                                                                                   1
                                                                                                       related correspondence (3074 E Cheltenham Place).
     August-21 Business Operations                           8/13/2021 KMP          140       41789.01 Attention to receipt of documents relating to claim by tenant and related communications with K.        0.2 $        28.00 3074 E Cheltenham Place                                                                                                                   1
                                                                                                       Duff and J. Wine regarding notice to tenant's counsel (3074 E Cheltenham Place).
     August-21 Business Operations                           8/13/2021 JRW          260       41790.01 Review correspondence regarding civil litigation matter and related discussion with K. Duff (3074 E     0.2 $        52.00 3074 E Cheltenham Place                                                                                                                   1
                                                                                                       Cheltenham Place).
     August-21 Business Operations                           8/13/2021 ED           390       41795.01 Email correspondence with K. Duff and K. Pritchard regarding allocation of expenses between             0.2 $        78.00 1414-18 East 62nd Place; 6217-27 S Dorchester Avenue                                                                                      2
                                                                                                       properties (6217-27 S Dorchester Avenue, 1414-18 East 62nd Place).
     August-21 Claims Administration & Objections            8/13/2021 KBD          390       42688.01 Exchange correspondence with J. Wine regarding issues relating to claimants' request for claims         0.2 $        78.00 all                                                                                                                                       80
                                                                                                       documentation (all) (.2)
     August-21 Claims Administration & Objections            8/13/2021 KBD          390       42688.02 study privilege log (Group 1) (.1).                                                                     0.1 $        39.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                  Muskegon Avenue
     August-21 Claims Administration & Objections            8/13/2021 JRW          260       42690.01 Correspond with counsel for claimants regarding joint motion and related discussion with K. Duff        0.3 $        78.00 sole lien                                                                                                                                 28
                                                                                                       (sole lien) (.3)
     August-21 Claims Administration & Objections            8/13/2021 JRW          260       42690.02 review revised motion to serve subpoena from claimants' counsel and related internal                    0.3 $        78.00 all                                                                                                                                       80
                                                                                                       correspondence (all) (.3)
     August-21 Claims Administration & Objections            8/13/2021 JRW          260       42690.03 review privilege log from claimant and related correspondence (Group 1) (.2)                            0.2 $       52.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                 Muskegon Avenue
     August-21 Claims Administration & Objections            8/13/2021 JRW          260       42690.04 review documents produced by claimant (Group 1) (2.9).                                                  2.9 $      754.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                 Muskegon Avenue
     August-21 Claims Administration & Objections            8/13/2021 AW           140       42691.02 Work on updates to service list (all) (1.1)                                                             1.1 $      154.00 all                                                                                                                                        80
     August-21 Claims Administration & Objections            8/13/2021 AW           140       42691.03 attention to claimant's privilege log and update shared folder (Group 1) (.1)                           0.1 $       14.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                 Muskegon Avenue
     August-21 Claims Administration & Objections            8/13/2021 AW           140       42691.04 communicate with J. Wine regarding claims documents (Group 1) (.1).                                     0.1 $       14.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                 Muskegon Avenue
     August-21 Claims Administration & Objections            8/14/2021 JRW          260       42699.01 Continued review and analysis of claimant document production (Group 1).                                3.3 $      858.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                 Muskegon Avenue
     August-21 Claims Administration & Objections            8/14/2021 AEP          390       42703.01 Begin preparation of comprehensive overview of claims process, including segregation of properties      1.7 $      663.00 all                                                                                                                                        80
                                                                                                       into logical groups, and development of worksheet for tracking information pertaining to claims
                                                                                                       adjudication (all).
     August-21 Claims Administration & Objections            8/15/2021 AEP          390       42712.01 Continue preparing outline of claims process and spreadsheet of properties and finalize                 2.2 $      858.00 all                                                                                                                                        80
                                                                                                       comprehensive outline of all properties subsumed within each debt or equity fund, including
                                                                                                       corporate structures (all).




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EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                            Task Description                                              Task      Task Cost                                                    Property Allocations                                                    Property
                                                                         Keeper                                                                                                                                  Hours                                                                                                                                          Allocation
                                                                                                                                                                                                                                                                                                                                                                  Count
     August-21 Business Operations                           8/16/2021 JR           140       41820.01 Review email from E. Duff related to property endorsements regarding 2020 property insurance,               0.4 $        56.00 11117-11119 S Longwood Drive; 1131-41 E 79th Place; 8209 S Ellis Avenue; 8214-16 S Ingleside Avenue; 8326-58 S Ellis                   41
                                                                                                       update same and send all endorsements received from accounting firm (8047-55 S. Manistee Avenue,                               Avenue; 7957-59 S Marquette Road; 8000-02 S Justine Street; 8047-55 S Manistee Avenue; 8107-09 S Ellis Avenue; 816-22 E
                                                                                                       7749-59 S. Yates Boulevard, 6749-59 S Merrill Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw                                  Marquette Road; 8201 S Kingston Avenue; 7201 S Constance Avenue; 4533-47 S Calumet Avenue; 5450-52 S Indiana Avenue;
                                                                                                       Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis                            5618-20 S Martin Luther King Drive; 6250 S Mozart Street; 6355-59 S Talman Avenue; 6356 S California Avenue; 1700-08 W
                                                                                                       Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S                                    Juneway Terrace; 2736-44 W 64th Street; 3074 E Cheltenham Place; 431 E 42nd Place; 4315-19 S Michigan Avenue; 7201-07 S
                                                                                                       Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S                               Dorchester Avenue; 7300-04 S St Lawrence Avenue; 7442-54 S Calumet Avenue; 7450 S Luella Avenue; 7546-48 S Saginaw
                                                                                                       Ingleside Avenue, 8209 S Ellis Avenue, 11117-19 S Longwood Drive, 7300-04 S St Lawrence Avenue,                                Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue; 7701-03 S Essex Avenue; 7749-59 S Yates Boulevard; 7760 S
                                                                                                       7110 S Cornell Avenue, 7957-59 S Marquette Avenue, 7051 S Bennett Avenue, 3074 E Cheltenham                                    Coles Avenue; 6437-41 S Kenwood Avenue; 6554-58 S Vernon Avenue; 6749-59 S Merrill Avenue; 6949-59 S Merrill Avenue;
                                                                                                       Place, 2736-44 W 64th Street, 5618-20 S Martin Luther King Drive, 6356 S California Avenue, 6355-59                            7051 S Bennett Avenue; 7110 S Cornell Avenue; 4520-26 S Drexel Boulevard; 7508 S Essex Avenue
                                                                                                       S Talman Avenue, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace,
                                                                                                       7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-
                                                                                                       54 S Calumet Avenue, 816- 22 E Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet
                                                                                                       Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656- 58 S Kingston Avenue, 1131-
                                                                                                       41 E 79th Place, 6250 S Mozart Street) (.4)
     August-21 Business Operations                           8/16/2021 JR           140       41820.02 further discussion with E. Duff related to analysis of endorsement and deleted property prior to sale       0.2 $        28.00 431 E 42nd Place                                                                                                                       1
                                                                                                       of same (431 E 42nd Street) (.2).
     August-21 Claims Administration & Objections            8/16/2021 KBD          390       42715.01 Attention to claimant communication regarding claim and procedures (all).                                   0.1 $       39.00 all                                                                                                                                     80
     August-21 Claims Administration & Objections            8/16/2021 JRW          260       42717.01 Attention to claimant emails (Group 1) (.1)                                                                 0.1 $       26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                        5
                                                                                                                                                                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections            8/16/2021 JRW          260       42717.02 review and analysis of discovery documents (Group 1) (2.8)                                                  2.8 $      728.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                       5
                                                                                                                                                                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections            8/16/2021 JRW          260       42717.03 review third-party subpoena (Group 1) (.1).                                                                 0.1 $       26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                       5
                                                                                                                                                                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections            8/16/2021 AW           140       42718.01 Correspond with A. Porter regarding potential claims project (all) (.1)                                     0.1 $       14.00 all                                                                                                                                     80
     August-21 Claims Administration & Objections            8/16/2021 AW           140       42718.02 continue work on updates to mailing list (all) (.6)                                                         0.6 $       84.00 all                                                                                                                                     80
     August-21 Business Operations                           8/17/2021 KBD          390       41824.01 Work on communication to counsel regarding state court complaint filed in violation of stay order           0.2 $       78.00 3074 E Cheltenham Place                                                                                                                  1
                                                                                                       (3074 E Cheltenham Place).
     August-21 Business Operations                           8/17/2021 JRW          260       41826.01 Draft correspondence to plaintiff's counsel in state court matter and related correspondence with K.        0.4 $      104.00 3074 E Cheltenham Place                                                                                                                 1
                                                                                                       Pritchard and K. Duff (3074 E Cheltenham Place).
     August-21 Claims Administration & Objections            8/17/2021 KBD          390       42724.01 Investigation of claims and financing history (Group 1) (.3)                                                0.3 $      117.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                       5
                                                                                                                                                                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections            8/17/2021 KBD          390       42724.02 confer with A. Porter, J. Wine, J. Rak, and A. Watychowicz regarding claims analysis (Group 1) (2.0)          2 $      780.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                       5
                                                                                                                                                                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections            8/17/2021 KBD          390       42724.03 legal research regarding mortgage validity and enforceability issues (all) (.5)                             0.5 $      195.00 all                                                                                                                                     80
     August-21 Claims Administration & Objections            8/17/2021 KBD          390       42724.04 exchange correspondence regarding claimant compensation (Group 1) (.1)                                      0.1 $       39.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                        5
                                                                                                                                                                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections            8/17/2021 KBD          390       42724.05 review draft motion to approve process for sole lien properties (sole lien) (.2).                           0.2 $       78.00 sole lien                                                                                                                               28
     August-21 Claims Administration & Objections            8/17/2021 KMP          140       42725.01 Search records for information regarding claimant and related communications with K. Duff.                  0.3 $       42.00 all                                                                                                                                     80

     August-21 Claims Administration & Objections            8/17/2021 JRW          260       42726.01 Confer with A. Watychowicz regarding response to claimant inquiry (Group 1) (.1)                            0.1 $        26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                                                                                                                                                      Muskegon Avenue
     August-21 Claims Administration & Objections            8/17/2021 JRW          260       42726.02 conference with A. Porter, K. Duff, and J. Rak regarding claims review (all) (1.9)                          1.9 $       494.00 all                                                                                                                                    80
     August-21 Claims Administration & Objections            8/17/2021 JRW          260       42726.03 correspondence with SEC (Group 1) (.1)                                                                      0.1 $        26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                       5
                                                                                                                                                                                                                                      Muskegon Avenue
     August-21 Claims Administration & Objections            8/17/2021 JRW          260       42726.04 continued review of claimant document production (Group 1) (4.4)                                            4.4 $     1,144.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                                                                                                                                                      Muskegon Avenue
     August-21 Claims Administration & Objections            8/17/2021 AW           140       42727.01 Draft email to claimant regarding protective order and discovery, related email to J. Wine, and             0.2 $        28.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                       respond to claimant inquiry (Group 1) (.2)                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections            8/17/2021 AW           140       42727.02 call with the team regarding claims process (Group 1) (.8)                                                  0.8 $       112.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                                                                                                                                                      Muskegon Avenue
     August-21 Claims Administration & Objections            8/17/2021 AW           140       42727.03 work on updates to mailing list (all) (.5).                                                                 0.5 $        70.00 all                                                                                                                                    80
     August-21 Claims Administration & Objections            8/17/2021 JR           140       42729.01 Teleconference with K. Duff, J. Wine and A. Watychowicz regarding strategy for analyzing priority             2 $       280.00 all                                                                                                                                    80
                                                                                                       disputes, reconciling claim submissions with EquityBuild records, establishing legal and factual
                                                                                                       frameworks, and prioritizing claims analysis (all).
     August-21 Claims Administration & Objections            8/17/2021 AEP          390       42730.01 Teleconference with K. Duff, J. Rak, J. Wine, and A. Watychowicz regarding strategy for analyzing             2 $      780.00 all                                                                                                                                     80
                                                                                                       priority disputes, reconciling claim submissions with EquityBuild records, establishing legal and
                                                                                                       factual frameworks, and prioritizing claims analysis (all).
     August-21 Asset Disposition                             8/18/2021 KBD          390       40933.01 Attention to efforts to resolve issues with City and move closing forward and exchange related              0.2 $        78.00 638-40 N Avers Avenue                                                                                                                  1
                                                                                                       correspondence with claimant's counsel (638-40 N Avers Avenue).
     August-21 Business Operations                           8/18/2021 JRW          260       41835.01 Review administrative court orders and related work with A. Watychowicz to prepare                          0.3 $        78.00 1414-18 East 62nd Place; 1422-24 East 68th Street; 7024-32 S Paxton Avenue                                                             3
                                                                                                       correspondence to City of Chicago (7024-32 S Paxton Avenue, 1414- 18 East 62nd Place, 1422-24 East
                                                                                                       68th Street).
     August-21 Business Operations                           8/18/2021 AW           140       41836.01 Attention to default orders, draft letter to the City of Chicago, and related email to J. Wine (7024-32     0.5 $        70.00 1414-18 East 62nd Place; 1422-24 East 68th Street; 7024-32 S Paxton Avenue                                                             3
                                                                                                       S Paxton, 1414-18 E 62nd Place, 1422-24 E 68th Street).
     August-21 Claims Administration & Objections            8/18/2021 KBD          390       42733.01 Exchange correspondence with J. Wine regarding document database vendor invoice (all) (.1)                  0.1 $        39.00 all                                                                                                                                    80

     August-21 Claims Administration & Objections            8/18/2021 KBD          390       42733.02 study records relating to claimant and various related correspondence (Group 1) (.3).                       0.3 $      117.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                       5
                                                                                                                                                                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections            8/18/2021 JRW          260       42735.01 Prepare chronology of evidence from review of claimants discovery responses and related                     2.5 $      650.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                       5
                                                                                                       correspondence with A. Porter and K. Duff (Group 1) (2.5)                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections            8/18/2021 JRW          260       42735.02 search document database and related correspondence with A. Porter and K. Duff (7625-33 S East              0.3 $       78.00 7625-33 S East End Avenue                                                                                                               1
                                                                                                       End Avenue) (.3)
     August-21 Claims Administration & Objections            8/18/2021 JRW          260       42735.03 correspondence with A. Porter, A. Watychowicz and SEC regarding documents produced pursuant to              0.4 $      104.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                       5
                                                                                                       subpoena (Group 1) (.4)                                                                                                       Muskegon Avenue
     August-21 Claims Administration & Objections            8/18/2021 JRW          260       42735.04 correspondence with claimants' counsel regarding revisions to draft motion and related telephone            0.2 $       52.00 all                                                                                                                                     80
                                                                                                       conference (all) (.2)
     August-21 Claims Administration & Objections            8/18/2021 AW           140       42736.01 Correspondence with J. Rak regarding claims project (Group 1) (.3)                                          0.3 $       42.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                       5
                                                                                                                                                                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections            8/18/2021 AW           140       42736.02 review document production from title company and compare to claimant's production, and related             0.7 $       98.00 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S Muskegon Avenue; 3074 E                        5
                                                                                                       emails with K. Duff, A. Porter, and J. Wine (Group 1) (.7)                                                                    Cheltenham Place
     August-21 Claims Administration & Objections            8/18/2021 AW           140       42736.03 review and work on updates to mortgagee list (7201 S Constance Avenue) (.8).                                0.8 $      112.00 7201 S Constance Avenue                                                                                                                 1
     August-21 Claims Administration & Objections            8/18/2021 AEP          390       42739.01 Review and analyze e-mails assembled by J. Wine from documents produced on behalf of claimant in            2.2 $      858.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                       5
                                                                                                       connection with discovery into competing claims against properties and merge chronology of critical                           Muskegon Avenue
                                                                                                       facts prepared by J. Wine into existing chronology pertaining to claimant loans (7625-33 S East End
                                                                                                       Avenue, 7635-43 S East End Avenue, 7750-58 S Muskegon Avenue, 7201 S Constance Avenue, 3074 E
                                                                                                       Cheltenham Place)
     August-21 Claims Administration & Objections            8/19/2021 KBD          390       42742.01 Review claims analysis from J. Wine (Group 1) (.3)                                                          0.3 $      117.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                       5
                                                                                                                                                                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections            8/19/2021 KBD          390       42742.02 confer with SEC (Group 1) (.5)                                                                              0.5 $      195.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                       5
                                                                                                                                                                                                                                     Muskegon Avenue


                                                                                                                                                                                         20 of 35
                                                                                                                              Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 186 of 200 PageID #:34122




EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                           Task Description                                               Task      Task Cost                                                     Property Allocations                                                       Property
                                                                         Keeper                                                                                                                                  Hours                                                                                                                                              Allocation
                                                                                                                                                                                                                                                                                                                                                                      Count
     August-21 Claims Administration & Objections            8/19/2021 KBD          390       42742.03 confer with A. Porter and J. Wine regarding claims analysis and approach to discovery (Group 1) (.7)        0.7 $      273.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections            8/19/2021 KBD          390       42742.04 work on discovery issues and exchange related correspondence (Group 1) (.4).                                0.4 $      156.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections            8/19/2021 JRW          260       42744.01 Telephone conference with SEC, K. Duff and A. Porter (Group 1) (.5)                                         0.5 $      130.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections            8/19/2021 JRW          260       42744.02 confer with K. Duff and A. Porter regarding analysis of claimant documents and discovery responses          0.5 $      130.00 7635-43 S East End Avenue; 7750-58 S Muskegon Avenue; 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S                           5
                                                                                                       (Group 1) (.5)                                                                                                                East End Avenue
     August-21 Claims Administration & Objections            8/19/2021 JRW          260       42744.03 database searching and related exchange of correspondence with support (Group 1) (.6)                       0.6 $      156.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections            8/19/2021 JRW          260       42744.04 review draft discovery requests, proposed revisions to same, and internal correspondence regarding          0.4 $      104.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                       additional discovery (Group 1) (.4)                                                                                           Muskegon Avenue
     August-21 Claims Administration & Objections            8/19/2021 JRW          260       42744.05 email exchange with SEC (Group 1) (.3)                                                                      0.3 $       78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections            8/19/2021 JRW          260       42744.06 review chronology and comments to A. Porter (Group 1) (.3).                                                 0.3 $       78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections            8/19/2021 AW           140       42745.01 Attention to subpoenas for third parties served on claimants and related email to K. Duff and J. Wine       0.1 $       14.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                       (Group 1) (.1)                                                                                                                Muskegon Avenue
     August-21 Claims Administration & Objections            8/19/2021 AW           140       42745.02 work on review of claims documents and updates to mortgagee list (7201 S Constance Avenue) (1.2).           1.2 $      168.00 7201 S Constance Avenue                                                                                                                     1

     August-21 Claims Administration & Objections            8/19/2021 MR           390       42746.01 Attention to discovery related to claims issues and strategy for same, and related follow up with J.        0.6 $      234.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                       Wine, K. Duff, and A. Porter (Group 1).                                                                                       Muskegon Avenue
     August-21 Claims Administration & Objections            8/19/2021 AEP          390       42748.01 Conference call with K. Duff, J. Wine, and SEC (7625-33 S East End Avenue, 7635-43 S East End               0.5 $      195.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                       Avenue, 7750-58 S Muskegon Avenue, 7201 S Constance Avenue, 3074 E Cheltenham Place) (.5)                                     Muskegon Avenue

     August-21 Claims Administration & Objections            8/19/2021 AEP          390       42748.02 teleconference with K. Duff and J. Wine regarding framework for analysis of priority disputes and           0.7 $      273.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                       extent to which additional discovery may be required (7625-33 S East End Avenue, 7635-43 S East                               Muskegon Avenue
                                                                                                       End Avenue, 7750-58 S Muskegon Avenue, 7201 S Constance Avenue, 3074 E Cheltenham Place) (.7).

     August-21 Asset Disposition                             8/20/2021 KBD          390       40951.01 Study correspondence regarding order approving sale and earnest money (1102 Bingham) (.1)                   0.1 $        39.00 1102 Bingham (Houston, TX)                                                                                                                 1

     August-21 Asset Disposition                             8/20/2021 KBD          390       40951.02 exchange correspondence regarding court ruling and request to release escrowed funds (6949-59 S             0.1 $        39.00 6949-59 S Merrill Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue                                                             3
                                                                                                       Merrill Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue) (.1).
     August-21 Asset Disposition                             8/20/2021 KMP          140       40952.01 Follow up on post-sale reconciliation and deposits to property accounts (417 S Oglesby Avenue, 7925         0.2 $        28.00 8529 S Rhodes Avenue; 8800 S Ada Street; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7840-42 S                      33
                                                                                                       S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue,                                    Yates Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue; 7933 S Kingston Avenue; 7953 S Woodlawn Avenue; 8030 S
                                                                                                       8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W                                Marquette Avenue; 2136 W 83rd Street; 2800-06 E 81st Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place;
                                                                                                       83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston                                     417 Oglesby Avenue; 4750-52 S Indiana Avenue; 61 E 92nd Street; 6554 S Rhodes Avenue; 9212 S Parnell Avenue; 10012 S
                                                                                                       Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd                             LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 1422-24 East 68th Street; 1516 E 85th Place; 8104 S Kingston
                                                                                                       Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue,                               Avenue; 8107 S Kingston Avenue; 8346 S Constance Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 8432 S Essex
                                                                                                       7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon                                         Avenue; 8517 S Vernon Avenue
                                                                                                       Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates
                                                                                                       Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).
     August-21 Asset Disposition                             8/20/2021 AEP          390       40957.01 Read order entered by Judge Lee regarding disposition of earnest money associated with purchaser            0.8 $      312.00 6949-59 S Merrill Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue                                                              3
                                                                                                       default on prospective sale of receivership properties, analyze underlying strict joint order escrow
                                                                                                       agreements, and prepare e-mail to title indemnity officer providing factual background and
                                                                                                       requesting disbursement of escrowed funds (6949-59 S Merrill Avenue, 7600-10 S Kingston Avenue,
                                                                                                       7656-58 S Kingston Avenue) ( 8)
     August-21 Asset Disposition                             8/20/2021 AEP          390       40957.02 read order confirming sale of receivership property, review relevant provisions of purchase and sale        0.4 $      156.00 1102 Bingham (Houston, TX)                                                                                                                  1
                                                                                                       contract, and prepare e-mail to title company and prospective purchaser requesting deposit of
                                                                                                       remaining earnest money and scheduling of closing (1102 Bingham) (.4).

     August-21 Claims Administration & Objections            8/20/2021 KBD          390       42751.01 Work on claimants' request for records and exchange related correspondence (all) (.7)                       0.7 $      273.00 all                                                                                                                                         80
     August-21 Claims Administration & Objections            8/20/2021 KBD          390       42751.02 review draft motion for sole lien process (sole lien) (.2)                                                  0.2 $       78.00 sole lien                                                                                                                                   28
     August-21 Claims Administration & Objections            8/20/2021 KBD          390       42751.03 work on communications with claimants regarding discovery (Group 1) (.3).                                   0.3 $      117.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                            5
                                                                                                                                                                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections            8/20/2021 JRW          260       42753.01 Review and revise draft motion to serve subpoena and proposed order and related correspondence              0.7 $      182.00 all                                                                                                                                         80
                                                                                                       with K. Duff and M. Rachlis (all).
     August-21 Claims Administration & Objections            8/20/2021 AW           140       42754.01 Attention to additional subpoena to third parties served on claimants and interrogatories served on         0.1 $       14.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                       institutional lender and related emails to K. Duff and J. Wine (Group 1) (.1)                                                 Muskegon Avenue
     August-21 Claims Administration & Objections            8/20/2021 AW           140       42754.02 respond to claimants' inquiries regarding additional discovery requests (Group 1) (.2).                     0.2 $       28.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections            8/20/2021 MR           390       42755.01 Review various issues regarding proposed order on subpoena (all).                                           0.5 $      195.00 all                                                                                                                                         80
     August-21 Claims Administration & Objections            8/20/2021 AEP          390       42757.01 Prepare first draft of outline of factual and legal framework of analyses associated with litigation of     1.1 $      429.00 all                                                                                                                                         80
                                                                                                       priority disputes between institutional and investor lenders (all).
     August-21 Business Operations                           8/21/2021 JRW          260       41862.01 Review and revise draft correspondence to City of Chicago regarding administrative orders (7024-32 S        0.3 $        78.00 1414-18 East 62nd Place; 1422-24 East 68th Street; 7024-32 S Paxton Avenue                                                                 3
                                                                                                       Paxton Avenue, 1414-18 East 62nd Place, 1422-24 East 68th Street).
     August-21 Claims Administration & Objections            8/22/2021 KBD          390       42769.01 Work on response to claimants' request for records and exchange related correspondence (all).               0.2 $        78.00 all                                                                                                                                        80

     August-21 Claims Administration & Objections            8/22/2021 AEP          390       42775.01 Review and analyze additional e-mails provided by J. Wine pertaining to refinance, update                   1.7 $      663.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                       chronology, and prepare list of follow-up questions (7625- 33 S East End Avenue, 7635-43 S East End                           Muskegon Avenue
                                                                                                       Avenue, 7750-58 S Muskegon Avenue, 7201 S Constance Avenue, 3074 E Cheltenham Place).

     August-21 Asset Disposition                             8/23/2021 KBD          390       40978.01 Study notice from intervenor regarding appeal and from title company regarding earnest money                0.1 $        39.00 6949-59 S Merrill Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue                                                             3
                                                                                                       (6949-59 S Merrill Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue).
     August-21 Asset Disposition                             8/23/2021 KMP          140       40979.01 Follow up with K. Duff and property manager on post-sale reconciliation and deposits to property            0.2 $        28.00 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8107 S Kingston Avenue; 8346 S Constance Avenue; 8403 S Aberdeen                          33
                                                                                                       accounts (417 S Oglesby Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston                               Street; 8405 S Marquette Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street;
                                                                                                       Avenue, 8403 S Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada                                      9212 S Parnell Avenue; 3723 W 68th Place; 406 E 87th Place; 417 Oglesby Avenue; 4750-52 S Indiana Avenue; 61 E 92nd
                                                                                                       Street, 9212 S Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W                             Street; 6554 S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 10012 S LaSalle Avenue;
                                                                                                       102nd Street, 7933 S Kingston Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W 68th                                  1017 W 102nd Street; 11318 S Church Street; 1422-24 East 68th Street; 1516 E 85th Place; 2136 W 83rd Street; 2800-06 E 81st
                                                                                                       Place, 406 E 87th Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S                                 Street; 3213 S Throop Street; 7840-42 S Yates Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue; 7933 S Kingston
                                                                                                       Vernon Avenue, 7712 S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S                                    Avenue; 7953 S Woodlawn Avenue
                                                                                                       Constance Avenue, 8517 S Vernon Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S
                                                                                                       Indiana Avenue, 7840-42 S Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).
     August-21 Business Operations                           8/23/2021 KBD          390       41878.01 Study, revise, and exchange correspondence with A. Watychowicz regarding correspondence to City             0.3 $      117.00 1414-18 East 62nd Place; 1422-24 East 68th Street; 7024-32 S Paxton Avenue                                                                  3
                                                                                                       relating to orders of default, lack of notice, stay of enforcement, and claims submission procedure
                                                                                                       and exchange related correspondence with City representatives (7024-32 S Paxton, 1414-18 E 62nd
                                                                                                       Place, 1422-24 E 68th Street) (.3)
     August-21 Business Operations                           8/23/2021 KBD          390       41878.02 draft correspondence to K. Pritchard and J. Rak regarding real estate tax bills (638-40 N Avers             0.2 $        78.00 638-40 N Avers Avenue; 7109-19 S Calumet Avenue                                                                                            2
                                                                                                       Avenue, 7109-19 S Calumet Avenue) (.2).


                                                                                                                                                                                     21 of 35
                                                                                                                               Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 187 of 200 PageID #:34123




EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                             Task Description                                            Task      Task Cost                                                     Property Allocations                                                       Property
                                                                         Keeper                                                                                                                                 Hours                                                                                                                                              Allocation
                                                                                                                                                                                                                                                                                                                                                                     Count
     August-21 Business Operations                           8/23/2021 AW           140       41881.01 Final revisions to letter to the City regarding default orders, related email to K. Duff, and serve by     0.3 $        42.00 1414-18 East 62nd Place; 1422-24 East 68th Street; 7024-32 S Paxton Avenue                                                                 3
                                                                                                       email (7024-32 S Paxton, 1414-18 E 62nd Place, 1422-24 E 68th Street) (.3)
     August-21 Business Operations                           8/23/2021 AW           140       41881.02 attention to notice of violation and order, and related email to J. Wine (1414-18 East 62nd Place,         0.1 $        14.00 1414-18 East 62nd Place; 7927-49 S Essex Avenue                                                                                            2
                                                                                                       7933-35 S Essex Avenue) (.1).
     August-21 Claims Administration & Objections            8/23/2021 KBD          390       42778.01 Exchange correspondence regarding claimants' request for records (all) (.3)                                0.3 $      117.00 all                                                                                                                                         80
     August-21 Claims Administration & Objections            8/23/2021 KBD          390       42778.02 attention to communication with claimant (all) (.2).                                                       0.2 $       78.00 all                                                                                                                                         80
     August-21 Claims Administration & Objections            8/23/2021 AW           140       42781.01 Attention to email from claimant regarding served subpoenas and respond to same (Group 1) (.1)             0.1 $       14.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                            5
                                                                                                                                                                                                                                    Muskegon Avenue
     August-21 Claims Administration & Objections            8/23/2021 AW           140       42781.02 update emails to claimants (all) (.2)                                                                      0.2 $       28.00 all                                                                                                                                         80
     August-21 Claims Administration & Objections            8/23/2021 AW           140       42781.03 prepare link containing claims documents (1700-08 Juneway Terrace, 4533-47 S Calumet Avenue,               0.3 $       42.00 1700-08 W Juneway Terrace; 4533-47 S Calumet Avenue; 6001-05 S Sacramento Avenue                                                             3
                                                                                                       6001-05 S Sacramento Avenue) and related email to claimant (.3)
     August-21 Claims Administration & Objections            8/23/2021 AW           140       42781.04 start review of emails of claimant (Group 1) (.6).                                                         0.6 $        84.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                     Muskegon Avenue
     August-21 Asset Disposition                             8/24/2021 KBD          390       40987.01 Draft correspondence to property manager regarding efforts to resolve water meter issue with City          0.1 $        39.00 638-40 N Avers Avenue                                                                                                                      1
                                                                                                       (638-40 N Avers Avenue).
     August-21 Asset Disposition                             8/24/2021 KMP          140       40988.01 Prepare spreadsheet for property manager relating to post-sale reconciliation and deposits to              0.7 $        98.00 7933 S Kingston Avenue; 7953 S Woodlawn Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8107 S Kingston                           33
                                                                                                       property accounts, and related communication with K. Duff and property manager (417 S Oglesby                                 Avenue; 8346 S Constance Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 8432 S Essex Avenue; 10012 S LaSalle
                                                                                                       Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S                                       Avenue; 1017 W 102nd Street; 11318 S Church Street; 1422-24 East 68th Street; 1516 E 85th Place; 2136 W 83rd Street; 2800-
                                                                                                       Aberdeen Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S                                     06 E 81st Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place; 417 Oglesby Avenue; 8517 S Vernon Avenue;
                                                                                                       Parnell Avenue, 2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street,                             8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 4750-52 S Indiana Avenue; 61 E 92nd Street; 6554 S Rhodes
                                                                                                       7933 S Kingston Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th                             Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7840-42 S Yates Avenue; 7922 S Luella Avenue;
                                                                                                       Place, 61 E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712                              7925 S Kingston Avenue
                                                                                                       S Euclid Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517
                                                                                                       S Vernon Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S
                                                                                                       Yates Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).
     August-21 Claims Administration & Objections            8/24/2021 KBD          390       42787.01 Exchange correspondence and telephone conference with A. Watychowicz regarding searches for                0.3 $      117.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                       records relating to investors communications with claimant (Group 1) (.3)                                                    Muskegon Avenue
     August-21 Claims Administration & Objections            8/24/2021 KBD          390       42787.02 work with A. Watychowicz on responses to claimants (Group 1) (.4).                                         0.4 $      156.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                    Muskegon Avenue
     August-21 Claims Administration & Objections            8/24/2021 JRW          260       42789.01 Review draft motion and subpoena and related correspondence with K. Duff (all).                            0.3 $       78.00 all                                                                                                                                         80
     August-21 Claims Administration & Objections            8/24/2021 AW           140       42790.01 Attention to emails from claimants regarding served subpoenas and respond to same (Group 1) (.2)           0.2 $       28.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                            5
                                                                                                                                                                                                                                    Muskegon Avenue
     August-21 Claims Administration & Objections            8/24/2021 AW           140       42790.02 communicate with K. Duff and J. Wine regarding email to claimants regarding additional discovery           0.3 $       42.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                       requests (Group 1) (.3)                                                                                                      Muskegon Avenue
     August-21 Claims Administration & Objections            8/24/2021 AW           140       42790.03 continue review of emails of claimant (Group 1) (3.3)                                                      3.3 $      462.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                    Muskegon Avenue
     August-21 Claims Administration & Objections            8/24/2021 AW           140       42790.04 call and email communications with K. Duff regarding email search terms (Group 1) (.3)                     0.3 $       42.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                    Muskegon Avenue
     August-21 Asset Disposition                             8/25/2021 KMP          140       40997.01 Communicate with property manager and bank representatives regarding information required for              0.4 $       56.00 9212 S Parnell Avenue; 1422-24 East 68th Street; 1516 E 85th Place; 8800 S Ada Street; 6825 S Indiana Avenue; 7210 S Vernon                 33
                                                                                                       post-sale reconciliation and deposits to property accounts (417 S Oglesby Avenue, 7925 S Kingston                            Avenue; 7712 S Euclid Avenue; 7840-42 S Yates Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue; 7933 S Kingston
                                                                                                       Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Avenue, 8405 S                                      Avenue; 7953 S Woodlawn Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8107 S Kingston Avenue; 8346 S
                                                                                                       Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 2136 W 83rd                                Constance Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 8529 S
                                                                                                       Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston Avenue,11318                           Rhodes Avenue; 10012 S LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 2136 W 83rd Street; 2800-06 E 81st
                                                                                                       S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S                         Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place; 417 Oglesby Avenue; 4750-52 S Indiana Avenue; 61 E 92nd
                                                                                                       Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S                                     Street; 6554 S Rhodes Avenue
                                                                                                       Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon Avenue,
                                                                                                       10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue,
                                                                                                       2800-06 E 81st Street, 1422-24 E 68th Street).
     August-21 Business Operations                           8/25/2021 KBD          390       41896.01 Attention to administrative notice and draft related correspondence to property manager and J. Rak         0.2 $        78.00 1102 Bingham (Houston, TX)                                                                                                                 1
                                                                                                       (1102 Bingham).
     August-21 Business Operations                           8/25/2021 KMP          140       41897.01 Effectuate funds transfer among receivership accounts for payment of real estate taxes (1102               0.2 $        28.00 1102 Bingham (Houston, TX)                                                                                                                 1
                                                                                                       Bingham).
     August-21 Business Operations                           8/25/2021 ED           390       41903.01 Review additional documents received from insurance agent regarding refunds of prepaid premium             0.2 $        78.00 1700-08 W Juneway Terrace; 2736-44 W 64th Street; 7508 S Essex Avenue; 7600-10 S Kingston Avenue; 7760 S Coles Avenue;                     22
                                                                                                       for sold properties (1700-08 W Juneway Terrace, 2453-59 E 75th Street, 2736-44 W 64th Street, 4315-                           8000-02 S Justine Street; 8107-09 S Ellis Avenue; 816-22 E Marquette Road; 8209 S Ellis Avenue; 8214-16 S Ingleside Avenue;
                                                                                                       19 S Michigan Avenue, 4533-47 S Calumet Avenue, 5450-52 S Indiana Avenue, 5618-20 S Martin                                    8403 S Aberdeen Street; 3074 E Cheltenham Place; 4315-19 S Michigan Avenue; 4533-47 S Calumet Avenue; 5450-52 S Indiana
                                                                                                       Luther King Drive, 6437-41 S Kenwood Avenue, 7051 S Bennett Avenue, 7110 S Cornell Avenue, 7201                               Avenue; 5618-20 S Martin Luther King Drive; 6437-41 S Kenwood Avenue; 7051 S Bennett Avenue; 7110 S Cornell Avenue;
                                                                                                       S Constance Avenue, 7201-07 S Dorchester Avenue, 7442-54 S Calumet Avenue, 7600-10 S Kingston                                 7201 S Constance Avenue; 7201-07 S Dorchester Avenue; 7442-54 S Calumet Avenue
                                                                                                       Avenue, 7760 S Coles Avenue, 3074 E Cheltenham Place, 8000-02 S Justine Street, 8107-09 S Ellis
                                                                                                       Avenue, 816-22 E Marquette Road, 8209 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8403 S Aberdeen
                                                                                                       Street) ( 2)
     August-21 Business Operations                           8/25/2021 ED           390       41903.02 revise and update analysis of allocation of insurance costs relating to sold properties (1700-08 W         0.7 $      273.00 3074 E Cheltenham Place; 4315-19 S Michigan Avenue; 4533-47 S Calumet Avenue; 5450-52 S Indiana Avenue; 5618-20 S                           22
                                                                                                       Juneway Terrace, 2453-59 E 75th Street, 2736-44 W 64th Street, 4315-19 S Michigan Avenue, 4533-47                            Martin Luther King Drive; 6437-41 S Kenwood Avenue; 7051 S Bennett Avenue; 7110 S Cornell Avenue; 7201 S Constance
                                                                                                       S Calumet Avenue, 5450-52 S Indiana Avenue, 5618-20 S Martin Luther King Drive, 6437-41 S                                    Avenue; 7201-07 S Dorchester Avenue; 7442-54 S Calumet Avenue; 1700-08 W Juneway Terrace; 2736-44 W 64th Street; 7508
                                                                                                       Kenwood Avenue, 7051 S Bennett Avenue, 7110 S Cornell Avenue, 7201 S Constance Avenue, 7201-07                               S Essex Avenue; 7600-10 S Kingston Avenue; 7760 S Coles Avenue; 8000-02 S Justine Street; 8107-09 S Ellis Avenue; 816-22 E
                                                                                                       S Dorchester Avenue, 7442-54 S Calumet Avenue, 7600-10 S Kingston Avenue, 7760 S Coles Avenue,                               Marquette Road; 8209 S Ellis Avenue; 8214-16 S Ingleside Avenue; 8403 S Aberdeen Street
                                                                                                       3074 E Cheltenham Place, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 816-22 E Marquette Road,
                                                                                                       8209 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8403 S Aberdeen Street) (.7)
     August-21 Business Operations                           8/25/2021 ED           390       46587.01 email correspondence to accountant regarding insurance cost allocation to reflect adjustments              0.2 $        78.00 4533-47 S Calumet Avenue; 5450-52 S Indiana Avenue; 7110 S Cornell Avenue; 7201 S Constance Avenue; 7201-07 S                              36
                                                                                                       related to property sales, and completion of final 2020 accounting reports (1131-41 E 79th Place,                             Dorchester Avenue; 7300-04 S St Lawrence Avenue; 7442-54 S Calumet Avenue; 7450 S Luella Avenue; 7508 S Essex Avenue;
                                                                                                       1700-08 W Juneway Terrace, 2453-59 E 75th Street, 2736-44 W 64th Street, 4315-19 S Michigan                                   1131-41 E 79th Place; 7546-48 S Saginaw Avenue; 7600-10 S Kingston Avenue; 7749-59 S Yates Boulevard; 7760 S Coles
                                                                                                       Avenue, 4520-26 S Drexel Boulevard, 4533-47 S Calumet Avenue, 5450-52 S Indiana Avenue, 5618-20                               Avenue; 7957-59 S Marquette Road; 8000-02 S Justine Street; 8047-55 S Manistee Avenue; 8107-09 S Ellis Avenue; 816-22 E
                                                                                                       S Martin Luther King Drive, 6250 S Mozart Street, 6355-59 S Talman Avenue, 6437-41 S Kenwood                                  Marquette Road; 8201 S Kingston Avenue; 8209 S Ellis Avenue; 8214-16 S Ingleside Avenue; 8326-58 S Ellis Avenue; 8403 S
                                                                                                       Avenue, 6554-58 S Vernon Avenue, 6749-59 S Merrill Avenue, 7051 S Bennett Avenue, 7110 S Cornell                              Aberdeen Street; 5618-20 S Martin Luther King Drive; 6250 S Mozart Street; 6355-59 S Talman Avenue; 6437-41 S Kenwood
                                                                                                       Avenue, 7201 S Constance Avenue, 7201-07 S Dorchester Avenue, 7300-04 S St Lawrence Avenue,                                   Avenue; 6554-58 S Vernon Avenue; 6749-59 S Merrill Avenue; 7051 S Bennett Avenue; 1700-08 W Juneway Terrace; 2736-44
                                                                                                       7442-54 S Calumet Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 7600-10 S Kingston                                  W 64th Street; 3074 E Cheltenham Place; 4315-19 S Michigan Avenue; 4520-26 S Drexel Boulevard
                                                                                                       Avenue, 7749-59 S Yates Boulevard, 7760 S Coles Avenue, 3074 E Cheltenham Place, 7957- 59 S
                                                                                                       Marquette Road, 8000-02 S Justine Street, 8047-55 S Manistee Avenue, 8107-09 S Ellis Avenue, 816-
                                                                                                       22 E Marquette Road, 8201 S Kingston Avenue, 8209 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8326-
                                                                                                       32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis Avenue, 8403 S
                                                                                                       Aberdeen Street) (.2).
     August-21 Claims Administration & Objections            8/25/2021 KBD          390       42796.01 Exchange correspondence regarding communication with claimants relating to discovery issues and            0.2 $        78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                       communications (Group 1) (.2)                                                                                                 Muskegon Avenue
     August-21 Claims Administration & Objections            8/25/2021 KBD          390       42796.02 study correspondence from and telephone conference with claimant's counsel regarding request for           0.1 $        39.00 all                                                                                                                                        80
                                                                                                       records and exchange related correspondence (all) (.1)
     August-21 Claims Administration & Objections            8/25/2021 KBD          390       42796.03 attention to claimant inquiry regarding claims process (all) (.1).                                         0.1 $        39.00 all                                                                                                                                        80
     August-21 Claims Administration & Objections            8/25/2021 AW           140       42799.01 Work with K. Duff and J. Wine on email to claimants regarding served subpoenas and additional              0.4 $        56.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                       discovery and related email to claimants (Group 1) (.4)                                                                       Muskegon Avenue


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EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                            Task Description                                            Task        Task Cost                                                     Property Allocations                                                      Property
                                                                         Keeper                                                                                                                                Hours                                                                                                                                               Allocation
                                                                                                                                                                                                                                                                                                                                                                     Count
     August-21 Claims Administration & Objections            8/25/2021 AW           140       42799.02 attention to email from claimant resending document production (Group 1) (.1).                            0.1 $          14.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                      Muskegon Avenue
     August-21 Business Operations                           8/26/2021 KBD          390       41905.01 Exchange correspondence regarding property expenses (8214-16 S Ingleside Avenue, 7201 S                   0.1 $          39.00 7201 S Constance Avenue; 8214-16 S Ingleside Avenue                                                                                       2
                                                                                                       Constance Avenue).
     August-21 Business Operations                           8/26/2021 KMP          140       41906.01 Pay real estate tax installment on property and related communication with K. Duff and J. Rak (1102       0.2 $          28.00 1102 Bingham (Houston, TX)                                                                                                                1
                                                                                                       Bingham).
     August-21 Claims Administration & Objections            8/26/2021 KBD          390       42805.01 Confer with J. Wine regarding sole lien process and draft motions from claimants' counsel (sole lien)     0.1 $          39.00 sole lien                                                                                                                                 28
                                                                                                       (.1)
     August-21 Claims Administration & Objections            8/26/2021 KBD          390       42805.02 exchange correspondence with A. Watychowicz regarding communication with claimant regarding               0.1 $          39.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       document production (Group 1) (.1)                                                                                             Muskegon Avenue
     August-21 Claims Administration & Objections            8/26/2021 KBD          390       42805.03 study correspondence from claimants’ counsel regarding motion for access to claimant records and          0.1 $          39.00 all                                                                                                                                       80
                                                                                                       EB database and exchange related correspondence J. Wine (all) (.1).
     August-21 Claims Administration & Objections            8/26/2021 JRW          260       42807.01 Email exchange with claimants' counsel regarding proposed process for resolution of claims, begin         0.5 $        130.00 sole lien                                                                                                                                  28
                                                                                                       reviewing draft motions, and related telephone conference with K. Duff (sole lien) (.5)

     August-21 Claims Administration & Objections            8/26/2021 JRW          260       42807.02 exchange correspondence with claimants' counsel regarding proposed order (all) (.1)                       0.1 $          26.00 all                                                                                                                                       80
     August-21 Claims Administration & Objections            8/26/2021 JRW          260       42807.03 review court order setting hearing and related email exchange with K. Duff (all) (.1).                    0.1 $          26.00 all                                                                                                                                       80
     August-21 Claims Administration & Objections            8/26/2021 AW           140       42808.01 Review claims and response to claimants' inquiries regarding sold properties, claims process, and         0.4 $          56.00 5450-52 S Indiana Avenue; 6355-59 S Talman Avenue                                                                                          2
                                                                                                       grouping issues (5450-52 S Indiana Avenue, 6355-59 S Talman Avenue) (.4)
     August-21 Claims Administration & Objections            8/26/2021 AW           140       42808.02 email K. Duff and J. Wine regarding re- submission from claimant (Group 1) (.1)                           0.1 $         14.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections            8/26/2021 AW           140       42808.03 attention to email regarding conference on claims and related email to A. Porter (Group 1) (.1)           0.1 $         14.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections            8/26/2021 AW           140       42808.04 continue review of emails of claimant (Group 1) (.6)                                                      0.6 $         84.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                     Muskegon Avenue
     August-21 Asset Disposition                             8/27/2021 KBD          390       41014.01 Attention to earnest money deposit and related correspondence (1102 Bingham).                             0.1 $         39.00 1102 Bingham (Houston, TX)                                                                                                                 1
     August-21 Business Operations                           8/27/2021 KBD          390       41914.01 Study correspondence from counsel for bank regarding requested access to records and exchange             0.3 $        117.00 exclude/defer                                                                                                                              0
                                                                                                       related correspondence (defer).
     August-21 Business Operations                           8/27/2021 JRW          260       41916.01 Review new notice of municipal code violation and related review of files and correspondence to J.        0.4 $        104.00 1414-18 East 62nd Place                                                                                                                    1
                                                                                                       Rak (1414-18 East 62nd Place).
     August-21   Claims Administration & Objections          8/27/2021   KBD        390       42814.01 Study draft single claim process and related correspondence (sole lien).                                  0.3   $      117.00   sole lien                                                                                                                                28
     August-21   Claims Administration & Objections          8/27/2021   JRW        260       42816.01 Study draft motions from claimants' counsel and provide analysis to K. Duff (sole lien) (1.8)             1.8   $      468.00   sole lien                                                                                                                                28
     August-21   Claims Administration & Objections          8/27/2021   JRW        260       42816.02 confer with claimants' counsel regarding service list (all) (.1)                                          0.1   $       26.00   all                                                                                                                                      80
     August-21   Claims Administration & Objections          8/27/2021   JRW        260       42816.03 review letter from counsel for third-party regarding pending motion for leave to serve subpoena and       0.2   $       52.00   all                                                                                                                                      80
                                                                                                       related correspondence with K. Duff and M. Rachlis (all) (.2).
     August-21 Claims Administration & Objections            8/27/2021 AW           140       42817.01 Review claims and respond to claimant's inquiry regarding sold properties, claims process, and            0.2 $          28.00 1700-08 W Juneway Terrace                                                                                                                 1
                                                                                                       grouping issues (1700-08 W Juneway Terrace) (.2)
     August-21 Claims Administration & Objections            8/27/2021 AW           140       42817.02 continue updates to mortgagee sheet (7201 S Constance Avenue) (.7)                                        0.7 $         98.00 7201 S Constance Avenue                                                                                                                     1
     August-21 Claims Administration & Objections            8/27/2021 AW           140       42817.03 research regarding volume of documents submitted by claimants and related email to J. Wine (all)          1.6 $        224.00 all                                                                                                                                        80
                                                                                                       (1.6)
     August-21 Asset Disposition                             8/30/2021 JR           140       41046.01 Review email from K. Duff regarding tax bills for single family homes and advise accordingly (single      0.2 $          28.00 10012 S LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 1401 W 109th Place; 1414-18 East 62nd Place; 1516 E                   37
                                                                                                       family) (.2)                                                                                                                   85th Place; 2129 W 71st Street; 2136 W 83rd Street; 310 E 50th Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th
                                                                                                                                                                                                                                      Place; 417 Oglesby Avenue; 5437 S Laflin Street; 61 E 92nd Street; 6554 S Rhodes Avenue; 6759 S Indiana Avenue; 6807 S
                                                                                                                                                                                                                                      Indiana Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7712 S Euclid Avenue; 7922 S Luella Avenue; 7925 S Kingston
                                                                                                                                                                                                                                      Avenue; 7933 S Kingston Avenue; 7953 S Woodlawn Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8107 S
                                                                                                                                                                                                                                      Kingston Avenue; 8346 S Constance Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 8432 S Essex Avenue; 8517 S
                                                                                                                                                                                                                                      Vernon Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 9610 S Woodlawn Avenue
     August-21 Asset Disposition                             8/30/2021 JR           140       41046.02 review emails related to water meter installation for property (638-40 N Avers Avenue) (.2)               0.2 $          28.00 638-40 N Avers Avenue                                                                                                                     1
     August-21 Asset Disposition                             8/30/2021 JR           140       41046.03 further exchange correspondence with the property managers, firm, and City of Chicago requesting          0.4 $          56.00 638-40 N Avers Avenue                                                                                                                     1
                                                                                                       an expedited water meter installation date (638-40 N Avers Avenue) (.4)
     August-21 Asset Disposition                             8/30/2021 JR           140       41046.04 review email from K. Prichard related to 3rd payment of property taxes (1102 Bingham) (.1)                0.1 $          14.00 1102 Bingham (Houston, TX)                                                                                                                1
     August-21 Asset Disposition                             8/30/2021 JR           140       41046.05 review email from K. Duff regarding a corrective notice received related to maintenance on property       0.1 $          14.00 1102 Bingham (Houston, TX)                                                                                                                1
                                                                                                       (1102 Bingham) (.1)
     August-21 Asset Disposition                             8/30/2021 JR           140       41046.06 follow up correspondence with municipality inquiring about further information related to notice          0.3 $          42.00 1102 Bingham (Houston, TX)                                                                                                                1
                                                                                                       (1102 Bingham) (.3)
     August-21 Asset Disposition                             8/30/2021 JR           140       41046.07 review email from K. Pritchard requesting property owner information and provide requested                0.1 $          14.00 all                                                                                                                                       80
                                                                                                       EquityBuild portfolio spreadsheet with required information (all) (.1).
     August-21 Business Operations                           8/30/2021 KBD          390       41941.01 Exchange correspondence with J. Rak regarding payment of real estate taxes (7109-19 S Calumet             0.1 $          39.00 638-40 N Avers Avenue; 7109-19 S Calumet Avenue                                                                                           2
                                                                                                       Avenue, 638-40 N Avers Avenue) (.1)
     August-21 Business Operations                           8/30/2021 KBD          390       41941.02 exchange correspondence with J. Rak regarding property maintenance and City notice (1102                  0.1 $          39.00 1102 Bingham (Houston, TX)                                                                                                                1
                                                                                                       Bingham) (.1).
     August-21 Business Operations                           8/30/2021 KMP          140       41942.01 Telephone conference with court clerk regarding status on state court action and potential claim          0.2 $          28.00 3074 E Cheltenham Place                                                                                                                   1
                                                                                                       against EB property, and related communication with J. Wine (3074 E Cheltenham Place).

     August-21 Business Operations                           8/30/2021 JRW          260       41943.01 Telephone conference with counsel for city regarding administrative judgments and related                 0.3 $          78.00 1414-18 East 62nd Place; 1422-24 East 68th Street; 4750-52 S Indiana Avenue; 7024-32 S Paxton Avenue                                      4
                                                                                                       correspondence with K. Duff (7024-32 S Paxton Avenue, 1414-18 East 62nd Place, 1422-24 East 68th
                                                                                                       Street, 4750-52 S Indiana Avenue) (.3)
     August-21 Business Operations                           8/30/2021 JRW          260       41943.02 exchange correspondence with J. Rak regarding administrative orders (7933-35 S Essex Avenue, 1414-        0.1 $          26.00 1414-18 East 62nd Place; 7927-49 S Essex Avenue                                                                                           2
                                                                                                       18 East 62nd Place) (.1).
     August-21 Business Operations                           8/30/2021 JR           140       41946.01 Review email from E. Duff and account analyst regarding updated property endorsements (6217-27 S          0.2 $          28.00 6217-27 S Dorchester Avenue                                                                                                               1
                                                                                                       Dorchester Avenue).
     August-21 Claims Administration & Objections            8/30/2021 KBD          390       42841.01 Confer with legal team regarding analysis of EB transactions (all) (.6)                                   0.6 $        234.00 all                                                                                                                                        80
     August-21 Claims Administration & Objections            8/30/2021 KBD          390       42841.02 telephone conference with J. Wine and M. Rachlis regarding hearing before Judge Lee on claimants'         0.5 $        195.00 all                                                                                                                                        80
                                                                                                       request to use EB records in third party litigation (all) (.5)
     August-21 Claims Administration & Objections            8/30/2021 KBD          390       42841.03 study correspondence and analysis from J. Wine regarding claim (Group 1) (.2)                             0.2 $         78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections            8/30/2021 KBD          390       42841.04 attention to issue relating to sequence of claims groups (all) (.1).                                      0.1 $         39.00 all                                                                                                                                        80
     August-21 Claims Administration & Objections            8/30/2021 JRW          260       42843.01 Review Group 1 discovery responses (Group 1) (2.3)                                                        2.3 $        598.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections            8/30/2021 JRW          260       42843.02 exchange correspondence with A. Porter regarding document produced in discovery by claimant               0.1 $         26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                       (Group 1) (.1)                                                                                                                Muskegon Avenue
     August-21 Claims Administration & Objections            8/30/2021 JRW          260       42843.03 telephone conference with K. Duff and M. Rachlis to prepare for hearing before Judge Lee (all) (.6)       0.6 $        156.00 all                                                                                                                                        80

     August-21 Claims Administration & Objections            8/30/2021 JRW          260       42843.04 related review of transcripts, orders, and attorney appearances (all) (.3)                                0.3 $         78.00 all                                                                                                                                        80
     August-21 Claims Administration & Objections            8/30/2021 JRW          260       42843.05 conference call with legal team regarding analysis of records (all) (.6)                                  0.6 $        156.00 all                                                                                                                                        80
     August-21 Claims Administration & Objections            8/30/2021 JRW          260       42843.06 telephone conference with J. Rak regarding claims analysis (Group 1) (.1)                                 0.1 $         26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections            8/30/2021 JRW          260       42843.07 telephone conference with A. Watychowicz regarding database searches (Group 1) (.1).                      0.1 $         26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                     Muskegon Avenue
     August-21 Claims Administration & Objections            8/30/2021 AW           140       42844.01 Confer with legal team regarding analysis of EB transactions (all) (.6)                                   0.6 $         84.00 all                                                                                                                                        80


                                                                                                                                                                                    23 of 35
                                                                                                                               Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 189 of 200 PageID #:34125




EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                            Task Description                                           Task        Task Cost                                                      Property Allocations                                                      Property
                                                                         Keeper                                                                                                                               Hours                                                                                                                                                Allocation
                                                                                                                                                                                                                                                                                                                                                                     Count
     August-21 Claims Administration & Objections            8/30/2021 AW           140       42844.02 communicate with J. Wine regarding search terms for database (Group 1) (.1)                              0.1 $         14.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                    Muskegon Avenue
     August-21 Claims Administration & Objections            8/30/2021 AW           140       42844.03 research regarding transcript, declarations, and evidentiary exhibits and related communications         0.8 $        112.00 all                                                                                                                                         80
                                                                                                       with K. Duff and R. Weitendorf (all) (.8).
     August-21 Claims Administration & Objections            8/30/2021 MR           390       42845.01 Attention to upcoming hearing on subpoena issue and document production issue and related filing         0.5 $        195.00 all                                                                                                                                         80
                                                                                                       (all) (.5)
     August-21 Claims Administration & Objections            8/30/2021 MR           390       42845.02 conference with J. Wine and K. Duff regarding hearing on request for records (all) (.3).                 0.3 $        117.00 all                                                                                                                                         80
     August-21 Claims Administration & Objections            8/30/2021 JR           140       42846.01 Confer with legal team regarding analysis of EB transactions (all) (.5)                                  0.5 $         70.00 all                                                                                                                                         80
     August-21 Claims Administration & Objections            8/30/2021 JR           140       42846.02 exchange correspondence with J. Wine regarding next steps in the claims process and emails review        0.3 $         42.00 all                                                                                                                                         80
                                                                                                       pertaining to pertinent claimant issues (all) (.3).
     August-21 Asset Disposition                             8/31/2021 KMP          140       41051.01 Review online bank records to confirm receipt of post-sale reconciliation funds from property            0.6 $          84.00 9212 S Parnell Avenue; 4750-52 S Indiana Avenue; 61 E 92nd Street; 6554 S Rhodes Avenue; 6825 S Indiana Avenue; 7210 S                     33
                                                                                                       manager and related communications with K. Duff and property manager (417 S Oglesby Avenue,                                   Vernon Avenue; 7712 S Euclid Avenue; 7840-42 S Yates Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue; 10012 S
                                                                                                       7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen                                      LaSalle Avenue; 1017 W 102nd Street; 7933 S Kingston Avenue; 7953 S Woodlawn Avenue; 8030 S Marquette Avenue; 8104 S
                                                                                                       Avenue, 8405 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue,                              Kingston Avenue; 8107 S Kingston Avenue; 8346 S Constance Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue;
                                                                                                       2136 W 83rd Street, 1516 E 85th Place, 7922 S Luella Avenue, 1017 W 102nd Street, 7933 S Kingston                             8432 S Essex Avenue; 11318 S Church Street; 1422-24 East 68th Street; 1516 E 85th Place; 2136 W 83rd Street; 2800-06 E 81st
                                                                                                       Avenue,11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd                            Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place; 417 Oglesby Avenue; 8517 S Vernon Avenue; 8529 S
                                                                                                       Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue,                              Rhodes Avenue; 8800 S Ada Street
                                                                                                       7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8517 S Vernon
                                                                                                       Avenue, 10012 S LaSalle Avenue, 8432 S Essex Avenue, 4750-52 S Indiana Avenue, 7840-42 S Yates
                                                                                                       Avenue, 2800-06 E 81st Street, 1422-24 E 68th Street).
     August-21 Asset Disposition                             8/31/2021 JR           140       41055.01 Review email from J. Wine regarding notices received for properties, forward to buyer and buyer's        0.2 $          28.00 1414-18 East 62nd Place; 4533-47 S Calumet Avenue                                                                                          2
                                                                                                       counsel (4533-47 S Calumet Avenue, 1414-18 East 62nd Place) (.2)
     August-21 Asset Disposition                             8/31/2021 JR           140       41055.02 review email from A. Porter related to submission of full payment water applications and submit          0.1 $          14.00 638-40 N Avers Avenue                                                                                                                      1
                                                                                                       same to the title company (638-40 N Avers Avenue) (.1)
     August-21 Asset Disposition                             8/31/2021 JR           140       41055.03 exchange communication with the City of Chicago water department to discuss options for                  0.1 $          14.00 638-40 N Avers Avenue                                                                                                                      1
                                                                                                       expediting the water reading related to property in anticipation for closing (638-40 N Avers Avenue)
                                                                                                       (.1)
     August-21 Asset Disposition                             8/31/2021 JR           140       41055.04 follow up correspondence with the property manager and confirm contact information in                    0.1 $          14.00 638-40 N Avers Avenue                                                                                                                      1
                                                                                                       anticipation of water reading (638-40 N Avers Avenue) (.1).
     August-21 Business Operations                           8/31/2021 KBD          390       41950.01 Study and exchange correspondence regarding water meter installation issue (638-40 N Avers               0.2 $          78.00 638-40 N Avers Avenue                                                                                                                      1
                                                                                                       Avenue).
     August-21 Business Operations                           8/31/2021 JRW          260       41952.01 Correspondence to City of Chicago ownership unit regarding dismissal of action (1414-18 East 62nd        0.2 $          52.00 1414-18 East 62nd Place                                                                                                                    1
                                                                                                       Place).
     August-21 Claims Administration & Objections            8/31/2021 KBD          390       42850.01 Prepare for hearing before Judge Lee and exchange correspondence with M. Rachlis regarding               0.4 $        156.00 all                                                                                                                                         80
                                                                                                       claimants' request to use documents in third party litigation (all) (.4)
     August-21   Claims Administration & Objections          8/31/2021   KBD        390       42850.02 appear before Judge Lee for hearing (all) (.5).                                                          0.5   $      195.00    all                                                                                                                                      80
     August-21   Claims Administration & Objections          8/31/2021   JRW        260       42852.01 Prepare for motions hearing and related email exchange (all) (.2)                                        0.2   $       52.00    all                                                                                                                                      80
     August-21   Claims Administration & Objections          8/31/2021   JRW        260       42852.02 appearance in court for telephonic motions hearing (all) (.5)                                            0.5   $      130.00    all                                                                                                                                      80
     August-21   Claims Administration & Objections          8/31/2021   JRW        260       42852.03 review and analyze discovery production materials and conduct related database searches (Group 1)        2.5   $      650.00    3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       (2.5).                                                                                                                          Muskegon Avenue
     August-21 Claims Administration & Objections            8/31/2021 AW           140       42853.01 Search for documents in emails and database and related email to J. Wine (Group 1).                      0.3 $          42.00   3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                        5
                                                                                                                                                                                                                                       Muskegon Avenue
    August-21    Claims Administration & Objections          8/31/2021   MR         390       42854.01    Further review of materials for upcoming hearing (all) (.3)                                           0.3   $      117.00    all                                                                                                                                      80
    August-21    Claims Administration & Objections          8/31/2021   MR         390       42854.02     attend hearing regarding discovery issues (all) (.5).                                                0.5   $      195.00    all                                                                                                                                      80
    August-21    Claims Administration & Objections          8/31/2021   JR         140       42855.01    Review database platform.                                                                             0.9   $      126.00    exclude/defer                                                                                                                             0
 September-21    Asset Disposition                            9/1/2021   JR         140       41064.01    Communication with real estate broker regarding corrective action notice (1102 Bingham) (.3)          0.3   $       42.00    1102 Bingham (Houston, TX)                                                                                                                1

 September-21 Asset Disposition                               9/1/2021 JR           140       41064.02 communication with K. Pritchard and K. Duff regarding payment related to property (1102 Bingham)         0.2 $          28.00 1102 Bingham (Houston, TX)                                                                                                                 1
                                                                                                       (.2)
 September-21 Asset Disposition                               9/1/2021 JR           140       41064.03 review email from buyer's counsel requesting property related information (7109-19 S Calumet             0.1 $          14.00 7109-19 S Calumet Avenue                                                                                                                   1
                                                                                                       Avenue) (.1)
 September-21 Asset Disposition                               9/1/2021 JR           140       41064.04 communication with property management requesting property information related to buyer's                0.1 $          14.00 7109-19 S Calumet Avenue                                                                                                                   1
                                                                                                       counsel’s request (7109-19 S Calumet Avenue) (.1)
 September-21 Asset Disposition                               9/1/2021 JR           140       41064.05 review email from property management related to anticipated water reading and scheduling of             0.1 $          14.00 638-40 N Avers Avenue                                                                                                                      1
                                                                                                       same (638-40 N Avers Avenue) (.1)
 September-21 Asset Disposition                               9/1/2021 JR           140       41064.06 review paper property tax statement and forward to buyer for single family homes, request buyer to       0.2 $          28.00 10012 S LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 1401 W 109th Place; 1414-18 East 62nd Place; 1516 E                    37
                                                                                                       change address for delivery of same (single family) (.2)                                                                      85th Place; 2129 W 71st Street; 2136 W 83rd Street; 7953 S Woodlawn Avenue; 8030 S Marquette Avenue; 8104 S Kingston
                                                                                                                                                                                                                                     Avenue; 310 E 50th Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place; 417 Oglesby Avenue; 5437 S Laflin
                                                                                                                                                                                                                                     Street; 61 E 92nd Street; 6554 S Rhodes Avenue; 6759 S Indiana Avenue; 6807 S Indiana Avenue; 6825 S Indiana Avenue; 7210
                                                                                                                                                                                                                                     S Vernon Avenue; 7712 S Euclid Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue; 7933 S Kingston Avenue; 8107 S
                                                                                                                                                                                                                                     Kingston Avenue; 8346 S Constance Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 8432 S Essex Avenue; 8517 S
                                                                                                                                                                                                                                     Vernon Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 9610 S Woodlawn Avenue
 September-21 Asset Disposition                               9/1/2021 JR           140       41064.07 exchange correspondence with A. Porter requesting an update on sale of property (1102 Bingham)           0.1 $          14.00 1102 Bingham (Houston, TX)                                                                                                                 1
                                                                                                       (.1).
 September-21 Business Operations                             9/1/2021 KBD          390       41959.01 Telephone conference with J. Rak regarding lender's counsel's request for various information            0.2 $          78.00 7109-19 S Calumet Avenue                                                                                                                   1
                                                                                                       relating to property (7109-19 S Calumet Avenue) (.2)
 September-21 Business Operations                             9/1/2021 KBD          390       41959.02 study and resolve correspondence regarding action filed in violation of stay order (3074 Cheltenham      0.2 $          78.00 3074 E Cheltenham Place                                                                                                                    1
                                                                                                       Place) (.2)
 September-21 Business Operations                             9/1/2021 KBD          390       41959.03 attention to payment of municipal fine (1102 Bingham) (.1).                                              0.1 $          39.00 1102 Bingham (Houston, TX)                                                                                                                 1
 September-21 Business Operations                             9/1/2021 KMP          140       41960.01 Finalize and transmit correspondence relating to state court action and potential claim against EB       0.3 $          42.00 3074 E Cheltenham Place                                                                                                                    1
                                                                                                       property and related communication with J. Wine (3074 E Cheltenham Place).
 September-21 Business Operations                             9/1/2021 JRW          260       41961.01 Confer with K. Pritchard regarding docket in state action and finalize letter to plaintiff's counsel     0.2 $          52.00 3074 E Cheltenham Place                                                                                                                    1
                                                                                                       regarding dismissal or stay of action (3074 E Cheltenham Place).
 September-21 Claims Administration & Objections              9/1/2021 KBD          390       42859.01 Exchange correspondence regarding claimant's production of records (Group 1) (.1)                        0.1 $         39.00 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S Muskegon Avenue; 3074 E Cheltenham Place; 7201 S                            5
                                                                                                                                                                                                                                    Constance Avenue
 September-21 Claims Administration & Objections              9/1/2021 KBD          390       42859.02 exchange correspondence regarding claimant communication relating to claims process (Group 1)            0.1 $         39.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                       (.1).                                                                                                                        Muskegon Avenue
 September-21 Claims Administration & Objections              9/1/2021 JRW          260       42861.01 Confer with database vendor regarding search results and files in database (all) (.1)                    0.1 $         26.00 all                                                                                                                                         80
 September-21 Claims Administration & Objections              9/1/2021 JRW          260       42861.02 correspondence to claimants' counsel regarding issues with document production and privilege log         0.4 $        104.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                            5
                                                                                                       (Group 1) (.4)                                                                                                               Muskegon Avenue
 September-21 Claims Administration & Objections              9/1/2021 JRW          260       42861.03 continued review of documents produced in standard discovery phase (Group 1) (2.8)                       2.8 $        728.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                    Muskegon Avenue
 September-21 Claims Administration & Objections              9/1/2021 JRW          260       42861.04 exchange correspondence with K. Duff and A. Watychowicz regarding form of supplemental                   0.1 $         26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                       document production (Group 1) (.1)                                                                                           Muskegon Avenue
 September-21 Claims Administration & Objections              9/1/2021 JRW          260       42861.05 correspondence with claimants' counsel regarding format of document production (Group 1) (.1)            0.1 $         26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                    Muskegon Avenue
 September-21 Claims Administration & Objections              9/1/2021 JRW          260       42861.06 exchange correspondence with M. Rachlis and K. Duff regarding correspondence from counsel for            0.1 $         26.00 exclude/defer                                                                                                                               0
                                                                                                       third party regarding meet and confer (defer) (.1)



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EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                              Task Description                                           Task        Task Cost                                                    Property Allocations                                                      Property
                                                                         Keeper                                                                                                                                 Hours                                                                                                                                              Allocation
                                                                                                                                                                                                                                                                                                                                                                     Count
 September-21 Claims Administration & Objections              9/1/2021 AW           140       42862.01 Search database for e-sign documents and related email to J. Wine (Group 1) (.5)                           0.5 $          70.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                        5
                                                                                                                                                                                                                                       Muskegon Avenue
 September-21 Claims Administration & Objections              9/1/2021 AW           140       42862.02 attention to email from claimant regarding claims issue and related email to K. Duff and J. Wine (all)     0.1 $          14.00 all                                                                                                                                      80
                                                                                                       (.1)
 September-21 Claims Administration & Objections              9/1/2021 AW           140       42862.03 review native files submitted with claims and related email to K. Duff (see K) (.8)                        0.8 $        112.00 8000-02 S Justine Street; 8346 S Constance Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 7635-43 S East End                    89
                                                                                                                                                                                                                                      Avenue; 7656-58 S Kingston Avenue; 7701-03 S Essex Avenue; 7546-48 S Saginaw Avenue; 7600-10 S Kingston Avenue; 7625-
                                                                                                                                                                                                                                      33 S East End Avenue; 7442-54 S Calumet Avenue; 7450 S Luella Avenue; 7508 S Essex Avenue; 6217-27 S Dorchester Avenue;
                                                                                                                                                                                                                                      6250 S Mozart Street; 6355-59 S Talman Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 9610 S Woodlawn Avenue; 8432 S
                                                                                                                                                                                                                                      Essex Avenue; 8517 S Vernon Avenue; 8529 S Rhodes Avenue; 7750-58 S Muskegon Avenue; 7760 S Coles Avenue; 7840-42 S
                                                                                                                                                                                                                                      Yates Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8107 S Kingston Avenue; 8209 S Ellis Avenue; 8214-16 S
                                                                                                                                                                                                                                      Ingleside Avenue; 8326-58 S Ellis Avenue; 2129 W 71st Street; 2136 W 83rd Street; 2736-44 W 64th Street; 1131-41 E 79th
                                                                                                                                                                                                                                      Place; 11318 S Church Street; 1401 W 109th Place; 2800-06 E 81st Street; 3074 E Cheltenham Place; 310 E 50th Street; 10012
                                                                                                                                                                                                                                      S LaSalle Avenue; 1017 W 102nd Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place; 5001 S Drexel Boulevard;
                                                                                                                                                                                                                                      5437 S Laflin Street; 5450-52 S Indiana Avenue; 7210 S Vernon Avenue; 7255-57 S Euclid Avenue; 7300-04 S St Lawrence
                                                                                                                                                                                                                                      Avenue; 4533-47 S Calumet Avenue; 4611-17 S Drexel Boulevard; 4750-52 S Indiana Avenue; 5618-20 S Martin Luther King
                                                                                                                                                                                                                                      Drive; 61 E 92nd Street; 6160-6212 S Martin Luther King Drive; 7110 S Cornell Avenue; 7201 S Constance Avenue; 7201-07 S
                                                                                                                                                                                                                                      Dorchester Avenue; 8107-09 S Ellis Avenue; 816-22 E Marquette Road; 8201 S Kingston Avenue; 7922 S Luella Avenue; 7925 S
                                                                                                                                                                                                                                      Kingston Avenue; 7933 S Kingston Avenue; 7024-32 S Paxton Avenue; 7051 S Bennett Avenue; 7109-19 S Calumet Avenue;
                                                                                                                                                                                                                                      1422-24 East 68th Street; 1516 E 85th Place; 1700-08 W Juneway Terrace; 6807 S Indiana Avenue; 6825 S Indiana Avenue;
                                                                                                                                                                                                                                      6949-59 S Merrill Avenue; 417 Oglesby Avenue; 4315-19 S Michigan Avenue; 4520-26 S Drexel Boulevard; 6356 S California
                                                                                                                                                                                                                                      Avenue; 638-40 N Avers Avenue; 6554 S Rhodes Avenue; 6554-58 S Vernon Avenue; 6749-59 S Merrill Avenue; 6759 S Indiana
                                                                                                                                                                                                                                      Avenue; 7712 S Euclid Avenue; 7748-52 S Essex Avenue; 7749-59 S Yates Boulevard; 7953 S Woodlawn Avenue; 7957-59 S
                                                                                                                                                                                                                                      Marquette Road
 September-21 Claims Administration & Objections              9/1/2021 AW           140       42862.04 attention to email from database vendor, related email with J. Wine, and response email (all) (.1).        0.1 $         14.00 all                                                                                                                                       80

 September-21 Asset Disposition                               9/2/2021 KBD          390       41068.01 Attention to planning for closing on sale of property (1102 Bingham).                                      0.2 $          78.00 1102 Bingham (Houston, TX)                                                                                                               1
 September-21 Asset Disposition                               9/2/2021 JR           140       41073.01 Review email from property management advising on the completed water reading for property in              0.1 $          14.00 638-40 N Avers Avenue                                                                                                                    1
                                                                                                       anticipation of closing (638-40 N Avers Avenue) (.1)
 September-21 Asset Disposition                               9/2/2021 JR           140       41073.02 forward information regarding completion of water reading to the City of Chicago and request               0.1 $          14.00 638-40 N Avers Avenue                                                                                                                    1
                                                                                                       reconciled water statements in anticipation of closing (638-40 N Avers Avenue) (.1)
 September-21 Asset Disposition                               9/2/2021 JR           140       41073.03 exchange communication with real estate broker requesting status of maintenance in anticipation of         0.2 $          28.00 1102 Bingham (Houston, TX)                                                                                                               1
                                                                                                       closing (1102 Bingham) (.2).
 September-21 Business Operations                             9/2/2021 KBD          390       41968.01 Exchange correspondence with J. Wine regarding asserted claim (3074 E Cheltenham Place) (.1)               0.1 $          39.00 3074 E Cheltenham Place                                                                                                                  1

 September-21 Business Operations                             9/2/2021 KBD          390       41968.02 exchange correspondence regarding third party request for access to EB documents database (defer)          0.2 $          78.00 exclude/defer                                                                                                                            0
                                                                                                       (.2)
 September-21 Business Operations                             9/2/2021 KBD          390       41968.03 attention to claim related to property (7110 S Cornell Avenue) (.1).                                       0.1 $          39.00 7110 S Cornell Avenue                                                                                                                    1
 September-21 Business Operations                             9/2/2021 JRW          260       41970.01 Telephone conference with plaintiff's counsel and related correspondence with K. Duff regarding            0.3 $          78.00 3074 E Cheltenham Place                                                                                                                  1
                                                                                                       claims (3074 E Cheltenham Place) (.3)
 September-21 Business Operations                             9/2/2021 JRW          260       41970.02 telephone conference with insurer regarding potential settlement of claim and related                      0.2 $          52.00 7110 S Cornell Avenue                                                                                                                    1
                                                                                                       correspondence to K. Duff (7110 S Cornell Avenue) (.2).
 September-21 Claims Administration & Objections              9/2/2021 KBD          390       42868.01 Exchange correspondence regarding communication with claimant regarding potential claims issue             0.1 $         39.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       (Group 1) (.1)                                                                                                                 Muskegon Avenue
 September-21 Claims Administration & Objections              9/2/2021 KBD          390       42868.02 study correspondence from J. Wine regarding documentation relating to investor claimants (Group            0.1 $         39.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       1) (.1).                                                                                                                       Muskegon Avenue
 September-21 Claims Administration & Objections              9/2/2021 JRW          260       42870.01 Attention to claimant inquiry (all) (.1)                                                                   0.1 $         26.00 all                                                                                                                                       80
 September-21 Claims Administration & Objections              9/2/2021 JRW          260       42870.02 review investor lenders' standard discovery responses (Group 1) (1.9)                                      1.9 $        494.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                      Muskegon Avenue
 September-21   Claims Administration & Objections            9/2/2021   JRW        260       42870.03    email exchange with claimants' counsel regarding joint motions (sole lien) (.1)                         0.1   $       26.00 sole lien                                                                                                                                 28
 September-21   Claims Administration & Objections            9/2/2021   JRW        260       42870.04    exchange correspondence with database vendor regarding documents in database (all) (.3).                0.3   $       78.00 all                                                                                                                                       80
 September-21   Claims Administration & Objections            9/2/2021   AW         140       42871.01    Attention to emails from claimants and respond to same (all) (.2)                                       0.2   $       28.00 all                                                                                                                                       80
 September-21   Claims Administration & Objections            9/2/2021   AW         140       42871.02    attention to issue with files served on claimants and related email to J. Wine (Group 1) (.2).          0.2   $       28.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                      Muskegon Avenue
 September-21 Business Operations                             9/3/2021 JRW          260       41979.01 Review motion to dismiss third-party action and related email to property manager (3074 E                  0.2 $         52.00 3074 E Cheltenham Place                                                                                                                   1
                                                                                                       Cheltenham Place) (.2)
 September-21 Business Operations                             9/3/2021 JRW          260       41979.02 review correspondence from City of Chicago regarding nonsuit of matter and update related records          0.1 $          26.00 1414-18 East 62nd Place                                                                                                                  1
                                                                                                       (1414-18 East 62nd Place) (.1).
 September-21 Business Operations                             9/3/2021 JR           140       41982.01 Review property reports and update reimbursable amounts, and related correspondence with E. Duff           2.4 $        336.00 6749-59 S Merrill Avenue; 6949-59 S Merrill Avenue; 4315-19 S Michigan Avenue; 4520-26 S Drexel Boulevard; 4533-47 S                      41
                                                                                                       and K. Duff (8047-55 S. Manistee Avenue, 7749-59 S. Yates Boulevard, 6749-59 S Merrill Avenue,                                 Calumet Avenue; 5450-52 S Indiana Avenue; 5618-20 S Martin Luther King Drive; 6250 S Mozart Street; 7760 S Coles Avenue;
                                                                                                       7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel                                       7957-59 S Marquette Road; 8000-02 S Justine Street; 8047-55 S Manistee Avenue; 8107-09 S Ellis Avenue; 11117-11119 S
                                                                                                       Boulevard, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S Ellis Avenue, 8352-58 S Ellis                             Longwood Drive; 1131-41 E 79th Place; 1700-08 W Juneway Terrace; 2736-44 W 64th Street; 3074 E Cheltenham Place; 431 E
                                                                                                       Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S                                     42nd Place; 7051 S Bennett Avenue; 7110 S Cornell Avenue; 7201 S Constance Avenue; 7201-07 S Dorchester Avenue; 7300-04
                                                                                                       Justine Street, 8107-09 S Ellis Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-19 S                            S St Lawrence Avenue; 7442-54 S Calumet Avenue; 6355-59 S Talman Avenue; 6356 S California Avenue; 6437-41 S Kenwood
                                                                                                       Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette                                       Avenue; 6554-58 S Vernon Avenue; 816-22 E Marquette Road; 8201 S Kingston Avenue; 8209 S Ellis Avenue; 8214-16 S
                                                                                                       Avenue, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street, 5618-20 S Martin                                Ingleside Avenue; 8326-58 S Ellis Avenue; 7450 S Luella Avenue; 7508 S Essex Avenue; 7546-48 S Saginaw Avenue; 7600-10 S
                                                                                                       Luther King Drive, 6356 S California Avenue, 6355-59 S Talman Avenue, 7201 S Constance Avenue,                                 Kingston Avenue; 7656-58 S Kingston Avenue; 7701-03 S Essex Avenue; 7749-59 S Yates Boulevard
                                                                                                       6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex
                                                                                                       Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette
                                                                                                       Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S
                                                                                                       Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).

 September-21   Claims Administration & Objections            9/3/2021   JRW        260       42879.01    Exchange correspondence with database vendors regarding issues with system files (all).                 0.2   $       52.00   all                                                                                                                                     80
 September-21   Claims Administration & Objections            9/6/2021   KBD        390       42904.01    Work on sole lien process (sole lien).                                                                  1.5   $      585.00   sole lien                                                                                                                               28
 September-21   Claims Administration & Objections            9/6/2021   JRW        260       42906.01    Correspond with K. Duff regarding revisions to single claim process (sole lien).                        0.3   $       78.00   sole lien                                                                                                                               28
 September-21   Asset Disposition                             9/7/2021   KMP        140       41114.01    Review bank records and communicate with property manager to confirm deposit of post-sale               0.2   $       28.00   8405 S Marquette Avenue                                                                                                                  1
                                                                                                          distribution to property account (8405 S Marquette Avenue).




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                                                                                                                             Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 191 of 200 PageID #:34127




EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                          Task Description                                            Task      Task Cost                                                      Property Allocations                                                      Property
                                                                         Keeper                                                                                                                              Hours                                                                                                                                              Allocation
                                                                                                                                                                                                                                                                                                                                                                  Count
 September-21 Business Operations                             9/7/2021 KMP          140       42014.01 Review communications relating to second restoration motion to determine date of funds transfer         0.2 $        28.00 7840-42 S Yates Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue;                     43
                                                                                                       and related communication with K. Duff (5001 S Drexel Boulevard, 7625-33 S East End Avenue, 6749-                          8107 S Kingston Avenue; 816-22 E Marquette Road; 8346 S Constance Avenue; 8529 S Rhodes Avenue; 1401 W 109th Place;
                                                                                                       59 S Merrill Avenue, 4520-26 S Drexel Boulevard, 4533-47 S Calumet Avenue, 1017 W 102nd Street,                            1422-24 East 68th Street; 1516 E 85th Place; 2129 W 71st Street; 6749-59 S Merrill Avenue; 6825 S Indiana Avenue; 7024-32 S
                                                                                                       1516 E 85th Place, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8030 S                                Paxton Avenue; 7210 S Vernon Avenue; 7255-57 S Euclid Avenue; 7625-33 S East End Avenue; 7701-03 S Essex Avenue; 2800-
                                                                                                       Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue,                                 06 E 81st Street; 417 Oglesby Avenue; 4315-19 S Michigan Avenue; 4520-26 S Drexel Boulevard; 4533-47 S Calumet Avenue;
                                                                                                       8529 S Rhodes Avenue, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S Church Street, 6554 S                         4611-17 S Drexel Boulevard; 4750-52 S Indiana Avenue; 5001 S Drexel Boulevard; 5618-20 S Martin Luther King Drive; 6217-27
                                                                                                       Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S                                   S Dorchester Avenue; 6250 S Mozart Street; 6554 S Rhodes Avenue; 7712 S Euclid Avenue; 9212 S Parnell Avenue; 9610 S
                                                                                                       Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W                                Woodlawn Avenue; 10012 S LaSalle Avenue; 1017 W 102nd Street; 1131-41 E 79th Place; 11318 S Church Street; 8432 S Essex
                                                                                                       71st Street, 9610 S Woodlawn Avenue, 1401 W 109th Place, 1131-41 E 79th Place, 4611-17 S Drexel                            Avenue; 8517 S Vernon Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue
                                                                                                       Boulevard, 6217-27 S Dorchester Avenue, 6250 S Mozart Street, 7255-57 S Euclid Avenue, 7024-32 S
                                                                                                       Paxton Avenue, 4315-19 S Michigan Avenue, 7701-03 S Essex Avenue, 816-22 E Marquette Road,
                                                                                                       1422-24 East 68th Street, 2800-06 E 81st Street, 4750-52 S Indiana Avenue, 5618-20 S Martin Luther
                                                                                                       King Drive, 7840-42 S Yates Avenue).
 September-21 Business Operations                             9/7/2021 JR           140       42018.01 Review email from K. Duff regarding reimbursable amount and respond accordingly (see I) (.1)            0.1 $       14.00 4611-17 S Drexel Boulevard; 4750-52 S Indiana Avenue; 5437 S Laflin Street; 5450-52 S Indiana Avenue; 5618-20 S Martin                      81
                                                                                                                                                                                                                                 Luther King Drive; 61 E 92nd Street; 6217-27 S Dorchester Avenue; 6250 S Mozart Street; 6355-59 S Talman Avenue; 10012 S
                                                                                                                                                                                                                                 LaSalle Avenue; 1017 W 102nd Street; 11117-11119 S Longwood Drive; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th
                                                                                                                                                                                                                                 Place; 1422-24 East 68th Street; 1516 E 85th Place; 1700-08 W Juneway Terrace; 1131-41 E 79th Place; 11318 S Church Street;
                                                                                                                                                                                                                                 1401 W 109th Place; 2129 W 71st Street; 2136 W 83rd Street; 2736-44 W 64th Street; 2800-06 E 81st Street; 3074 E
                                                                                                                                                                                                                                 Cheltenham Place; 310 E 50th Street; 8432 S Essex Avenue; 8517 S Vernon Avenue; 8529 S Rhodes Avenue; 7110 S Cornell
                                                                                                                                                                                                                                 Avenue; 7201 S Constance Avenue; 7201-07 S Dorchester Avenue; 8107 S Kingston Avenue; 8107-09 S Ellis Avenue; 816-22 E
                                                                                                                                                                                                                                 Marquette Road; 8209 S Ellis Avenue; 8214-16 S Ingleside Avenue; 8326-58 S Ellis Avenue; 7210 S Vernon Avenue; 7237-43 S
                                                                                                                                                                                                                                 Bennett Avenue; 7255-57 S Euclid Avenue; 6554 S Rhodes Avenue; 6554-58 S Vernon Avenue; 6759 S Indiana Avenue; 6807 S
                                                                                                                                                                                                                                 Indiana Avenue; 6825 S Indiana Avenue; 6949-59 S Merrill Avenue; 8030 S Marquette Avenue; 8100 S Essex Avenue; 8104 S
                                                                                                                                                                                                                                 Kingston Avenue; 417 Oglesby Avenue; 4315-19 S Michigan Avenue; 4533-47 S Calumet Avenue; 6356 S California Avenue;
                                                                                                                                                                                                                                 638-40 N Avers Avenue; 6437-41 S Kenwood Avenue; 7600-10 S Kingston Avenue; 8800 S Ada Street; 9212 S Parnell Avenue;
                                                                                                                                                                                                                                 9610 S Woodlawn Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue; 7933 S Kingston Avenue; 7712 S Euclid Avenue;
                                                                                                                                                                                                                                 7760 S Coles Avenue; 7840-42 S Yates Avenue; 7953 S Woodlawn Avenue; 7957-59 S Marquette Road; 8000-02 S Justine
                                                                                                                                                                                                                                 Street; 7656-58 S Kingston Avenue; 7701-03 S Essex Avenue; 7300-04 S St Lawrence Avenue; 7442-54 S Calumet Avenue; 7508
                                                                                                                                                                                                                                 S Essex Avenue; 8346 S Constance Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 7024-32 S Paxton Avenue;
                                                                                                                                                                                                                                 7051 S Bennett Avenue; 7109-19 S Calumet Avenue
 September-21 Business Operations                             9/7/2021 JR           140       42018.02 continue analysis of reimbursable amounts, update spreadsheet and forward to K. Duff and E. Duff        2.6 $      364.00 4611-17 S Drexel Boulevard; 4750-52 S Indiana Avenue; 5437 S Laflin Street; 7110 S Cornell Avenue; 7201 S Constance                         81
                                                                                                       (see I and J) (2.6)                                                                                                       Avenue; 7210 S Vernon Avenue; 7237-43 S Bennett Avenue; 7255-57 S Euclid Avenue; 8209 S Ellis Avenue; 8214-16 S Ingleside
                                                                                                                                                                                                                                 Avenue; 8326-58 S Ellis Avenue; 8030 S Marquette Avenue; 8100 S Essex Avenue; 8104 S Kingston Avenue; 8346 S Constance
                                                                                                                                                                                                                                 Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 7024-32 S Paxton Avenue; 7051 S Bennett Avenue; 7109-19 S
                                                                                                                                                                                                                                 Calumet Avenue; 7201-07 S Dorchester Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 9610 S Woodlawn Avenue; 8432 S
                                                                                                                                                                                                                                 Essex Avenue; 8517 S Vernon Avenue; 8529 S Rhodes Avenue; 7712 S Euclid Avenue; 7760 S Coles Avenue; 7840-42 S Yates
                                                                                                                                                                                                                                 Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue; 7701-03 S Essex Avenue; 7300-04 S St Lawrence Avenue;
                                                                                                                                                                                                                                 7442-54 S Calumet Avenue; 7508 S Essex Avenue; 417 Oglesby Avenue; 4315-19 S Michigan Avenue; 4533-47 S Calumet
                                                                                                                                                                                                                                 Avenue; 6554 S Rhodes Avenue; 6554-58 S Vernon Avenue; 6759 S Indiana Avenue; 10012 S LaSalle Avenue; 1017 W 102nd
                                                                                                                                                                                                                                 Street; 11117-11119 S Longwood Drive; 5450-52 S Indiana Avenue; 5618-20 S Martin Luther King Drive; 61 E 92nd Street; 6217-
                                                                                                                                                                                                                                 27 S Dorchester Avenue; 6250 S Mozart Street; 6355-59 S Talman Avenue; 1131-41 E 79th Place; 11318 S Church Street; 1401
                                                                                                                                                                                                                                 W 109th Place; 2129 W 71st Street; 2136 W 83rd Street; 2736-44 W 64th Street; 3213 S Throop Street; 3723 W 68th Place;
                                                                                                                                                                                                                                 406 E 87th Place; 6807 S Indiana Avenue; 6825 S Indiana Avenue; 6949-59 S Merrill Avenue; 2800-06 E 81st Street; 3074 E
                                                                                                                                                                                                                                 Cheltenham Place; 310 E 50th Street; 7922 S Luella Avenue; 7925 S Kingston Avenue; 7933 S Kingston Avenue; 8107 S
                                                                                                                                                                                                                                 Kingston Avenue; 8107-09 S Ellis Avenue; 816-22 E Marquette Road; 7953 S Woodlawn Avenue; 7957-59 S Marquette Road;
                                                                                                                                                                                                                                 8000-02 S Justine Street; 6356 S California Avenue; 638-40 N Avers Avenue; 6437-41 S Kenwood Avenue; 1422-24 East 68th
                                                                                                                                                                                                                                 Street; 1516 E 85th Place; 1700-08 W Juneway Terrace
 September-21 Business Operations                             9/7/2021 JR           140       42018.03 further correspondence with E. Duff and K. Duff regarding requested spreadsheet related to              0.2 $       28.00 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue; 7701-03 S Essex Avenue; 8432 S Essex Avenue; 8517 S Vernon                            81
                                                                                                       reimbursable amounts (see I and J) (.2).                                                                                  Avenue; 8529 S Rhodes Avenue; 7712 S Euclid Avenue; 7760 S Coles Avenue; 7840-42 S Yates Avenue; 6807 S Indiana Avenue;
                                                                                                                                                                                                                                 6825 S Indiana Avenue; 6949-59 S Merrill Avenue; 6356 S California Avenue; 638-40 N Avers Avenue; 6437-41 S Kenwood
                                                                                                                                                                                                                                 Avenue; 1422-24 East 68th Street; 1516 E 85th Place; 1700-08 W Juneway Terrace; 7922 S Luella Avenue; 7925 S Kingston
                                                                                                                                                                                                                                 Avenue; 7933 S Kingston Avenue; 6554 S Rhodes Avenue; 6554-58 S Vernon Avenue; 6759 S Indiana Avenue; 5450-52 S
                                                                                                                                                                                                                                 Indiana Avenue; 2129 W 71st Street; 2136 W 83rd Street; 2736-44 W 64th Street; 7210 S Vernon Avenue; 7237-43 S Bennett
                                                                                                                                                                                                                                 Avenue; 7255-57 S Euclid Avenue; 7110 S Cornell Avenue; 7201 S Constance Avenue; 7201-07 S Dorchester Avenue; 6217-27 S
                                                                                                                                                                                                                                 Dorchester Avenue; 6250 S Mozart Street; 6355-59 S Talman Avenue; 1131-41 E 79th Place; 11318 S Church Street; 1401 W
                                                                                                                                                                                                                                 109th Place; 8209 S Ellis Avenue; 8214-16 S Ingleside Avenue; 8326-58 S Ellis Avenue; 7300-04 S St Lawrence Avenue; 7442-54
                                                                                                                                                                                                                                 S Calumet Avenue; 7508 S Essex Avenue; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place; 8346 S Constance
                                                                                                                                                                                                                                 Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 7024-32 S Paxton Avenue; 7051 S Bennett Avenue; 7109-19 S
                                                                                                                                                                                                                                 Calumet Avenue; 7953 S Woodlawn Avenue; 7957-59 S Marquette Road; 8000-02 S Justine Street; 8030 S Marquette Avenue;
                                                                                                                                                                                                                                 8100 S Essex Avenue; 8104 S Kingston Avenue; 8107 S Kingston Avenue; 8107-09 S Ellis Avenue; 816-22 E Marquette Road;
                                                                                                                                                                                                                                 8800 S Ada Street; 9212 S Parnell Avenue; 9610 S Woodlawn Avenue; 4611-17 S Drexel Boulevard; 4750-52 S Indiana Avenue;
                                                                                                                                                                                                                                 5437 S Laflin Street; 2800-06 E 81st Street; 3074 E Cheltenham Place; 310 E 50th Street; 5618-20 S Martin Luther King Drive;
                                                                                                                                                                                                                                 61 E 92nd Street; 10012 S LaSalle Avenue; 1017 W 102nd Street; 11117-11119 S Longwood Drive; 417 Oglesby Avenue; 4315-
                                                                                                                                                                                                                                 19 S Michigan Avenue; 4533-47 S Calumet Avenue
 September-21 Claims Administration & Objections              9/7/2021 KBD          390       42913.01 Work on sole lien process (sole lien) (.5)                                                              0.5 $      195.00 sole lien                                                                                                                                   28
 September-21 Claims Administration & Objections              9/7/2021 KBD          390       42913.02 telephone conference with J. Wine regarding sole lien process (sole lien) (.2)                          0.2 $       78.00 sole lien                                                                                                                                   28
 September-21 Claims Administration & Objections              9/7/2021 KBD          390       42913.03 attention to voice message from claimant regarding claims process (Group 1) (.1).                       0.1 $       39.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                            5
                                                                                                                                                                                                                                 Muskegon Avenue
 September-21 Claims Administration & Objections              9/7/2021 JRW          260       42915.01 Exchange correspondence with database vendors regarding database issues (all) (.1)                      0.1 $       26.00 all                                                                                                                                         80
 September-21 Claims Administration & Objections              9/7/2021 JRW          260       42915.02 telephone conference with K. Duff regarding draft joint motion (sole lien) (.1)                         0.1 $       26.00 sole lien                                                                                                                                   28
 September-21 Claims Administration & Objections              9/7/2021 JRW          260       42915.03 correspond with A. Watychowicz regarding searches and related review of correspondence with             0.1 $       26.00 all                                                                                                                                         80
                                                                                                       vendor (all) (.1)
 September-21 Claims Administration & Objections              9/7/2021 JRW          260       42915.04 confer with A. Watychowicz regarding counsel inquiry (all) (.1).                                        0.1 $        26.00 all                                                                                                                                        80
 September-21 Claims Administration & Objections              9/7/2021 AW           140       42916.01 Attention to email from counsel regarding representation and related email to J. Wine (all) (.1)        0.1 $        14.00 all                                                                                                                                        80

 September-21 Claims Administration & Objections              9/7/2021 AW           140       42916.02 communicate with J. Wine regarding database issue (all) (.1)                                            0.1 $        14.00 all                                                                                                                                        80
 September-21 Claims Administration & Objections              9/7/2021 AW           140       42916.03 attention to voice message from counsel, review emails and claimant's discovery responses, and          0.2 $        28.00 all                                                                                                                                        80
                                                                                                       related email to J. Wine (all) (.2).
 September-21 Business Operations                             9/8/2021 KBD          390       42022.01 Exchange correspondence with E. Duff and J. Rak regarding information for insurance broker relating     0.2 $        78.00 7109-19 S Calumet Avenue                                                                                                                   1
                                                                                                       to coverage issues and communications with property manager (7109-19 S Calumet Avenue) (.2)

 September-21 Business Operations                             9/8/2021 KBD          390       42022.02 exchange correspondence regarding third party request for access to EB documents database (defer)       0.1 $        39.00 exclude/defer                                                                                                                              0
                                                                                                       (.1)
 September-21 Business Operations                             9/8/2021 KBD          390       42022.03 exchange correspondence with property manager regarding final disposal invoice (2736-44 W 64th          0.1 $        39.00 2736-44 W 64th Street                                                                                                                      1
                                                                                                       Street) (.1).
 September-21 Business Operations                             9/8/2021 KMP          140       42023.01 Attention to communications with property manager relating to utility billing (2736-44 W 64th           0.2 $        28.00 2736-44 W 64th Street                                                                                                                      1
                                                                                                       Street).


                                                                                                                                                                                   26 of 35
                                                                                                                             Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 192 of 200 PageID #:34128




EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                          Task Description                                             Task      Task Cost                                                     Property Allocations                                                     Property
                                                                         Keeper                                                                                                                               Hours                                                                                                                                            Allocation
                                                                                                                                                                                                                                                                                                                                                                 Count
 September-21 Business Operations                             9/8/2021 JR           140       42027.01 Review email from K. Duff related to inspection of property and further correspond with the account      0.2 $        28.00 7109-19 S Calumet Avenue                                                                                                                 1
                                                                                                       analyst forwarding survey for the property related to insurance premiums (7109-19 S Calumet
                                                                                                       Avenue).
 September-21 Claims Administration & Objections              9/8/2021 KBD          390       42922.01 Work on sole lien process (sole lien) (.3)                                                               0.3 $      117.00 sole lien                                                                                                                                 28
 September-21 Claims Administration & Objections              9/8/2021 KBD          390       42922.02 study correspondence and legal research regarding claims analysis (7500-06 S Eggleston Avenue,           0.4 $      156.00 2909-19 E 78th Street; 3030-32 E 79th Street; 7500-06 S Eggleston Avenue; 7549-59 S Essex Avenue; 7927-49 S Essex Avenue;                  6
                                                                                                       3030-32 E 79th Street, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue,                           8047-55 S Manistee Avenue
                                                                                                       7927-29 S Essex Avenue) (.4).
 September-21 Claims Administration & Objections              9/8/2021 JRW          260       42924.01 Telephone conference with database vendors regarding reports in database (all) (.2)                      0.2 $       52.00 all                                                                                                                                       80
 September-21 Claims Administration & Objections              9/8/2021 JRW          260       42924.02 attention to claimant inquiry (all) (.1)                                                                 0.1 $       26.00 all                                                                                                                                       80
 September-21 Claims Administration & Objections              9/8/2021 JRW          260       42924.03 legal research and related correspondence with A. Porter regarding analysis of findings (7301-09 S       1.8 $      468.00 2909-19 E 78th Street; 3030-32 E 79th Street; 7301-09 S Stewart Avenue; 7500-06 S Eggleston Avenue; 7549-59 S Essex                        6
                                                                                                       Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 2909-19 E 78th Street, 7549-59                          Avenue; 8047-55 S Manistee Avenue
                                                                                                       S Essex Avenue, 8047-55 S Manistee Avenue) (1.8)
 September-21 Claims Administration & Objections              9/8/2021 JRW          260       42924.04 exchange correspondence with counsel for claimants regarding EB document database and related            0.2 $        52.00 all                                                                                                                                      80
                                                                                                       correspondence with K. Duff (all) (.2).
 September-21 Claims Administration & Objections              9/8/2021 AW           140       42925.01 Email correspondence to claimant and counsel (all) (.2)                                                  0.2 $        28.00 all                                                                                                                                      80
 September-21 Claims Administration & Objections              9/8/2021 AW           140       42925.02 confer with J. Wine regarding reminder to claimants about expiration of database and update docket       0.1 $        14.00 all                                                                                                                                      80
                                                                                                       (all) (.1).
 September-21 Claims Administration & Objections              9/8/2021 MR           390       42926.01 Conference with K. Duff and J. Wine regarding third party access to claims documents database and        0.2 $        78.00 exclude/defer                                                                                                                            0
                                                                                                       related logistics (defer).
 September-21 Claims Administration & Objections              9/8/2021 AEP          390       42928.01 Legal research and communication of findings to K. Duff and J. Wine in connection with analysis of       1.7 $      663.00 2909-19 E 78th Street; 3030-32 E 79th Street; 7301-09 S Stewart Avenue; 7500-06 S Eggleston Avenue; 7549-59 S Essex                       6
                                                                                                       claims (7301-09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 2909-19 E                             Avenue; 8047-55 S Manistee Avenue
                                                                                                       78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee Avenue).
 September-21 Business Operations                             9/9/2021 KBD          390       42031.01 Confer with M. Rachlis and J. Wine regarding third party request for documents in connection with        0.2 $        78.00 exclude/defer                                                                                                                            0
                                                                                                       third party litigation (defer).
 September-21 Business Operations                             9/9/2021 JRW          260       42033.01 Confer with K. Duff and M. Rachlis regarding third-party request for documents in connection with        0.2 $        52.00 exclude/defer                                                                                                                            0
                                                                                                       third-party litigation (defer).
 September-21 Claims Administration & Objections              9/9/2021 KBD          390       42931.01 Confer with M. Rachlis and J. Wine regarding third party access to claims documents database and         0.2 $        78.00 exclude/defer                                                                                                                            0
                                                                                                       related logistics (defer) (.2)
 September-21 Claims Administration & Objections              9/9/2021 KBD          390       42931.02 confer with receivership team regarding claims analysis and organization of claims review materials      0.3 $      117.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       and documents review (Group 1) (.3)                                                                                        Muskegon Avenue
 September-21 Claims Administration & Objections              9/9/2021 KBD          390       42931.03 work on sole lien process (sole lien) (.5)                                                               0.5 $      195.00 sole lien                                                                                                                                 28
 September-21 Claims Administration & Objections              9/9/2021 KBD          390       42931.04 draft correspondence to A. Porter regarding potential discovery (sole lien) (.2).                        0.2 $       78.00 sole lien                                                                                                                                 28
 September-21 Claims Administration & Objections              9/9/2021 JRW          260       42933.01 Correspondence with A. Watychowicz regarding counsel representation of claimants and follow-up           0.3 $       78.00 all                                                                                                                                       80
                                                                                                       email to claimants' counsel (all) (.3)
 September-21 Claims Administration & Objections              9/9/2021 JRW          260       42933.02 review discovery responses and documents of investor lenders (Group 1) (3.6)                             3.6 $      936.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                  Muskegon Avenue
 September-21 Claims Administration & Objections              9/9/2021 JRW          260       42933.03 conference with K. Duff and M. Rachlis regarding third-party access to document database (defer)         0.2 $       52.00 exclude/defer                                                                                                                             0
                                                                                                       (.2)
 September-21 Claims Administration & Objections              9/9/2021 JRW          260       42933.04 exchange correspondence with K. Duff regarding volume of claims materials (defer) (.1).                  0.1 $       26.00 exclude/defer                                                                                                                              0
 September-21 Claims Administration & Objections              9/9/2021 AW           140       42934.03 Continue work on update of counsel information for claimants (all) (1.9)                                 1.9 $      266.00 all                                                                                                                                       80
 September-21 Claims Administration & Objections              9/9/2021 AW           140       42934.04 work with claims documents (6437-41 S Kenwood Avenue, 11117-11119 S Longwood Drive) (.2).                0.2 $       28.00 11117-11119 S Longwood Drive; 6437-41 S Kenwood Avenue                                                                                     2

 September-21 Asset Disposition                              9/10/2021 JR           140       41145.01 Update records and forward tax bills for previously sold properties to buyers and buyer's counsel        0.6 $        84.00 4533-47 S Calumet Avenue; 4750-52 S Indiana Avenue; 5618-20 S Martin Luther King Drive; 6217-27 S Dorchester Avenue;                     9
                                                                                                       (7255-57 S Euclid Avenue, 3030-32 E 79th Street, 4533-37 S Calumet Avenue, 6217-27 S Dorchester                             6554-58 S Vernon Avenue; 7026-42 S Cornell Avenue; 7255-57 S Euclid Avenue; 8107-09 S Ellis Avenue; 3030-32 E 79th Street
                                                                                                       Avenue, 5618-20 S Martin Luther King Avenue, 7026-42 S Cornell Avenue, 6554-58 S Vernon Avenue,
                                                                                                       8107-09 S Ellis Avenue, 4750-52 S Indiana Avenue) (.6)
 September-21 Asset Disposition                              9/10/2021 JR           140       41145.02 review email from K. Duff regarding email request to property manager relating to payment of             0.1 $        14.00 7109-19 S Calumet Avenue                                                                                                                 1
                                                                                                       property taxes (7109-19 S Calumet Avenue) (.1)
 September-21 Asset Disposition                              9/10/2021 JR           140       41145.03 exchange communication with property manager requesting property tax payment (7109-19 S                  0.1 $        14.00 7109-19 S Calumet Avenue                                                                                                                 1
                                                                                                       Calumet Avenue) (.1).
 September-21 Business Operations                            9/10/2021 KBD          390       42040.01 Confer with government representative (defer) (.2)                                                       0.2 $        78.00 exclude/defer                                                                                                                            0
 September-21 Business Operations                            9/10/2021 KBD          390       42040.02 exchange correspondence regarding real estate taxes and potential unit improvements and costs            0.2 $        78.00 7109-19 S Calumet Avenue                                                                                                                 1
                                                                                                       (7109-19 S Calumet Avenue) (.2)
 September-21 Business Operations                            9/10/2021 KBD          390       42040.03 attention to potential resolution of personal injury claim and exchange related correspondence with      0.1 $        39.00 7110 S Cornell Avenue                                                                                                                    1
                                                                                                       J. Wine (7110 S Cornell Avenue) (.1)
 September-21 Business Operations                            9/10/2021 KBD          390       42040.04 exchange correspondence with counsel for lender claimant regarding request for information               0.1 $        39.00 638-40 N Avers Avenue                                                                                                                    1
                                                                                                       regarding property (638-40 N Avers Avenue) (.1).
 September-21 Business Operations                            9/10/2021 JRW          260       42042.01 Exchange correspondence with K. Duff regarding plaintiff's claim (7110 S Cornell Avenue) (.2)            0.2 $        52.00 7110 S Cornell Avenue                                                                                                                    1

 September-21 Business Operations                            9/10/2021 JRW          260       42042.02 related telephone conference with insurer regarding claim against property (7110 S Cornell Avenue)       0.2 $        52.00 7110 S Cornell Avenue                                                                                                                    1
                                                                                                       (.2).
 September-21 Business Operations                            9/10/2021 JR           140       42045.01 Review email from buyer's counsel regarding appraiser's request for property information and             0.6 $        84.00 7109-19 S Calumet Avenue                                                                                                                 1
                                                                                                       further communicate and gather related information for K. Duff (7109-19 S Calumet Avenue) (.6)

 September-21 Business Operations                            9/10/2021 JR           140       42045.02 further communication with A. Porter requesting confirmation of requested items related to               0.1 $        14.00 7109-19 S Calumet Avenue                                                                                                                 1
                                                                                                       appraisal of property (7109-19 S Calumet Avenue) (.1).
 September-21 Business Operations                            9/10/2021 ED           390       42047.01 Call with accountant to discuss accounting treatment of insurance costs for sold properties (1131-41     0.5 $      195.00 1131-41 E 79th Place; 1700-08 W Juneway Terrace; 2736-44 W 64th Street; 3074 E Cheltenham Place; 4315-19 S Michigan                       36
                                                                                                       E 79th Place, 1700-08 W Juneway Terrace, 2453- 59 E 75th Street, 2736-44 W 64th Street, 4315-19 S                          Avenue; 7957-59 S Marquette Road; 8000-02 S Justine Street; 8047-55 S Manistee Avenue; 8107-09 S Ellis Avenue; 816-22 E
                                                                                                       Michigan Avenue, 4520-26 S Drexel Boulevard, 4533-47 S Calumet Avenue, 5450-52 S Indiana Avenue,                           Marquette Road; 8201 S Kingston Avenue; 8209 S Ellis Avenue; 7442-54 S Calumet Avenue; 7450 S Luella Avenue; 7508 S
                                                                                                       5816-20 S Martin Luther King Drive, 6250 S Mozart Street, 6355-59 S Talman Avenue, 6437-41 S                               Essex Avenue; 7546-48 S Saginaw Avenue; 7600-10 S Kingston Avenue; 7749-59 S Yates Boulevard; 7760 S Coles Avenue; 7110
                                                                                                       Kenwood Avenue, 6554-58 S Vernon Avenue, 6749-59 S Merrill Avenue, 7051 S Bennett Avenue, 7110                             S Cornell Avenue; 7201 S Constance Avenue; 7201-07 S Dorchester Avenue; 7300-04 S St Lawrence Avenue; 6355-59 S Talman
                                                                                                       S Cornell Avenue, 7201 S Constance Avenue, 7201-07 S Dorchester Avenue, 7300- 04 S St Lawrence                             Avenue; 6437-41 S Kenwood Avenue; 8214-16 S Ingleside Avenue; 8326-58 S Ellis Avenue; 8403 S Aberdeen Street; 6554-58 S
                                                                                                       Avenue, 7442-54 S Calumet Avenue, 7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 7600-10 S                                Vernon Avenue; 6749-59 S Merrill Avenue; 7051 S Bennett Avenue; 4520-26 S Drexel Boulevard; 4533-47 S Calumet Avenue;
                                                                                                       Kingston Avenue, 7749-59 S Yates Boulevard, 7760 S Coles Avenue, 3074 E Cheltenham Place, 7957-                            5450-52 S Indiana Avenue; 5618-20 S Martin Luther King Drive; 6250 S Mozart Street
                                                                                                       59 S Marquette Avenue, 8000-02 S Justine Street, 8047-55 S Manistee Avenue, 8107-09 S Ellis
                                                                                                       Avenue, 816-22 E Marquette Road, 8201 S Kingston Avenue, 8209 S Ellis Avenue, 8214-16 S Ingleside
                                                                                                       Avenue, 8326- 58 S Ellis Avenue, 8403 S Aberdeen Street).
 September-21 Claims Administration & Objections             9/10/2021 KBD          390       42940.01 Confer with A. Porter, M. Rachlis, J. Wine regarding claims analysis (all) (.7)                          0.7 $      273.00 all                                                                                                                                       80
 September-21 Claims Administration & Objections             9/10/2021 KBD          390       42940.02 work on sole lien process and exchange related correspondence (sole lien) (1.7)                          1.7 $      663.00 sole lien                                                                                                                                 28
 September-21 Claims Administration & Objections             9/10/2021 KBD          390       42940.03 exchange correspondence with A. Watychowicz regarding communication with claimant regarding              0.1 $       39.00 all                                                                                                                                       80
                                                                                                       claim (all) (.1).
 September-21 Claims Administration & Objections             9/10/2021 JRW          260       42942.01 Telephone conference with A. Porter, M. Rachlis and K. Duff regarding claims against funds (7301-09      0.7 $      182.00 2909-19 E 78th Street; 3030-32 E 79th Street; 7301-09 S Stewart Avenue; 7500-06 S Eggleston Avenue; 7549-59 S Essex                       6
                                                                                                       S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 2909-19 E 78th Street, 7549-                          Avenue; 8047-55 S Manistee Avenue
                                                                                                       59 S Essex Avenue, 8047-55 S Manistee Avenue) (.7)
 September-21 Claims Administration & Objections             9/10/2021 JRW          260       42942.02 additional legal research regarding analysis of claim (7301-09 S Stewart Avenue, 7500-06 S Eggleston     0.4 $      104.00 2909-19 E 78th Street; 3030-32 E 79th Street; 7301-09 S Stewart Avenue; 7500-06 S Eggleston Avenue; 7549-59 S Essex                       6
                                                                                                       Avenue, 3030-32 E 79th Street, 2909-19 E 78th Street, 7549-59 S Essex Avenue, 8047-55 S Manistee                           Avenue; 8047-55 S Manistee Avenue
                                                                                                       Avenue) (.4)
 September-21 Claims Administration & Objections             9/10/2021 JRW          260       42942.03 confer with K. Duff regarding single claim process (sole lien) (.1)                                      0.1 $       26.00 sole lien                                                                                                                                 28
 September-21 Claims Administration & Objections             9/10/2021 JRW          260       42942.04 review redline of draft motion regarding claims process and further revise same (sole lien) (1.6)        1.6 $      416.00 sole lien                                                                                                                                 28



                                                                                                                                                                                  27 of 35
                                                                                                                              Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 193 of 200 PageID #:34129




EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                            Task Description                                              Task      Task Cost                                                     Property Allocations                                              Property
                                                                         Keeper                                                                                                                                  Hours                                                                                                                                     Allocation
                                                                                                                                                                                                                                                                                                                                                             Count
 September-21 Claims Administration & Objections             9/10/2021 JRW          260       42942.05 conference with J. Rak regarding searching database, execute searches, and related correspondence           0.9 $      234.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                  5
                                                                                                       with vendor regarding technical issues (Group 1) (.9)                                                                         Muskegon Avenue
 September-21 Claims Administration & Objections             9/10/2021 JRW          260       42942.06 confer with A. Watychowicz regarding volume of submitted claims documentation (Group 1) (.1)                0.1 $       26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                  5
                                                                                                                                                                                                                                     Muskegon Avenue
 September-21 Claims Administration & Objections             9/10/2021 JRW          260       42942.07 review investor discovery and document productions (Group 1) (.9).                                          0.9 $      234.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                  5
                                                                                                                                                                                                                                     Muskegon Avenue
 September-21 Claims Administration & Objections             9/10/2021 AW           140       42943.01 Attention to questions from claimant and update his mailing information (all) (.2)                          0.2 $       28.00 all                                                                                                                                80
 September-21 Claims Administration & Objections             9/10/2021 AW           140       42943.02 review discovery responses and email regarding volume to K. Duff and J. Wine (Group 1) (.6)                 0.6 $       84.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                   5
                                                                                                                                                                                                                                     Muskegon Avenue
 September-21 Claims Administration & Objections             9/10/2021 AW           140       42943.03 communicate with J. Wine regarding volume of claims documents (Group 1) (.1)                                0.1 $       14.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                  5
                                                                                                                                                                                                                                     Muskegon Avenue
 September-21 Claims Administration & Objections             9/10/2021 AW           140       42943.04 attention to follow up email regarding representation (all) (.1).                                           0.1 $       14.00 all                                                                                                                                80
 September-21 Claims Administration & Objections             9/10/2021 MR           390       42944.01 Participate in meeting with K. Duff, A. Porter, J. Wine regarding analysis of claims (7301-09 S Stewart     0.7 $      273.00 2909-19 E 78th Street; 3030-32 E 79th Street; 7301-09 S Stewart Avenue; 7500-06 S Eggleston Avenue; 7549-59 S Essex                 6
                                                                                                       Avenue, 7500-06 S Eggleston Avenue, 3030- 32 E 79th Street, 2909-19 E 78th Street, 7549-59 S Essex                            Avenue; 8047-55 S Manistee Avenue
                                                                                                       Avenue, 8047- 55 S Manistee Avenue).
 September-21 Claims Administration & Objections             9/10/2021 JR           140       42945.01 Conference with J. Wine regarding vendor database and navigating through same (Group 1).                    0.9 $      126.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                  5
                                                                                                                                                                                                                                     Muskegon Avenue
 September-21 Claims Administration & Objections             9/10/2021 AEP          390       42946.01 Teleconference with K. Duff, M. Rachlis, and J. Wine regarding resolution of priority disputes and          0.7 $      273.00 2909-19 E 78th Street; 3030-32 E 79th Street; 7301-09 S Stewart Avenue; 7500-06 S Eggleston Avenue; 7549-59 S Essex                6
                                                                                                       legal issues (7301-09 S Stewart Avenue, 7500-06 S Eggleston Avenue, 3030-32 E 79th Street, 2909-19                            Avenue; 8047-55 S Manistee Avenue
                                                                                                       E 78th Street, 7549- 59 S Essex Avenue, 8047-55 S Manistee Avenue).
 September-21 Claims Administration & Objections             9/11/2021 KBD          390       42949.01 Work on sole lien process and exchange related correspondence (sole lien).                                  0.2 $        78.00 sole lien                                                                                                                         28
 September-21 Claims Administration & Objections             9/11/2021 AW           140       42952.01 Start preparation of information regarding volume of claims for J. Wine (Group 1).                          0.7 $        98.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                  5
                                                                                                                                                                                                                                      Muskegon Avenue
 September-21 Asset Disposition                              9/13/2021 AW           140       41170.01 Attention to appeal filings, related emails to team, and docket update (6949- 59 S Merrill Avenue,          0.3 $        42.00 6949-59 S Merrill Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue                                                    3
                                                                                                       7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue).
 September-21 Asset Disposition                              9/13/2021 JR           140       41172.01 Review email from property management regarding paid property taxes and update records (7109-19             0.1 $        14.00 7109-19 S Calumet Avenue                                                                                                          1
                                                                                                       S Calumet Avenue) (.1)
 September-21 Asset Disposition                              9/13/2021 JR           140       41172.02 communication with buyer's counsel relating to property tax bill for previously sold property (4533-        0.1 $        14.00 4533-47 S Calumet Avenue                                                                                                          1
                                                                                                       47 S Calumet Avenue) (.1)
 September-21 Asset Disposition                              9/13/2021 JR           140       41172.03 exchange communication with the title company (1102 Bingham) (.2)                                           0.2 $        28.00 1102 Bingham (Houston, TX)                                                                                                        1
 September-21 Asset Disposition                              9/13/2021 JR           140       41172.04 follow up with the title company on status of the water certificate application for property in             0.1 $        14.00 638-40 N Avers Avenue                                                                                                             1
                                                                                                       anticipation of sale (638-40 N Avers Avenue) (.1)
 September-21 Asset Disposition                              9/13/2021 JR           140       41172.05 follow up correspondence with the City of Chicago water department requesting reconciliation of             0.2 $        28.00 638-40 N Avers Avenue                                                                                                             1
                                                                                                       water statements related to property (638-40 N Avers Avenue) (.2)
 September-21 Asset Disposition                              9/13/2021 JR           140       41172.06 further correspondence with property management requesting receipt of water shut off to property            0.2 $        28.00 638-40 N Avers Avenue                                                                                                             1
                                                                                                       per City of Chicago request (638-40 N Avers Avenue) (.2).
 September-21 Claims Administration & Objections             9/13/2021 KBD          390       42967.01 Attention to communication with claimants regarding claims process and documentation issues (all)           0.2 $        78.00 all                                                                                                                               80
                                                                                                       (.2)
 September-21 Claims Administration & Objections             9/13/2021 KBD          390       42967.02 study revised sole lien claims process and exchange related correspondence (sole lien) (.3).                0.3 $      117.00 sole lien                                                                                                                          28
 September-21 Claims Administration & Objections             9/13/2021 KMP          140       42968.01 Communications with J. Wine and A. Watychowicz regarding inquiry by claimant (all).                         0.2 $       28.00 all                                                                                                                                80
 September-21 Claims Administration & Objections             9/13/2021 JRW          260       42969.01 Work with A. Watychowicz regarding analysis of volume of claim submissions (Group 1) (.2)                   0.2 $       52.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                   5
                                                                                                                                                                                                                                     Muskegon Avenue
 September-21 Claims Administration & Objections             9/13/2021 JRW          260       42969.02 attention to claimant inquiries (all) (.4)                                                                  0.4 $      104.00 all                                                                                                                                80
 September-21 Claims Administration & Objections             9/13/2021 JRW          260       42969.03 review redline and further revise proposed joint motion and related correspondence to K. Duff and           1.5 $      390.00 sole lien                                                                                                                          28
                                                                                                       M. Rachlis regarding open issues (sole lien) (1.5)
 September-21 Claims Administration & Objections             9/13/2021 JRW          260       42969.04 continue reviewing discovery produced by investors and conduct database searches for                        1.8 $      468.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                  5
                                                                                                       correspondence with investor (Group 1) (1.8)                                                                                  Muskegon Avenue
 September-21 Claims Administration & Objections             9/13/2021 AW           140       42970.01 Finalize preparation of volume of claims for J. Wine and related email (Group 1) (.8)                       0.8 $      112.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                  5
                                                                                                                                                                                                                                     Muskegon Avenue
 September-21 Claims Administration & Objections             9/13/2021 AW           140       42970.02 communicate with claimant regarding claim and his trustee (all) (.2)                                        0.2 $       28.00 all                                                                                                                                80
 September-21 Claims Administration & Objections             9/13/2021 AW           140       42970.03 communicate with K. Duff and J. Wine regarding claims percentage issue and related email to                 0.2 $       28.00 all                                                                                                                                80
                                                                                                       claimant (all) (.2)
 September-21 Claims Administration & Objections             9/13/2021 AW           140       42970.04 attention to voice message from claimant regarding sold property (2736-44 W 64th Street) and                0.1 $        14.00 2736-44 W 64th Street                                                                                                             1
                                                                                                       related email to claimant (.1)
 September-21 Claims Administration & Objections             9/13/2021 AW           140       42970.05 communicate with K. Duff and J. Wine regarding received documents from claimant and related                 0.1 $        14.00 all                                                                                                                               80
                                                                                                       email to claimant (all) (.1).
 September-21 Claims Administration & Objections             9/14/2021 KBD          390       42976.01 Study correspondence regarding sole lien process and revised process documents (sole lien) (.3)             0.3 $      117.00 sole lien                                                                                                                          28

 September-21 Claims Administration & Objections             9/14/2021 KBD          390       42976.02 attention to communication with claimant regarding claims process (all) (.1).                               0.1 $       39.00 all                                                                                                                                80
 September-21 Claims Administration & Objections             9/14/2021 JRW          260       42978.01 Work on single claims process and related exchange of correspondence with M. Rachlis regarding              0.6 $      156.00 sole lien                                                                                                                          28
                                                                                                       single claim process (sole lien) (.6)
 September-21 Claims Administration & Objections             9/14/2021 JRW          260       42978.02 review discovery from investors and related conference with A. Watychowicz (Group 1) (3.4)                  3.4 $      884.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                  5
                                                                                                                                                                                                                                     Muskegon Avenue
 September-21 Claims Administration & Objections             9/14/2021 JRW          260       42978.03 attention to claimant email (all) (.1).                                                                     0.1 $       26.00 all                                                                                                                                80
 September-21 Claims Administration & Objections             9/14/2021 AW           140       42979.01 Follow up with J. Wine regarding claimant's email (all) (.1)                                                0.1 $       14.00 all                                                                                                                                80
 September-21 Claims Administration & Objections             9/14/2021 AW           140       42979.02 communicate with J. Wine regarding review of discovery (Group 1) (.2)                                       0.2 $       28.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                   5
                                                                                                                                                                                                                                     Muskegon Avenue
 September-21 Claims Administration & Objections             9/14/2021 AW           140       42979.03 attention to email from claimant and database issues and related email to K. Duff and J. Wine (all)         0.1 $       14.00 all                                                                                                                                80
                                                                                                       (.1).
 September-21 Claims Administration & Objections             9/14/2021 MR           390       42980.01 Further work on single lien claim process and work and exchanges with J. Wine (sole lien).                  0.5 $      195.00 sole lien                                                                                                                          28
 September-21 Asset Disposition                              9/15/2021 KBD          390       41185.01 Exchange correspondence with A. Porter regarding closing costs and attention to efforts to resolve          0.2 $       78.00 638-40 N Avers Avenue                                                                                                               1
                                                                                                       water meter issue (638-40 N Avers Avenue).
 September-21 Asset Disposition                              9/15/2021 KMP          140       41186.01 Prepare email correspondence to property manager regarding wire transfer instructions for post-sale         0.2 $        28.00 6217-27 S Dorchester Avenue                                                                                                       1
                                                                                                       distribution for sold property (6217-27 S Dorchester Avenue).
 September-21 Asset Disposition                              9/15/2021 JR           140       41190.01 Follow up correspondence with property management requesting update related to water shut off at            0.2 $        28.00 638-40 N Avers Avenue                                                                                                             1
                                                                                                       property (638-40 N Avers Avenue).
 September-21 Business Operations                            9/15/2021 KBD          390       42085.01 Exchange correspondence with counsel for claimant regarding payment of real estate taxes (638-40 N          0.1 $        39.00 638-40 N Avers Avenue; 7109-19 S Calumet Avenue                                                                                   2
                                                                                                       Avers Avenue, 7109-19 S Calumet Avenue) (.1)
 September-21 Business Operations                            9/15/2021 KBD          390       42085.02 exchange correspondence with property manager and K. Pritchard regarding post-sale reconciliation           0.1 $        39.00 6217-27 S Dorchester Avenue                                                                                                       1
                                                                                                       and return of funds (6217-27 S Dorchester Avenue) (.1)
 September-21 Business Operations                            9/15/2021 KBD          390       42085.03 study correspondence from property manager regarding financial reporting (7109-19 S Calumet                 0.1 $        39.00 7109-19 S Calumet Avenue                                                                                                          1
                                                                                                       Avenue) (.1).
 September-21 Business Operations                            9/15/2021 KMP          140       42086.01 Communications with J. Wine and A. Watychowicz regarding City collection notices and                        0.2 $        28.00 1414-18 East 62nd Place; 1422-24 East 68th Street; 5001 S Drexel Boulevard; 7024-32 S Paxton Avenue                               4
                                                                                                       administrative hearing order (5001 S Drexel Boulevard, 1422-24 E 68th Street, 1414-18 E 62nd Place,
                                                                                                       7024-32 S Paxton Avenue).
 September-21 Business Operations                            9/15/2021 JRW          260       42087.01 Exchange correspondence with City of Chicago Ownership Unit regarding violation notice (1414-18             0.1 $        26.00 1414-18 East 62nd Place                                                                                                           1
                                                                                                       East 62nd Place) (.1)




                                                                                                                                                                                     28 of 35
                                                                                                                             Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 194 of 200 PageID #:34130




EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                           Task Description                                             Task      Task Cost                                                     Property Allocations                                                       Property
                                                                         Keeper                                                                                                                                Hours                                                                                                                                              Allocation
                                                                                                                                                                                                                                                                                                                                                                    Count
 September-21 Business Operations                            9/15/2021 JRW          260       42087.02 exchange correspondence with K. Duff regarding tax penalty notices (4520-26 S Drexel Boulevard,           0.1 $        26.00 8209 S Ellis Avenue; 8214-16 S Ingleside Avenue; 9610 S Woodlawn Avenue; 1401 W 109th Place; 1422-24 East 68th Street;                     24
                                                                                                       7300-04 S St Lawrence Avenue, 7760 S Coles Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue,                               2129 W 71st Street; 2800-06 E 81st Street; 4750-52 S Indiana Avenue; 5437 S Laflin Street; 5618-20 S Martin Luther King
                                                                                                       6759 S Indiana Avenue, 5437 S Laflin Street, 8209 S Ellis Avenue, 8107-09 S Ellis Avenue, 8000-02 S                          Drive; 6217-27 S Dorchester Avenue; 6250 S Mozart Street; 6554-58 S Vernon Avenue; 6759 S Indiana Avenue; 6807 S Indiana
                                                                                                       Justine Street, 8214-16 S Ingleside Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana                            Avenue; 6949-59 S Merrill Avenue; 7255-57 S Euclid Avenue; 7300-04 S St Lawrence Avenue; 310 E 50th Street; 4520-26 S
                                                                                                       Avenue, 6217-27 S Dorchester Avenue, 7255-57 S Euclid Avenue, 6250 S Mozart Street, 6949-59 S                                Drexel Boulevard; 7760 S Coles Avenue; 7840-42 S Yates Avenue; 8000-02 S Justine Street; 8107-09 S Ellis Avenue
                                                                                                       Merrill Avenue, 1422-24 East 68th Street, 2800-06 E 81st Street, 4750-52 S Indiana Avenue, 5618-20 S
                                                                                                       Martin Luther King Drive, 6554-58 S Vernon Avenue, 7840-42 S Yates Avenue) (.1).
 September-21 Claims Administration & Objections             9/15/2021 KBD          390       42985.01 Confer and exchange correspondence with M. Rachlis and J. Wine regarding sole lien claims process         0.8 $      312.00 sole lien                                                                                                                                   28
                                                                                                       and related discussions with claimants' counsel (sole lien) (.8)
 September-21 Claims Administration & Objections             9/15/2021 KBD          390       42985.02 confer with claimants' counsel and J. Wine regarding sole lien process (sole lien) (.3)                   0.3 $      117.00 sole lien                                                                                                                                   28
 September-21 Claims Administration & Objections             9/15/2021 KBD          390       42985.03 attention to communication with claimant regarding EB documents database issue (Group 1) (.1).            0.1 $       39.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                            5
                                                                                                                                                                                                                                   Muskegon Avenue
 September-21 Claims Administration & Objections             9/15/2021 JRW          260       42987.01 Analysis to K. Duff and M. Rachlis regarding single claim process (sole lien) (.7)                        0.7 $      182.00 sole lien                                                                                                                                   28
 September-21 Claims Administration & Objections             9/15/2021 JRW          260       42987.02 telephone conference with K. Duff and M. Rachlis regarding process for single claim properties (sole      0.8 $      208.00 sole lien                                                                                                                                   28
                                                                                                       lien) (.8)
 September-21 Claims Administration & Objections             9/15/2021 JRW          260       42987.03 exchange correspondence and telephone conference with claimants' counsel regarding process for            0.4 $      104.00 sole lien                                                                                                                                   28
                                                                                                       single claim properties (sole lien) (.4)
 September-21 Claims Administration & Objections             9/15/2021 JRW          260       42987.04 revise proposed process for single lien claims (sole lien) (1.6).                                         1.6 $      416.00 sole lien                                                                                                                                   28
 September-21 Claims Administration & Objections             9/15/2021 MR           390       42989.01 Further review and attention to various issues on the single lien process and review various drafts       0.6 $      234.00 sole lien                                                                                                                                   28
                                                                                                       and e-mails regarding same from K. Duff and J. Wine (sole lien) (.6)
 September-21 Claims Administration & Objections             9/15/2021 MR           390       42989.02 participate in meeting with K. Duff and J. Wine regarding the single lien process (sole lien) (.8).       0.8 $      312.00 sole lien                                                                                                                                   28

 September-21 Asset Disposition                              9/16/2021 KBD          390       41194.01 Exchange correspondence regarding water invoice for property and efforts to resolve same with City        0.2 $        78.00 638-40 N Avers Avenue                                                                                                                      1
                                                                                                       (638-40 N Avers Avenue).
 September-21 Asset Disposition                              9/16/2021 JR           140       41199.01 Follow up correspondence with property management requesting update related to water shut off at          0.1 $        14.00 638-40 N Avers Avenue                                                                                                                      1
                                                                                                       property (638-40 N Avers Avenue) (.1)
 September-21 Asset Disposition                              9/16/2021 JR           140       41199.02 exchange communication with the title company requesting closing documents for receiver                   0.3 $        42.00 1102 Bingham (Houston, TX)                                                                                                                 1
                                                                                                       signature in preparation for closing (1102 Bingham) (.3).
 September-21 Business Operations                            9/16/2021 JRW          260       42096.01 Review collection notices and prior correspondence and related communications with K. Duff, A.            0.6 $      156.00 1414-18 East 62nd Place; 1422-24 East 68th Street; 5001 S Drexel Boulevard; 7024-32 S Paxton Avenue                                         4
                                                                                                       Porter, A. Watychowicz, and K. Pritchard (7024-32 S Paxton Avenue, 1422-24 East 68th Street, 1414-
                                                                                                       18 East 62nd Place, 5001 S Drexel Boulevard) (.6)
 September-21 Business Operations                            9/16/2021 JRW          260       42096.02 confer with J. Rak and K. Duff regarding entities owned by LLCs receiving tax notices (4520-26 S          0.3 $        78.00 5437 S Laflin Street; 5618-20 S Martin Luther King Drive; 8107-09 S Ellis Avenue; 8209 S Ellis Avenue; 8214-16 S Ingleside                 24
                                                                                                       Drexel Boulevard, 7300-04 S St Lawrence Avenue, 7760 S Coles Avenue, 2129 W 71st Street, 9610 S                              Avenue; 9610 S Woodlawn Avenue; 1401 W 109th Place; 1422-24 East 68th Street; 2129 W 71st Street; 2800-06 E 81st Street;
                                                                                                       Woodlawn Avenue, 6759 S Indiana Avenue, 5437 S Laflin Street, 8209 S Ellis Avenue, 8107-09 S Ellis                           310 E 50th Street; 4520-26 S Drexel Boulevard; 4750-52 S Indiana Avenue; 6217-27 S Dorchester Avenue; 6250 S Mozart
                                                                                                       Avenue, 8000-02 S Justine Street, 8214-16 S Ingleside Avenue, 1401 W 109th Place, 310 E 50th Street,                         Street; 6554-58 S Vernon Avenue; 6759 S Indiana Avenue; 6807 S Indiana Avenue; 6949-59 S Merrill Avenue; 7255-57 S Euclid
                                                                                                       6807 S Indiana Avenue, 6217-27 S Dorchester Avenue, 7255-57 S Euclid Avenue, 6250 S Mozart                                   Avenue; 7300-04 S St Lawrence Avenue; 7760 S Coles Avenue; 7840-42 S Yates Avenue; 8000-02 S Justine Street
                                                                                                       Street, 6949-59 S Merrill Avenue, 1422-24 East 68th Street, 2800-06 E 81st Street, 4750-52 S Indiana
                                                                                                       Avenue, 5618-20 S Martin Luther King Drive, 6554-58 S Vernon Avenue, 7840-42 S Yates Avenue) (.3).
 September-21 Business Operations                            9/16/2021 AW           140       42097.01 Attention to collection notices and related email to J. Wine (5001 S Drexel Boulevard, 1422-24 East       0.2 $        28.00 1414-18 East 62nd Place; 1422-24 East 68th Street; 5001 S Drexel Boulevard; 7024-32 S Paxton Avenue                                        4
                                                                                                       68th Street, 1414-18 East 62nd Place, 7024-32 S Paxton Avenue).
 September-21 Business Operations                            9/16/2021 JR           140       42099.01 Review email from J. Wine related to tax notices regarding various EquityBuild entities and identify      0.9 $      126.00 1401 W 109th Place; 6759 S Indiana Avenue; 6807 S Indiana Avenue; 6949-59 S Merrill Avenue; 7255-57 S Euclid Avenue; 7300-                  24
                                                                                                       properties for each and related correspondence with J. Wine (4520-26 S Drexel Boulevard, 7300-04 S                          04 S St Lawrence Avenue; 7760 S Coles Avenue; 7840-42 S Yates Avenue; 8000-02 S Justine Street; 8107-09 S Ellis Avenue;
                                                                                                       St Lawrence Avenue, 7760 S Coles Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 6759 S                                 8209 S Ellis Avenue; 8214-16 S Ingleside Avenue; 1422-24 East 68th Street; 2129 W 71st Street; 2800-06 E 81st Street; 310 E
                                                                                                       Indiana Avenue, 5437 S Laflin Street, 8209 S Ellis Avenue, 8107-09 S Ellis Avenue, 8000-02 S Justine                        50th Street; 4520-26 S Drexel Boulevard; 4750-52 S Indiana Avenue; 5437 S Laflin Street; 5618-20 S Martin Luther King Drive;
                                                                                                       Street, 8214-16 S Ingleside Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana Avenue,                           6217-27 S Dorchester Avenue; 6250 S Mozart Street; 6554-58 S Vernon Avenue; 9610 S Woodlawn Avenue
                                                                                                       6217-27 S Dorchester Avenue, 7255-57 S Euclid Avenue, 6250 S Mozart Street, 6949-59 S Merrill
                                                                                                       Avenue, 1422-24 East 68th Street, 2800-06 E 81st Street, 4750-52 S Indiana Avenue, 5618-20 S Martin
                                                                                                       Luther King Drive, 6554-58 S Vernon Avenue, 7840-42 S Yates Avenue).
 September-21 Claims Administration & Objections             9/16/2021 KBD          390       42994.01 Revise sole lien claims process, review further drafts, and exchange related correspondence with J.       2.7 $     1,053.00 sole lien                                                                                                                                  28
                                                                                                       Wine (sole lien) (2.7)
 September-21 Claims Administration & Objections             9/16/2021 KBD          390       42994.02 review correspondence from J. Wine regarding tax claim (all) (.1).                                        0.1 $       39.00 all                                                                                                                                         80
 September-21 Claims Administration & Objections             9/16/2021 JRW          260       42996.01 Telephone conference with A. Porter regarding third-party discovery needs and analysis of claims          0.6 $      156.00 sole lien                                                                                                                                   28
                                                                                                       (sole lien) (.6)
 September-21 Claims Administration & Objections             9/16/2021 JRW          260       42996.02 revise draft process for single claim properties to incorporate comments from M. Rachlis (sole lien)      0.8 $      208.00 sole lien                                                                                                                                   28
                                                                                                       (.8)
 September-21 Claims Administration & Objections             9/16/2021 JRW          260       42996.03 revise draft motion (sole lien) (1.1).                                                                    1.1 $      286.00 sole lien                                                                                                                                   28
 September-21 Claims Administration & Objections             9/16/2021 AEP          390       43000.01 Teleconference with J. Wine regarding discovery issues associated with single-claim properties            0.6 $      234.00 sole lien                                                                                                                                   28
                                                                                                       encumbered by loans and legal issues associated with priority determinations (sole lien).

 September-21 Asset Disposition                              9/17/2021 KBD          390       41203.01 Work on water meter issue and related communication efforts with City (638-40 N Avers Avenue).            0.4 $      156.00 638-40 N Avers Avenue                                                                                                                       1

 September-21 Asset Disposition                              9/17/2021 AW           140       41206.01 Attention to appeal related filings and share with the team (6949-59 S Merrill Avenue, 7600-10 S          0.2 $        28.00 6949-59 S Merrill Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue                                                             3
                                                                                                       Kingston Avenue, 7656-58 S Kingston Avenue).
 September-21 Asset Disposition                              9/17/2021 JR           140       41208.01 Review email from the title company regarding full payment certificate, review same, and forward to       0.3 $        42.00 638-40 N Avers Avenue                                                                                                                      1
                                                                                                       A. Porter and K. Duff (638-40 N Avers Avenue) (.3)
 September-21 Asset Disposition                              9/17/2021 JR           140       41208.02 follow up correspondence with property management requesting status update of receipt related to          0.1 $        14.00 638-40 N Avers Avenue                                                                                                                      1
                                                                                                       water shut off at property (638-40 N Avers Avenue) (.1)
 September-21 Asset Disposition                              9/17/2021 JR           140       41208.03 further communication with K. Duff and A. Porter regarding next steps related to water balance (638-      0.2 $        28.00 638-40 N Avers Avenue                                                                                                                      1
                                                                                                       40 N Avers Avenue) (.2)
 September-21 Asset Disposition                              9/17/2021 JR           140       41208.04 follow up correspondence with real estate broker requesting an update on maintenance for property         0.1 $        14.00 1102 Bingham (Houston, TX)                                                                                                                 1
                                                                                                       (1102 Bingham) (.1).
 September-21 Business Operations                            9/17/2021 KBD          390       42103.01 Exchange correspondence with insurance adjuster and J. Wine regarding resolution of personal injury       0.2 $        78.00 7110 S Cornell Avenue                                                                                                                      1
                                                                                                       claim (7110 S Cornell Avenue).
 September-21 Business Operations                            9/17/2021 KMP          140       42104.01 Attention to communications relating to notice letter to City regarding collection issues and related     0.2 $        28.00 1414-18 East 62nd Place; 1422-24 East 68th Street; 7024-32 S Paxton Avenue                                                                 3
                                                                                                       communications with J. Wine and A. Watychowicz (7024-32 S Paxton Avenue, 1414-18 E 62nd Place,
                                                                                                       1422-28 E 68th Street).
 September-21 Business Operations                            9/17/2021 JRW          260       42105.01 Correspondence with A. Porter regarding tax notices (4520-26 S Drexel Boulevard, 7300-04 S St             0.1 $        26.00 4520-26 S Drexel Boulevard; 4750-52 S Indiana Avenue; 5437 S Laflin Street; 5618-20 S Martin Luther King Drive; 6217-27 S                  24
                                                                                                       Lawrence Avenue, 7760 S Coles Avenue, 2129 W 71st Street, 9610 S Woodlawn Avenue, 6759 S                                     Dorchester Avenue; 6250 S Mozart Street; 6554-58 S Vernon Avenue; 6759 S Indiana Avenue; 6807 S Indiana Avenue; 6949-59
                                                                                                       Indiana Avenue, 5437 S Laflin Street, 8209 S Ellis Avenue, 8107-09 S Ellis Avenue, 8000-02 S Justine                         S Merrill Avenue; 7255-57 S Euclid Avenue; 7300-04 S St Lawrence Avenue; 7760 S Coles Avenue; 7840-42 S Yates Avenue;
                                                                                                       Street, 8214-16 S Ingleside Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana Avenue,                            8000-02 S Justine Street; 8107-09 S Ellis Avenue; 8209 S Ellis Avenue; 8214-16 S Ingleside Avenue; 9610 S Woodlawn Avenue;
                                                                                                       6217-27 S Dorchester Avenue, 7255-57 S Euclid Avenue, 6250 S Mozart Street, 6949-59 S Merrill                                1401 W 109th Place; 1422-24 East 68th Street; 2129 W 71st Street; 2800-06 E 81st Street; 310 E 50th Street
                                                                                                       Avenue, 1422-24 East 68th Street, 2800-06 E 81st Street, 4750-52 S Indiana Avenue, 5618-20 S Martin
                                                                                                       Luther King Drive, 6554-58 S Vernon Avenue, 7840-42 S Yates Avenue) (.1)
 September-21 Business Operations                            9/17/2021 JRW          260       42105.02 exchange correspondence with insurer and K. Duff regarding potential settlement of claim (7110 S          0.1 $        26.00 7110 S Cornell Avenue                                                                                                                      1
                                                                                                       Cornell Avenue) (.1).
 September-21 Business Operations                            9/17/2021 AW           140       42106.01 Communicate with J. Wine regarding notice of stay of collection, proofread letter, and serve counsel      0.5 $        70.00 1414-18 East 62nd Place; 1422-24 East 68th Street; 7024-32 S Paxton Avenue                                                                 3
                                                                                                       (7024-32 S Paxton Avenue, 1414-18 East 62nd Place, 1422-24 East 68th Street).


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EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                             Task Description                                               Task        Task Cost                                                     Property Allocations                                                  Property
                                                                         Keeper                                                                                                                                    Hours                                                                                                                                           Allocation
                                                                                                                                                                                                                                                                                                                                                                     Count
 September-21 Claims Administration & Objections             9/17/2021 KBD          390       43003.01 Analyze and revise sole lien claims process and exchange various related correspondence with M.               3.3 $       1,287.00 sole lien                                                                                                                             28
                                                                                                       Rachlis and J. Wine (sole lien) (3.3)
 September-21 Claims Administration & Objections             9/17/2021 KBD          390       43003.02 attention to EB documents database vendor invoice and exchange related correspondence (all) (.1).             0.1 $          39.00 all                                                                                                                                   80

 September-21   Claims Administration & Objections           9/17/2021   KMP        140       43004.01    Communicate with K. Duff regarding payment of vendor invoices (all).                                       0.2   $       28.00   all                                                                                                                                  80
 September-21   Claims Administration & Objections           9/17/2021   JRW        260       43005.01    Review redlines and further revise single claims process and draft motion (sole lien) (1.0)                  1   $      260.00   sole lien                                                                                                                            28
 September-21   Claims Administration & Objections           9/17/2021   JRW        260       43005.02     correspondence with M. Rachlis and K. Duff regarding single claims process (sole lien) (.1)               0.1   $       26.00   sole lien                                                                                                                            28
 September-21   Claims Administration & Objections           9/17/2021   JRW        260       43005.03     review invoice and related email exchange with K. Duff (all) (.2)                                         0.2   $       52.00   all                                                                                                                                  80
 September-21   Claims Administration & Objections           9/17/2021   JRW        260       43005.04     draft correspondence to Corporation Counsel regarding collection notices (7024-32 S Paxton Avenue,        0.4   $      104.00   1414-18 East 62nd Place; 1422-24 East 68th Street; 7024-32 S Paxton Avenue                                                            3
                                                                                                          1414-18 East 62nd Place, 1422-24 East 68th Street) (.4).
 September-21 Claims Administration & Objections             9/17/2021 MR           390       43007.01    Review and revise drafts of the joint motion for claims process and related follow up with K. Duff and     1.5 $        585.00 sole lien                                                                                                                              28
                                                                                                          J. Wine (sole lien).
 September-21 Asset Disposition                              9/20/2021 KBD          390       41230.01    Exchange correspondence with A. Porter and M. Rachlis regarding third party appeal (6949-59 S              0.2 $          78.00 6949-59 S Merrill Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue                                                        3
                                                                                                          Merrill Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue).
 September-21 Asset Disposition                              9/20/2021 JR           140       41235.01    Follow up correspondence with real estate broker requesting status of maintenance (1102 Bingham)           0.1 $          14.00 1102 Bingham (Houston, TX)                                                                                                            1
                                                                                                          (.1)
 September-21 Asset Disposition                              9/20/2021 JR           140       41235.02     follow up correspondence with insurance commercial escrow manager requesting a form of deed in            0.1 $          14.00 1102 Bingham (Houston, TX)                                                                                                            1
                                                                                                          preparation for closing (1102 Bingham) (.1)
 September-21 Asset Disposition                              9/20/2021 JR           140       41235.03     further communication with A. Porter regarding closing documents in preparation for closing (1102         0.1 $          14.00 1102 Bingham (Houston, TX)                                                                                                            1
                                                                                                          Bingham) (.1).
 September-21 Asset Disposition                              9/20/2021 AEP          390       41236.01    Read initial Seventh Circuit pleadings in connection with appeal of order awarding earnest money to        0.2 $          78.00 6949-59 S Merrill Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue                                                        3
                                                                                                          Receiver in connection with defaults on prospective purchases of receivership properties (7600-10 S
                                                                                                          Kingston Avenue, 7656-58 S Kingston Avenue, 6949-59 S Merrill Avenue) (.2)

 September-21 Asset Disposition                              9/20/2021 AEP          390       41236.02 read correspondence relating to incorrect outstanding balance on full payment certificate obtained            0.4 $        156.00 638-40 N Avers Avenue                                                                                                                  1
                                                                                                       for conveyance of receivership property, prepare e-mail to corporation counsel explaining general
                                                                                                       background and requesting assistance, and prepare e-mail to buyer's counsel regarding current
                                                                                                       status (638-40 N Avers Avenue) (.4).
 September-21 Business Operations                            9/20/2021 ED           390       42137.01 Review draft reports and summary from accountant proposing approach to calculating and reporting              0.9 $        351.00 8000-02 S Justine Street; 8107-09 S Ellis Avenue; 816-22 E Marquette Road; 8201 S Kingston Avenue; 8209 S Ellis Avenue;                38
                                                                                                       adjustments to insurance cost allocations for certain properties sold in 2020 (7450 S Luella Avenue,                              8214-16 S Ingleside Avenue; 6437-41 S Kenwood Avenue; 6554-58 S Vernon Avenue; 6949-59 S Merrill Avenue; 7051 S
                                                                                                       7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-58 S Ellis                                     Bennett Avenue; 7110 S Cornell Avenue; 7201 S Constance Avenue; 7201-07 S Dorchester Avenue; 7300-04 S St Lawrence
                                                                                                       Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S                                        Avenue; 7442-54 S Calumet Avenue; 1700-08 W Juneway Terrace; 2736-44 W 64th Street; 3074 E Cheltenham Place; 431 E
                                                                                                       Justine Street, 8107-09 S Ellis Avenue, 82116 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S                              42nd Place; 4315-19 S Michigan Avenue; 4520-26 S Drexel Boulevard; 4533-47 S Calumet Avenue; 7450 S Luella Avenue; 7508
                                                                                                       Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Road,                                    S Essex Avenue; 7546-48 S Saginaw Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue; 7701-03 S Essex Avenue;
                                                                                                       7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736- 44 W 64th Street, 6356 S California Avenue,                                 7760 S Coles Avenue; 7957-59 S Marquette Road; 11117-11119 S Longwood Drive; 1131-41 E 79th Place; 8326-58 S Ellis
                                                                                                       6355-59 S Talman Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S                                   Avenue; 5450-52 S Indiana Avenue; 5618-20 S Martin Luther King Drive; 6250 S Mozart Street; 6355-59 S Talman Avenue;
                                                                                                       Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue,                                       6356 S California Avenue
                                                                                                       431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road,
                                                                                                       6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S
                                                                                                       Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).

 September-21 Claims Administration & Objections             9/20/2021 KBD          390       43030.01 Study related correspondence from J. Wine regarding sole lien process (sole lien) (.2)                        0.2 $         78.00 sole lien                                                                                                                              28
 September-21 Claims Administration & Objections             9/20/2021 KBD          390       43030.02 study claimant answers to interrogatories and amended privilege log (Group 1) (.3)                            0.3 $        117.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                       5
                                                                                                                                                                                                                                         Muskegon Avenue
 September-21 Claims Administration & Objections             9/20/2021 KBD          390       43030.03 review communications relating to discovery compliance and exchange related correspondence                    0.2 $         78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                       (Group 1) (.2)                                                                                                                    Muskegon Avenue
 September-21 Claims Administration & Objections             9/20/2021 KBD          390       43030.04 exchange correspondence with A. Porter regarding potential claims and related legal analysis and              0.2 $         78.00 all                                                                                                                                    80
                                                                                                       considerations (all) (.2).
 September-21 Claims Administration & Objections             9/20/2021 JRW          260       43032.01 Additional revisions to single claims process and motion (sole lien) (1.3)                                    1.3 $        338.00 sole lien                                                                                                                              28
 September-21 Claims Administration & Objections             9/20/2021 JRW          260       43032.02 confer with A. Watychowicz regarding supplemental document production from claimant (Group 1)                 0.2 $         52.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                       5
                                                                                                       (.2)                                                                                                                              Muskegon Avenue
 September-21 Claims Administration & Objections             9/20/2021 JRW          260       43032.03 review email exchange between lender's counsel and investor claimants (Group 1) (.2)                          0.2 $         52.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                                                                                                                                                         Muskegon Avenue
 September-21 Claims Administration & Objections             9/20/2021 JRW          260       43032.04 review claimants' standard discovery responses (Group 1) (3.3)                                                3.3 $        858.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                                                                                                                                                         Muskegon Avenue
 September-21 Claims Administration & Objections             9/20/2021 JRW          260       43032.05 correspond with A. Watychowicz regarding claimant production (Group 1) (.1)                                   0.1 $         26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                                                                                                                                                         Muskegon Avenue
 September-21 Claims Administration & Objections             9/20/2021 JRW          260       43032.06 search EB document database and related correspondence with vendor (Group 1) (1.0).                             1 $        260.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                                                                                                                                                         Muskegon Avenue
 September-21 Claims Administration & Objections             9/20/2021 AW           140       43033.01 Attention to email from claimant regarding sold property, review claim, and related email response            0.2 $         28.00 7748-52 S Essex Avenue                                                                                                                 1
                                                                                                       (7748-52 S Essex Avenue) (.2)
 September-21 Claims Administration & Objections             9/20/2021 AW           140       43033.02 email exchange with J. Wine regarding claimant's request for link, research emails, and reach out to          0.3 $         42.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                       claimant with requested link (Group 1) (.3)                                                                                       Muskegon Avenue
 September-21 Claims Administration & Objections             9/20/2021 AW           140       43033.03 attention to and communications with J. Wine regarding supplemental production from claimant,                 1.1 $        154.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                       review production, email exchange and follow up call with J. Wine regarding duplicative and                                       Muskegon Avenue
                                                                                                       incomplete production (Group 1) (1.1).
 September-21 Claims Administration & Objections             9/20/2021 AEP          390       43036.01 Research regarding competing lien claims and interests and prepare e- mails to K. Duff regarding              2.4 $        936.00 all                                                                                                                                    80
                                                                                                       preliminary conclusions (all).
 September-21 Business Operations                            9/21/2021 KBD          390       42139.01 Attention to security renewal, exchange related correspondence, and telephone conference with                 0.2 $          78.00 638-40 N Avers Avenue                                                                                                                 1
                                                                                                       bank representative regarding transfer of funds (638-40 N Avers Avenue) (.2)
 September-21 Business Operations                            9/21/2021 KBD          390       42139.02 exchange correspondence with property manager regarding distribution for properties (6217-27 S                0.2 $          78.00 2129 W 71st Street; 5437 S Laflin Street; 6217-27 S Dorchester Avenue; 6759 S Indiana Avenue                                          4
                                                                                                       Dorchester Avenue, 2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana Avenue) (.2).

 September-21 Business Operations                            9/21/2021 KMP          140       42140.01 Prepare form for funds transfer to property manager for security door installation and related                0.3 $          42.00 638-40 N Avers Avenue                                                                                                                 1
                                                                                                       communications with bank and K. Duff (638-42 N Avers Avenue).
 September-21 Claims Administration & Objections             9/21/2021 KBD          390       43039.01 Exchange correspondence with J. Wine regarding discovery planning (Group 1) (.1)                              0.1 $         39.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                                                                                                                                                         Muskegon Avenue
 September-21 Claims Administration & Objections             9/21/2021 KBD          390       43039.02 study and revise joint motion regarding sole lien process and exchange related correspondence with            0.5 $        195.00 sole lien                                                                                                                              28
                                                                                                       J. Wine regarding (sole lien) (.5).
 September-21 Claims Administration & Objections             9/21/2021 JRW          260       43041.01 Continued review of investor discovery responses and related database searches (Group 1) (3.3)                3.3 $        858.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                                                                                                                                                         Muskegon Avenue
 September-21 Claims Administration & Objections             9/21/2021 JRW          260       43041.02 exchange correspondence with claimants' counsel regarding discovery (Group 1) (.1)                            0.1 $         26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                      5
                                                                                                                                                                                                                                         Muskegon Avenue
 September-21 Claims Administration & Objections             9/21/2021 JRW          260       43041.03 review revisions to draft joint motion regarding process for single claims and related correspondence         0.4 $        104.00 sole lien                                                                                                                              28
                                                                                                       with K. Duff (sole lien) (.4)
 September-21 Claims Administration & Objections             9/21/2021 JRW          260       43041.04 work with database vendor support regarding database issues and training (all) (.7).                          0.7 $        182.00 all                                                                                                                                    80




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EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                           Task Description                                             Task      Task Cost                                                      Property Allocations                                                       Property
                                                                         Keeper                                                                                                                                Hours                                                                                                                                               Allocation
                                                                                                                                                                                                                                                                                                                                                                     Count
 September-21 Asset Disposition                              9/22/2021 KBD          390       41248.01 Exchange correspondence with J. Rak and K. Pritchard regarding post-sale reconciliations (single          0.1 $        39.00 10012 S LaSalle Avenue; 1017 W 102nd Street; 9212 S Parnell Avenue; 9610 S Woodlawn Avenue; 11318 S Church Street; 1401                     41
                                                                                                       family, 1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue, 6217-27 S                               W 109th Place; 1414-18 East 62nd Place; 1422-24 East 68th Street; 1516 E 85th Place; 2129 W 71st Street; 2136 W 83rd
                                                                                                       Dorchester Avenue) (.1)                                                                                                      Street; 310 E 50th Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place; 417 Oglesby Avenue; 5437 S Laflin
                                                                                                                                                                                                                                    Street; 61 E 92nd Street; 6217-27 S Dorchester Avenue; 6554 S Rhodes Avenue; 6759 S Indiana Avenue; 6807 S Indiana
                                                                                                                                                                                                                                    Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7237-43 S Bennett Avenue; 7255-57 S Euclid Avenue; 7712 S Euclid
                                                                                                                                                                                                                                    Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue; 7933 S Kingston Avenue; 7953 S Woodlawn Avenue; 8030 S
                                                                                                                                                                                                                                    Marquette Avenue; 8104 S Kingston Avenue; 8107 S Kingston Avenue; 8346 S Constance Avenue; 8403 S Aberdeen Street;
                                                                                                                                                                                                                                    8405 S Marquette Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street
 September-21 Asset Disposition                              9/22/2021 KBD          390       41248.02 exchange correspondence regarding response to appeal and potential strategy (6949-59 S Merrill            0.4 $      156.00 6949-59 S Merrill Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue                                                               3
                                                                                                       Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue) (.4)
 September-21 Asset Disposition                              9/22/2021 KBD          390       41248.03 work on efforts to resolve water meter issue (638-40 N Avers Avenue) (.1).                                0.1 $       39.00 638-40 N Avers Avenue                                                                                                                         1
 September-21 Asset Disposition                              9/22/2021 KMP          140       41249.01 Work on updates to spreadsheet reflecting post-sale funds reconciliation and related communication        2.1 $      294.00 8104 S Kingston Avenue; 8107 S Kingston Avenue; 8346 S Constance Avenue; 8403 S Aberdeen Street; 8405 S Marquette                            40
                                                                                                       with J. Rak (4750-52 S Indiana Avenue, 7024- 32 S Paxton Avenue, 7840-42 S Yates Avenue, 2800-06 E                          Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell Avenue;
                                                                                                       81st Street, 4611- 17 S Drexel Boulevard, 1414-18 E 62nd Place, 1017 W 102nd Street, 1516 E 85th                            10012 S LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 1414-18 East 62nd Place; 1422-24 East 68th Street;
                                                                                                       Place, 2136 W 83rd Street, 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933                           1516 E 85th Place; 2129 W 71st Street; 2136 W 83rd Street; 2800-06 E 81st Street; 3213 S Throop Street; 3723 W 68th Place;
                                                                                                       S Kingston Avenue, 8030 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405                            406 E 87th Place; 6759 S Indiana Avenue; 6825 S Indiana Avenue; 7024-32 S Paxton Avenue; 7210 S Vernon Avenue; 7712 S
                                                                                                       S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S                                 Euclid Avenue; 7840-42 S Yates Avenue; 7922 S Luella Avenue; 417 Oglesby Avenue; 4611-17 S Drexel Boulevard; 4750-52 S
                                                                                                       LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61                        Indiana Avenue; 5437 S Laflin Street; 61 E 92nd Street; 6217-27 S Dorchester Avenue; 6554 S Rhodes Avenue; 7925 S Kingston
                                                                                                       E 92nd Street, 6554 S Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid                             Avenue; 7933 S Kingston Avenue; 7953 S Woodlawn Avenue; 8030 S Marquette Avenue
                                                                                                       Avenue, 7953 S Woodlawn Avenue, 8107 S Kingston Avenue, 8436 S Constance Avenue, 8432 S Essex
                                                                                                       Avenue, 8517 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana Avenue,
                                                                                                       1422-24 E 68th Street, 6217-27 S Dorchester Avenue) (2.1)
 September-21 Asset Disposition                              9/22/2021 KMP          140       41249.02 communicate with K. Duff and property manager regarding utility invoice received post-sale of             0.2 $        28.00 4750-52 S Indiana Avenue                                                                                                                    1
                                                                                                       property (4750-52 S Indiana Avenue) (.2).
 September-21 Asset Disposition                              9/22/2021 MR           390       41252.01 Begin review of issue regarding appeal and communicate with A. Watychowicz regarding same (6949-          1.4 $      546.00 6949-59 S Merrill Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue                                                               3
                                                                                                       59 S Merrill Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue).
 September-21 Asset Disposition                              9/22/2021 JR           140       41253.01 Review email from K. Duff and K. Pritchard regarding post-closing reconciliation distributions and        1.1 $      154.00 10012 S LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 1401 W 109th Place; 1414-18 East 62nd Place; 1422-24                     41
                                                                                                       update same for single family homes and other various properties (single family, 1422-24 East 68th                          East 68th Street; 1516 E 85th Place; 2129 W 71st Street; 2136 W 83rd Street; 310 E 50th Street; 3213 S Throop Street; 3723 W
                                                                                                       Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester Avenue) (1.1)                               68th Place; 406 E 87th Place; 417 Oglesby Avenue; 5437 S Laflin Street; 61 E 92nd Street; 6217-27 S Dorchester Avenue; 6554
                                                                                                                                                                                                                                   S Rhodes Avenue; 6759 S Indiana Avenue; 6807 S Indiana Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7237-43 S
                                                                                                                                                                                                                                   Bennett Avenue; 7255-57 S Euclid Avenue; 7712 S Euclid Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue; 8104 S
                                                                                                                                                                                                                                   Kingston Avenue; 8107 S Kingston Avenue; 8346 S Constance Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue;
                                                                                                                                                                                                                                   8432 S Essex Avenue; 8517 S Vernon Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 9610 S
                                                                                                                                                                                                                                   Woodlawn Avenue; 7933 S Kingston Avenue; 7953 S Woodlawn Avenue; 8030 S Marquette Avenue
 September-21 Asset Disposition                              9/22/2021 JR           140       41253.02 further communication with K. Pritchard related to post- closing reconciliation distributions (single     0.1 $        14.00 10012 S LaSalle Avenue; 1017 W 102nd Street; 11318 S Church Street; 1401 W 109th Place; 1414-18 East 62nd Place; 1422-24                    41
                                                                                                       family, 1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue, 6217-27 S                               East 68th Street; 1516 E 85th Place; 2129 W 71st Street; 2136 W 83rd Street; 310 E 50th Street; 3213 S Throop Street; 3723 W
                                                                                                       Dorchester Avenue) (.1).                                                                                                     68th Place; 406 E 87th Place; 417 Oglesby Avenue; 5437 S Laflin Street; 61 E 92nd Street; 6217-27 S Dorchester Avenue; 6554
                                                                                                                                                                                                                                    S Rhodes Avenue; 6759 S Indiana Avenue; 6807 S Indiana Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7237-43 S
                                                                                                                                                                                                                                    Bennett Avenue; 7255-57 S Euclid Avenue; 7712 S Euclid Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue; 7933 S
                                                                                                                                                                                                                                    Kingston Avenue; 7953 S Woodlawn Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8107 S Kingston Avenue;
                                                                                                                                                                                                                                    8346 S Constance Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue;
                                                                                                                                                                                                                                    8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 9610 S Woodlawn Avenue
 September-21 Business Operations                            9/22/2021 KBD          390       42148.01 Exchange correspondence regarding waste management invoice and communication with property                0.1 $        39.00 4750-52 S Indiana Avenue                                                                                                                    1
                                                                                                       manager (4750-52 S Indiana Avenue) (.1)
 September-21 Business Operations                            9/22/2021 KBD          390       42148.02 exchange correspondence with K. Pritchard regarding property expense for security (683-40 N Avers         0.1 $        39.00 638-40 N Avers Avenue                                                                                                                       1
                                                                                                       Avenue) (.1).
 September-21 Business Operations                            9/22/2021 JRW          260       42150.01 Study correspondence from corporate counsel regarding administrative proceedings and exhibits             0.5 $      130.00 1414-18 East 62nd Place; 1422-24 East 68th Street; 4750-52 S Indiana Avenue; 7024-32 S Paxton Avenue                                         4
                                                                                                       thereto (1414-18 East 62nd Place, 1422-24 East 68th Street, 4750-52 S Indiana Avenue, 7024-32 S
                                                                                                       Paxton Avenue) (.5)
 September-21 Business Operations                            9/22/2021 JRW          260       42150.02 confer with K. Duff and draft email to corporate counsel in response to correspondence regarding          0.2 $        52.00 1414-18 East 62nd Place; 1422-24 East 68th Street; 4750-52 S Indiana Avenue; 7024-32 S Paxton Avenue                                        4
                                                                                                       administrative orders (1414-18 East 62nd Place, 1422-24 East 68th Street, 4750-52 S Indiana Avenue,
                                                                                                       7024-32 S Paxton Avenue) (.2).
 September-21 Business Operations                            9/22/2021 AW           140       42151.01 Attention to response from creditor and email same to K. Duff and J. Wine and attention to related        0.2 $        28.00 1414-18 East 62nd Place; 1422-24 East 68th Street; 7024-32 S Paxton Avenue                                                                  3
                                                                                                       email exchanges (7024-32 S Paxton Avenue, 1414- 18 East 62nd Place, 1422-24 East 68th Street).

 September-21 Business Operations                            9/22/2021 ED           390       42155.01 Call with accountant to discuss accounting treatment of insurance costs for sold properties and           0.5 $      195.00 7201 S Constance Avenue; 7201-07 S Dorchester Avenue; 7300-04 S St Lawrence Avenue; 7442-54 S Calumet Avenue; 7450 S                         38
                                                                                                       related issues regarding reporting content and presentation (7450 S Luella Avenue, 7546-48 S                                Luella Avenue; 7508 S Essex Avenue; 7546-48 S Saginaw Avenue; 816-22 E Marquette Road; 8201 S Kingston Avenue; 8209 S
                                                                                                       Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-58 S Ellis Avenue, 5450-                           Ellis Avenue; 8214-16 S Ingleside Avenue; 8326-58 S Ellis Avenue; 6355-59 S Talman Avenue; 6356 S California Avenue; 6437-
                                                                                                       52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street,                               41 S Kenwood Avenue; 6554-58 S Vernon Avenue; 6949-59 S Merrill Avenue; 7051 S Bennett Avenue; 7110 S Cornell Avenue;
                                                                                                       8107-09 S Ellis Avenue, 82116 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood                               431 E 42nd Place; 4315-19 S Michigan Avenue; 4520-26 S Drexel Boulevard; 4533-47 S Calumet Avenue; 5450-52 S Indiana
                                                                                                       Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S                                Avenue; 5618-20 S Martin Luther King Drive; 6250 S Mozart Street; 11117-11119 S Longwood Drive; 1131-41 E 79th Place;
                                                                                                       Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street, 6356 S California Avenue, 6355-                             1700-08 W Juneway Terrace; 2736-44 W 64th Street; 3074 E Cheltenham Place; 7600-10 S Kingston Avenue; 7656-58 S
                                                                                                       59 S Talman Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S                                  Kingston Avenue; 7701-03 S Essex Avenue; 7760 S Coles Avenue; 7957-59 S Marquette Road; 8000-02 S Justine Street; 8107-
                                                                                                       Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue,                                 09 S Ellis Avenue
                                                                                                       431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road,
                                                                                                       6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S
                                                                                                       Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).
 September-21 Claims Administration & Objections             9/22/2021 KBD          390       43048.01 Attention to claimant communication and exchange related correspondence (all) (.1)                        0.1 $       39.00 all                                                                                                                                          80
 September-21 Claims Administration & Objections             9/22/2021 KBD          390       43048.02 work on single claim process and exchange various related correspondence (sole lien) (1.5)                1.5 $      585.00 sole lien                                                                                                                                    28
 September-21 Claims Administration & Objections             9/22/2021 KBD          390       43048.03 exchange correspondence regarding claimant discovery (Group 1) (.1)                                       0.1 $       39.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                             5
                                                                                                                                                                                                                                   Muskegon Avenue
 September-21 Claims Administration & Objections             9/22/2021 KBD          390       43048.04 study correspondence from City regarding claims against properties and exchange correspondence            0.2 $       78.00 4750-52 S Indiana Avenue; 7024-32 S Paxton Avenue                                                                                            2
                                                                                                       with J. Wine regarding potential resolution (4750-52 S Indiana Avenue, 7024-32 S Paxton Avenue)
                                                                                                       (.2).
 September-21 Claims Administration & Objections             9/22/2021 JRW          260       43050.01 Attention to claimant inquiries (all) (.1)                                                                0.1 $       26.00 all                                                                                                                                          80
 September-21 Claims Administration & Objections             9/22/2021 JRW          260       43050.02 correspondence with K. Duff and M. Rachlis regarding single claims process, review multiple redlines      2.1 $      546.00 sole lien                                                                                                                                    28
                                                                                                       and further revise motion and proposed process to incorporate comments (sole lien) (2.1)

 September-21 Claims Administration & Objections             9/22/2021 JRW          260       43050.03 continued review of investor discovery responses and related correspondence with A. Watychowicz             3 $      780.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                            5
                                                                                                       (Group 1) (3.0)                                                                                                             Muskegon Avenue
 September-21 Claims Administration & Objections             9/22/2021 AW           140       43051.01 Communicate with K. Duff and J. Wine regarding hearing inquiries from claimant and respond to             0.3 $       42.00 all                                                                                                                                          80
                                                                                                       emails (all) (.3)
 September-21 Claims Administration & Objections             9/22/2021 AW           140       43051.02 attention to email from claimant regarding resolution of claims process and related email response        0.1 $        14.00 all                                                                                                                                         80
                                                                                                       (all) (.1)
 September-21 Claims Administration & Objections             9/22/2021 AW           140       43051.03 communicate with vendor regarding access to online account (all) (.1)                                     0.1 $        14.00 all                                                                                                                                         80



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EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                           Task Description                                              Task      Task Cost                                                       Property Allocations                                                        Property
                                                                         Keeper                                                                                                                                 Hours                                                                                                                                                 Allocation
                                                                                                                                                                                                                                                                                                                                                                        Count
 September-21 Claims Administration & Objections             9/22/2021 AW           140       43051.04 communicate with J. Wine regarding claimants that submitted documents regarding properties from            0.1 $       14.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                              5
                                                                                                       different tranche (Group 1) (.1).                                                                                            Muskegon Avenue
 September-21 Claims Administration & Objections             9/22/2021 MR           390       43052.01 Further review and comment on issues regarding proposals on single lien process and follow up              1.2 $      468.00 sole lien                                                                                                                                      28
                                                                                                       regarding same (sole lien) (1.2)
 September-21 Claims Administration & Objections             9/22/2021 MR           390       43052.02 attention to issues and responses to discovery from Group 1 participants (Group 1) (.4).                   0.4 $      156.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                              5
                                                                                                                                                                                                                                    Muskegon Avenue
 September-21 Asset Disposition                              9/23/2021 KMP          140       41258.01 Work on updates to spreadsheet reflecting post-sale funds reconciliation and related communication         1.1 $      154.00 1401 W 109th Place; 310 E 50th Street; 6807 S Indiana Avenue; 7237-43 S Bennett Avenue; 7255-57 S Euclid Avenue; 9610 S                        6
                                                                                                       with J. Rak (1401 W 109th Place, 310 E 50th Street, 6807 S Indiana Avenue, 9610 S Woodlawn                                   Woodlawn Avenue
                                                                                                       Avenue, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue).
 September-21 Asset Disposition                              9/23/2021 JR           140       41262.01 Exchange correspondence with K. Pritchard regarding post-closing reconciliation distributions (single      0.3 $        42.00 1422-24 East 68th Street; 1516 E 85th Place; 2129 W 71st Street; 2136 W 83rd Street; 310 E 50th Street; 3213 S Throop                         41
                                                                                                       family, 1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue, 6217-27 S                                Street; 3723 W 68th Place; 406 E 87th Place; 417 Oglesby Avenue; 5437 S Laflin Street; 61 E 92nd Street; 6217-27 S Dorchester
                                                                                                       Dorchester Avenue) (.3)                                                                                                       Avenue; 6554 S Rhodes Avenue; 6759 S Indiana Avenue; 6807 S Indiana Avenue; 6825 S Indiana Avenue; 7210 S Vernon
                                                                                                                                                                                                                                     Avenue; 7237-43 S Bennett Avenue; 7255-57 S Euclid Avenue; 7712 S Euclid Avenue; 7922 S Luella Avenue; 7925 S Kingston
                                                                                                                                                                                                                                     Avenue; 7933 S Kingston Avenue; 7953 S Woodlawn Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8107 S
                                                                                                                                                                                                                                     Kingston Avenue; 8346 S Constance Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 8432 S Essex Avenue; 8517 S
                                                                                                                                                                                                                                     Vernon Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 9610 S Woodlawn Avenue; 10012 S LaSalle
                                                                                                                                                                                                                                     Avenue; 1017 W 102nd Street; 11318 S Church Street; 1401 W 109th Place; 1414-18 East 62nd Place
 September-21 Asset Disposition                              9/23/2021 JR           140       41262.02 communicate with property management requesting update to post- closing reconciliation                     0.2 $        28.00 7024-32 S Paxton Avenue; 7237-43 S Bennett Avenue; 7255-57 S Euclid Avenue; 9610 S Woodlawn Avenue; 1401 W 109th                              13
                                                                                                       distributions for various properties (1401 W 109th Place, 310 E 50th Street, 6807 S Indiana Avenue,                           Place; 1414-18 East 62nd Place; 2129 W 71st Street; 310 E 50th Street; 4611-17 S Drexel Boulevard; 5437 S Laflin Street; 6217-
                                                                                                       9610 S Woodlawn Avenue, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue, 7024-32 S Paxton                                   27 S Dorchester Avenue; 6759 S Indiana Avenue; 6807 S Indiana Avenue
                                                                                                       Avenue, 4611-17 S Drexel Boulevard, 1414-18 East 62nd Place, 2129 W 71st Street, 5437 S Laflin
                                                                                                       Street 6759 S Indiana Avenue 6217-27 S Dorchester Avenue) ( 2)
 September-21 Asset Disposition                              9/23/2021 JR           140       41262.03 review email from real estate broker relating to maintenance of property, further communicate with         0.7 $        98.00 1102 Bingham (Houston, TX)                                                                                                                    1
                                                                                                       company requesting maintenance, and further communication with K. Duff regarding next steps
                                                                                                       (1102 Bingham) (.7).
 September-21 Business Operations                            9/23/2021 KBD          390       42157.01 Confer with E. Duff regarding insurance, property allocation, and expense restoration issues and           1.3 $      507.00 4315-19 S Michigan Avenue; 4520-26 S Drexel Boulevard; 4533-47 S Calumet Avenue; 5450-52 S Indiana Avenue; 5618-20 S                           36
                                                                                                       exchange related correspondence (7450 S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston                             Martin Luther King Drive; 6250 S Mozart Street; 6355-59 S Talman Avenue; 7201-07 S Dorchester Avenue; 7300-04 S St
                                                                                                       Avenue, 4520-26 S Drexel Boulevard, 8326-32 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S                              Lawrence Avenue; 7442-54 S Calumet Avenue; 7450 S Luella Avenue; 7508 S Essex Avenue; 7546-48 S Saginaw Avenue; 7600-
                                                                                                       Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis Avenue, 8214-16 S                             10 S Kingston Avenue; 6356 S California Avenue; 6437-41 S Kenwood Avenue; 6554-58 S Vernon Avenue; 6949-59 S Merrill
                                                                                                       Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S St Lawrence                                   Avenue; 7051 S Bennett Avenue; 7110 S Cornell Avenue; 7201 S Constance Avenue; 7656-58 S Kingston Avenue; 7760 S Coles
                                                                                                       Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E                                       Avenue; 7957-59 S Marquette Road; 8000-02 S Justine Street; 8107-09 S Ellis Avenue; 816-22 E Marquette Road; 8201 S
                                                                                                       Cheltenham Place, 2736-44 W 64th Street, 6356 S California Avenue, 6355-59 S Talman Avenue, 5618-                            Kingston Avenue; 8209 S Ellis Avenue; 8214-16 S Ingleside Avenue; 8326-58 S Ellis Avenue; 11117-11119 S Longwood Drive;
                                                                                                       20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W                                   1131-41 E 79th Place; 1700-08 W Juneway Terrace; 2736-44 W 64th Street; 3074 E Cheltenham Place
                                                                                                       Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 7442-54 S Calumet Avenue,
                                                                                                       816-22 E Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan
                                                                                                       Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S
                                                                                                       Mozart Street) (1.3)
 September-21 Business Operations                            9/23/2021 KBD          390       42157.02 attention to property maintenance issue (1102 Bingham) (.2).                                               0.2 $       78.00 1102 Bingham (Houston, TX)                                                                                                                      1
 September-21 Business Operations                            9/23/2021 ED           390       42164.01 Confer with K. Duff regarding allocation of insurance premium costs to certain sold properties (7450       1.2 $      468.00 7508 S Essex Avenue; 7546-48 S Saginaw Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue; 7701-03 S Essex                           38
                                                                                                       S Luella Avenue, 7546-48 S Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard,                               Avenue; 7760 S Coles Avenue; 7957-59 S Marquette Road; 8000-02 S Justine Street; 8107-09 S Ellis Avenue; 816-22 E
                                                                                                       8326-58 S Ellis Avenue, 5450-52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue,                             Marquette Road; 8201 S Kingston Avenue; 11117-11119 S Longwood Drive; 1131-41 E 79th Place; 1700-08 W Juneway
                                                                                                       8000-02 S Justine Street, 8107-09 S Ellis Avenue, 82116 S Ingleside Avenue, 8209 S Ellis Avenue,                             Terrace; 2736-44 W 64th Street; 3074 E Cheltenham Place; 431 E 42nd Place; 4315-19 S Michigan Avenue; 4520-26 S Drexel
                                                                                                       11117-11119 S Longwood Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S                                 Boulevard; 4533-47 S Calumet Avenue; 5450-52 S Indiana Avenue; 5618-20 S Martin Luther King Drive; 6250 S Mozart Street;
                                                                                                       Marquette Road, 7051 S Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street, 6356 S                                6355-59 S Talman Avenue; 6356 S California Avenue; 6437-41 S Kenwood Avenue; 6554-58 S Vernon Avenue; 6949-59 S
                                                                                                       California Avenue, 6355-59 S Talman Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance                             Merrill Avenue; 7051 S Bennett Avenue; 7110 S Cornell Avenue; 7201 S Constance Avenue; 7201-07 S Dorchester Avenue;
                                                                                                       Avenue, 6554-58 S Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508                                8209 S Ellis Avenue; 8214-16 S Ingleside Avenue; 8326-58 S Ellis Avenue; 7300-04 S St Lawrence Avenue; 7442-54 S Calumet
                                                                                                       S Essex Avenue, 431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E                                 Avenue; 7450 S Luella Avenue
                                                                                                       Marquette Road, 6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue,
                                                                                                       7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street)
                                                                                                       (1.2)
 September-21 Business Operations                            9/23/2021 ED           390       46588.01 Cont'd. .. Review and analyze reporting regarding insurance cost allocations and refunds with respect      0.9 $      351.00 6437-41 S Kenwood Avenue; 6554-58 S Vernon Avenue; 6949-59 S Merrill Avenue; 7051 S Bennett Avenue; 3074 E                                     38
                                                                                                       to certain sold properties in preparation for discussion with K. Duff (7450 S Luella Avenue, 7546-48 S                       Cheltenham Place; 431 E 42nd Place; 4315-19 S Michigan Avenue; 4520-26 S Drexel Boulevard; 4533-47 S Calumet Avenue;
                                                                                                       Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-58 S Ellis Avenue, 5450-                            5450-52 S Indiana Avenue; 5618-20 S Martin Luther King Drive; 11117-11119 S Longwood Drive; 1131-41 E 79th Place; 1700-
                                                                                                       52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street,                                08 W Juneway Terrace; 2736-44 W 64th Street; 7110 S Cornell Avenue; 7201 S Constance Avenue; 7201-07 S Dorchester
                                                                                                       8107-09 S Ellis Avenue, 82116 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood                                Avenue; 6250 S Mozart Street; 6355-59 S Talman Avenue; 6356 S California Avenue; 7300-04 S St Lawrence Avenue; 7442-54 S
                                                                                                       Drive, 7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S                                 Calumet Avenue; 7450 S Luella Avenue; 7508 S Essex Avenue; 7546-48 S Saginaw Avenue; 7600-10 S Kingston Avenue; 7656-
                                                                                                       Bennett Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street, 6356 S California Avenue, 6355-                              58 S Kingston Avenue; 7701-03 S Essex Avenue; 7760 S Coles Avenue; 7957-59 S Marquette Road; 8000-02 S Justine Street;
                                                                                                       59 S Talman Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S                                   8107-09 S Ellis Avenue; 816-22 E Marquette Road; 8201 S Kingston Avenue; 8209 S Ellis Avenue; 8214-16 S Ingleside Avenue;
                                                                                                       Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue,                                  8326-58 S Ellis Avenue
                                                                                                       431 E 42nd Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road,
                                                                                                       6949-59 S Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S
                                                                                                       Kingston Avenue, 7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (.9)

 September-21 Business Operations                            9/23/2021 ED           390       46589.01 Cont'd. .. Email correspondence to accountant regarding calculation of insurance costs with respect        0.3 $      117.00 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue; 7701-03 S Essex Avenue; 4533-47 S Calumet Avenue; 5450-52 S                              38
                                                                                                       to sold properties, and preparation of related reporting (7450 S Luella Avenue, 7546-48 S Saginaw                            Indiana Avenue; 5618-20 S Martin Luther King Drive; 6250 S Mozart Street; 6355-59 S Talman Avenue; 6356 S California
                                                                                                       Avenue, 8201 S Kingston Avenue, 4520- 26 S Drexel Boulevard, 8326-58 S Ellis Avenue, 5450-52 S                               Avenue; 6437-41 S Kenwood Avenue; 6554-58 S Vernon Avenue; 6949-59 S Merrill Avenue; 7051 S Bennett Avenue; 7110 S
                                                                                                       Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09                             Cornell Avenue; 7201 S Constance Avenue; 7201-07 S Dorchester Avenue; 7300-04 S St Lawrence Avenue; 8214-16 S Ingleside
                                                                                                       S Ellis Avenue, 82116 S Ingleside Avenue, 8209 S Ellis Avenue, 11117- 11119 S Longwood Drive, 7300-                          Avenue; 8326-58 S Ellis Avenue; 7760 S Coles Avenue; 7957-59 S Marquette Road; 8000-02 S Justine Street; 8107-09 S Ellis
                                                                                                       04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue,                             Avenue; 816-22 E Marquette Road; 8201 S Kingston Avenue; 8209 S Ellis Avenue; 11117-11119 S Longwood Drive; 1131-41 E
                                                                                                       3074 E Cheltenham Place, 2736-44 W 64th Street, 6356 S California Avenue, 6355-59 S Talman                                   79th Place; 1700-08 W Juneway Terrace; 2736-44 W 64th Street; 3074 E Cheltenham Place; 431 E 42nd Place; 4315-19 S
                                                                                                       Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S Vernon Avenue,                                Michigan Avenue; 4520-26 S Drexel Boulevard; 7442-54 S Calumet Avenue; 7450 S Luella Avenue; 7508 S Essex Avenue; 7546-
                                                                                                       1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place,                               48 S Saginaw Avenue
                                                                                                       7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816- 22 E Marquette Road, 6949-59 S Merrill
                                                                                                       Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-
                                                                                                       58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (.3).
 September-21 Claims Administration & Objections             9/23/2021 KBD          390       43057.01 Study and revise several drafts of sole lien claims process and exchange various related                   1.6 $      624.00 sole lien                                                                                                                                      28
                                                                                                       correspondence with M. Rachlis and J. Wine (sole lien) (1.6)
 September-21 Claims Administration & Objections             9/23/2021 KBD          390       43057.02 telephone conference with J. Wine regarding sole lien properties, claims analysis, and barriers            0.3 $      117.00 sole lien                                                                                                                                      28
                                                                                                       related issues (sole lien) (.3)
 September-21 Claims Administration & Objections             9/23/2021 KBD          390       43057.03 review Collateral Agency Servicing Agreement issue, analysis of issue, and various related                 0.2 $       78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                              5
                                                                                                       correspondence (Group 1) (.2)                                                                                                Muskegon Avenue
 September-21 Claims Administration & Objections             9/23/2021 KBD          390       43057.04 study hearing transcript and telephone conference with J. Wine regarding claims analysis issue (all)       0.3 $      117.00 all                                                                                                                                            80
                                                                                                       (.3)
 September-21 Claims Administration & Objections             9/23/2021 KBD          390       43057.05 exchange correspondence with A. Watychowicz regarding service issue for claimants and tracking             0.1 $       39.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                              5
                                                                                                       discovery (Group 1) (.1).                                                                                                    Muskegon Avenue
 September-21 Claims Administration & Objections             9/23/2021 JRW          260       43059.01 Additional revisions to single claims process and related correspondence (sole lien) (.8)                  0.8 $      208.00 sole lien                                                                                                                                      28


                                                                                                                                                                                    32 of 35
                                                                                                                               Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 198 of 200 PageID #:34134




EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                             Task Description                                         Task      Task Cost                                                      Property Allocations                                                    Property
                                                                         Keeper                                                                                                                              Hours                                                                                                                                            Allocation
                                                                                                                                                                                                                                                                                                                                                                Count
 September-21 Claims Administration & Objections             9/23/2021 JRW          260       43059.02 exchange correspondence with A. Watychowicz regarding investor discovery relating to other groups       0.2 $        52.00 all                                                                                                                                      80
                                                                                                       (all) (.2)
 September-21 Claims Administration & Objections             9/23/2021 JRW          260       43059.03 exchange correspondence with A. Porter regarding factual analysis of discovery materials (all) (.2)     0.2 $        52.00 all                                                                                                                                      80

 September-21 Claims Administration & Objections             9/23/2021 JRW          260       43059.04 conference call with claimants' counsel and SEC regarding discovery (Group 1) (.5)                      0.5 $      130.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                 Muskegon Avenue
 September-21 Claims Administration & Objections             9/23/2021 JRW          260       43059.05 review transcript of proceedings and related email to K. Duff (all) (.2)                                0.2 $       52.00 all                                                                                                                                       80
 September-21 Claims Administration & Objections             9/23/2021 JRW          260       43059.06 continued review of investor discovery responses (Group 1) (1.6)                                        1.6 $      416.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                 Muskegon Avenue
 September-21 Claims Administration & Objections             9/23/2021 JRW          260       43059.07 review email regarding discovery deficiencies from claimants' counsel and confer with A.                0.1 $       26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       Watychowicz regarding follow-up email to investors (Group 1) (.1)                                                         Muskegon Avenue
 September-21 Claims Administration & Objections             9/23/2021 JRW          260       43059.08 review records in database and related correspondence with A. Watychowicz regarding claim form          0.1 $       26.00 all                                                                                                                                       80
                                                                                                       (all) (.1)
 September-21 Claims Administration & Objections             9/23/2021 MR           390       43061.01 Attention to issues and edits on motion regarding single lien issues (sole lien).                       0.3 $      117.00 sole lien                                                                                                                                 28
 September-21 Claims Administration & Objections             9/23/2021 JRW          260       43104.02 continued review of investor discovery responses and productions (Group 1) (1.9).                       1.9 $      494.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                 Muskegon Avenue
 September-21 Asset Disposition                              9/24/2021 KBD          390       41266.01 Exchange correspondence with A. Porter regarding communication with City officials regarding water      0.2 $       78.00 638-40 N Avers Avenue                                                                                                                     1
                                                                                                       meter issue and efforts to close sale of property (638-40 N Avers Avenue) (.2)

 September-21 Asset Disposition                              9/24/2021 KBD          390       41266.02 exchange correspondence with property manager regarding post-sale reconciliation of funds (1422-        0.3 $      117.00 1422-24 East 68th Street; 6217-27 S Dorchester Avenue; 7237-43 S Bennett Avenue; 7255-57 S Euclid Avenue                                  4
                                                                                                       24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester
                                                                                                       Avenue) (.3).
 September-21 Asset Disposition                              9/24/2021 KMP          140       41267.01 Attention to communication from property manager regarding post-sale reconciliation (2129 W 71st        0.1 $        14.00 2129 W 71st Street; 4611-17 S Drexel Boulevard; 5437 S Laflin Street; 6217-27 S Dorchester Avenue; 6759 S Indiana Avenue;                6
                                                                                                       Street, 5437 S Laflin Street, 6759 S Indiana Avenue, 6217-27 S Dorchester Avenue, 7024-32 S Paxton                         7024-32 S Paxton Avenue
                                                                                                       Avenue, 4611-17 S Drexel Boulevard) (.1)
 September-21 Asset Disposition                              9/24/2021 KMP          140       41267.02 review bank records for account numbers relating to post-sale reconciliation and related                0.4 $        56.00 2129 W 71st Street; 4611-17 S Drexel Boulevard; 5437 S Laflin Street; 6217-27 S Dorchester Avenue; 6759 S Indiana Avenue;                6
                                                                                                       communication with K. Duff (2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana Avenue, 6217-                         7024-32 S Paxton Avenue
                                                                                                       27 S Dorchester Avenue, 7024-32 S Paxton Avenue, 4611-17 S Drexel Boulevard) (.4).

 September-21 Business Operations                            9/24/2021 KBD          390       42166.01 Exchange correspondence with vendor regarding property maintenance and attention to expense             0.2 $        78.00 1102 Bingham (Houston, TX)                                                                                                               1
                                                                                                       payment (1102 Bingham) (.2)
 September-21 Business Operations                            9/24/2021 KBD          390       42166.02 confer with accounting firm representatives and E. Duff regarding expense accounting, property          1.3 $      507.00 7508 S Essex Avenue; 8209 S Ellis Avenue; 8214-16 S Ingleside Avenue; 8326-58 S Ellis Avenue; 7546-48 S Saginaw Avenue;                   38
                                                                                                       spreadsheets, and expense reimbursement issues (7450 S Luella Avenue, 7546-48 S Saginaw Avenue,                           7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue; 7701-03 S Essex Avenue; 7760 S Coles Avenue; 7957-59 S Marquette
                                                                                                       8201 S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-58 S Ellis Avenue, 5450-52 S Indiana                             Road; 8000-02 S Justine Street; 7110 S Cornell Avenue; 7201 S Constance Avenue; 7201-07 S Dorchester Avenue; 7300-04 S St
                                                                                                       Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis                          Lawrence Avenue; 7442-54 S Calumet Avenue; 7450 S Luella Avenue; 3074 E Cheltenham Place; 431 E 42nd Place; 4315-19 S
                                                                                                       Avenue, 82116 S Ingleside Avenue, 8209 S Ellis Avenue, 11117- 11119 S Longwood Drive, 7300-04 S St                        Michigan Avenue; 4520-26 S Drexel Boulevard; 4533-47 S Calumet Avenue; 5450-52 S Indiana Avenue; 5618-20 S Martin
                                                                                                       Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett Avenue, 3074 E                           Luther King Drive; 11117-11119 S Longwood Drive; 1131-41 E 79th Place; 1700-08 W Juneway Terrace; 2736-44 W 64th Street;
                                                                                                       Cheltenham Place, 2736-44 W 64th Street, 6356 S California Avenue, 6355-59 S Talman Avenue, 5618-                         6250 S Mozart Street; 6355-59 S Talman Avenue; 6356 S California Avenue; 6437-41 S Kenwood Avenue; 6554-58 S Vernon
                                                                                                       20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S Vernon Avenue, 1700-08 W                                Avenue; 6949-59 S Merrill Avenue; 7051 S Bennett Avenue; 8107-09 S Ellis Avenue; 816-22 E Marquette Road; 8201 S
                                                                                                       Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd Place, 7701-03 S                            Kingston Avenue
                                                                                                       Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S Merrill Avenue, 4533-
                                                                                                       47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston
                                                                                                       Avenue, 1131-41 E 79th Place, 6250 S Mozart Street) (1.3)
 September-21 Business Operations                            9/24/2021 KBD          390       42166.03 study correspondence from property manager regarding post-sale fund distributions (single family,       0.2 $        78.00 2129 W 71st Street; 2136 W 83rd Street; 310 E 50th Street; 3213 S Throop Street; 3723 W 68th Place; 406 E 87th Place; 417                41
                                                                                                       1422-24 East 68th Street, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue, 6217-27 S Dorchester                          Oglesby Avenue; 5437 S Laflin Street; 61 E 92nd Street; 6217-27 S Dorchester Avenue; 6554 S Rhodes Avenue; 6759 S Indiana
                                                                                                       Avenue) (.2)                                                                                                               Avenue; 6807 S Indiana Avenue; 6825 S Indiana Avenue; 7210 S Vernon Avenue; 7237-43 S Bennett Avenue; 7255-57 S Euclid
                                                                                                                                                                                                                                  Avenue; 7712 S Euclid Avenue; 7922 S Luella Avenue; 7925 S Kingston Avenue; 10012 S LaSalle Avenue; 1017 W 102nd Street;
                                                                                                                                                                                                                                  11318 S Church Street; 1401 W 109th Place; 1414-18 East 62nd Place; 1422-24 East 68th Street; 1516 E 85th Place; 7933 S
                                                                                                                                                                                                                                  Kingston Avenue; 7953 S Woodlawn Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8107 S Kingston Avenue;
                                                                                                                                                                                                                                  8346 S Constance Avenue; 8403 S Aberdeen Street; 8405 S Marquette Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue;
                                                                                                                                                                                                                                  8529 S Rhodes Avenue; 8800 S Ada Street; 9212 S Parnell Avenue; 9610 S Woodlawn Avenue
 September-21 Business Operations                            9/24/2021 KBD          390       42166.04 attention to gas bill and exchange related correspondence (1401 W 109th Place) (.1).                    0.1 $        39.00 1401 W 109th Place                                                                                                                       1
 September-21 Business Operations                            9/24/2021 KMP          140       42167.01 Attention to communication from provider regarding fees for property maintenance services (1102         0.1 $        14.00 1102 Bingham (Houston, TX)                                                                                                               1
                                                                                                       Bingham) (.1)
 September-21 Business Operations                            9/24/2021 KMP          140       42167.02 prepare form for funds transfer to provider for property maintenance services and related               0.3 $        42.00 1102 Bingham (Houston, TX)                                                                                                               1
                                                                                                       communications with K. Duff (1102 Bingham) (.3).
 September-21 Business Operations                            9/24/2021 JRW          260       42168.01 Telephone conference with plaintiff's counsel regarding negotiation of settlement and related           0.3 $        78.00 7110 S Cornell Avenue                                                                                                                    1
                                                                                                       correspondence to insurer (7110 S Cornell Avenue).
 September-21 Business Operations                            9/24/2021 ED           390       42173.01 Conference call with accountants and K. Duff to discuss allocation of costs for insurance and other     1.3 $      507.00 11117-11119 S Longwood Drive; 1131-41 E 79th Place; 431 E 42nd Place; 4315-19 S Michigan Avenue; 4520-26 S Drexel                         38
                                                                                                       amounts paid by Receivership for the benefit of sold properties (7450 S Luella Avenue, 7546-48 S                          Boulevard; 4533-47 S Calumet Avenue; 5450-52 S Indiana Avenue; 5618-20 S Martin Luther King Drive; 6250 S Mozart Street;
                                                                                                       Saginaw Avenue, 8201 S Kingston Avenue, 4520-26 S Drexel Boulevard, 8326-58 S Ellis Avenue, 5450-                         1700-08 W Juneway Terrace; 2736-44 W 64th Street; 3074 E Cheltenham Place; 7600-10 S Kingston Avenue; 7201 S Constance
                                                                                                       52 S Indiana Avenue, 6437-41 S Kenwood Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street,                             Avenue; 7201-07 S Dorchester Avenue; 7300-04 S St Lawrence Avenue; 7442-54 S Calumet Avenue; 7450 S Luella Avenue;
                                                                                                       8107-09 S Ellis Avenue, 8216 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive,                       6355-59 S Talman Avenue; 6356 S California Avenue; 6437-41 S Kenwood Avenue; 6554-58 S Vernon Avenue; 6949-59 S
                                                                                                       7300-04 S St Lawrence Avenue, 7110 S Cornell Avenue, 7957-59 S Marquette Road, 7051 S Bennett                             Merrill Avenue; 7051 S Bennett Avenue; 7110 S Cornell Avenue; 7508 S Essex Avenue; 7546-48 S Saginaw Avenue; 7656-58 S
                                                                                                       Avenue, 3074 E Cheltenham Place, 2736-44 W 64th Street, 6356 S California Avenue, 6355-59 S                               Kingston Avenue; 7701-03 S Essex Avenue; 7760 S Coles Avenue; 7957-59 S Marquette Road; 8000-02 S Justine Street; 8107-
                                                                                                       Talman Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S Vernon                              09 S Ellis Avenue; 816-22 E Marquette Road; 8201 S Kingston Avenue; 8209 S Ellis Avenue; 8214-16 S Ingleside Avenue; 8326-
                                                                                                       Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 7508 S Essex Avenue, 431 E 42nd                           58 S Ellis Avenue
                                                                                                       Place, 7701-03 S Essex Avenue, 7442-54 S Calumet Avenue, 816-22 E Marquette Road, 6949-59 S
                                                                                                       Merrill Avenue, 4533-47 S Calumet Avenue, 4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue,
                                                                                                       7656-58 S Kingston Avenue, 1131-41 E 79th Place, 6250 S Mozart Street).
 September-21 Claims Administration & Objections             9/24/2021 KBD          390       43066.01 Study and revise sole lien claims process and exchange various related correspondence with J. Wine      0.7 $      273.00 sole lien                                                                                                                                 28
                                                                                                       (sole lien).
 September-21 Claims Administration & Objections             9/24/2021 JRW          260       43068.01 Exchange correspondence with claimants' counsel regarding discovery dispute (Group 1) (.1)              0.1 $       26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                 Muskegon Avenue
 September-21 Claims Administration & Objections             9/24/2021 JRW          260       43068.02 final revisions to single claims process and related email to claimants' counsel (sole lien) (.4)       0.4 $      104.00 sole lien                                                                                                                                 28

 September-21 Claims Administration & Objections             9/24/2021 JRW          260       43068.03 telephone conference with SEC regarding discovery (Group 1) (.2)                                        0.2 $       52.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                 Muskegon Avenue
 September-21 Claims Administration & Objections             9/24/2021 JRW          260       43068.04 correspondence to SEC regarding production documents (Group 1) (.3)                                     0.3 $       78.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                 Muskegon Avenue
 September-21 Claims Administration & Objections             9/24/2021 JRW          260       43068.05 study interrogatory answers and update chronology (Group 1) (1.0)                                         1 $      260.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                 Muskegon Avenue
 September-21 Claims Administration & Objections             9/24/2021 JRW          260       43068.06 correspondence regarding proof of claim and database (all) (.1).                                        0.1 $       26.00 all                                                                                                                                       80
 September-21 Claims Administration & Objections             9/24/2021 AW           140       43069.01 Communicate with vendor regarding claimant's proof of claim and substitute corrupted file in            0.5 $       70.00 all                                                                                                                                       80
                                                                                                       updated files from vendor (all) (.5)
 September-21 Claims Administration & Objections             9/24/2021 AW           140       43069.02 research and email exchanges with SEC (Group 1) (.4).                                                   0.4 $        56.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                        5
                                                                                                                                                                                                                                  Muskegon Avenue



                                                                                                                                                                                       33 of 35
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EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                          Task Description                                              Task        Task Cost                                                      Property Allocations                                                      Property
                                                                         Keeper                                                                                                                                Hours                                                                                                                                                Allocation
                                                                                                                                                                                                                                                                                                                                                                      Count
 September-21 Asset Disposition                              9/27/2021 KMP          140       41294.01 Review property accounts to follow up on post-sale distribution of funds from property manager            0.2 $          28.00 4611-17 S Drexel Boulevard; 7024-32 S Paxton Avenue                                                                                        2
                                                                                                       (7024-32 S Paxton Avenue, 4611-17 S Drexel Boulevard).
 September-21 Asset Disposition                              9/27/2021 JR           140       41298.01 review email from K. Duff related to property tax balance and arrange payment of same, further            0.2 $          28.00 638-40 N Avers Avenue                                                                                                                      1
                                                                                                       communication with K. Pritchard regarding payment information for property tax payment (638-40 N
                                                                                                       Avers Avenue) (.2).
 September-21 Asset Disposition                              9/27/2021 JR           140       41298.02 Exchange communication with K. Pritchard, property management requesting updates to post-                 0.2 $          28.00 1401 W 109th Place; 1414-18 East 62nd Place; 2129 W 71st Street; 310 E 50th Street; 5437 S Laflin Street; 6217-27 S                        11
                                                                                                       closing reconciliation distributions (1401 W 109th Place, 310 E 50th Street, 6807 S Indiana Avenue,                            Dorchester Avenue; 6759 S Indiana Avenue; 6807 S Indiana Avenue; 7237-43 S Bennett Avenue; 7255-57 S Euclid Avenue;
                                                                                                       9610 S Woodlawn Avenue, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue, 1414-18 East 62nd                                   9610 S Woodlawn Avenue
                                                                                                       Place, 2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana Avenue, 6217-27 S Dorchester Avenue)
                                                                                                       ( 2)
 September-21 Asset Disposition                              9/27/2021 JR           140       41298.03 follow up communication with A. Porter regarding water balance issue pertaining to closing on             0.2 $          28.00 638-40 N Avers Avenue                                                                                                                      1
                                                                                                       property (638-40 N Avers Avenue) (.2)
 September-21 Business Operations                            9/27/2021 KBD          390       42193.01 Attention to payment for property maintenance services (1102 Bingham) (.2)                                0.2 $          78.00 1102 Bingham (Houston, TX)                                                                                                                 1
 September-21 Business Operations                            9/27/2021 KBD          390       42193.02 work on resolution of personal injury claim (7110 S Cornell Avenue) (.1).                                 0.1 $          39.00 7110 S Cornell Avenue                                                                                                                      1
 September-21 Business Operations                            9/27/2021 KMP          140       42194.01 Prepare form for funds transfer to provider regarding fees for property services and related              0.3 $          42.00 1102 Bingham (Houston, TX)                                                                                                                 1
                                                                                                       communications with bank representative and K. Duff (1102 Bingham) (.3)
 September-21 Business Operations                            9/27/2021 KMP          140       42194.02 effectuate funds transfer and online payment of property taxes and related communication with K.          0.4 $          56.00 1102 Bingham (Houston, TX)                                                                                                                 1
                                                                                                       Duff and J. Rak (1102 Bingham) (.4).
 September-21 Business Operations                            9/27/2021 JRW          260       42195.01 Review form release from counsel in personal injury matter and related review of records and email        0.3 $          78.00 7110 S Cornell Avenue                                                                                                                      1
                                                                                                       exchange with counsel and insurer (7110 S Cornell Avenue).
 September-21 Business Operations                            9/27/2021 AW           140       42196.01 Draft notice of receivership to creditor and related email to K. Duff and J. Wine (defer).                0.4 $          56.00 exclude/defer                                                                                                                              0
 September-21 Business Operations                            9/27/2021 JR           140       42198.01 Review email from account analyst and communicate with property management related to request             0.2 $          28.00 7109-19 S Calumet Avenue                                                                                                                   1
                                                                                                       for property information regarding to property insurance renewal (7109-19 S Calumet Avenue).

 September-21 Business Operations                            9/27/2021 SZ           110       42201.01 Attention to repair expenses associated with properties and email communication with the Receiver         0.2 $          22.00 8209 S Ellis Avenue; 8326-58 S Ellis Avenue; 11117-11119 S Longwood Drive; 1401 W 109th Place; 1700-08 W Juneway                           27
                                                                                                       related to those expenses (7255-57 Euclid Avenue, 7109-19 S Calumet Avenue, 7237-43 S Bennett                                  Terrace; 2736-44 W 64th Street; 310 E 50th Street; 4315-19 S Michigan Avenue; 5618-20 S Martin Luther King Drive; 6250 S
                                                                                                       Avenue, 7600-10 S Kingston Avenue, 4317-19 S Michigan Avenue, 638-40 N Avers Avenue, 7656-58 S                                 Mozart Street; 6355-59 S Talman Avenue; 6356 S California Avenue; 638-40 N Avers Avenue; 6554-58 S Vernon Avenue; 6749-
                                                                                                       Kingston Avenue, 6356-58 S California Avenue, 7201-07 S Dorchester Avenue, 1700-08 Juneway                                     59 S Merrill Avenue; 6807 S Indiana Avenue; 7109-19 S Calumet Avenue; 7201 S Constance Avenue; 7201-07 S Dorchester
                                                                                                       Terrace, 5618-20 S Martin Luther King Drive, 7957-59 S Marquette Ave, 6357-59 S Talman Avenue,                                 Avenue; 7237-43 S Bennett Avenue; 7255-57 S Euclid Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue; 7760 S
                                                                                                       2736 W 64th Street, 7201-09 S Constance Avenue, 1401 W 109th Place, 6807 S Indiana Avenue, 310 E                               Coles Avenue; 7957-59 S Marquette Road; 8000-02 S Justine Street; 8107-09 S Ellis Avenue
                                                                                                       50th Street, 6250 S Mozart Avenue, 11117-19 S Longwood Drive, 416-24 E 66th Street, 8334 S Ellis
                                                                                                       Avenue, 8000 -02 S Justine Street, 7760 S Coles Avenue, 8107-09 S Ellis Avenue, 8209 S Ellis Avenue,
                                                                                                       6749-59 S Merrill Avenue).
 September-21 Claims Administration & Objections             9/27/2021 JRW          260       43095.01 Email exchange with claimants' counsel regarding standard discovery responses (Group 1) (.1)              0.1 $          26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                      Muskegon Avenue
 September-21 Claims Administration & Objections             9/27/2021 JRW          260       43095.02 telephone conference with claimants' counsel regarding proofs of claim and related email exchange         0.2 $          52.00 all                                                                                                                                        80
                                                                                                       (all) (.2)
 September-21 Claims Administration & Objections             9/27/2021 JRW          260       43095.03 review investor discovery responses (Group 1) (.5).                                                       0.5 $        130.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                     Muskegon Avenue
 September-21 Claims Administration & Objections             9/27/2021 AW           140       43096.01 Email response to claimant's voice message (all).                                                         0.2 $         28.00 all                                                                                                                                         80
 September-21 Asset Disposition                              9/28/2021 KBD          390       41302.01 Review communications with City officials and exchange correspondence with A. Porter regarding            0.3 $        117.00 638-40 N Avers Avenue                                                                                                                        1
                                                                                                       efforts to move City forward on water meter issue (638-40 N Avers Avenue) (.3)
 September-21 Asset Disposition                              9/28/2021 KBD          390       41302.02 attention to post-sale reconciliation of funds (1401 W 109th Place, 310 E 50th Street, 6807 S Indiana     0.2 $          78.00 6759 S Indiana Avenue; 6807 S Indiana Avenue; 7237-43 S Bennett Avenue; 7255-57 S Euclid Avenue; 9610 S Woodlawn                           11
                                                                                                       Avenue, 9610 S Woodlawn Avenue, 7255-57 S Euclid Avenue, 7237-43 S Bennett Avenue, 1414-18                                     Avenue; 1401 W 109th Place; 1414-18 East 62nd Place; 2129 W 71st Street; 310 E 50th Street; 5437 S Laflin Street; 6217-27 S
                                                                                                       East 62nd Place, 2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana Avenue, 6217-27 S                                    Dorchester Avenue
                                                                                                       Dorchester Avenue) (.2).
 September-21 Asset Disposition                              9/28/2021 KMP          140       41303.01 Further follow up on property accounts to verify post-sale distribution of funds from property            0.5 $          70.00 4611-17 S Drexel Boulevard; 7024-32 S Paxton Avenue                                                                                        2
                                                                                                       manager, update spreadsheet, and related communication with property manager and J. Rak (7024-
                                                                                                       32 S Paxton Avenue, 4611-17 S Drexel Boulevard).
 September-21 Asset Disposition                              9/28/2021 AEP          390       41308.01 Prepare e-mail to City of Chicago Water Department explaining inaccurate water charges associated         0.2 $          78.00 638-40 N Avers Avenue                                                                                                                      1
                                                                                                       with receivership property and seeking assistance with resolution of impasse to sale (638-40 N Avers
                                                                                                       Avenue).
 September-21 Business Operations                            9/28/2021 SZ           110       42210.01 Attention to repair expenses associated with other properties and email communication with the            0.3 $          33.00 8030 S Marquette Avenue; 8107 S Kingston Avenue; 816-22 E Marquette Road; 8201 S Kingston Avenue; 8346 S Constance                         46
                                                                                                       Receiver related to those expenses (7051 S Bennett Avenue, 417 Oglesby Avenue, 1516 E 85th Place,                              Avenue; 8432 S Essex Avenue; 8517 S Vernon Avenue; 8529 S Rhodes Avenue; 8800 S Ada Street; 10012 S LaSalle Avenue;
                                                                                                       2136 W 83rd Street, 7922 S Luella Avenue, 8030 S Marquette Avenue, 8529 S Rhodes Avenue, 8800 S                                1017 W 102nd Street; 1131-41 E 79th Place; 7442-54 S Calumet Avenue; 7450 S Luella Avenue; 7508 S Essex Avenue; 7701-03
                                                                                                       Ada Street, 9212 S Parnell Avenue, 61 E 92nd Street, 3213 S Throop Street, 6825 S Indiana Avenue,                              S Essex Avenue; 7712 S Euclid Avenue; 7749-59 S Yates Boulevard; 6437-41 S Kenwood Avenue; 6825 S Indiana Avenue; 6949-
                                                                                                       7712 S Euclid Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517                               59 S Merrill Avenue; 7024-32 S Paxton Avenue; 7051 S Bennett Avenue; 7110 S Cornell Avenue; 4611-17 S Drexel Boulevard;
                                                                                                       S Vernon Avenue, 11318 S Church Street, 1131-41 E 79th Place, 4520-26 S Drexell Boulevard, 4611-17                             4750-52 S Indiana Avenue; 5437 S Laflin Street; 5450-52 S Indiana Avenue; 61 E 92nd Street; 6217-27 S Dorchester Avenue;
                                                                                                       S Drexel Boulevard, 5450-52 S Indiana Avenue, 6217-27 S Dorchester Avenue, 6437-41 S Kenwood                                   9212 S Parnell Avenue; 2800-06 E 81st Street; 3074 E Cheltenham Place; 3213 S Throop Street; 417 Oglesby Avenue; 4520-26
                                                                                                       Avenue, 7024-32 S Paxton Avenue, 7110-16 S Cornell Avenue, 7836 S Shore Drive, 1422-24 E 68th                                  S Drexel Boulevard; 4533-47 S Calumet Avenue; 11318 S Church Street; 1414-18 East 62nd Place; 1422-24 East 68th Street;
                                                                                                       Street, 2800-06 E 81st Street, 4750-52 S Indiana Avenue, 7840-42 S Yates Avenue, 816-20 E                                      1516 E 85th Place; 2129 W 71st Street; 2136 W 83rd Street; 7840-42 S Yates Avenue; 7922 S Luella Avenue; 7925 S Kingston
                                                                                                       Marquette Road, 1017 W 102nd Street, 1414 & 1418 East 62nd Place, 2129 W 71st Street, 2220 E                                   Avenue
                                                                                                       75th Street, 2453-59 E 75th Street, 4533-47 S Calumet Avenue, 5437 S Laflin Street, 6949-59 S Merrill
                                                                                                       Avenue, 7442-48 S Calumet Avenue, 7701-03 S Essex Avenue, 7749-59 S Yates Boulevard, 7925 S
                                                                                                       Kingston Avenue, 8201 S Kingston Avenue, 10012 S LaSalle Avenue).
 September-21   Claims Administration & Objections           9/28/2021   KBD        390       43102.01 Telephone conference with claimant regarding claims process and various issues (all).                     0.3   $      117.00  all                                                                                                                                        80
 September-21   Claims Administration & Objections           9/28/2021   JRW        260       43104.01 Exchange correspondence with A. Watychowicz regarding investor inquiry (all) (.1)                         0.1   $       26.00  all                                                                                                                                        80
 September-21   Claims Administration & Objections           9/28/2021   AW         140       43105.01 review shared folder from claimant and related email to J. Wine (all) (.1).                               0.1   $       14.00  all                                                                                                                                        80
 September-21   Claims Administration & Objections           9/28/2021   AW         140       43105.02 Attention to served supplemental requests and responses to same and follow up regarding                   0.5   $       70.00  3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                       subpoenas to third parties (Group 1) (.5)                                                                                      Muskegon Avenue
 September-21 Claims Administration & Objections             9/28/2021 AW           140       43105.03 email claimant requested claims documents (1700-08 Juneway Terrace, 4533-47 S Calumet Avenue,             0.2 $          28.00 1700-08 W Juneway Terrace; 4533-47 S Calumet Avenue; 6001-05 S Sacramento Avenue ; 7026-42 S Cornell Avenue                                4
                                                                                                       6001-05 S Sacramento Avenue, 7026-42 S Cornell Avenue) (.2)
 September-21 Business Operations                            9/29/2021 KBD          390       42211.01 Attention to third party request for access to EB documents database (defer).                             0.2 $          78.00 exclude/defer                                                                                                                              0
 September-21 Business Operations                            9/29/2021 KMP          140       42212.01 Effectuate online payment of property taxes and related communications with K. Duff and J. Rak (638-      0.3 $          42.00 638-40 N Avers Avenue                                                                                                                      1
                                                                                                       40 N Avers Avenue).
 September-21 Claims Administration & Objections             9/29/2021 JRW          260       43113.01 Continued review of investor discovery responses and documents (Group 1) (1.4)                            1.4 $        364.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                           5
                                                                                                                                                                                                                                     Muskegon Avenue
 September-21 Claims Administration & Objections             9/29/2021 JRW          260       43113.02 review and work with K. Duff to revise draft motion for leave to serve subpoena and subpoena rider        0.7 $        182.00 exclude/defer                                                                                                                               0
                                                                                                       (defer) (.7).
 September-21 Claims Administration & Objections             9/29/2021 AW           140       43114.01 Correspond with J. Wine regarding subpoenas served on third parties in standard discovery (Group 1)       0.1 $          14.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                       (.1)                                                                                                                           Muskegon Avenue
 September-21 Claims Administration & Objections             9/29/2021 AW           140       43114.02 review J. Wine chart and start review of standard discovery responses (Group 1) (.7).                     0.7 $          98.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                          5
                                                                                                                                                                                                                                      Muskegon Avenue




                                                                                                                                                                                  34 of 35
                                                                                                                             Case: 1:18-cv-05587 Document #: 1087 Filed: 11/15/21 Page 200 of 200 PageID #:34136




EquityBuild - Fee Application Property Allocation Project
Fee Application 13 Property Allocation Details
09 Nov 2021

Invoice Month               Billing Category                Entry Date    Time    Rate    Task Entry ID                                          Task Description                                             Task      Task Cost                                                    Property Allocations                                                      Property
                                                                         Keeper                                                                                                                               Hours                                                                                                                                            Allocation
                                                                                                                                                                                                                                                                                                                                                                 Count
 September-21 Asset Disposition                              9/30/2021 KMP          140       41321.01 Review property accounts and update spreadsheet relating to property manager's deposits of post-         1.3 $      182.00 7748-52 S Essex Avenue; 7760 S Coles Avenue; 7927-49 S Essex Avenue; 7957-59 S Marquette Road; 7109-19 S Calumet                          39
                                                                                                       sale reconciliation funds and related communications with J. Rak (6160-6212 S Martin Luther King                           Avenue; 7201 S Constance Avenue; 7201-07 S Dorchester Avenue; 7237-43 S Bennett Avenue; 8107-09 S Ellis Avenue; 8209 S
                                                                                                       Drive, 7927-29 S Essex Avenue, 7933-35 S Essex Avenue, 7937-39 S Essex Avenue, 7943-45 S Essex                             Ellis Avenue; 8214-16 S Ingleside Avenue; 8326-58 S Ellis Avenue; 9610 S Woodlawn Avenue; 6001-05 S Sacramento Avenue ;
                                                                                                       Avenue, 7947-49 S Essex Avenue, 5955 S Sacramento Avenue, 6001-05 S Sacramento Avenue, 7026-                               6160-6212 S Martin Luther King Drive; 6250 S Mozart Street; 6355-59 S Talman Avenue; 6356 S California Avenue; 638-40 N
                                                                                                       42 S Cornell Avenue, 2909-19 E 78th Street, 7748-52 S Essex Avenue, 701-13 S 5th Avenue, 6749-59 S                         Avers Avenue; 6554-58 S Vernon Avenue; 6749-59 S Merrill Avenue; 6807 S Indiana Avenue; 701-13 S 5th Avenue; 7026-42 S
                                                                                                       Merrill Avenue, 7546-48 S Saginaw Avenue, 8326-32 S Ellis Avenue, 8334-40 S Ellis Avenue, 8342-50 S                        Cornell Avenue; 11117-11119 S Longwood Drive; 1401 W 109th Place; 1700-08 W Juneway Terrace; 8000-02 S Justine Street;
                                                                                                       Ellis Avenue, 8352-58 S Ellis Avenue, 7760 S Coles Avenue, 8000-02 S Justine Street, 8107-09 S Ellis                       7255-57 S Euclid Avenue; 7300-04 S St Lawrence Avenue; 7546-48 S Saginaw Avenue; 2736-44 W 64th Street; 2909-19 E 78th
                                                                                                       Avenue, 8214-16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117-11119 S Longwood Drive, 7300-04 S                           Street; 310 E 50th Street; 4315-19 S Michigan Avenue; 5618-20 S Martin Luther King Drive; 5955 S Sacramento Avenue; 7600-
                                                                                                       St Lawrence Avenue, 7957-59 S Marquette Road, 2736-44 W 64th Street, 6355-59 S Talman Avenue,                              10 S Kingston Avenue; 7656-58 S Kingston Avenue
                                                                                                       6356 S California Avenue, 5618-20 S Martin Luther King Drive, 7201 S Constance Avenue, 6554-58 S
                                                                                                       Vernon Avenue, 1700-08 W Juneway Terrace, 7201-07 S Dorchester Avenue, 4315-19 S Michigan
                                                                                                       Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 6250 S Mozart Street, 7109-19 S
                                                                                                       Calumet Avenue, 9610 S Woodlawn Avenue, 1401 W 109th Place, 310 E 50th Street, 6807 S Indiana
                                                                                                       Avenue, 7237-43 S Bennett Avenue, 638-40 N Avers Avenue, 7255-57 S Euclid Avenue).

 September-21 Asset Disposition                              9/30/2021 JR           140       41325.01 Review email from property management relating to post-closing reconciliation distributions, and         0.2 $        28.00 310 E 50th Street; 4315-19 S Michigan Avenue; 6250 S Mozart Street; 6554-58 S Vernon Avenue; 6807 S Indiana Avenue; 7237-                10
                                                                                                       related communications with K. Pritchard and property management (6554-58 S Vernon Avenue,                                  43 S Bennett Avenue; 7255-57 S Euclid Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue; 9610 S Woodlawn
                                                                                                       4315-19 S Michigan Avenue, 7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 6250 S Mozart                              Avenue
                                                                                                       Street, 310 E 50th Street, 6807 S Indiana Avenue, 9610 S Woodlawn Avenue, 7255-57 S Euclid
                                                                                                       Avenue 7237-43 S Bennett Avenue) ( 2)
 September-21 Asset Disposition                              9/30/2021 JR           140       41325.02 review email from J. Wine and provide requested closing information for property (6217-27 S              0.1 $        14.00 6217-27 S Dorchester Avenue                                                                                                              1
                                                                                                       Dorchester Avenue) (.1).
 September-21 Business Operations                            9/30/2021 KBD          390       42220.01 Attention to third party request for access to EB documents database and exchange related                0.2 $        78.00 exclude/defer                                                                                                                            0
                                                                                                       correspondence (defer).
 September-21 Claims Administration & Objections             9/30/2021 JRW          260       43122.01 Exchange correspondence with K. Duff and M. Rachlis regarding proposed order granting motion for         0.2 $        52.00 exclude/defer                                                                                                                            0
                                                                                                       leave to serve subpoena (defer) (.2)
 September-21 Claims Administration & Objections             9/30/2021 JRW          260       43122.02 confer with A. Watychowicz regarding investor discovery response issue and related review and            0.7 $      182.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       comment regarding summary of responses (Group 1) (.7)                                                                      Muskegon Avenue
 September-21 Claims Administration & Objections             9/30/2021 JRW          260       43122.03 exchange correspondence with counsel for third party regarding proposed motion and order (defer)         0.3 $       78.00 exclude/defer                                                                                                                             0
                                                                                                       (.3)
 September-21 Claims Administration & Objections             9/30/2021 JRW          260       43122.04 review email exchange between investor claimants and counsel for institutional lender (Group 1) (.1)     0.1 $        26.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                        5
                                                                                                                                                                                                                                   Muskegon Avenue
 September-21 Claims Administration & Objections             9/30/2021 JRW          260       43122.05 confer with claimants' counsel regarding subpoena to title company and review records regarding          0.3 $        78.00 all                                                                                                                                      80
                                                                                                       same (all) (.3)
 September-21 Claims Administration & Objections             9/30/2021 JRW          260       43122.06 continued review of investor discovery (Group 1) (1.6)                                                   1.6 $      416.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                                                                                                                                                  Muskegon Avenue
 September-21 Claims Administration & Objections             9/30/2021 AW           140       43123.01 Continue review of standard discovery responses, communicate with J. Wine regarding responses,           2.4 $      336.00 3074 E Cheltenham Place; 7201 S Constance Avenue; 7625-33 S East End Avenue; 7635-43 S East End Avenue; 7750-58 S                         5
                                                                                                       and create related online review sheet (Group 1).                                                                          Muskegon Avenue




 Key

 *all - 1700-08 W Juneway Terrace; 4533-47 S Calumet Avenue; 5001 S Drexel Boulevard; 5450-52 S Indiana Avenue; 7749-59 S Yates Boulevard; 6437-41 S Kenwood Avenue; 7109-19 S Calumet Avenue; 1414-18 East 62nd Place; 8100 S Essex Avenue; 7301-09 S Stewart Avenue; 7500-06 S Eggleston Avenue;
 3030-32 E 79th Street; 2909-19 E 78th Street; 7549-59 S Essex Avenue; 8047-55 S Manistee Avenue; 7933 S Kingston Avenue; 8405 S Marquette Avenue; 8800 S Ada Street; 3723 W 68th Place; 61 E 92nd Street; 7953 S Woodlawn Avenue; 5437 S Laflin Street; 7300-04 S St Lawrence Avenue; 7760 S Coles
 Avenue; 1401 W 109th Place; 310 E 50th Street; 6807 S Indiana Avenue; 8000-02 S Justine Street; 8107-09 S Ellis Avenue; 8209 S Ellis Avenue; 8214-16 S Ingleside Avenue; 5955 S Sacramento Avenue; 6001-05 S Sacramento Avenue ; 7026-42 S Cornell Avenue; 7237-43 S Bennett Avenue; 7834-44 S Ellis
 Avenue; 4520-26 S Drexel Boulevard; 4611-17 S Drexel Boulevard; 1131-41 E 79th Place; 6217-27 S Dorchester Avenue; 6250 S Mozart Street; 638-40 N Avers Avenue; 701-13 S 5th Avenue; 7024-32 S Paxton Avenue; 7255-57 S Euclid Avenue; 3074 E Cheltenham Place; 7625-33 S East End Avenue; 7635-43 S
 East End Avenue; 7750-58 S Muskegon Avenue; 7201 S Constance Avenue; 6160-6212 S Martin Luther King Drive; 2736-44 W 64th Street; 4315-19 S Michigan Avenue; 6355-59 S Talman Avenue; 6356 S California Avenue; 7051 S Bennett Avenue; 7201-07 S Dorchester Avenue; 7442-54 S Calumet Avenue;
 7508 S Essex Avenue; 7546-48 S Saginaw Avenue; 7600-10 S Kingston Avenue; 7656-58 S Kingston Avenue; 7701-03 S Essex Avenue; 7748-52 S Essex Avenue; 7957-59 S Marquette Road; 816-22 E Marquette Road; 8201 S Kingston Avenue; 8326-58 S Ellis Avenue; 11117-11119 S Longwood Drive; 6949-59 S
 Merrill Avenue; 7927-49 S Essex Avenue; 1422-24 East 68th Street; 2800-06 E 81st Street; 4750-52 S Indiana Avenue; 5618-20 S Martin Luther King Drive; 6554-58 S Vernon Avenue; 7450 S Luella Avenue; 7840-42 S Yates Avenue; 431 E 42nd Place; 1102 Bingham (Houston, TX)

 **sole lien - 1017 W 102nd Street; 1516 E 85th Place; 2136 W 83rd Street; 417 Oglesby Avenue; 7922 S Luella Avenue; 8030 S Marquette Avenue; 8104 S Kingston Avenue; 8403 S Aberdeen Street; 8529 S Rhodes Avenue; 11318 S Church Street; 2129 W 71st Street; 6749-59 S Merrill Avenue; 7110 S Cornell
 Avenue; 7925 S Kingston Avenue; 9212 S Parnell Avenue; 7210 S Vernon Avenue; 6825 S Indiana Avenue; 406 E 87th Place; 6554 S Rhodes Avenue; 7712 S Euclid Avenue; 8432 S Essex Avenue; 3213 S Throop Street; 8107 S Kingston Avenue; 8346 S Constance Avenue; 10012 S LaSalle Avenue; 9610 S
 Woodlawn Avenue; 6759 S Indiana Avenue; 8517 S Vernon Avenue




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